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                               UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF NEW YORK


       In re: CASHPOINT NETWORK SERVICES INC.                       §   Case No. 04-12771 (MKV)
                                                                    §
                                                                    §
   Debtor(s)                                                        §
         CHAPTER 7 TRUSTEE'S FINAL ACCOUNT AND DISTRIBUTION
  REPORT CERTIFICATION THAT THE ESTATE HAS BEEN FULLY ADMINISTERED
                 AND APPLICATION TO BE DISCHARGED (TDR)

         JOHN S. PEREIRA, chapter 7 trustee, submits this Final Account,
Certification that the Estate has been Fully Administered and Application to be Discharged.

         1) All funds on hand have been distributed in accordance with the Trustee's Final Report
and, if applicable, any order of the Court modifying the Final Report. The case is fully
administered and all assets and funds which have come under the trustee's control in this case
have been properly accounted for as provided by law. The trustee hereby requests to be
discharged from further duties as a trustee.

        2) A summary of assets abandoned, assets exempt, total distributions to claimants, claims
discharged without payment, and expenses of administration is provided below:


 Assets Abandoned: $0.00                              Assets Exempt: N/A
 (without deducting any secured claims)
 Total Distribution to Claimants:$38,039,013.49      Claims Discharged
                                                     Without Payment: N/A

 Total Expenses of Administration:$7,635,201.85


         3) Total gross receipts of $ 45,674,215.34 (see Exhibit 1 ), minus funds paid to the debtor
 and third parties of $       0.00    (see Exhibit 2 ), yielded net receipts of $45,674,215.34
from the liquidation of the property of the estate, which was distributed as follows:




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                                        CLAIMS              CLAIMS             CLAIMS             CLAIMS
                                      SCHEDULED            ASSERTED           ALLOWED              PAID


 SECURED CLAIMS
 (from Exhibit 3)                              $0.00      $11,148,996.52      $9,286,569.81      $9,286,569.81

 PRIORITY CLAIMS:
    CHAPTER 7 ADMIN. FEES
    AND CHARGES
    (from Exhibit 4 )                            0.00       7,635,201.85       7,635,201.85       7,635,201.85

   PRIOR CHAPTER
   ADMIN. FEES AND
   CHARGES (fromExhibit 5 )                      0.00               0.00               0.00                 0.00
   PRIORITY UNSECURED
   CLAIMS (from Exhibit 6 )                      5.00         129,537.42         111,188.45        111,188.45
 GENERAL UNSECURED
 CLAIMS (fromExhibit 7)                 64,227,153.29      74,711,049.12      73,035,695.89      28,641,255.23

                                       $64,227,158.29     $93,624,784.91     $90,068,656.00     $45,674,215.34
 TOTAL DISBURSEMENTS

          4) This case was originally filed under Chapter 7 on April 22, 2004.
  The case was pending for 163 months.

          5) All estate bank statements, deposit slips, and canceled checks have been submitted to
  the United States Trustee.

           6) An individual estate property record and report showing the final accounting of the
  assets of the estate is attached as Exhibit 8 . The cash receipts and disbursements records for
  each estate bank account, showing the final accounting of the receipts and disbursements of
  estate funds is attached as Exhibit 9 .

          Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
  foregoing report is true and correct.

  Dated: 12/07/2017                 By: /s/JOHN S. PEREIRA
                                        Trustee


  STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
  Act exemption 5 C.F.R. §1320.4(a)(2) applies.




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                                                  EXHIBITS TO
                                                FINAL ACCOUNT



EXHIBIT 1 GROSS RECEIPTS

                                                                 UNIFORM              $ AMOUNT
           DESCRIPTION
                                                                TRAN. CODE 1          RECEIVED
  TURNOVER OF FUNDS FROM AGENT                              1221-000                  7,001,226.64

  TURNOVER OF FLEET BANK ACCOUNTS                           1229-000                  5,625,491.18

  TURNOVER OF FUNDS FROM AMERISERV FINANCIAL                1229-000                   875,035.04

  TURNOVER OF FUNDS FROM MERCHANTS & PLANTERS               1229-000                      2,458.43

  CONTRIBUTION REFUND                                       1290-000                      5,000.00

  TURNOVER OF FUNDS IN BANK ACCOUNTS                        1221-000                 27,043,326.58

  SETTLEMENT OF CLAIM - ENTERPRISE RENTACAR                 1290-000                       666.00

  COMMISSIONS                                               1290-000                      1,930.39

  REFUND                                                    1290-000                    29,916.33

  DEPOSITS WITH UTILITIES AND PROFESSIONALS                 1290-000                   200,000.00

  TURNOVER OF EXCESS FUNDS PAID BY DEBTOR                   1290-000                    43,093.83

  RENT                                                      1222-000                      3,800.00

  A/P V. 143 WEST ASSOCIATES, INC.                          1210-000                   107,845.38

  SETTLEMENT - SAMUEL BREVDEH                               1249-000                    37,515.73

  SETTLEMENT - CHRISTOPHER DEWINTER                         1249-000                    37,500.00

  SETTLEMENT - BERNIE BREDVEH                               1249-000                   324,115.29

  REAL PROPERTY - 373 HENRY STREET                          1210-000                  1,250,553.78

  A/P V. WINK CHECK LLC                                     1249-000                   116,830.56

  A/P v. SMART TONE, INC.                                   1249-000                      4,809.45

  A/P V. MTW CHECK CASHING CORP.                            1249-000                    19,932.96

  A/P V. LEFTA CHECK CASHING CORP.                          1249-000                    43,067.04

  A/P V. V&V CHECK CASHING CORP.                            1249-000                    10,436.00

  SETTLEMENT - JACKSON CHECK CASHING CORP.                  1249-000                    11,043.50

  SETTLEMENT - DAVIDOFF MALITO & HUTCHER LLP                1249-000                   215,000.00

  A/P v. ONAE'S & PRICE                                     1249-000                       215.33

  A/P v. PSEG                                               1249-000                    17,500.00



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     A/P v. CONNECTICUT NATURAL GAS CORP.                                                 1249-000                                     13,500.00

     Interest Income                                                                      1270-000                                   2,632,405.90


    TOTAL GROSS RECEIPTS                                                                                                        $45,674,215.34

1
    The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.


EXHIBIT 2 FUNDS PAID TO DEBTOR & THIRD PARTIES

                                                                                           UNIFORM                                   $ AMOUNT
        PAYEE                                      DESCRIPTION
                                                                                          TRAN. CODE                                    PAID
                                                                  None

    TOTAL FUNDS PAID TO DEBTOR AND THIRD                                                                                                   $0.00
    PARTIES

EXHIBIT 3 SECURED CLAIMS


                                                      UNIFORM          CLAIMS
       CLAIM                                                          SCHEDULED               CLAIMS                  CLAIMS               CLAIMS
        NO.               CLAIMANT                     TRAN.           (from Form            ASSERTED                ALLOWED                PAID
                                                       CODE                6D)
          54S     ENTERGY SERVICES, INC.               4220-000            N/A                  8,550,000.00          8,550,000.00         8,550,000.00

         120      GREENWICH INSURANCE COMPANY 4220-000                     N/A                  2,077,426.71           215,000.00            215,000.00

         125      PEOPLE'S BANK                        4110-000            N/A                                                0.00                    0.00

                  VERIZON                              4210-000            N/A                        9,880.00            9,880.00             9,880.00

                  VERIZON                              4210-000            N/A                        2,280.00            2,280.00             2,280.00

                  CITIMORTGAGE, INC.                   4110-000            N/A                   434,409.81            434,409.81            434,409.81

                  MINTZ LEVIN COHN FERRIS              4120-000            N/A                     75,000.00             75,000.00            75,000.00
                  GLOVSKY & POPEO PC

    TOTAL SECURED CLAIMS                                                          $0.00      $11,148,996.52          $9,286,569.81        $9,286,569.81



EXHIBIT 4 CHAPTER 7 ADMINISTRATIVE FEES and CHARGES


                                                      UNIFORM
        PAYEE                                                          CLAIMS                 CLAIMS                  CLAIMS               CLAIMS
                                                       TRAN.
                                                                      SCHEDULED              ASSERTED                ALLOWED                PAID
                                                       CODE
 Other - NEW YORK STATE BANKING DEPARTMENT                  2990-000             N/A                  9,315.90            9,315.90             9,315.90

 Other - NEW YORK STATE DEPARTMENT OF                       2820-000             N/A                   209.23              209.23                   209.23

 Other - ASM CAPITAL, TFREE OF COX                          2990-000             N/A                 10,000.00           10,000.00            10,000.00
 COMMUNICATIONS LOUISIANA
 Trustee Expenses - JOHN S. PEREIRA                         2200-000             N/A                 14,519.59           14,519.59            14,519.59

 Trustee Compensation - JOHN S. PEREIRA                     2100-000             N/A            1,393,476.46          1,393,476.46         1,393,476.46

 Other - SOLUTIONS                                          3992-000             N/A                  4,866.81            4,866.81             4,866.81

 Other - SOLUTIONS                                          3991-000             N/A             306,449.00             306,449.00           306,449.00


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 Attorney for Trustee Fees (Trustee Firm) - 3110-000      N/A         20,422.50       20,422.50     20,422.50
 LAW OFFICES OF JOHN S. PEREIRA
 Other - KEVIN M. COFFEY, LLC               3410-000      N/A       1,579,977.50   1,579,977.50   1,579,977.50

 Other - KEVIN M. COFFEY, LLC                 3420-000    N/A         24,088.98       24,088.98     24,088.98

 Other - ELI ROSMAN, CPA                      3410-000    N/A        142,957.30     142,957.30     142,957.30

 Other - ELI ROSMAN, CPA                      3420-000    N/A            348.00         348.00         348.00

 Other - JASPAN SCHLESINGER HOFFMAN, LLP      3210-000    N/A       2,218,325.00   2,218,325.00   2,218,325.00

 Other - JASPAN SCHLESINGER HOFFMAN, LLP      3220-000    N/A         35,747.03       35,747.03     35,747.03

 Other - G.E.M. AUCTION CORP.                 3991-000    N/A         55,400.00       55,400.00     55,400.00

 Other - ARNALL GOLDEN GREGORY LLP            3210-600    N/A         21,055.50       21,055.50     21,055.50

 Other - ARNALL GOLDEN GREGORY LLP            3220-610    N/A            343.33         343.33         343.33

 Other - DOVE & CHILL                         3210-600    N/A         11,560.00       11,560.00     11,560.00

 Other - DOVE & CHILL                         3220-610    N/A            261.00         261.00         261.00

 Other - JONES & SCHWARTZ, P.C.               3210-000    N/A        298,439.50     298,439.50     298,439.50

 Other - JONES & SCHWARTZ, P.C.               3220-000    N/A          5,417.97        5,417.97      5,417.97

 Other - ADAMS & REESE LLP                    3210-600    N/A        122,210.69     122,210.69     122,210.69

 Other - ADAMS & REESE LLP                    3220-610    N/A          4,269.41        4,269.41      4,269.41

 Other - G.E.M. AUCTION CORP.                 3510-000    N/A         75,000.00       75,000.00     75,000.00

 Clerk of the Court Costs (includes           2700-000    N/A            250.00         250.00         250.00
 adversary and other filing fees) - CLERK
 Other - POSTMASTER OF NEW YORK               2990-000    N/A            412.00         412.00         412.00

 Other - THE GARDEN CITY GROUP, INC.          2990-000    N/A          3,500.00        3,500.00      3,500.00

 Other - LINDA VU                             2990-000    N/A            210.00         210.00         210.00

 Other - CONSOLIDATED EDISON COMPANY OF NEW 2420-000      N/A          3,648.82        3,648.82      3,648.82
 YORK, INC.
 Other - JOHN S. PEREIRA                    2300-000      N/A             10.13          10.13          10.13

 Other - STEPHANIE JENKINS                    2990-000    N/A          1,293.24        1,293.24      1,293.24

 Other - STEPHANIE JENKINS                    2990-000    N/A          1,474.20        1,474.20      1,474.20

 Other - STORAGE USA                          2410-000    N/A          3,265.50        3,265.50      3,265.50

 Other - NEW YORK TEMPORARY STATE             2990-000    N/A             50.00          50.00          50.00
 COMMISSION ON LOBBYING
 Other - STEPHANIE JENKINS                    2990-000    N/A          1,029.60        1,029.60      1,029.60

 Other - G.E.M. AUCTION CORP.                 2410-000    N/A            700.00         700.00         700.00

 Other - DIGITAL AVALON, LLC                  2990-000    N/A          1,040.00        1,040.00      1,040.00

 Other - STEPHANIE JENKINS                    2990-000    N/A          1,198.08        1,198.08      1,198.08

 Other - VIVIAN LEE                           2990-000    N/A            641.25         641.25         641.25

 Other - HELENA NATIONAL BANK                 2990-000    N/A             51.25          51.25          51.25

 Other - CONSOLIDATED EDISON COMPANY OF NEW 2420-000      N/A          3,454.86        3,454.86      3,454.86
 YORK, INC.



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 Other - G.E.M. AUCTION CORP.               2990-000   N/A        10,231.81        10,231.81   10,231.81

 Other - PRIMARY LAND SERVICES, LLC         2990-000   N/A          300.00           300.00      300.00

 Other - CONSOLIDATED EDISON COMPANY OF NEW 2420-000   N/A         4,187.32         4,187.32    4,187.32
 YORK, INC.
 Other - STEPHANIE JENKINS                  2990-000   N/A         1,009.32         1,009.32    1,009.32

 Other - G.E.M. AUCTION CORP.               2410-000   N/A          700.00           700.00      700.00

 Other - BANK OF RINGGOLD                   2990-000   N/A           72.00            72.00       72.00

 Other - FIRST NATIONAL BANK OF IZARD       2990-000   N/A           15.00            15.00       15.00
 COUNTY
 Other - STEPHANIE JENKINS                  2990-000   N/A         1,137.24         1,137.24    1,137.24

 Other - FEDEX                              2990-000   N/A           34.11            34.11       34.11

 Other - FEDEX                              2990-000   N/A           16.26            16.26       16.26

 Other - STEPHANIE JENKINS                  2990-000   N/A         1,257.36         1,257.36    1,257.36

 Other - STEPHANIE JENKINS                  2990-000   N/A         1,350.96         1,350.96    1,350.96

 Other - G.E.M. AUCTION CORP.               2410-000   N/A          590.75           590.75      590.75

 Other - STEPHANIE JENKINS                  2990-000   N/A          971.88           971.88      971.88

 Other - STEPHANIE JENKINS                  2990-000   N/A         1,382.16         1,382.16    1,382.16

 Other - CONSOLIDATED EDISON COMPANY OF NEW 2420-000   N/A         3,476.74         3,476.74    3,476.74
 YORK, INC.
 Other - G.E.M. AUCTION CORP.               2410-000   N/A          990.90           990.90      990.90

 Other - FEDEX                              2990-000   N/A           17.92            17.92       17.92

 Other - STEPHANIE JENKINS                  2990-000   N/A         1,092.00         1,092.00    1,092.00

 Other - FIRST LIBERTY NATIONAL BANK        2990-000   N/A          133.00           133.00      133.00

 Other - PULLMAN & COMLEY, LLC              2990-000   N/A         1,354.35         1,354.35    1,354.35

 Other - THE GARDEN CITY GROUP, INC.        2990-000   N/A        45,602.79        45,602.79   45,602.79

 Other - SPHERION CORPORATION               2990-000   N/A         1,364.75         1,364.75    1,364.75

 Other - STEPHANIE JENKINS                  2990-000   N/A         1,218.36         1,218.36    1,218.36

 Other - STEPHANIE JENKINS                  2990-000   N/A         1,564.68         1,564.68    1,564.68

 Other - CONSOLIDATED EDISON COMPANY OF NEW 2420-000   N/A         3,367.18         3,367.18    3,367.18
 YORK, INC.
 Other - STEPHANIE JENKINS                  2990-000   N/A         1,038.96         1,038.96    1,038.96

 Other - G.E.M. AUCTION CORP.               2410-000   N/A          990.90           990.90      990.90

 Other - POSTMASTER                         2990-000   N/A          209.00           209.00      209.00

 Other - SPHERION CORPORATION               2990-000   N/A         1,560.50         1,560.50    1,560.50

 Other - FEDEX                              2990-000   N/A           16.49            16.49       16.49

 Other - STEPHANIE JENKINS                  2990-000   N/A         1,466.40         1,466.40    1,466.40

 Other - CONSOLIDATED EDISON COMPANY OF NEW 2420-000   N/A           50.99            50.99       50.99
 YORK, INC.
 Other - PUBLIC STORAGE                     2410-000   N/A          600.00           600.00      600.00




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 Other - SPHERION CORPORATION                2990-000    N/A         1,196.50         1,196.50    1,196.50

 Other - MCD PRINT & DOCUMENT SOLUTIONS      2990-000    N/A         1,109.60         1,109.60    1,109.60

 Other - STEPHANIE JENKINS                   2990-000    N/A         1,684.80         1,684.80    1,684.80

 Other - G.E.M. AUCTION CORP.                2410-000    N/A         5,132.84         5,132.84    5,132.84

 Other - STEPHANIE JENKINS                   2990-000    N/A         1,034.28         1,034.28    1,034.28

 Other - G.E.M. AUCTION CORP.                2990-000    N/A         4,741.01         4,741.01    4,741.01

 Auctioneer for Trustee Expenses - G.E.M.    3620-000    N/A         6,266.73         6,266.73    6,266.73
 AUCTION CORP.
 Other - STEPHANIE JENKINS                   2990-000    N/A         1,408.68         1,408.68    1,408.68

 Other - GCG                                 2990-000    N/A        14,185.72        14,185.72   14,185.72

 Other - STEPHANIE JENKINS                   2990-000    N/A         1,385.28         1,385.28    1,385.28

 Other - G.E.M. AUCTION CORP.                2410-000    N/A          990.90           990.90      990.90

 Other - G.E.M. AUCTION CORP.                2410-000    N/A         2,551.50         2,551.50    2,551.50

 Other - STEPHANIE JENKINS                   2990-000    N/A         1,043.64         1,043.64    1,043.64

 Other - CONSOLIDATED EDISON COMPANY OF NEW 2420-000     N/A         3,437.09         3,437.09    3,437.09
 YORK, INC.
 Other - STEPHANIE JENKINS                  2990-000     N/A         1,421.16         1,421.16    1,421.16

 Other - STEPHANIE JENKINS                   2990-000    N/A         1,134.12         1,134.12    1,134.12

 Other - ELI B. HOROWITZ, CPA, PC            2990-000    N/A          650.00           650.00      650.00

 Other - CONSOLIDATED EDISON COMPANY OF NEW 2420-000     N/A         3,124.69         3,124.69    3,124.69
 YORK, INC.
 Other - G.E.M. AUCTION CORP.               2410-000     N/A          990.90           990.90      990.90

 Other - G.E.M. AUCTION CORP.                2410-000    N/A         2,551.50         2,551.50    2,551.50

 Other - STEPHANIE JENKINS                   2990-000    N/A         1,096.68         1,096.68    1,096.68

 Other - STEPHANIE JENKINS                   2990-000    N/A         1,316.64         1,316.64    1,316.64

 Other - POSTMASTER, NEW YORK                2990-000    N/A          412.00           412.00      412.00

 Other - ADP                                 2990-000    N/A         7,628.60         7,628.60    7,628.60

 Other - STEPHANIE JENKINS                   2990-000    N/A         1,159.08         1,159.08    1,159.08

 Other - PEOPLE'S BANK                       2990-000    N/A        10,000.00        10,000.00   10,000.00

 Other - STEPHANIE JENKINS                   2990-000    N/A         1,129.44         1,129.44    1,129.44

 Other - STEPHANIE JENKINS                   2990-000    N/A         1,099.80         1,099.80    1,099.80

 Other - G.E.M. AUCTION CORP.                2410-000    N/A          990.90           990.90      990.90

 Other - G.E.M. AUCTION CORP.                2410-000    N/A         2,551.50         2,551.50    2,551.50

 Other - CONSOLIDATED EDISON COMPANY OF NEW 2420-000     N/A         3,537.64         3,537.64    3,537.64
 YORK, INC.
 Other - STEPHANIE JENKINS                  2990-000     N/A         1,257.36         1,257.36    1,257.36

 Other - FEDEX                               2990-000    N/A           52.27            52.27       52.27

 Other - STEPHANIE JENKINS                   2990-000    N/A         1,194.96         1,194.96    1,194.96




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 Other - STEPHANIE JENKINS                   2990-000    N/A         2,194.92         2,194.92    2,194.92

 Other - PEOPLE'S BANK                       2990-000    N/A        10,000.00        10,000.00   10,000.00

 Other - CONSOLIDATED EDISON COMPANY OF NEW 2420-000     N/A         4,090.88         4,090.88    4,090.88
 YORK, INC.
 Other - G.E.M. AUCTION CORP.               2410-000     N/A          990.90           990.90      990.90

 Other - G.E.M. AUCTION CORP.                2410-000    N/A         2,551.50         2,551.50    2,551.50

 Other - AMSOUTH                             2990-000    N/A           89.00            89.00       89.00

 Other - G.E.M. AUCTION CORP.                2410-000    N/A         1,733.80         1,733.80    1,733.80

 Other - PEOPLE'S BANK                       2990-000    N/A        14,273.94        14,273.94   14,273.94

 Other - G.E.M. AUCTION CORP.                2410-000    N/A         2,551.50         2,551.50    2,551.50

 Other - G.E.M. AUCTION CORP.                2410-000    N/A          990.90           990.90      990.90

 Other - CONSOLIDATED EDISON COMPANY OF NEW 2420-000     N/A         3,359.36         3,359.36    3,359.36
 YORK, INC.
 Other - PRECISE COURT REPORTING            2990-000     N/A          568.10           568.10      568.10

 Other - AMERICA EXPRESS                     2990-000    N/A          160.00           160.00      160.00

 Other - PEOPLE'S BANK                       2990-000    N/A        11,223.90        11,223.90   11,223.90

 Other - CONSOLIDATED EDISON COMPANY OF NEW 2420-000     N/A         2,991.11         2,991.11    2,991.11
 YORK, INC.
 Auctioneer for Trustee Expenses - G.E.M.   3620-000     N/A        99,255.60        99,255.60   99,255.60
 AUCTION CORP.
 Other - G.E.M. AUCTION CORP.               2410-000     N/A         2,792.67         2,792.67    2,792.67

 Other - G.E.M. AUCTION CORP.                2410-000    N/A         2,551.50         2,551.50    2,551.50

 Other - POSTMASTER, NEW YORK                2990-000    N/A          209.00           209.00      209.00

 Other - PEOPLE'S BANK                       2990-000    N/A        12,629.26        12,629.26   12,629.26

 Other - IDEAL INTERNET SOLUTIONS, INC.      2990-000    N/A          150.00           150.00      150.00

 Other - PULLMAN & COMLEY, LLC               2990-000    N/A          239.70           239.70      239.70

 Other - FEDEX                               2990-000    N/A           17.63            17.63       17.63

 Other - G.E.M. AUCTION CORP.                2410-000    N/A         2,551.50         2,551.50    2,551.50

 Other - G.E.M. AUCTION CORP.                2410-000    N/A         5,891.80         5,891.80    5,891.80

 Other - UNITED STATES TREASURY              2820-000    N/A         1,434.94         1,434.94    1,434.94

 Other - G.E.M. AUCTION CORP.                2410-000    N/A         2,551.50         2,551.50    2,551.50

 Other - G.E.M. AUCTION CORP.                2410-000    N/A         3,259.20         3,259.20    3,259.20

 Other - EASTERN ABSTRACT CORP.              2500-000    N/A         2,746.16         2,746.16    2,746.16

 Other - TANENBAUM-HARBER CO., INC.          2420-000    N/A         1,647.75         1,647.75    1,647.75

 Other - THE GARDEN CITY GROUP, INC.         2990-000    N/A        38,916.75        38,916.75   38,916.75

 Other - JOHN S. PEREIRA                     2300-000    N/A        18,353.00        18,353.00   18,353.00

 Other - G.E.M. AUCTION CORP.                2410-000    N/A         3,259.20         3,259.20    3,259.20

 Other - G.E.M. AUCTION CORP.                2410-000    N/A         2,551.50         2,551.50    2,551.50




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 Other - HOUSTON COMMUNITY BANK              2990-000    N/A           50.00           50.00       50.00

 Other - IDEAL INTERNET SOLUTIONS, INC.      2990-000    N/A          150.00          150.00      150.00

 Other - CT CORPORATION                      2990-000    N/A          122.50          122.50      122.50

 Other - IDEAL INTERNET SOLUTIONS, INC.      2990-000    N/A          300.00          300.00      300.00

 Other - G.E.M. AUCTION CORP.                2410-000    N/A         2,551.50        2,551.50    2,551.50

 Other - G.E.M. AUCTION CORP.                2410-000    N/A         3,259.20        3,259.20    3,259.20

 Other - IRON MOUNTAIN RECORDS MANAGEMENT    2410-000    N/A         1,549.17        1,549.17    1,549.17

 Other - IDEAL INTERNET SOLUTIONS, INC.      2990-000    N/A          150.00          150.00      150.00

 Other - G.E.M. AUCTION CORP.                2410-000    N/A         2,551.50        2,551.50    2,551.50

 Other - G.E.M. AUCTION CORP.                2410-000    N/A         3,258.90        3,258.90    3,258.90

 Other - Simple Net                          2990-000    N/A           17.95           17.95       17.95

 Other - Simple Net                          2990-000    N/A           -17.95          -17.95      -17.95

 Other - Simple Net                          2990-000    N/A           17.95           17.95       17.95

 Other - IDEAL INTERNET SOLUTIONS, INC.      2990-000    N/A          150.00          150.00      150.00

 Other - G.E.M. AUCTION CORP.                2410-000    N/A         3,258.90        3,258.90    3,258.90

 Other - G.E.M. AUCTION CORP.                2410-000    N/A         2,551.50        2,551.50    2,551.50

 Other - IDEAL INTERNET SOLUTIONS, INC.      2990-000    N/A          150.00          150.00      150.00

 Other - US POSTAL SERVICE                   2990-000    N/A          209.00          209.00      209.00

 Other - Pro Bill                            2990-000    N/A           29.95           29.95       29.95

 Other - IDEAL INTERNET SOLUTIONS, INC.      2990-000    N/A          150.00          150.00      150.00

 Other - G.E.M. AUCTION CORP.                2410-000    N/A         5,103.00        5,103.00    5,103.00

 Other - G.E.M. AUCTION CORP.                2410-000    N/A         7,127.60        7,127.60    7,127.60

 Other - JP MORGAN CHASE BANK                2990-000    N/A           -29.95          -29.95      -29.95

 Other - DIRECTORY BILLING                   2990-000    N/A           -29.95          -29.95      -29.95

 Other - IDEAL INTERNET SOLUTIONS, INC.      2990-000    N/A          150.00          150.00      150.00

 Other - G.E.M. AUCTION CORP.                2410-000    N/A         3,366.90        3,366.90    3,366.90

 Other - G.E.M. AUCTION CORP.                2410-000    N/A         2,551.50        2,551.50    2,551.50

 Other - IDEAL INTERNET SOLUTIONS, INC.      2990-000    N/A          150.00          150.00      150.00

 Other - G.E.M. AUCTION CORP.                2410-000    N/A         3,416.90        3,416.90    3,416.90

 Other - G.E.M. AUCTION CORP.                2410-000    N/A         2,551.50        2,551.50    2,551.50

 Other - G.E.M. AUCTION CORP.                2410-000    N/A         3,366.90        3,366.90    3,366.90

 Other - G.E.M. AUCTION CORP.                2410-000    N/A         2,551.50        2,551.50    2,551.50

 Other - IDEAL INTERNET SOLUTIONS, INC.      2990-000    N/A          150.00          150.00      150.00

 Other - IDEAL INTERNET SOLUTIONS, INC.      2990-000    N/A          150.00          150.00      150.00




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 Other - COMMONWEALTH LAND TITLE             2420-000    N/A         14,816.48       14,816.48    14,816.48

 Other - IDEAL INTERNET SOLUTIONS, INC.      2990-000    N/A           150.00          150.00       150.00

 Other - G.E.M. AUCTION CORP.                2410-000    N/A          5,103.00        5,103.00     5,103.00

 Other - G.E.M. AUCTION CORP.                2410-000    N/A          6,733.80        6,733.80     6,733.80

 Other - COMMONWEALTH LAND TITLE INSURANCE   2990-000    N/A           332.00          332.00       332.00
 COMPANY
 Other - COMMONWEALTH LAND TITLE             2500-000    N/A         14,816.48       14,816.48    14,816.48

 Other - G.E.M. AUCTION CORP.                2410-000    N/A          2,551.50        2,551.50     2,551.50

 Other - FEDEX                               2990-000    N/A            15.55           15.55        15.55

 Other - IDEAL INTERNET SOLUTIONS, INC.      2990-000    N/A           150.00          150.00       150.00

 Other - G.E.M. AUCTION CORP.                2410-000    N/A          3,366.90        3,366.90     3,366.90

 Other - G.E.M. AUCTION CORP.                2410-000    N/A          3,366.90        3,366.90     3,366.90

 Other - G.E.M. AUCTION CORP.                2410-000    N/A          2,551.50        2,551.50     2,551.50

 Other - IDEAL INTERNET SOLUTIONS, INC.      2990-000    N/A           300.00          300.00       300.00

 Other - SWEENEY, GALLO, REICH & BOLZ, LLP   2500-000    N/A          1,671.00        1,671.00     1,671.00

 Other - SLOPE ABSTRACT                      2500-000    N/A         19,212.32       19,212.32    19,212.32

 Other - SALLY FLOTTERON                     2500-000    N/A           250.00          250.00       250.00

 Other - IDEAL INTERNET SOLUTIONS, INC.      2990-000    N/A           150.00          150.00       150.00

 Other - COMMONWEALTH LAND TITLE INSURANCE   2990-000    N/A           898.00          898.00       898.00
 COMPANY
 Other - ARTHUR B. LEVINE COMPANY            2300-000    N/A        121,405.00   121,405.00      121,405.00

 Other - G.E.M. AUCTION CORP.                2410-000    N/A          7,654.50        7,654.50     7,654.50

 Other - G.E.M. AUCTION CORP.                2410-000    N/A         10,100.70       10,100.70    10,100.70

 Other - ACCU-SAFES INC.                     2990-000    N/A          2,542.50        2,542.50     2,542.50

 Other - ELDEEN OFFICE CLEANING COMPANY      2990-000    N/A          3,400.00        3,400.00     3,400.00

 Other - IDEAL INTERNET SOLUTIONS, INC.      2990-000    N/A           150.00          150.00       150.00

 Other - IDEAL INTERNET SOLUTIONS, INC.      2990-000    N/A           150.00          150.00       150.00

 Other - G.E.M. AUCTION CORP.                2410-000    N/A          3,366.90        3,366.90     3,366.90

 Other - G.E.M. AUCTION CORP.                2410-000    N/A          2,551.50        2,551.50     2,551.50

 Other - G.E.M. AUCTION CORP.                2410-000    N/A          3,366.90        3,366.90     3,366.90

 Other - G.E.M. AUCTION CORP.                2410-000    N/A          2,551.50        2,551.50     2,551.50

 Other - IDEAL INTERNET SOLUTIONS, INC.      2990-000    N/A           150.00          150.00       150.00

 Other - IDEAL INTERNET SOLUTIONS, INC.      2990-000    N/A           150.00          150.00       150.00

 Other - IDEAL INTERNET SOLUTIONS, INC.      2990-000    N/A           150.00          150.00       150.00

 Other - G.E.M. AUCTION CORP.                2410-000    N/A          6,733.80        6,733.80     6,733.80

 Other - G.E.M. AUCTION CORP.                2410-000    N/A          5,103.00        5,103.00     5,103.00




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 Other - IDEAL INTERNET SOLUTIONS, INC.      2990-000    N/A           300.00          300.00       300.00

 Other - G.E.M. AUCTION CORP.                2410-000    N/A          5,103.00        5,103.00     5,103.00

 Other - G.E.M. AUCTION CORP.                2410-000    N/A          6,733.80        6,733.80     6,733.80

 Other - G.E.M. AUCTION CORP.                2410-000    N/A          3,366.90        3,366.90     3,366.90

 Other - G.E.M. AUCTION CORP.                2410-000    N/A          2,551.50        2,551.50     2,551.50

 Other - IDEAL INTERNET SOLUTIONS, INC.      2990-000    N/A           300.00          300.00       300.00

 Other - G.E.M. AUCTION CORP.                2410-000    N/A          2,551.50        2,551.50     2,551.50

 Other - G.E.M. AUCTION CORP.                2410-000    N/A          3,366.90        3,366.90     3,366.90

 Other - ARTHUR B. LEVINE COMPANY            2300-000    N/A        121,405.00   121,405.00      121,405.00

 Other - G.E.M. AUCTION CORP.                2410-000    N/A          2,551.50        2,551.50     2,551.50

 Other - G.E.M. AUCTION CORP.                2410-000    N/A          3,366.90        3,366.90     3,366.90

 Other - IDEAL INTERNET SOLUTIONS, INC.      2990-000    N/A           150.00          150.00       150.00

 Other - G.E.M. AUCTION CORP.                2410-000    N/A          2,551.50        2,551.50     2,551.50

 Other - G.E.M. AUCTION CORP.                2410-000    N/A          3,366.90        3,366.90     3,366.90

 Other - IDEAL INTERNET SOLUTIONS, INC.      2990-000    N/A           150.00          150.00       150.00

 Other - G.E.M. AUCTION CORP.                2410-000    N/A          7,740.80        7,740.80     7,740.80

 Other - G.E.M. AUCTION CORP.                2410-000    N/A          5,103.00        5,103.00     5,103.00

 Other - G.E.M. AUCTION CORP.                2410-000    N/A          2,551.50        2,551.50     2,551.50

 Other - G.E.M. AUCTION CORP.                2410-000    N/A          3,798.90        3,798.90     3,798.90

 Other - G.E.M. AUCTION CORP.                2410-000    N/A          7,597.80        7,597.80     7,597.80

 Other - G.E.M. AUCTION CORP.                2410-000    N/A          5,103.00        5,103.00     5,103.00

 Other - G.E.M. AUCTION CORP.                2410-000    N/A          7,597.80        7,597.80     7,597.80

 Other - G.E.M. AUCTION CORP.                2410-000    N/A          5,681.20        5,681.20     5,681.20

 Other - G.E.M. AUCTION CORP.                2410-000    N/A          7,597.80        7,597.80     7,597.80

 Other - G.E.M. AUCTION CORP.                2410-000    N/A          5,281.20        5,281.20     5,281.20

 Other - G.E.M. AUCTION CORP.                2410-000    N/A          3,798.90        3,798.90     3,798.90

 Other - G.E.M. AUCTION CORP.                2410-000    N/A          2,640.60        2,640.60     2,640.60

 Other - G.E.M. AUCTION CORP.                2410-000    N/A          7,597.80        7,597.80     7,597.80

 Other - G.E.M. AUCTION CORP.                2410-000    N/A          5,281.20        5,281.20     5,281.20

 Other - G.E.M. AUCTION CORP.                2410-000    N/A          2,640.60        2,640.60     2,640.60

 Other - G.E.M. AUCTION CORP.                2410-000    N/A          3,798.90        3,798.90     3,798.90

 Other - ARTHUR B. LEVINE COMPANY            2300-000    N/A         51,260.00       51,260.00    51,260.00

 Other - G.E.M. AUCTION CORP.                2410-000    N/A          7,597.80        7,597.80     7,597.80

 Other - G.E.M. AUCTION CORP.                2410-000    N/A          5,281.20        5,281.20     5,281.20




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 Other - G.E.M. AUCTION CORP.                 2410-000    N/A         7,597.80         7,597.80    7,597.80

 Other - G.E.M. AUCTION CORP.                 2410-000    N/A         5,281.20         5,281.20    5,281.20

 Other - G.E.M. AUCTION CORP.                 2410-000    N/A         7,797.80         7,797.80    7,797.80

 Other - G.E.M. AUCTION CORP.                 2410-000    N/A         5,281.20         5,281.20    5,281.20

 Other - G.E.M. AUCTION CORP.                 2410-000    N/A         3,842.80         3,842.80    3,842.80

 Other - G.E.M. AUCTION CORP.                 2410-000    N/A         2,640.60         2,640.60    2,640.60

 Other - G.E.M. AUCTION CORP.                 2410-000    N/A         3,817.80         3,817.80    3,817.80

 Other - G.E.M. AUCTION CORP.                 2410-000    N/A         2,640.60         2,640.60    2,640.60

 Other - G.E.M. AUCTION CORP.                 2410-000    N/A         3,817.80         3,817.80    3,817.80

 Other - G.E.M. AUCTION CORP.                 2410-000    N/A         2,640.60         2,640.60    2,640.60

 Other - G.E.M. AUCTION CORP.                 2410-000    N/A         2,640.60         2,640.60    2,640.60

 Other - G.E.M. AUCTION CORP.                 2410-000    N/A         3,817.80         3,817.80    3,817.80

 Other - G.E.M. AUCTION CORP.                 2410-000    N/A         7,635.60         7,635.60    7,635.60

 Other - G.E.M. AUCTION CORP.                 2410-000    N/A         5,281.20         5,281.20    5,281.20

 Other - ARTHUR B. LEVINE COMPANY             2300-000    N/A        15,957.00        15,957.00   15,957.00

 Other - VERITEXT NEW YORK REPORTING CO.      2990-000    N/A           71.95            71.95       71.95

 Other - VERITEXT NEW YORK REPORTING CO.      2990-000    N/A           64.65            64.65       64.65

 Other - ARTHUR B. LEVINE COMPANY             2300-000    N/A         4,931.00         4,931.00    4,931.00

 Other - ARTHUR B. LEVINE COMPANY             2300-000    N/A         4,931.00         4,931.00    4,931.00

 Other - The Bank of New York Mellon          2600-000    N/A         1,956.67         1,956.67    1,956.67

 Other - The Bank of New York Mellon          2600-000    N/A         2,232.18         2,232.18    2,232.18

 Clerk of the Court Costs (includes           2700-000    N/A        13,050.00        13,050.00   13,050.00
 adversary and other filing fees) - CLERK
 Other - The Bank of New York Mellon          2600-000    N/A         2,073.55         2,073.55    2,073.55

 Other - The Bank of New York Mellon          2600-000    N/A         2,188.29         2,188.29    2,188.29

 Other - The Bank of New York Mellon          2600-000    N/A         1,978.48         1,978.48    1,978.48

 Other - The Bank of New York Mellon          2600-000    N/A         2,042.65         2,042.65    2,042.65

 Other - The Bank of New York Mellon          2600-000    N/A         1,970.52         1,970.52    1,970.52

 Other - ARTHUR B. LEVINE COMPANY             2300-000    N/A         4,931.00         4,931.00    4,931.00

 Other - The Bank of New York Mellon          2600-000    N/A         2,230.39         2,230.39    2,230.39

 Other - The Bank of New York Mellon          2600-000    N/A         1,952.43         1,952.43    1,952.43

 Other - The Bank of New York Mellon          2600-000    N/A         2,150.13         2,150.13    2,150.13

 Other - The Bank of New York Mellon          2600-000    N/A         2,074.90         2,074.90    2,074.90

 Other - The Bank of New York Mellon          2600-000    N/A         1,799.18         1,799.18    1,799.18

 Other - The Bank of New York Mellon          2600-000    N/A         2,103.67         2,103.67    2,103.67




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 Other - The Bank of New York Mellon      2600-000    N/A         1,908.12        1,908.12    1,908.12

 Other - Rabobank, N.A.                   2600-000    N/A         1,244.08        1,244.08    1,244.08

 Other - Rabobank, N.A.                   2600-000    N/A         1,468.04        1,468.04    1,468.04

 Other - Rabobank, N.A.                   2600-000    N/A         1,243.85        1,243.85    1,243.85

 Other - Rabobank, N.A.                   2600-000    N/A         1,286.54        1,286.54    1,286.54

 Other - ARTHUR B. LEVINE COMPANY         2300-000    N/A         4,931.00        4,931.00    4,931.00

 Other - Rabobank, N.A.                   2600-000    N/A         1,417.66        1,417.66    1,417.66

 Other - Rabobank, N.A.                   2600-000    N/A         1,364.63        1,364.63    1,364.63

 Other - Rabobank, N.A.                   2600-000    N/A         1,230.10        1,230.10    1,230.10

 Other - Rabobank, N.A.                   2600-000    N/A         1,447.81        1,447.81    1,447.81

 Other - Rabobank, N.A.                   2600-000    N/A         1,314.11        1,314.11    1,314.11

 Other - Rabobank, N.A.                   2600-000    N/A         1,268.48        1,268.48    1,268.48

 Other - Rabobank, N.A.                   2600-000    N/A         1,441.56        1,441.56    1,441.56

 Other - Rabobank, N.A.                   2600-000    N/A         1,221.10        1,221.10    1,221.10

 Other - Rabobank, N.A.                   2600-000    N/A         1,437.28        1,437.28    1,437.28

 Other - Rabobank, N.A.                   2600-000    N/A         1,347.98        1,347.98    1,347.98

 Other - Rabobank, N.A.                   2600-000    N/A         1,215.72        1,215.72    1,215.72

 Other - Rabobank, N.A.                   2600-000    N/A         1,257.45        1,257.45    1,257.45

 Other - Rabobank, N.A.                   2600-000    N/A         1,385.72        1,385.72    1,385.72

 Other - Rabobank, N.A.                   2600-000    N/A         1,297.01        1,297.01    1,297.01

 Other - ARTHUR B. LEVINE COMPANY         2300-000    N/A         4,931.00        4,931.00    4,931.00

 Other - Rabobank, N.A.                   2600-000    N/A         1,248.19        1,248.19    1,248.19

 Other - Rabobank, N.A.                   2600-000    N/A         1,415.00        1,415.00    1,415.00

 Other - Rabobank, N.A.                   2600-000    N/A         1,241.41        1,241.41    1,241.41

 Other - Rabobank, N.A.                   2600-000    N/A         1,367.93        1,367.93    1,367.93

 Other - Rabobank, N.A.                   2600-000    N/A         1,323.15        1,323.15    1,323.15

 Other - Rabobank, N.A.                   2600-000    N/A         1,150.71        1,150.71    1,150.71

 Other - Rabobank, N.A.                   2600-000    N/A         1,447.22        1,447.22    1,447.22

 Other - Rabobank, N.A.                   2600-000    N/A         1,274.83        1,274.83    1,274.83

 Other - Rabobank, N.A.                   2600-000    N/A         1,188.13        1,188.13    1,188.13

 Other - Rabobank, N.A.                   2600-000    N/A         1,356.04        1,356.04    1,356.04

 Other - Rabobank, N.A.                   2600-000    N/A         1,269.33        1,269.33    1,269.33

 Other - Rabobank, N.A.                   2600-000    N/A         1,225.26        1,225.26    1,225.26

 Other - Rabobank, N.A.                   2600-000    N/A         1,350.13        1,350.13    1,350.13




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 Other - Rabobank, N.A.                   2600-000            N/A            1,305.93        1,305.93        1,305.93

 Other - Rabobank, N.A.                   2600-000            N/A            1,219.86        1,219.86        1,219.86

 Other - ARTHUR B. LEVINE COMPANY         2300-000            N/A            4,931.00        4,931.00        4,931.00

 Other - Rabobank, N.A.                   2600-000            N/A            1,339.57        1,339.57        1,339.57

 Other - Rabobank, N.A.                   2600-000            N/A            1,251.15        1,251.15        1,251.15

 Other - Rabobank, N.A.                   2600-000            N/A            1,207.71        1,207.71        1,207.71

 Other - Rabobank, N.A.                   2600-000            N/A            1,372.49        1,372.49        1,372.49

 Other - Rabobank, N.A.                   2600-000            N/A            1,200.94        1,200.94        1,200.94

 Other - Rabobank, N.A.                   2600-000            N/A            1,199.16        1,199.16        1,199.16

 Other - Rabobank, N.A.                   2600-000            N/A            1,362.85        1,362.85        1,362.85

 Other - Rabobank, N.A.                   2600-000            N/A            1,195.61        1,195.61        1,195.61

 Other - Rabobank, N.A.                   2600-000            N/A            1,193.95        1,193.95        1,193.95

 Other - ARTHUR B. LEVINE COMPANY         2300-000            N/A            4,931.00        4,931.00        4,931.00

 Other - Rabobank, N.A.                   2600-000            N/A            1,352.21        1,352.21        1,352.21

 Other - Rabobank, N.A.                   2600-000            N/A            1,183.59        1,183.59        1,183.59

 Other - Rabobank, N.A.                   2600-000            N/A            1,344.97        1,344.97        1,344.97

 Other - Rabobank, N.A.                   2600-000            N/A            1,220.77        1,220.77        1,220.77

 Other - Rabobank, N.A.                   2600-000            N/A            1,178.39        1,178.39        1,178.39

 TOTAL CHAPTER 7 ADMIN. FEES                            N/A            $7,635,201.85    $7,635,201.85   $7,635,201.85
 AND CHARGES


EXHIBIT 5 PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES


                                      UNIFORM
    PAYEE                                           CLAIMS            CLAIMS             CLAIMS          CLAIMS
                                       TRAN.
                                                   SCHEDULED         ASSERTED           ALLOWED           PAID
                                       CODE
                                                 None

 TOTAL PRIOR CHAPTER ADMIN.                             N/A                     $0.00          $0.00           $0.00
 FEES AND CHARGES


EXHIBIT 6 PRIORITY UNSECURED CLAIMS


                                      UNIFORM       CLAIMS            CLAIMS
   CLAIM                                           SCHEDULED         ASSERTED            CLAIMS          CLAIMS
    NO.           CLAIMANT             TRAN.         (from Form     (from Proofs of     ALLOWED           PAID
                                       CODE              6E)             Claim)
           INTERNAL REVENUE SERVICE   5300-000          N/A               N/A                1,681.48        1,681.48

           INTERNAL REVENUE SERVICE   5300-000          N/A               N/A                 417.01          417.01

           INTERNAL REVENUE SERVICE   5300-000          N/A               N/A                   97.52          97.52




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             NYS INCOME TAX               5300-000      N/A                    N/A                  132.37       132.37

             NYS INCOME TAX               5300-000      N/A                    N/A                   72.04         72.04

             ILLINOIS DEPARTMENT OF       5300-000      N/A                    N/A                  147.75       147.75
             REVENUE
             INTERNAL REVENUE SERVICE     5800-000      N/A                    N/A                  417.01       417.01

             INTERNAL REVENUE SERVICE     5800-000      N/A                    N/A                   97.52         97.52

     21      STATE OF NEW YORK DEPARTMENT 5800-000      N/A                          482.52         482.52       482.52
             OF LABOR
    128P     ALEKSANDAR STANOJEVIC        5300-000      N/A                       4,925.00        3,169.24      3,169.24

    149      HARVEY STARK                 5300-000      N/A                       1,800.90        1,008.49      1,008.49

    152      PENNSYLVANIA DEPARTMENT OF   5800-000      N/A                     24,352.00        24,352.00     24,352.00
             REVENUE
    157      THE CITY OF NEW YORK         5800-000      N/A                     60,000.00        60,000.00     60,000.00

    158P     NEW YORK STATE DEPARTMENT OF 5800-000                1.00          37,727.00        18,863.50     18,863.50

    161      KATHERINE RAUSA              5800-000      N/A                          250.00         250.00       250.00

 NOTFILED    City of New York             5800-000                1.00         N/A                  N/A             0.00

 NOTFILED    IRS                          5800-000                1.00         N/A                  N/A             0.00

 NOTFILED    NYC Dept. of Finance         5800-000                1.00         N/A                  N/A             0.00

 NOTFILED    United States Attorney       5800-000                1.00         N/A                  N/A             0.00

 TOTAL PRIORITY UNSECURED                                     $5.00           $129,537.42      $111,188.45   $111,188.45
 CLAIMS


EXHIBIT 7 GENERAL UNSECURED CLAIMS


                                          UNIFORM     CLAIMS               CLAIMS
   CLAIM                                             SCHEDULED            ASSERTED             CLAIMS        CLAIMS
    NO.            CLAIMANT                TRAN.     (from Form          (from Proofs of      ALLOWED         PAID
                                           CODE          6F)                  Claim)
      1      JOHN MACEDO                  7100-000             49.32                  49.32          49.32         19.32

      2      JASON DESOUTO                7100-000            501.14                 501.14         501.14       196.26

      3      JANICE DESOUTO               7100-000            337.26                 337.26         337.26       132.09

      4      GILBERTA NOVERSA             7100-000             41.35                  41.35          41.35         16.20

      5      MRS. MARIA TORRES            7100-000      N/A                           68.39          68.39         26.78

      6      MR. MANUEL TORRES            7100-000      N/A                           32.37          32.37         12.68

      7      ALEXANDER C. PIERCE          7100-000            150.00                 150.00         150.00         58.74

      8      TRACEY REBELB                7100-000            170.00                 170.00         170.00       101.97

      9      LENA RAMSEY                  7100-000             56.72                  56.72          56.72         22.21

     10      LENA RAMSEY                  7100-000             50.42           N/A                  N/A             0.00

     11      STEVEN DAVIS                 7100-000            125.82                 125.82         125.82         75.47

     12      YVONNE COVAN                 7100-000             82.00                  82.00          82.00         49.19




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     13    PATRICIA STEPHENS             7100-000           69.00       69.00          69.00        27.02

     14    STEVEN FISHER                 7100-000          120.00      120.00         120.00        46.99

     15    NORBERT MONIZ                 7100-000           79.51       79.51          79.51        31.14

     16    LIQUIDITY SOLUTIONS, INC.,    7100-000    N/A              3,140.80       3,140.80     1,229.99
           TRANSFEREE
     17    CHERYL DIAS                   7100-000           50.00       50.00          50.00        29.99

     18    NATIONAL FUEL                 7100-000          162.23      162.23         162.23        63.53

     19    WILLIAM J. KUNEMAN            7100-000          200.23      200.23         200.23        78.41

     20    MORGAN, LEWIS & BOCKIUS LLP 7100-000       97,592.70      97,592.70      97,592.70    38,218.95

     22    ASM CAPITAL, L.P. TRANSFEREE 7100-000     N/A             20,083.44      20,083.44     7,865.02
           OF
     23    PETER A. BORGES              7100-000           107.31      107.31         107.31        42.02

     24    IBM CREDIT, LLC.              7100-000    598,492.00     598,492.00   598,492.00     234,379.60

     25    MABLE HENDERSON               7100-000          162.23      162.23         162.23        63.53

     26    SAM MARCOS CHECK CASHING      7100-000           25.73       25.73          25.73        10.08

     27    SAM MARCOS CHECK CASHING      7100-000      1,357.21       1,357.21       1,357.21      531.51

     28    ASM CAPITAL, L.P.,            7100-000    N/A              5,379.76       5,379.76     2,106.81
           TRANSFEREE OF
     29    ANN & HOPE, INC.              7100-000          852.75      852.75         852.75       333.95

     30    AMERICAN SOLUTIONS FOR        7100-000     16,027.33      16,027.33      16,027.33     6,276.57
           BUSINESS
     31    MICKEY GROCERY INC.           7100-000          328.11      328.11         328.11       128.49

     32    COTTONLAND FINANCIAL          7100-000          333.25      333.25         333.25       130.51
           SERVICES, INC.
     33    SPCP GROUP, LLP ASSNR OF      7100-000    N/A               265.00         265.00       103.78
           RED & WHITE EXPRESSMART
     34    DISCOVERY DEPOT               7100-000          840.00      840.00         840.00       503.87

     35    DISCOVER FINANCIAL SERVICES, 7100-000       2,435.62       2,435.62       2,435.62      953.83
           INC.
     36    GARDERE VILLAGE SUPERMARKET 7100-000            850.00      850.00         850.00       332.87

     37    CLEM'S CREATIONS              7100-000          846.65      846.65         846.65       331.56

     38    ISAIAH CHECK CASHING, INC.    7100-000          285.00      285.00         285.00       111.61

     39    SAWEJKO COMMUNICATIONS        7100-000      1,628.75       1,628.75       1,628.75      637.85

     40    THOMAS J. HANSON              7100-000      6,285.17       6,285.17       6,285.17     2,461.38

     41    NIAGARA MOHAWK POWER   CORP., 7100-000     37,142.08      37,142.08      37,142.08    14,545.47
           A NATIONAL GRID INC.
     42    NIAGARA MOHAWK POWER   CORP., 7100-000      4,728.84       4,728.84       4,728.84     1,851.89
           A NATIONAL GRID INC.
     43    NIAGARA MOHAWK POWER   CORP., 7100-000           41.55       41.55          41.55        16.27
           A NATIONAL GRID INC.
     44    NIAGARA MOHAWK POWER   CORP., 7100-000     22,490.66      22,490.66      22,490.66     8,807.72
           A NATIONAL GRID INC.
     45    BROWN'S PAWN & CYCLE          7100-000      1,200.00       1,200.00       1,200.00      719.82

     46    PENNSYLVANIA DEPARTMENT OF    7100-000     16,310.00      16,310.00           0.00         0.00
           REVENUE
     47    LIQUIDITY SOLUTIONS INC.      7100-000    N/A              1,787.96       1,787.96      700.20




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     48     DISCOUNT PAWN AND JEWELRY,   7100-000      1,755.00          1,755.00         1,755.00        687.29
            CORP.
     49     ELYSE MANCHER                7100-000      1,897.30          1,897.30         1,897.30        743.01

     50     DENNIS SLUDER                7100-000          571.20           571.20         571.20         223.69

     51     RALPH E. LOPRESTI            7100-000          590.00           590.00         590.00         231.05

     52     RCN TELECOM SERVICES, INC.   7100-000    213,233.65       213,233.65       213,233.65     127,907.24

     53     NEW YORK STATE BANKING       7100-000    N/A                 1,846.90         1,846.90        723.28
            DEPARTMENT
     54U    ENTERGY SERVICES, INC.       7100-000    N/A            16,404,509.28    16,404,509.28   6,424,283.51

     55     ENTERGY MISSISSIPPI, INC.    7100-000   4,287,656.38      N/A                  N/A              0.00

     56     ENTERGY LOUISIANA, INC.      7100-000   8,766,112.77      N/A                  N/A              0.00

     57     ENTERGY NEW ORLEANS, INC.    7100-000    N/A              N/A                     0.00          0.00

     58     ENTERGY ARKANSAS, INC.       7100-000   1,786,929.20      N/A                  N/A              0.00

     59     GREGORY C. LEGG              7100-000      8,113.24          8,113.24         8,113.24      3,177.28

     61     NICHOLE MONGEON, GENERAL     7100-000    N/A                 2,174.20         2,174.20        851.45
            COUNSEL
     62     SERVICE REX ALL DRUGS        7100-000          343.35           343.35         343.35         134.46

     63     WHITTINGTONS NOTARY SERVICE, 7100-000      2,846.40          2,846.40         2,846.40      1,114.70
            LLC
     64     EZ CASH                      7100-000      3,125.45          3,125.45         3,125.45      1,223.98

     65     ASSOCIATED SUPERMARKET       7100-000      1,755.02          1,755.02         1,755.02        687.30

     66     IRMA ROSE RAPALO             7100-000    109,093.45       N/A                  N/A              0.00

     67     CITIGROUP                    7100-000     21,325.00        21,325.00        21,325.00      12,791.70

     68     ORANGE AND ROCKLAND          7100-000     35,341.44       N/A                  N/A              0.00
            UTILITIES, INC.
     69     CHECKFREE SERVICES, CORP.    7100-000    unknown          N/A                  N/A              0.00

     70     JAMES ROBERT SLIGH           7100-000    450,000.00       250,000.00       250,000.00      97,904.23

     71     AT&T WIRELESS SERVICES, INC. 7100-000     59,967.20        43,881.96        43,881.96      17,184.92

     72     LIQUIDITY SOLUTIONS, INC.    7100-000    N/A                 7,046.59         7,046.59      2,759.56

     73     CEBCO CHECK CASHER CORP.     7100-000      9,824.22          9,824.11         9,824.11      3,847.29

     74     MONEY CENTERS                7100-000          151.09           151.09         151.09          59.17

     75     MONEY CENTERS                7100-000           37.91            37.91          37.91          14.85

     76     MONEY CENTERS                7100-000           46.71            46.71          46.71          18.29

     77     MONEY CENTERS                7100-000           76.49            76.49          76.49          29.95

     78     MONEY CENTERS                7100-000           40.56            40.56          40.56          15.88

     79     LINDA A. CHANCEY             7100-000      1,200.00       N/A                  N/A              0.00

     80     JENN GREG ENTERPRISES INC.   7100-000     33,391.73        33,391.73        33,391.73      13,076.77

     81     GEM CHECK CASHING CORP.      7100-000      6,815.00          6,815.00         6,815.00      4,087.95

     82     TOMPKINS EXPRESS CHECK       7100-000          426.00           426.00         426.00         255.53
            CASHING CORP.



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     83    VEIL CHECK CASHING CORP.     7100-000      5,095.00        5,095.00        5,095.00       3,056.21

     84    VALE CHECKING OF NEW YORK,   7100-000          257.00          257.00        257.00         154.16
           INC.
     85    143 WEST ASSOCIATES, INC.    7100-000    unknown         N/A                 N/A              0.00

     86    143 WEST ASSOCIATES, INC.    7100-000    unknown         N/A                 N/A              0.00

     87    143 WEST ASSOCIATES, INC.    7100-000    unknown         N/A                 N/A              0.00

     88    PFG GAS, INC.                7100-000    356,421.14      N/A                 N/A              0.00

     89    143 WEST ASSOCIATES, INC.    7100-000    unknown         N/A                 N/A              0.00

     90    NORTH PENN GAS COMPANY       7100-000    356,421.14      N/A                 N/A              0.00

     91    URIBEA PAYMENT CENTERS, INC. 7100-000    unknown         N/A                 N/A              0.00

     92    URIBEA PAYMENT CENTERS, INC. 7100-000    unknown         N/A                 N/A              0.00

     93    PPL GAS UTILITIES            7100-000    356,421.14      169,045.42      169,045.42      66,201.05
           CORPORATION
     94    PPL ELECTRIC UTILITIES       7100-000   1,870,383.14     952,127.00      952,127.00     372,869.05
           CORPORATION
     95    URIBEA REALTY CORP.          7100-000    unknown         N/A                 N/A              0.00

     96    URIBEA REALTY CORP.          7100-000    unknown         N/A                 N/A              0.00

     97    URIBEA REALTY CORP.          7100-000    unknown         N/A                 N/A              0.00

     98    BRONX CHECK CASHING CORP.    7100-000    unknown         N/A                 N/A              0.00

     99    BRONX CHECK CASHING CORP.    7100-000    unknown         N/A                 N/A              0.00

    100    BERNIE & DOREEN BREVDEH      7100-000    unknown         N/A                 N/A              0.00

    101    BERNIE BREVDEH               7100-000    unknown         N/A                 N/A              0.00

    102    DIANNE E. DUSMAN             7100-000    N/A              24,387.41       24,387.41       9,550.52

    103    DIANNE E. DUSMAN             7100-000    N/A              15,164.09       15,164.09       5,938.51

    104    GERALD GOLDMAN, ESQ.         7100-000    N/A             N/A                   0.00           0.00

    105    GERALD GOLDMAN, ESQ.         7100-000    N/A             N/A                   0.00           0.00

    106    MR. QUICK LOAN, INC.         7100-000      6,704.56        6,704.56        6,704.56       2,625.62

    107    PUBLIC SERVICE COMPANY OF    7100-000     47,547.74       46,639.11       46,639.11      18,264.66
           NEW HAMPSHIRE
    108    WESTERN MASSACHUSETTS        7100-000     40,298.97       41,072.32       41,072.32      16,084.62
           ELECTRIC COMPANY
    109    LONG ISLAND LIGHTING COMPANY 7100-000     35,802.22       35,802.22       35,802.22      14,020.76
           D/B/A LIPA
    110    KEYSPAN ENERGY DELIVERY NEW 7100-000      56,881.68       56,881.68       56,881.68      22,275.83
           ENGLAND
    111    KEYSPAN GAS EAST CORPORATION 7100-000     31,620.35       31,620.35       31,620.35      12,383.06
           D/B/A
    112    FIDELITY & DEPOSIT CO. OF    7100-000    unknown         N/A                 N/A              0.00
           MARYLAND
    113    CONNECTICUT LIGHT AND POWER 7100-000     unknown         N/A                 N/A              0.00
           COMPANY
    114    ONE STOP FINANCIAL SERVICES 7100-000      18,373.99       18,373.99       18,373.99       7,195.57

    115    PFG GAS, INC.                7100-000    356,421.14      N/A                 N/A              0.00

    116    NEW YORK CITY HOUSING        7100-000   7,054,854.12    4,179,354.12    4,179,354.12   1,636,705.82
           AUTHORITY



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    117     JPMORGAN CHASE BANK           7100-000    unknown         9,736,813.46     9,736,813.46   3,813,100.97

    118     THE BROOKLYN UNION GAS        7100-000    2,435,236.97    2,435,236.97     1,930,736.97    756,109.28
            COMPANY D/B/A
    119     SAMCEIL CHECK CASHING         7100-000        1,103.00        1,103.00         1,103.00        431.95
            SERVICE, INC.
    121     CONSOLIDATED EDISON COMPANY   7100-000    unknown        19,744,295.43    19,744,295.43   7,732,200.30
            OF NEW YORK, INC.
    122     YANKEE GAS COMPANY            7100-000        9,596.10        7,505.53         7,505.53      2,939.29

    123     PEOPLE'S BANK                 7100-000    unknown          N/A                  N/A              0.00

    124     CENTRAL MAINE POWER COMPANY 7100-000      unknown           81,099.26        81,099.26      31,759.84

    126     MONEY CENTERS GERALD          7100-000           38.58            38.58          38.58          15.11
            GOLDMAN, ESQ.
    127     J&F MINI MARKET, INC.         7100-000        2,544.54        2,544.54         2,544.54        996.48

    128U    ALEKSANDAR STANOJEVIC         7100-000        7,200.00        2,275.00         2,275.00        890.93

    129     TELESECTOR RESOURCES GROUP    7100-000   13,861,966.64   12,600,000.00    12,600,000.00   4,934,373.28
            INC. D/B/A VERIZON SVCS
    130     LIQUIDITY SOLUTIONS, INC.     7100-000    N/A                 1,985.00         1,985.00        777.36

    131     ASM CAPITAL, TFREE OF TIME    7100-000    N/A             1,097,679.12     1,097,679.12    429,869.72
            WARNER CABLE OF NYC
    132     CSC HOLDINGS, INC.            7100-000    1,590,390.40    1,373,657.52     1,373,657.52    537,947.54

    133     NATIONAL UNION FIRE INS. CO. 7100-000     N/A              623,708.69       623,708.69     244,254.88
            OF PITTSBURG, PA, TFREE
    134     SCOTT J. WOLFE               7100-000           199.25           199.25         199.25          78.03

    135     MASSACHUSETTS ELECTRIC, A     7100-000      22,490.66      N/A                  N/A              0.00
            NATIONAL GRID, INC. CO.
    136     JEFF A. WALTERS               7100-000          400.54           400.54         400.54         156.86

    137     BRAZIL FOR YOU                7100-000          871.39           871.39         871.39         341.25

    138     DANIEL CABRERA                7100-000        1,625.50        1,625.50         1,625.50        975.05

    139     SPRINT SPECTRUM L.P. D/B/A    7100-000      77,411.36       77,411.36        77,411.36      30,315.60
            SPRINT PCS
    140     BELLSOUTH                     7100-000      31,835.42       31,835.42        31,835.42      12,467.29
            TELECOMMUNICATIONS, INC.
    141     JUDITH M. FERTIL              7100-000          128.12           128.12         128.12          50.17

    142     CITICORP VENDOR FINANCE INC. 7100-000       50,953.96       50,953.96        50,953.96      30,564.50

    143     FIDELITY & DEPOSIT CO. OF     7100-000    unknown          N/A                  N/A              0.00
            MARYLAND
    144     FIDELITY & DEPOSIT CO. OF     7100-000    unknown          N/A                  N/A              0.00
            MARYLAND
    145     FIDELITY & DEPOSIT CO. OF     7100-000    unknown          N/A                  N/A              0.00
            MARYLAND
    146     ANA ORTIZ                     7100-000          280.69           280.69         280.69         109.92

    147     LIQUIDITY SOLUTIONS, INC.     7100-000    N/A                 2,342.07         2,342.07        917.19

    148     FIDELITY & DEPOSIT CO. OF     7100-000    unknown          N/A                  N/A              0.00
            MARYLAND
    150     CITY OF NEW YORK              7100-000      24,188.02       24,188.02        24,188.02       9,472.44

    151     CITY OF NEW YORK              7100-000     949,800.22      949,800.22       596,300.22     233,521.26

    153     CAREER GROUP INC.             7100-000        1,296.00        1,296.00         1,296.00        507.54

    154     SCATURRO SUPERMARKETS         7100-000        1,105.00        1,105.00         1,105.00        432.74




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    155      CITICORP VENDOR FINANCE      7100-000    unknown         N/A                 N/A             0.00

    156      JPMORGAN CHASE BANK, N.A.    7100-000     71,526.60      N/A                 N/A             0.00

    158U     NEW YORK STATE DEPARTMENT OF 7100-000     46,176.35        8,449.35        8,449.35      3,308.91

    159      CONSOLIDATED EDISON COMPANY 7100-000       4,755.24        4,755.24        4,755.24      1,862.23
             OF NEW YORK, INC.
    160      DANIEL CABRERA              7100-000       1,000.00      N/A                 N/A             0.00

    162      JOSE D. PENA OLIVER          7100-000      1,043.23        1,043.23            0.00          0.00

    163      JOSE D. PENA OLIVER          7100-000      1,047.23        1,047.23        1,047.23       410.11

    164      ASM CAPITAL, L.P.            7100-000    N/A             410,000.00      410,000.00    160,562.94

    165      ZURICH AMERICAN INSURANCE    7100-000    N/A             800,000.00            0.00          0.00
             COMPANY
    166      STORAGE USA                  7100-000    N/A              35,549.14       35,549.14     13,921.64

    167      ASM CAPITAL , ASSIGNEE OF    7100-000    N/A            1,097,679.12    1,097,679.12   429,869.72
             TIME WARNER
 NOTFILED    CHALLENGER CHECK CASHING     7100-000      7,046.59      N/A                 N/A             0.00
             CORP.
 NOTFILED    CLB CHECK CASHING, INC.      7100-000     20,083.44      N/A                 N/A             0.00

 NOTFILED    CONTINENTAL EXPRESS MONEY    7100-000      2,174.20      N/A                 N/A             0.00

 NOTFILED    COX COMMUNICATIONS LOUISIANA 7100-000    unknown         N/A                 N/A             0.00

 NOTFILED    EASON'S FURNITURE            7100-000      3,140.80      N/A                 N/A             0.00

 NOTFILED    ENTERGY GULF STATES, INC.    7100-000   7,748,298.62     N/A                 N/A             0.00

 NOTFILED    ENTERGY NEW ORLEANS, INC.    7100-000   2,365,512.31     N/A                 N/A             0.00

 NOTFILED    GREENWICH INSURANCE COMPANY 7100-000    2,077,426.71     N/A                 N/A             0.00

 NOTFILED    HARVEY STARK                 7100-000      1,800.90      N/A                 N/A             0.00

 NOTFILED    JACQUELINE T. MELE           7100-000      2,342.07      N/A                 N/A             0.00

 NOTFILED    MANUEL TORRES                7100-000           32.37    N/A                 N/A             0.00

 NOTFILED    MARIA TORRES                 7100-000           68.39    N/A                 N/A             0.00

 NOTFILED    NYS UNEMPLOYMENT INSURANCE   7100-000            1.00    N/A                 N/A             0.00
             FUND
 NOTFILED    PA OFFICE OF CONSUMER        7100-000     24,387.41      N/A                 N/A             0.00
             ADVOCATE
 NOTFILED    PA OFFICE OF CONSUMER        7100-000     15,164.09      N/A                 N/A             0.00
             ADVOCATE
 NOTFILED    RED & WHITE EXPRESSMART      7100-000          265.00    N/A                 N/A             0.00

 NOTFILED    SAN MARCOS CHECK CASHING     7100-000      5,379.76      N/A                 N/A             0.00

 NOTFILED    STATE OF NEW YORK DEPARTMENT 7100-000          482.52          482.52        482.52          0.00
             OF LABOR
 NOTFILED    THE CITY OF NEW YORK         7200-000     60,500.00       60,000.00       60,000.00          0.00

 NOTFILED    TIME WARNR CABLE OF NY       7100-000   2,189,679.12     N/A                 N/A             0.00

 NOTFILED    UGI UTILITIES, INC.          7100-000    623,708.69      N/A                 N/A             0.00

 NOTFILED    VIC'S CHECK CASHING CORP.    7100-000      1,787.96      N/A                 N/A             0.00

 NOTFILED    WEFOUR CORP DBA ALLIED       7100-000      1,985.00      N/A                 N/A             0.00
             EXPRESS



UST Form 101-7-TDR (10/1/2010)
            04-12771-mkv     Doc 733      Filed 12/19/17 Entered 12/19/17 17:57:32             Main Document
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 NOTFILED    WINNIE, BANTA, HETHERINGTON, 7100-000      unknown           N/A                  N/A                0.00
             BASRALIAN & KAHN, P.C.
 NOTFILED    NEW YORK STATE BANKING       7100-000        11,126.59       N/A                  N/A                0.00
             DEPARTMENT
 NOTFILED    NEW YORK STATE DEPART OF     7100-000          209.23        N/A                  N/A                0.00
             TAXATION AND FINANCE
 NOTFILED    PENNSYLVANIA DEPARTMENT OF 7100-000          24,352.00       N/A                  N/A                0.00
             REVENUE
 NOTFILED    KATHERINE RAUSA              7100-000          250.00        N/A                  N/A                0.00

 NOTFILED    PEOPLE'S BANK               7100-000      2,634,960.48       N/A                  N/A                0.00

 TOTAL GENERAL UNSECURED                             $64,227,153.29   $74,711,049.12   $73,035,695.89   $28,641,255.23
 CLAIMS




UST Form 101-7-TDR (10/1/2010)
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                                                                      Form 1                                                                              Page: 1

                                         Individual Estate Property Record and Report
                                                          Asset Cases
Case Number: 04-12771 (MKV)                                                   Trustee:         (521200)    JOHN S. PEREIRA
Case Name:       CASHPOINT NETWORK SERVICES INC.                              Filed (f) or Converted (c): 04/22/04 (f)
                                                                              §341(a) Meeting Date:        06/14/04
Period Ending: 12/07/17                                                       Claims Bar Date:             09/14/04

                              1                                2                          3                     4                5                    6

                    Asset Description                       Petition/           Estimated Net Value         Property      Sale/Funds             Asset Fully
         (Scheduled And Unscheduled (u) Property)         Unscheduled      (Value Determined By Trustee,   Abandoned      Received by         Administered (FA)/
                                                             Values           Less Liens, Exemptions,      OA=§554(a)      the Estate          Gross Value of
Ref. #                                                                            and Other Costs)                                            Remaining Assets

 1       TURNOVER OF FUNDS FROM AGENT (u)                   6,404,000.00                 6,404,000.00                         7,001,226.64                    FA

 2       TURNOVER OF FLEET BANK ACCOUNTS (u)                        0.00                         0.00                         5,625,491.18                    FA
           Acct No. 942917442 - $5,049,076.62
         Acct No. 9429134977 - $474,119.40
         Acct No. 9429337969 - $100,853.44

 3       TURNOVER OF FUNDS FROM AMERISERV                      Unknown                        Unknown                          875,035.04                     FA
         FINANCIAL (u)

 4       TURNOVER OF FUNDS FROM MERCHANTS &                         0.00                         0.00                             2,458.43                    FA
         PLANTERS (u)

 5       CONTRIBUTION REFUND (u)                                    0.00                         0.00                             5,000.00                    FA

 6       TURNOVER OF FUNDS IN BANK ACCOUNTS (u)            34,463,000.00              34,463,000.00                          27,043,326.58                    FA

 7       SETTLEMENT OF CLAIM - ENTERPRISE                           0.00                         0.00                                666.00                   FA
         RENTACAR (u)
           Settlement of 66.6% deductible reimbursement
         against claimant Enterprise Rentacar.

 8       COMMISSIONS (u)                                            0.00                         0.00                             1,930.39                    FA

 9       REFUND (u)                                                 0.00                         0.00                            29,916.33                    FA

10       DEPOSITS WITH UTILITIES AND PROFESSIONALS           303,000.00                   303,000.00                           200,000.00                     FA
         (u)

11       TURNOVER OF EXCESS FUNDS PAID BY DEBTOR               Unknown                        Unknown                            43,093.83                    FA
         (u)

12       RENT (u)                                              Unknown                            N/A                             3,800.00                    FA

13       A/P V. 143 WEST ASSOCIATES, INC. (u)                  Unknown                        Unknown                          107,845.38                     FA
           Adv. Pro. No. 04-04396

14       SETTLEMENT - SAMUEL BREVDEH (u)                            0.00                         0.00                            37,515.73                    FA
           Adv. Pro. No. 04-04397

15       SETTLEMENT - CHRISTOPHER DEWINTER (u)                      0.00                         0.00                            37,500.00                    FA
           Adv. Pro. No. 05-3647

16       SETTLEMENT - BERNIE BREDVEH (u)                            0.00                         0.00                          324,115.29                     FA

17       REAL PROPERTY - 373 HENRY STREET (u)                       0.00                         0.00                         1,250,553.78                    FA

18       A/P V. WINK CHECK LLC (u)                             Unknown                           0.00                          116,830.56                     FA


                                                                                                                         Printed: 12/07/2017 12:32 PM      V.13.30
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                                            Individual Estate Property Record and Report
                                                             Asset Cases
Case Number: 04-12771 (MKV)                                                           Trustee:        (521200)     JOHN S. PEREIRA
Case Name:         CASHPOINT NETWORK SERVICES INC.                                    Filed (f) or Converted (c): 04/22/04 (f)
                                                                                      §341(a) Meeting Date:        06/14/04
Period Ending: 12/07/17                                                               Claims Bar Date:             09/14/04

                                1                                       2                         3                     4              5                    6

                    Asset Description                                Petition/          Estimated Net Value         Property      Sale/Funds           Asset Fully
         (Scheduled And Unscheduled (u) Property)                  Unscheduled     (Value Determined By Trustee,   Abandoned      Received by       Administered (FA)/
                                                                      Values          Less Liens, Exemptions,      OA=§554(a)      the Estate        Gross Value of
Ref. #                                                                                    and Other Costs)                                          Remaining Assets

           A/P #05-1186 Turnover action - pending -
         installment agreement reached

19       A/P v. SMART TONE, INC. (u)                                    Unknown                          0.00                           4,809.45                    FA
           a/p #05-1183 - TURNOVER ACTION - default
         judgment obtained.

20       A/P V. J.K.N.Y., INC. (u)                                          0.00                   12,456.58                                 0.00                   FA
           A/P #05-1176 Turnover action - Default judgment
         obtained - uncollectable. (See Footnote)

21       A/P V. MTW CHECK CASHING CORP. (u)                             Unknown                          0.00                          19,932.96                    FA
           A/P #04-4358 - Turnover action - settled in principal

22       A/P V. LEFTA CHECK CASHING CORP. (u)                           Unknown                          0.00                          43,067.04                    FA
           A/P V. LEFTA CHECK CASHING CORP. -
         TURNOVER ACTION - GLOBAL SETTLEMENT
         WITH MTW ACTION

23       A/P v. STATEN ISLAND PAYMENT CENTER, INC.                          0.00                         0.00                                0.00                   FA
         (u)
           A/P V. STATEN ISLAND PAYMENT CENTER, INC..
         - TURNOVER ACTION - GLOBAL SETTLEMENT
         WITH MTW ACTION (See Footnote)

24       A/P V. V&V CHECK CASHING CORP. (u)                                 0.00                         0.00                          10,436.00                    FA
           Adv. Pro. No. 05-1185

25       SETTLEMENT - JACKSON CHECK CASHING                                 0.00                         0.00                          11,043.50                    FA
         CORP. (u)

26       SETTLEMENT - DAVIDOFF MALITO & HUTCHER                             0.00                         0.00                         215,000.00                    FA
         LLP (u)

27       A/P v. ONAE'S & PRICE (u)                                          0.00                 2,000,000.00                              215.33                   FA
           A/P #06-1692 - Two Million Dollar judgment against
         O'Nae's & Price, Inc. The motion to domesticate
         judgment in Mississippi was objected to but objection
         was overcome on domesticating the judgment and it
         had been appealed. A decision was rendered in
         Trustee's favor and judgments against O'Nae's &
         Price, Inc.'s property have been filed in Mississippi.
         Trustee attempts to sell the judgment were not
         productive.

                                                                                                                                 Printed: 12/07/2017 12:32 PM    V.13.30
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                                           Individual Estate Property Record and Report
                                                            Asset Cases
Case Number: 04-12771 (MKV)                                                                 Trustee:         (521200)   JOHN S. PEREIRA
Case Name:         CASHPOINT NETWORK SERVICES INC.                                          Filed (f) or Converted (c): 04/22/04 (f)
                                                                                            §341(a) Meeting Date:       06/14/04
Period Ending: 12/07/17                                                                     Claims Bar Date:            09/14/04

                                1                                         2                             3                     4              5                   6

                     Asset Description                                Petition/             Estimated Net Value          Property       Sale/Funds          Asset Fully
          (Scheduled And Unscheduled (u) Property)                  Unscheduled        (Value Determined By Trustee,    Abandoned       Received by      Administered (FA)/
                                                                       Values             Less Liens, Exemptions,       OA=§554(a)       the Estate       Gross Value of
Ref. #                                                                                        and Other Costs)                                           Remaining Assets

28        A/P v. BROOKLYN UNION GAS CO. D/B/A                                  0.00                         Unknown                               0.00                    FA
          KEYSPAN
            A/P #08-1008 (See Footnote)

29        A/P v. PSEG (u)                                                      0.00                         Unknown                          17,500.00                    FA
            A/P #06-1427

30        A/P v. CONNECTICUT NATURAL GAS CORP. (u)                             0.00                         Unknown                          13,500.00                    FA
            A/P #06-1428

31        A/P V. BISA CHECK CASHING, CORP (u)                                  0.00                     178,779.19                                0.00                    FA
            Adv. Pro. No. 04-04344
          turnover action - default judgment obtained (See
          Footnote)

32        A/P V. TRIBORO CHECK CASHING, CORP (u)                               0.00                      43,056.61                                0.00                    FA
            Adv. Pro. No. 04-04366
          turnover action - default judgment obtained (See
          Footnote)

33        A/P V. NEW DEAL SUPERMARKETS, INC. (u)                               0.00                    2,111,373.79                               0.00                    FA
            Adv. Pro. No. 05-1072
          turnover action - default judgment obtained (See
          Footnote)

34        A/P V. GALAXIA CHECK CASHING CORP (u)                                0.00                      11,816.67                                0.00                    FA
            Adv. Pro. No. 06-1805
          turnover action - default judgment obtained (See
          Footnote)

35        A/P V. PORT CHESTER CHECK CASHING CORP.                              0.00                      10,593.37                                0.00                    FA
          (u)
            Adv. Pro. No. 06-1806
          turnover action - default judgment obtained (See
          Footnote)

 Int      INTEREST (u)                                                    Unknown                               N/A                       2,632,405.90                    FA

 36       Assets      Totals (Excluding unknown values)             $41,170,000.00                $45,538,076.21                       $45,674,215.34                  $0.00


       RE PROP# 20       default judgment of $12,456.58 uncollectable.
       RE PROP# 23       per global settlement with MTW, action not commenced.
       RE PROP# 28       settled by Defendant reducing its proof of claim by $504,500.00.
       RE PROP# 31       default judgment of $178,779.19 uncollectable

                                                                                                                                       Printed: 12/07/2017 12:32 PM    V.13.30
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                                         Individual Estate Property Record and Report
                                                          Asset Cases
Case Number: 04-12771 (MKV)                                                               Trustee:         (521200)        JOHN S. PEREIRA
Case Name:       CASHPOINT NETWORK SERVICES INC.                                          Filed (f) or Converted (c): 04/22/04 (f)
                                                                                          §341(a) Meeting Date:            06/14/04
Period Ending: 12/07/17                                                                   Claims Bar Date:                 09/14/04

                               1                                         2                            3                          4                    5                     6

                    Asset Description                                Petition/             Estimated Net Value              Property            Sale/Funds            Asset Fully
         (Scheduled And Unscheduled (u) Property)                  Unscheduled        (Value Determined By Trustee,        Abandoned            Received by        Administered (FA)/
                                                                      Values             Less Liens, Exemptions,           OA=§554(a)            the Estate         Gross Value of
Ref. #                                                                                       and Other Costs)                                                      Remaining Assets

     RE PROP# 32       default judgment of $43,056.61 uncollectable
     RE PROP# 33       default judgment of $2,111,373.79 uncollectable
     RE PROP# 34       default judgment of $11,816.67 uncollectable
     RE PROP# 35       default judgment of $10,593.37 uncollectable



     Major Activities Affecting Case Closing:

                Mississippi counsel advises that it could take about 9 months for the appeal to be decided. If we win on appeal, we can file judgments against Price's property in
                Mississippi.
                3/3/15 follow up with Oakpoint re: sale of judgment
                7/31/15 Get from counsel all docs necessary to begin preparation of final report.

                IInterim distributions of approximately 39% have been made to date. All claims have been resolved. The only matter pending was the Two Million Dollar judgment
                against O'Nae's & Price, Inc. The motion to domesticate judgment in Mississippi was objected to but objection was overcome on domesticating the judgment and it had
                been appealed. A decision was rendered in Trustee's favor and judgments against O'Nae's & Price, Inc.'s property have been filed in Mississippi.
                Trustee attempts to sell the judgment were not productive. As such, Trustee anticipates filing his final report on or before May, 2016. If the judgment debtor attempts
                to sell the property upon which we filed judgments, we will move to recover same. Final report being prepared.

     Initial Projected Date Of Final Report (TFR):      December 31, 2005                   Current Projected Date Of Final Report (TFR):           December 8, 2016 (Actual)




                                                                                                                                               Printed: 12/07/2017 12:32 PM      V.13.30
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                                               Cash Receipts And Disbursements Record
Case Number:        04-12771 (MKV)                                                          Trustee:            JOHN S. PEREIRA (521200)
Case Name:          CASHPOINT NETWORK SERVICES INC.                                         Bank Name:          Rabobank, N.A.
                                                                                            Account:            ******9167 - Checking Account
Taxpayer ID #: **-***7072                                                                   Blanket Bond:       N/A
Period Ending: 12/07/17                                                                     Separate Bond: $1,415,080.00

   1            2                         3                                  4                                              5                    6                  7

 Trans.     {Ref #} /                                                                                                   Receipts        Disbursements    Checking
  Date      Check #        Paid To / Received From             Description of Transaction              T-Code              $                  $       Account Balance
12/14/12                 RABOBANK MIGRATION             RABOBANK MIGRATION                             9999-000           929,257.26                            929,257.26
                         TRANSFER IN
12/31/12                 Rabobank, N.A.                 Bank and Technology Services Fee               2600-000                                   1,244.08      928,013.18
01/31/13                 Rabobank, N.A.                 Bank and Technology Services Fee               2600-000                                   1,468.04      926,545.14
02/28/13                 Rabobank, N.A.                 Bank and Technology Services Fee               2600-000                                   1,243.85      925,301.29
03/29/13                 Rabobank, N.A.                 Bank and Technology Services Fee               2600-000                                   1,286.54      924,014.75
04/29/13     31007       ARTHUR B. LEVINE COMPANY       BOND NUMBER: 10BSBDU3912 /                     2300-000                                   4,931.00      919,083.75
                                                        EFFECTIVE DATE: 7/10/13 - 7/09/14
04/30/13                 Rabobank, N.A.                 Bank and Technology Services Fee               2600-000                                   1,417.66      917,666.09
05/31/13                 Rabobank, N.A.                 Bank and Technology Services Fee               2600-000                                   1,364.63      916,301.46
06/28/13                 Rabobank, N.A.                 Bank and Technology Services Fee               2600-000                                   1,230.10      915,071.36
07/31/13                 Rabobank, N.A.                 Bank and Technology Services Fee               2600-000                                   1,447.81      913,623.55
08/30/13                 Rabobank, N.A.                 Bank and Technology Services Fee               2600-000                                   1,314.11      912,309.44
09/30/13                 Rabobank, N.A.                 Bank and Technology Services Fee               2600-000                                   1,268.48      911,040.96
10/31/13                 Rabobank, N.A.                 Bank and Technology Services Fee               2600-000                                   1,441.56      909,599.40
11/29/13                 Rabobank, N.A.                 Bank and Technology Services Fee               2600-000                                   1,221.10      908,378.30
12/31/13                 Rabobank, N.A.                 Bank and Technology Services Fee               2600-000                                   1,437.28      906,941.02
01/31/14                 Rabobank, N.A.                 Bank and Technology Services Fee               2600-000                                   1,347.98      905,593.04
02/28/14                 Rabobank, N.A.                 Bank and Technology Services Fee               2600-000                                   1,215.72      904,377.32
03/31/14                 Rabobank, N.A.                 Bank and Technology Services Fee               2600-000                                   1,257.45      903,119.87
04/30/14                 Rabobank, N.A.                 Bank and Technology Services Fee               2600-000                                   1,385.72      901,734.15
05/30/14                 Rabobank, N.A.                 Bank and Technology Services Fee               2600-000                                   1,297.01      900,437.14
06/05/14     31008       ARTHUR B. LEVINE COMPANY       BOND NUMBER: 10BSBDU3912 /                     2300-000                                   4,931.00      895,506.14
                                                        EFFECTIVE DATE: 7/10/2014 - 7/09/2015
06/30/14                 Rabobank, N.A.                 Bank and Technology Services Fee               2600-000                                   1,248.19      894,257.95
07/31/14                 Rabobank, N.A.                 Bank and Technology Services Fee               2600-000                                   1,415.00      892,842.95
08/29/14                 Rabobank, N.A.                 Bank and Technology Services Fee               2600-000                                   1,241.41      891,601.54
09/30/14                 Rabobank, N.A.                 Bank and Technology Services Fee               2600-000                                   1,367.93      890,233.61
10/31/14                 Rabobank, N.A.                 Bank and Technology Services Fee               2600-000                                   1,323.15      888,910.46
11/28/14                 Rabobank, N.A.                 Bank and Technology Services Fee               2600-000                                   1,150.71      887,759.75
12/31/14                 Rabobank, N.A.                 Bank and Technology Services Fee               2600-000                                   1,447.22      886,312.53
01/30/15                 Rabobank, N.A.                 Bank and Technology Services Fee               2600-000                                   1,274.83      885,037.70
02/27/15                 Rabobank, N.A.                 Bank and Technology Services Fee               2600-000                                   1,188.13      883,849.57
03/31/15                 Rabobank, N.A.                 Bank and Technology Services Fee               2600-000                                   1,356.04      882,493.53
04/30/15                 Rabobank, N.A.                 Bank and Technology Services Fee               2600-000                                   1,269.33      881,224.20
05/29/15                 Rabobank, N.A.                 Bank and Technology Services Fee               2600-000                                   1,225.26      879,998.94
06/30/15                 Rabobank, N.A.                 Bank and Technology Services Fee               2600-000                                   1,350.13      878,648.81

                                                                                            Subtotals :                  $929,257.26            $50,608.45
{} Asset reference(s)                                                                                                                Printed: 12/07/2017 12:32 PM        V.13.30
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                                                Cash Receipts And Disbursements Record
Case Number:        04-12771 (MKV)                                                                Trustee:            JOHN S. PEREIRA (521200)
Case Name:          CASHPOINT NETWORK SERVICES INC.                                               Bank Name:          Rabobank, N.A.
                                                                                                  Account:            ******9167 - Checking Account
Taxpayer ID #: **-***7072                                                                         Blanket Bond:       N/A
Period Ending: 12/07/17                                                                           Separate Bond: $1,415,080.00

   1            2                         3                                     4                                                 5                    6                  7

 Trans.     {Ref #} /                                                                                                         Receipts         Disbursements    Checking
  Date      Check #        Paid To / Received From              Description of Transaction                   T-Code              $                   $       Account Balance
07/31/15                 Rabobank, N.A.                 Bank and Technology Services Fee                     2600-000                                   1,305.93      877,342.88
08/31/15                 Rabobank, N.A.                 Bank and Technology Services Fee                     2600-000                                   1,219.86      876,123.02
09/01/15     31009       ARTHUR B. LEVINE COMPANY       BOND NUMBER: 10BSBDU3912 /                           2300-000                                   4,931.00      871,192.02
                                                        EFFECTIVE DATE: 7/10/2015 - 7/09/2016
09/30/15                 Rabobank, N.A.                 Bank and Technology Services Fee                     2600-000                                   1,339.57      869,852.45
10/30/15                 Rabobank, N.A.                 Bank and Technology Services Fee                     2600-000                                   1,251.15      868,601.30
11/30/15                 Rabobank, N.A.                 Bank and Technology Services Fee                     2600-000                                   1,207.71      867,393.59
12/31/15                 Rabobank, N.A.                 Bank and Technology Services Fee                     2600-000                                   1,372.49      866,021.10
01/29/16                 Rabobank, N.A.                 Bank and Technology Services Fee                     2600-000                                   1,200.94      864,820.16
03/01/16                 Rabobank, N.A.                 Bank and Technology Services Fee                     2600-000                                   1,199.16      863,621.00
03/31/16                 Rabobank, N.A.                 Bank and Technology Services Fee                     2600-000                                   1,362.85      862,258.15
04/29/16                 Rabobank, N.A.                 Bank and Technology Services Fee                     2600-000                                   1,195.61      861,062.54
05/31/16                 Rabobank, N.A.                 Bank and Technology Services Fee                     2600-000                                   1,193.95      859,868.59
06/01/16     31010       ARTHUR B. LEVINE COMPANY       BOND NUMBER: 10BSBDU3912 /                           2300-000                                   4,931.00      854,937.59
                                                        EFFECTIVE DATE: 7/10/2016 - 7/09/2017
06/30/16                 Rabobank, N.A.                 Bank and Technology Services Fee                     2600-000                                   1,352.21      853,585.38
07/29/16                 Rabobank, N.A.                 Bank and Technology Services Fee                     2600-000                                   1,183.59      852,401.79
08/31/16                 Rabobank, N.A.                 Bank and Technology Services Fee                     2600-000                                   1,344.97      851,056.82
09/30/16                 Rabobank, N.A.                 Bank and Technology Services Fee                     2600-000                                   1,220.77      849,836.05
10/31/16                 Rabobank, N.A.                 Bank and Technology Services Fee                     2600-000                                   1,178.39      848,657.66
11/30/16                 Rabobank, N.A.                 Bank and Technology Services Fee                     2600-000                                   1,298.60      847,359.06
12/19/16                 Rabobank, N.A.                 Bank and Technology Services Fee                     2600-000                                  -1,298.60      848,657.66
                                                        Adjustment
03/13/17     31011       JOHN S. PEREIRA                Dividend paid 100.00% on $14,519.59,                 2200-000                                   1,213.92      847,443.74
                                                        Trustee Expenses; Reference:
03/13/17     31012       JOHN S. PEREIRA                Dividend paid 100.00% on $1,393,476.46,              2100-000                                      33.45      847,410.29
                                                        Trustee Compensation; Reference:
03/13/17     31013       LAW OFFICES OF JOHN S.         Dividend paid 100.00% on $20,422.50,                 3110-000                                   1,021.12      846,389.17
                         PEREIRA                        Attorney for Trustee Fees (Trustee Firm);
                                                        Reference:
03/13/17     31014       KEVIN M. COFFEY, LLC           Dividend paid 100.00% on $1,579,977.50,              3410-000                                  13,115.00      833,274.17
                                                        Accountant for Trustee Fees (Other Firm);
                                                        Reference:
03/13/17     31015       KEVIN M. COFFEY, LLC           Dividend paid 100.00% on $24,088.98,                 3420-000                                      67.36      833,206.81
                                                        Accountant for Trustee Expenses (Other Firm);
                                                        Reference:
03/13/17     31016       JASPAN SCHLESINGER             Dividend paid 100.00% on $2,218,325.00,              3210-000                                 221,832.51      611,374.30
                         HOFFMAN, LLP                   Attorney for Trustee Fees (Other Firm);

                                                                                                    Subtotals :                        $0.00      $267,274.51
{} Asset reference(s)                                                                                                                      Printed: 12/07/2017 12:32 PM        V.13.30
                 04-12771-mkv                  Doc 733       Filed 12/19/17 Entered 12/19/17 17:57:32                                              Main Document
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                                                  Cash Receipts And Disbursements Record
Case Number:        04-12771 (MKV)                                                                  Trustee:            JOHN S. PEREIRA (521200)
Case Name:          CASHPOINT NETWORK SERVICES INC.                                                 Bank Name:          Rabobank, N.A.
                                                                                                    Account:            ******9167 - Checking Account
Taxpayer ID #: **-***7072                                                                           Blanket Bond:       N/A
Period Ending: 12/07/17                                                                             Separate Bond: $1,415,080.00

   1            2                          3                                      4                                                 5                    6                  7

 Trans.     {Ref #} /                                                                                                           Receipts         Disbursements    Checking
  Date      Check #           Paid To / Received From             Description of Transaction                   T-Code              $                   $       Account Balance
                                                          Reference:
03/13/17     31017       JONES & SCHWARTZ, P.C.           Dividend paid 100.00% on $298,439.50,                3210-000                                  11,119.80      600,254.50
                                                          Attorney for Trustee Fees (Other Firm);
                                                          Reference:
03/13/17     31018       JONES & SCHWARTZ, P.C.           Dividend paid 100.00% on $5,417.97, Attorney         3220-000                                      136.50     600,118.00
                                                          for Trustee Expenses (Other Firm); Reference:
03/13/17     31019       ADAMS & REESE LLP                Dividend paid 100.00% on $122,210.69,                3210-600                                  37,827.00      562,291.00
                                                          Special Counsel for Trustee Fees; Reference:
03/13/17     31020       ADAMS & REESE LLP                Dividend paid 100.00% on $4,269.41, Special          3220-610                                      169.26     562,121.74
                                                          Counsel for Trustee Expenses; Reference:
03/13/17     31021       CLERK OF THE COURT               Dividend paid 100.00% on $250.00, Clerk of           2700-000                                      250.00     561,871.74
                                                          the Court Costs (includes adversary and other
                                                          filing fees); Reference: ADVERSARY
                                                          PROCEEDINGS
03/13/17     31022       LIQUIDITY SOLUTIONS, INC.,       Dividend paid 39.16% on $3,140.80; Claim#            7100-000                                        5.79     561,865.95
                         TRANSFEREE                       16; Filed: $3,140.80; Reference:
03/13/17     31023       MORGAN, LEWIS & BOCKIUS LLP      Dividend paid 39.16% on $97,592.70; Claim#           7100-000                                      179.98     561,685.97
                                                          20; Filed: $97,592.70; Reference:
03/13/17     31024       ASM CAPITAL, L.P. TRANSFEREE     Dividend paid 39.16% on $20,083.44; Claim#           7100-000                                       37.04     561,648.93
                         OF                               22; Filed: $20,083.44; Reference:
03/13/17     31025       IBM CREDIT, LLC.                 Dividend paid 39.16% on $598,492.00;                 7100-000                                   1,103.77      560,545.16
                                                          Claim# 24; Filed: $598,492.00; Reference:
03/13/17     31026       ASM CAPITAL, L.P., TRANSFEREE Dividend paid 39.16% on $5,379.76; Claim#               7100-000                                        9.93     560,535.23
                         OF                               28; Filed: $5,379.76; Reference:
03/13/17     31027       AMERICAN SOLUTIONS FOR           Dividend paid 39.16% on $16,027.33; Claim#           7100-000                                       29.55     560,505.68
                         BUSINESS                         30; Filed: $16,027.33; Reference:
03/13/17     31028       THOMAS J. HANSON                 Dividend paid 39.16% on $6,285.17; Claim#            7100-000                                       11.59     560,494.09
                                                          40; Filed: $6,285.17; Reference:
03/13/17     31029       NIAGARA MOHAWK POWER             Dividend paid 39.16% on $37,142.08; Claim#           7100-000                                       68.50     560,425.59
                         CORP., A NATIONAL GRID INC.      41; Filed: $37,142.08; Reference:
03/13/17     31030       NIAGARA MOHAWK POWER             Dividend paid 39.16% on $4,728.84; Claim#            7100-000                                        8.72     560,416.87
                         CORP., A NATIONAL GRID INC.      42; Filed: $4,728.84; Reference:
03/13/17     31031       NIAGARA MOHAWK POWER             Dividend paid 39.16% on $22,490.66; Claim#           7100-000                                       41.48     560,375.39
                         CORP., A NATIONAL GRID INC.      44; Filed: $22,490.66; Reference:
03/13/17     31032       ENTERGY SERVICES, INC.           Dividend paid 39.16% on $16,404,509.28;              7100-000                                  30,253.85      530,121.54
                                                          Claim# 54U; Filed: $16,404,509.28;
                                                          Reference:
03/13/17     31033       GREGORY C. LEGG                  Dividend paid 39.16% on $8,113.24; Claim#            7100-000                                       14.96     530,106.58
                                                          59; Filed: $8,113.24; Reference:

                                                                                                    Subtotals :                          $0.00          $81,267.72
{} Asset reference(s)                                                                                                                        Printed: 12/07/2017 12:32 PM        V.13.30
                 04-12771-mkv                Doc 733       Filed 12/19/17 Entered 12/19/17 17:57:32                                           Main Document
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                                                Cash Receipts And Disbursements Record
Case Number:        04-12771 (MKV)                                                             Trustee:            JOHN S. PEREIRA (521200)
Case Name:          CASHPOINT NETWORK SERVICES INC.                                            Bank Name:          Rabobank, N.A.
                                                                                               Account:            ******9167 - Checking Account
Taxpayer ID #: **-***7072                                                                      Blanket Bond:       N/A
Period Ending: 12/07/17                                                                        Separate Bond: $1,415,080.00

   1            2                       3                                      4                                               5                   6                   7

 Trans.     {Ref #} /                                                                                                      Receipts         Disbursements    Checking
  Date      Check #        Paid To / Received From             Description of Transaction                 T-Code              $                   $       Account Balance
03/13/17     31034       WHITTINGTONS NOTARY            Dividend paid 39.16% on $2,846.40; Claim#         7100-000                                       5.25      530,101.33
                         SERVICE, LLC                   63; Filed: $2,846.40; Reference:
03/13/17     31035       EZ CASH                        Dividend paid 39.16% on $3,125.45; Claim#         7100-000                                       5.76      530,095.57
                                                        64; Filed: $3,125.45; Reference:
03/13/17     31036       JAMES ROBERT SLIGH             Dividend paid 39.16% on $250,000.00;              7100-001                                     461.06      529,634.51
                                                        Claim# 70; Filed: $250,000.00; Reference:
                                                        Voided on 03/31/17
03/13/17     31037       AT&T WIRELESS SERVICES, INC.   Dividend paid 39.16% on $43,881.96; Claim#        7100-001                                      80.93      529,553.58
                                                        71; Filed: $43,881.96; Reference:
                                                        Voided on 04/04/17
03/13/17     31038       LIQUIDITY SOLUTIONS, INC.      Dividend paid 39.16% on $7,046.59; Claim#         7100-000                                      12.99      529,540.59
                                                        72; Filed: $7,046.59; Reference:
03/13/17     31039       CEBCO CHECK CASHER CORP.       Dividend paid 39.16% on $9,824.11; Claim#         7100-001                                      18.12      529,522.47
                                                        73; Filed: $9,824.11; Reference:
                                                        Voided on 04/04/17
03/13/17     31040       JENN GREG ENTERPRISES INC.     Dividend paid 39.16% on $33,391.73; Claim#        7100-001                                      61.59      529,460.88
                                                        80; Filed: $33,391.73; Reference:
                                                        Voided on 04/11/17
03/13/17     31041       PPL GAS UTILITIES              Dividend paid 39.16% on $169,045.42;              7100-001                                     311.76      529,149.12
                         CORPORATION                    Claim# 93; Filed: $169,045.42; Reference:
                                                        Stopped on 08/01/17
03/13/17     31042       PPL ELECTRIC UTILITIES         Dividend paid 39.16% on $952,127.00;              7100-001                                  1,755.95       527,393.17
                         CORPORATION                    Claim# 94; Filed: $952,127.00; Reference:
                                                        Stopped on 08/01/17
03/13/17     31043       DIANNE E. DUSMAN               Dividend paid 39.16% on $24,387.41; Claim#        7100-001                                      44.97      527,348.20
                                                        102; Filed: $24,387.41; Reference:
                                                        Stopped on 08/01/17
03/13/17     31044       DIANNE E. DUSMAN               Dividend paid 39.16% on $15,164.09; Claim#        7100-001                                      27.96      527,320.24
                                                        103; Filed: $15,164.09; Reference:
                                                        Stopped on 08/01/17
03/13/17     31045       MR. QUICK LOAN, INC.           Dividend paid 39.16% on $6,704.56; Claim#         7100-001                                      12.37      527,307.87
                                                        106; Filed: $6,704.56; Reference:
                                                        Voided on 04/04/17
03/13/17     31046       PUBLIC SERVICE COMPANY OF      Dividend paid 39.16% on $46,639.11; Claim#        7100-000                                      86.01      527,221.86
                         NEW HAMPSHIRE                  107; Filed: $46,639.11; Reference:
03/13/17     31047       WESTERN MASSACHUSETTS          Dividend paid 39.16% on $41,072.32; Claim#        7100-000                                      75.75      527,146.11
                         ELECTRIC COMPANY               108; Filed: $41,072.32; Reference:
03/13/17     31048       LONG ISLAND LIGHTING           Dividend paid 39.16% on $35,802.22; Claim#        7100-001                                      66.03      527,080.08
                         COMPANY D/B/A LIPA             109; Filed: $35,802.22; Reference:

                                                                                               Subtotals :                          $0.00          $3,026.50
{} Asset reference(s)                                                                                                                   Printed: 12/07/2017 12:32 PM        V.13.30
                 04-12771-mkv                 Doc 733      Filed 12/19/17 Entered 12/19/17 17:57:32                                           Main Document
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                                               Cash Receipts And Disbursements Record
Case Number:        04-12771 (MKV)                                                             Trustee:            JOHN S. PEREIRA (521200)
Case Name:          CASHPOINT NETWORK SERVICES INC.                                            Bank Name:          Rabobank, N.A.
                                                                                               Account:            ******9167 - Checking Account
Taxpayer ID #: **-***7072                                                                      Blanket Bond:       N/A
Period Ending: 12/07/17                                                                        Separate Bond: $1,415,080.00

   1            2                        3                                     4                                               5                    6                  7

 Trans.     {Ref #} /                                                                                                      Receipts         Disbursements    Checking
  Date      Check #        Paid To / Received From             Description of Transaction                 T-Code              $                   $       Account Balance
                                                        Stopped on 08/01/17
03/13/17     31049       KEYSPAN ENERGY DELIVERY        Dividend paid 39.16% on $56,881.68; Claim#        7100-001                                      104.90     526,975.18
                         NEW ENGLAND                    110; Filed: $56,881.68; Reference:
                                                        Stopped on 08/01/17
03/13/17     31050       KEYSPAN GAS EAST               Dividend paid 39.16% on $31,620.35; Claim#        7100-001                                       58.31     526,916.87
                         CORPORATION D/B/A              111; Filed: $31,620.35; Reference:
                                                        Stopped on 08/01/17
03/13/17     31051       ONE STOP FINANCIAL SERVICES    Dividend paid 39.16% on $18,373.99; Claim#        7100-000                                       33.89     526,882.98
                                                        114; Filed: $18,373.99; Reference:
03/13/17     31052       NEW YORK CITY HOUSING          Dividend paid 39.16% on $4,179,354.12;            7100-000                                   7,707.73      519,175.25
                         AUTHORITY                      Claim# 116; Filed: $4,179,354.12; Reference:
                                                        XX-XXXXXXX
03/13/17     31053       JPMORGAN CHASE BANK            Dividend paid 39.16% on $9,736,813.46;            7100-000                                  17,957.02      501,218.23
                                                        Claim# 117; Filed: $9,736,813.46; Reference:
03/13/17     31054       THE BROOKLYN UNION GAS         Dividend paid 39.16% on $1,930,736.97;            7100-001                                   3,560.74      497,657.49
                         COMPANY D/B/A                  Claim# 118; Filed: $2,435,236.97; Reference:
                                                        Stopped on 08/01/17
03/13/17     31055       CONSOLIDATED EDISON            Dividend paid 39.16% on $19,744,295.43;           7100-000                                  36,413.22      461,244.27
                         COMPANY OF NEW YORK, INC.      Claim# 121; Filed: $19,744,295.43;
                                                        Reference:
03/13/17     31056       YANKEE GAS COMPANY             Dividend paid 39.16% on $7,505.53; Claim#         7100-000                                       13.84     461,230.43
                                                        122; Filed: $7,505.53; Reference:
03/13/17     31057       CENTRAL MAINE POWER            Dividend paid 39.16% on $81,099.26; Claim#        7100-000                                      149.56     461,080.87
                         COMPANY                        124; Filed: $81,099.26; Reference:
03/13/17     31058       TELESECTOR RESOURCES           Dividend paid 39.16% on $12,600,000.00;           7100-000                                  23,237.42      437,843.45
                         GROUP INC. D/B/A VERIZON       Claim# 129; Filed: $12,600,000.00;
                         SVCS                           Reference:
03/13/17     31059       ASM CAPITAL, TFREE OF TIME     Dividend paid 39.16% on $1,097,679.12;            7100-000                                 429,869.72              7,973.73
                         WARNER CABLE OF NYC            Claim# 131; Filed: $1,097,679.12; Reference:
03/13/17     31060       CSC HOLDINGS, INC.             Dividend paid 39.16% on $1,373,657.52;            7100-001                                   2,533.36              5,440.37
                                                        Claim# 132; Filed: $1,373,657.52; Reference:
                                                        Stopped on 08/01/17
03/13/17     31061       NATIONAL UNION FIRE INS. CO.   Dividend paid 39.16% on $623,708.69;              7100-001                                   1,150.27              4,290.10
                         OF PITTSBURG, PA, TFREE        Claim# 133; Filed: $623,708.69; Reference:
                                                        Stopped on 08/01/17
03/13/17     31062       SPRINT SPECTRUM L.P. D/B/A     Dividend paid 39.16% on $77,411.36; Claim#        7100-000                                      142.77             4,147.33
                         SPRINT PCS                     139; Filed: $77,411.36; Reference:
03/13/17     31063       BELLSOUTH                      Dividend paid 39.16% on $31,835.42; Claim#        7100-001                                       58.71             4,088.62
                         TELECOMMUNICATIONS, INC.       140; Filed: $31,835.42; Reference:

                                                                                               Subtotals :                          $0.00      $522,991.46
{} Asset reference(s)                                                                                                                   Printed: 12/07/2017 12:32 PM        V.13.30
                 04-12771-mkv                  Doc 733      Filed 12/19/17 Entered 12/19/17 17:57:32                                           Main Document
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                                                  Cash Receipts And Disbursements Record
Case Number:        04-12771 (MKV)                                                              Trustee:            JOHN S. PEREIRA (521200)
Case Name:          CASHPOINT NETWORK SERVICES INC.                                             Bank Name:          Rabobank, N.A.
                                                                                                Account:            ******9167 - Checking Account
Taxpayer ID #: **-***7072                                                                       Blanket Bond:       N/A
Period Ending: 12/07/17                                                                         Separate Bond: $1,415,080.00

   1            2                          3                                    4                                               5                   6                   7

 Trans.     {Ref #} /                                                                                                       Receipts         Disbursements    Checking
  Date      Check #           Paid To / Received From           Description of Transaction                 T-Code              $                   $       Account Balance
                                                         Stopped on 08/01/17
03/13/17     31064       CITY OF NEW YORK                Dividend paid 39.16% on $24,188.02; Claim#        7100-001                                      44.61              4,044.01
                                                         150; Filed: $24,188.02; Reference:
                                                         XX-XXXXXXX
                                                         Stopped on 08/01/17
03/13/17     31065       CITY OF NEW YORK                Dividend paid 39.16% on $596,300.22;              7100-001                                  1,099.72               2,944.29
                                                         Claim# 151; Filed: $949,800.22; Reference:
                                                         XX-XXXXXXX
                                                         Stopped on 08/01/17
03/13/17     31066       NEW YORK STATE DEPARTMENT Dividend paid 39.16% on $8,449.35; Claim#               7100-000                                      15.58              2,928.71
                         OF                              158U; Filed: $8,449.35; Reference:
                                                         XX-XXXXXXX
03/13/17     31067       CONSOLIDATED EDISON             Dividend paid 39.16% on $4,755.24; Claim#         7100-000                                       8.77              2,919.94
                         COMPANY OF NEW YORK, INC.       159; Filed: $4,755.24; Reference:
03/13/17     31068       ASM CAPITAL, L.P.               Dividend paid 39.16% on $410,000.00;              7100-000                                     756.14              2,163.80
                                                         Claim# 164; Filed: $410,000.00; Reference:
03/13/17     31069       STORAGE USA                     Dividend paid 39.16% on $35,549.14; Claim#        7100-000                                      65.56              2,098.24
                                                         166; Filed: $35,549.14; Reference:
03/13/17     31070       ASM CAPITAL , ASSIGNEE OF       Dividend paid 39.16% on $1,097,679.12;            7100-000                                  2,024.38                 73.86
                         TIME WARNER                     Claim# 167; Filed: $1,097,679.12; Reference:
03/13/17     31071       CLERK OF THE COURT              COMBINED SMALL CHECK                                                                            73.86                  0.00
                                                           Dividend paid 39.16%                 0.09       7100-000                                                             0.00
                                                           on $49.32; Claim# 1;
                                                           Filed: $49.32
                                                           Dividend paid 39.16%                 0.08       7100-000                                                             0.00
                                                           on $41.35; Claim# 4;
                                                           Filed: $41.35
                                                           Dividend paid 39.16%                 0.12       7100-000                                                             0.00
                                                           on $68.39; Claim# 5;
                                                           Filed: $68.39
                                                           Dividend paid 39.16%                 0.06       7100-000                                                             0.00
                                                           on $32.37; Claim# 6;
                                                           Filed: $32.37
                                                           Dividend paid 39.16%                 0.10       7100-000                                                             0.00
                                                           on $56.72; Claim# 9;
                                                           Filed: $56.72
                                                           Dividend paid 39.16%                 0.30       7100-000                                                             0.00
                                                           on $162.23; Claim# 18;
                                                           Filed: $162.23

                                                                                                Subtotals :                          $0.00          $4,088.62
{} Asset reference(s)                                                                                                                    Printed: 12/07/2017 12:32 PM        V.13.30
                 04-12771-mkv               Doc 733   Filed 12/19/17 Entered 12/19/17 17:57:32                                         Main Document
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                                               Cash Receipts And Disbursements Record
Case Number:        04-12771 (MKV)                                                      Trustee:            JOHN S. PEREIRA (521200)
Case Name:          CASHPOINT NETWORK SERVICES INC.                                     Bank Name:          Rabobank, N.A.
                                                                                        Account:            ******9167 - Checking Account
Taxpayer ID #: **-***7072                                                               Blanket Bond:       N/A
Period Ending: 12/07/17                                                                 Separate Bond: $1,415,080.00

   1            2                       3                                    4                                          5                   6                   7

 Trans.     {Ref #} /                                                                                               Receipts         Disbursements    Checking
  Date      Check #        Paid To / Received From         Description of Transaction              T-Code              $                   $       Account Balance
                                                      Dividend paid 39.16%              0.37       7100-000                                                            0.00
                                                      on $200.23; Claim# 19;
                                                      Filed: $200.23
                                                      Dividend paid 39.16%              1.57       7100-000                                                            0.00
                                                      on $852.75; Claim# 29;
                                                      Filed: $852.75
                                                      Dividend paid 39.16%              0.62       7100-000                                                            0.00
                                                      on $333.25; Claim# 32;
                                                      Filed: $333.25
                                                      Dividend paid 39.16%              0.49       7100-000                                                            0.00
                                                      on $265.00; Claim# 33;
                                                      Filed: $265.00
                                                      Dividend paid 39.16%              4.49       7100-000                                                            0.00
                                                      on $2,435.62; Claim#
                                                      35; Filed: $2,435.62
                                                      Dividend paid 39.16%              1.56       7100-000                                                            0.00
                                                      on $850.00; Claim# 36;
                                                      Filed: $850.00
                                                      Dividend paid 39.16%              1.56       7100-000                                                            0.00
                                                      on $846.65; Claim# 37;
                                                      Filed: $846.65
                                                      Dividend paid 39.16%              0.52       7100-000                                                            0.00
                                                      on $285.00; Claim# 38;
                                                      Filed: $285.00
                                                      Dividend paid 39.16%              3.30       7100-000                                                            0.00
                                                      on $1,787.96; Claim#
                                                      47; Filed: $1,787.96
                                                      Dividend paid 39.16%              3.49       7100-000                                                            0.00
                                                      on $1,897.30; Claim#
                                                      49; Filed: $1,897.30
                                                      Dividend paid 39.16%              1.05       7100-000                                                            0.00
                                                      on $571.20; Claim# 50;
                                                      Filed: $571.20
                                                      Dividend paid 39.16%              1.08       7100-000                                                            0.00
                                                      on $590.00; Claim# 51;
                                                      Filed: $590.00
                                                      Dividend paid 39.16%              4.01       7100-000                                                            0.00
                                                      on $2,174.20; Claim#
                                                      61; Filed: $2,174.20


                                                                                        Subtotals :                          $0.00              $0.00
{} Asset reference(s)                                                                                                            Printed: 12/07/2017 12:32 PM        V.13.30
                 04-12771-mkv               Doc 733   Filed 12/19/17 Entered 12/19/17 17:57:32                                         Main Document
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                                               Cash Receipts And Disbursements Record
Case Number:        04-12771 (MKV)                                                      Trustee:            JOHN S. PEREIRA (521200)
Case Name:          CASHPOINT NETWORK SERVICES INC.                                     Bank Name:          Rabobank, N.A.
                                                                                        Account:            ******9167 - Checking Account
Taxpayer ID #: **-***7072                                                               Blanket Bond:       N/A
Period Ending: 12/07/17                                                                 Separate Bond: $1,415,080.00

   1            2                       3                                    4                                          5                   6                   7

 Trans.     {Ref #} /                                                                                               Receipts         Disbursements    Checking
  Date      Check #        Paid To / Received From         Description of Transaction              T-Code              $                   $       Account Balance
                                                      Dividend paid 39.16%              0.63       7100-000                                                            0.00
                                                      on $343.35; Claim# 62;
                                                      Filed: $343.35
                                                      Dividend paid 39.16%              3.24       7100-000                                                            0.00
                                                      on $1,755.02; Claim#
                                                      65; Filed: $1,755.02
                                                      Dividend paid 39.16%              0.28       7100-000                                                            0.00
                                                      on $151.09; Claim# 74;
                                                      Filed: $151.09
                                                      Dividend paid 39.16%              0.07       7100-000                                                            0.00
                                                      on $37.91; Claim# 75;
                                                      Filed: $37.91
                                                      Dividend paid 39.16%              0.08       7100-000                                                            0.00
                                                      on $46.71; Claim# 76;
                                                      Filed: $46.71
                                                      Dividend paid 39.16%              0.14       7100-000                                                            0.00
                                                      on $76.49; Claim# 77;
                                                      Filed: $76.49
                                                      Dividend paid 39.16%              0.07       7100-000                                                            0.00
                                                      on $40.56; Claim# 78;
                                                      Filed: $40.56
                                                      Dividend paid 39.16%              2.03       7100-000                                                            0.00
                                                      on $1,103.00; Claim#
                                                      119; Filed: $1,103.00
                                                      Dividend paid 39.16%              0.07       7100-000                                                            0.00
                                                      on $38.58; Claim# 126;
                                                      Filed: $38.58
                                                      Dividend paid 39.16%              4.69       7100-000                                                            0.00
                                                      on $2,544.54; Claim#
                                                      127; Filed: $2,544.54
                                                      Dividend paid 39.16%              3.66       7100-000                                                            0.00
                                                      on $1,985.00; Claim#
                                                      130; Filed: $1,985.00
                                                      Dividend paid 39.16%              0.37       7100-000                                                            0.00
                                                      on $199.25; Claim# 134;
                                                      Filed: $199.25
                                                      Dividend paid 39.16%              0.92       7100-000                                                            0.00
                                                      on $501.14; Claim# 2;
                                                      Filed: $501.14


                                                                                        Subtotals :                          $0.00              $0.00
{} Asset reference(s)                                                                                                            Printed: 12/07/2017 12:32 PM        V.13.30
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                                               Cash Receipts And Disbursements Record
Case Number:        04-12771 (MKV)                                                      Trustee:            JOHN S. PEREIRA (521200)
Case Name:          CASHPOINT NETWORK SERVICES INC.                                     Bank Name:          Rabobank, N.A.
                                                                                        Account:            ******9167 - Checking Account
Taxpayer ID #: **-***7072                                                               Blanket Bond:       N/A
Period Ending: 12/07/17                                                                 Separate Bond: $1,415,080.00

   1            2                       3                                    4                                          5                   6                   7

 Trans.     {Ref #} /                                                                                               Receipts         Disbursements    Checking
  Date      Check #        Paid To / Received From         Description of Transaction              T-Code              $                   $       Account Balance
                                                      Dividend paid 39.16%              0.63       7100-000                                                            0.00
                                                      on $337.26; Claim# 3;
                                                      Filed: $337.26
                                                      Dividend paid 39.16%              0.27       7100-000                                                            0.00
                                                      on $150.00; Claim# 7;
                                                      Filed: $150.00
                                                      Dividend paid 39.16%              0.13       7100-000                                                            0.00
                                                      on $69.00; Claim# 13;
                                                      Filed: $69.00
                                                      Dividend paid 39.16%              0.22       7100-000                                                            0.00
                                                      on $120.00; Claim# 14;
                                                      Filed: $120.00
                                                      Dividend paid 39.16%              0.15       7100-000                                                            0.00
                                                      on $79.51; Claim# 15;
                                                      Filed: $79.51
                                                      Dividend paid 39.16%              0.19       7100-000                                                            0.00
                                                      on $107.31; Claim# 23;
                                                      Filed: $107.31
                                                      Dividend paid 39.16%              0.30       7100-000                                                            0.00
                                                      on $162.23; Claim# 25;
                                                      Filed: $162.23
                                                      Dividend paid 39.16%              0.05       7100-000                                                            0.00
                                                      on $25.73; Claim# 26;
                                                      Filed: $25.73
                                                      Dividend paid 39.16%              2.51       7100-000                                                            0.00
                                                      on $1,357.21; Claim#
                                                      27; Filed: $1,357.21
                                                      Dividend paid 39.16%              0.60       7100-000                                                            0.00
                                                      on $328.11; Claim# 31;
                                                      Filed: $328.11
                                                      Dividend paid 39.16%              3.01       7100-000                                                            0.00
                                                      on $1,628.75; Claim#
                                                      39; Filed: $1,628.75
                                                      Dividend paid 39.16%              0.07       7100-000                                                            0.00
                                                      on $41.55; Claim# 43;
                                                      Filed: $41.55
                                                      Dividend paid 39.16%              3.24       7100-000                                                            0.00
                                                      on $1,755.00; Claim#
                                                      48; Filed: $1,755.00


                                                                                        Subtotals :                          $0.00              $0.00
{} Asset reference(s)                                                                                                            Printed: 12/07/2017 12:32 PM        V.13.30
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                                               Cash Receipts And Disbursements Record
Case Number:        04-12771 (MKV)                                                             Trustee:            JOHN S. PEREIRA (521200)
Case Name:          CASHPOINT NETWORK SERVICES INC.                                            Bank Name:          Rabobank, N.A.
                                                                                               Account:            ******9167 - Checking Account
Taxpayer ID #: **-***7072                                                                      Blanket Bond:       N/A
Period Ending: 12/07/17                                                                        Separate Bond: $1,415,080.00

   1            2                       3                                         4                                            5                   6                   7

 Trans.     {Ref #} /                                                                                                      Receipts         Disbursements    Checking
  Date      Check #        Paid To / Received From             Description of Transaction                 T-Code              $                   $       Account Balance
                                                          Dividend paid 39.16%                 4.20       7100-000                                                            0.00
                                                          on $2,275.00; Claim#
                                                          128U; Filed: $2,275.00
                                                          Dividend paid 39.16%                 0.74       7100-000                                                            0.00
                                                          on $400.54; Claim# 136;
                                                          Filed: $400.54
                                                          Dividend paid 39.16%                 1.61       7100-000                                                            0.00
                                                          on $871.39; Claim# 137;
                                                          Filed: $871.39
                                                          Dividend paid 39.16%                 0.23       7100-000                                                            0.00
                                                          on $128.12; Claim# 141;
                                                          Filed: $128.12
                                                          Dividend paid 39.16%                 0.51       7100-000                                                            0.00
                                                          on $280.69; Claim# 146;
                                                          Filed: $280.69
                                                          Dividend paid 39.16%                 4.32       7100-000                                                            0.00
                                                          on $2,342.07; Claim#
                                                          147; Filed: $2,342.07
                                                          Dividend paid 39.16%                 2.39       7100-000                                                            0.00
                                                          on $1,296.00; Claim#
                                                          153; Filed: $1,296.00
                                                          Dividend paid 39.16%                 2.04       7100-000                                                            0.00
                                                          on $1,105.00; Claim#
                                                          154; Filed: $1,105.00
                                                          Dividend paid 39.16%                 1.93       7100-000                                                            0.00
                                                          on $1,047.23; Claim#
                                                          163; Filed: $1,047.23
                                                          Dividend paid 39.16%                 3.41       7100-000                                                            0.00
                                                          on $1,846.90; Claim#
                                                          53; Filed: $1,846.90;
                                                          Reference: XX-XXXXXXX
03/31/17     31036       JAMES ROBERT SLIGH             Dividend paid 39.16% on $250,000.00;              7100-001                                     -461.06              461.06
                                                        Claim# 70; Filed: $250,000.00; Reference:
                                                        Voided: check issued on 03/13/17
04/04/17     31037       AT&T WIRELESS SERVICES, INC.   Dividend paid 39.16% on $43,881.96; Claim#        7100-001                                      -80.93              541.99
                                                        71; Filed: $43,881.96; Reference:
                                                        Voided: check issued on 03/13/17
04/04/17     31039       CEBCO CHECK CASHER CORP.       Dividend paid 39.16% on $9,824.11; Claim#         7100-001                                      -18.12              560.11
                                                        73; Filed: $9,824.11; Reference:


                                                                                               Subtotals :                          $0.00          $-560.11
{} Asset reference(s)                                                                                                                   Printed: 12/07/2017 12:32 PM        V.13.30
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                                                Cash Receipts And Disbursements Record
Case Number:        04-12771 (MKV)                                                             Trustee:            JOHN S. PEREIRA (521200)
Case Name:          CASHPOINT NETWORK SERVICES INC.                                            Bank Name:          Rabobank, N.A.
                                                                                               Account:            ******9167 - Checking Account
Taxpayer ID #: **-***7072                                                                      Blanket Bond:       N/A
Period Ending: 12/07/17                                                                        Separate Bond: $1,415,080.00

   1            2                        3                                     4                                               5                   6                   7

 Trans.     {Ref #} /                                                                                                      Receipts         Disbursements    Checking
  Date      Check #        Paid To / Received From             Description of Transaction                 T-Code              $                   $       Account Balance
                                                        Voided: check issued on 03/13/17
04/04/17     31045       MR. QUICK LOAN, INC.           Dividend paid 39.16% on $6,704.56; Claim#         7100-001                                      -12.37              572.48
                                                        106; Filed: $6,704.56; Reference:
                                                        Voided: check issued on 03/13/17
04/11/17     31040       JENN GREG ENTERPRISES INC.     Dividend paid 39.16% on $33,391.73; Claim#        7100-001                                      -61.59              634.07
                                                        80; Filed: $33,391.73; Reference:
                                                        Voided: check issued on 03/13/17
08/01/17     31041       PPL GAS UTILITIES              Dividend paid 39.16% on $169,045.42;              7100-001                                     -311.76              945.83
                         CORPORATION                    Claim# 93; Filed: $169,045.42; Reference:
                                                        Stopped: check issued on 03/13/17
08/01/17     31042       PPL ELECTRIC UTILITIES         Dividend paid 39.16% on $952,127.00;              7100-001                                  -1,755.95              2,701.78
                         CORPORATION                    Claim# 94; Filed: $952,127.00; Reference:
                                                        Stopped: check issued on 03/13/17
08/01/17     31043       DIANNE E. DUSMAN               Dividend paid 39.16% on $24,387.41; Claim#        7100-001                                      -44.97             2,746.75
                                                        102; Filed: $24,387.41; Reference:
                                                        Stopped: check issued on 03/13/17
08/01/17     31044       DIANNE E. DUSMAN               Dividend paid 39.16% on $15,164.09; Claim#        7100-001                                      -27.96             2,774.71
                                                        103; Filed: $15,164.09; Reference:
                                                        Stopped: check issued on 03/13/17
08/01/17     31048       LONG ISLAND LIGHTING           Dividend paid 39.16% on $35,802.22; Claim#        7100-001                                      -66.03             2,840.74
                         COMPANY D/B/A LIPA             109; Filed: $35,802.22; Reference:
                                                        Stopped: check issued on 03/13/17
08/01/17     31049       KEYSPAN ENERGY DELIVERY        Dividend paid 39.16% on $56,881.68; Claim#        7100-001                                     -104.90             2,945.64
                         NEW ENGLAND                    110; Filed: $56,881.68; Reference:
                                                        Stopped: check issued on 03/13/17
08/01/17     31050       KEYSPAN GAS EAST               Dividend paid 39.16% on $31,620.35; Claim#        7100-001                                      -58.31             3,003.95
                         CORPORATION D/B/A              111; Filed: $31,620.35; Reference:
                                                        Stopped: check issued on 03/13/17
08/01/17     31054       THE BROOKLYN UNION GAS         Dividend paid 39.16% on $1,930,736.97;            7100-001                                  -3,560.74              6,564.69
                         COMPANY D/B/A                  Claim# 118; Filed: $2,435,236.97; Reference:
                                                        Stopped: check issued on 03/13/17
08/01/17     31060       CSC HOLDINGS, INC.             Dividend paid 39.16% on $1,373,657.52;            7100-001                                  -2,533.36              9,098.05
                                                        Claim# 132; Filed: $1,373,657.52; Reference:
                                                        Stopped: check issued on 03/13/17
08/01/17     31061       NATIONAL UNION FIRE INS. CO.   Dividend paid 39.16% on $623,708.69;              7100-001                                  -1,150.27          10,248.32
                         OF PITTSBURG, PA, TFREE        Claim# 133; Filed: $623,708.69; Reference:
                                                        Stopped: check issued on 03/13/17
08/01/17     31063       BELLSOUTH                      Dividend paid 39.16% on $31,835.42; Claim#        7100-001                                      -58.71         10,307.03
                         TELECOMMUNICATIONS, INC.       140; Filed: $31,835.42; Reference:


                                                                                               Subtotals :                          $0.00          $-9,746.92
{} Asset reference(s)                                                                                                                   Printed: 12/07/2017 12:32 PM        V.13.30
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                                               Cash Receipts And Disbursements Record
Case Number:        04-12771 (MKV)                                                            Trustee:            JOHN S. PEREIRA (521200)
Case Name:          CASHPOINT NETWORK SERVICES INC.                                           Bank Name:          Rabobank, N.A.
                                                                                              Account:            ******9167 - Checking Account
Taxpayer ID #: **-***7072                                                                     Blanket Bond:       N/A
Period Ending: 12/07/17                                                                       Separate Bond: $1,415,080.00

   1            2                       3                                    4                                                5                    6                  7

 Trans.     {Ref #} /                                                                                                     Receipts         Disbursements    Checking
  Date      Check #        Paid To / Received From           Description of Transaction                  T-Code              $                   $       Account Balance
                                                      Stopped: check issued on 03/13/17
08/01/17     31064       CITY OF NEW YORK             Dividend paid 39.16% on $24,188.02; Claim#         7100-001                                      -44.61         10,351.64
                                                      150; Filed: $24,188.02; Reference:
                                                      XX-XXXXXXX
                                                      Stopped: check issued on 03/13/17
08/01/17     31065       CITY OF NEW YORK             Dividend paid 39.16% on $596,300.22;               7100-001                                  -1,099.72          11,451.36
                                                      Claim# 151; Filed: $949,800.22; Reference:
                                                      XX-XXXXXXX
                                                      Stopped: check issued on 03/13/17
08/01/17     31072       CLERK OF THE COURT           TURNOVER OF UNCLAIMED DIVIDENDS                                                              11,451.36                 0.00
                                                        dividend paid 39.16% on             461.06       7100-000                                                            0.00
                                                        $250,000
                                                        dividend paid 39.16% on              80.93       7100-000                                                            0.00
                                                        $43,881.96
                                                        dividend paid 39.16% on              18.12       7100-000                                                            0.00
                                                        $9,824.11
                                                        dividend paid 39.16% on              12.37       7100-000                                                            0.00
                                                        $6,704.56
                                                        dividend paid 39.16% on              61.59       7100-000                                                            0.00
                                                        $33,391.73
                                                        dividend paid 39.16% on             311.76       7100-000                                                            0.00
                                                        $169,045.42
                                                        dividend paid 39.16% on            1,755.95      7100-000                                                            0.00
                                                        $952,127.00
                                                        dividend paid 39.16% on              44.97       7100-000                                                            0.00
                                                        $24,387.41
                                                        dividend paid 39.16% on              27.96       7100-000                                                            0.00
                                                        $15,164.09
                                                        dividend paid 39.16% on              66.03       7100-000                                                            0.00
                                                        $35,802.22
                                                        dividend paid 39.16% on             104.90       7100-000                                                            0.00
                                                        $56,881.68
                                                        dividend paid 39.16% on              58.31       7100-000                                                            0.00
                                                        $31,620.35
                                                        dividend paid 39.16% on            3,560.74      7100-000                                                            0.00
                                                        $2,435,236.97
                                                        dividend paid 39.16% on            2,533.36      7100-000                                                            0.00
                                                        $1,373,657.52
                                                        dividend paid 39.16% on            1,150.27      7100-000                                                            0.00

                                                                                               Subtotals :                         $0.00          $10,307.03
{} Asset reference(s)                                                                                                                  Printed: 12/07/2017 12:32 PM        V.13.30
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                                               Cash Receipts And Disbursements Record
Case Number:        04-12771 (MKV)                                                        Trustee:            JOHN S. PEREIRA (521200)
Case Name:          CASHPOINT NETWORK SERVICES INC.                                       Bank Name:          Rabobank, N.A.
                                                                                          Account:            ******9167 - Checking Account
Taxpayer ID #: **-***7072                                                                 Blanket Bond:       N/A
Period Ending: 12/07/17                                                                   Separate Bond: $1,415,080.00

   1            2                       3                                4                                                5                    6                  7

 Trans.     {Ref #} /                                                                                                 Receipts         Disbursements    Checking
  Date      Check #        Paid To / Received From        Description of Transaction                 T-Code              $                   $       Account Balance
                                                      $623,708.69
                                                      dividend paid 39.16% on            58.71       7100-000                                                            0.00
                                                      $31,835.42
                                                      dividend paid 39.16% on            44.61       7100-000                                                            0.00
                                                      $24,188.02
                                                      dividend paid 39.16% on         1,099.72       7100-000                                                            0.00
                                                      $596,300.22

                                                                       ACCOUNT TOTALS                                   929,257.26            929,257.26                $0.00
                                                                                Less: Bank Transfers                    929,257.26                  0.00
                                                                       Subtotal                                                 0.00          929,257.26
                                                                                Less: Payments to Debtors                                           0.00
                                                                       NET Receipts / Disbursements                            $0.00      $929,257.26




{} Asset reference(s)                                                                                                              Printed: 12/07/2017 12:32 PM        V.13.30
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                                               Cash Receipts And Disbursements Record
Case Number:        04-12771 (MKV)                                                         Trustee:            JOHN S. PEREIRA (521200)
Case Name:          CASHPOINT NETWORK SERVICES INC.                                        Bank Name:          Rabobank, N.A.
                                                                                           Account:            ******9166 - Unclaimed Dividends Acct
Taxpayer ID #: **-***7072                                                                  Blanket Bond:       N/A
Period Ending: 12/07/17                                                                    Separate Bond: $1,415,080.00

   1            2                        3                                 4                                               5                  6                    7

 Trans.     {Ref #} /                                                                                                  Receipts        Disbursements    Checking
  Date      Check #        Paid To / Received From           Description of Transaction               T-Code              $                  $       Account Balance
12/14/12                 RABOBANK MIGRATION            RABOBANK MIGRATION                             9999-000           182,974.36                            182,974.36
                         TRANSFER IN
03/08/16     20102       CLERK OF THE COURT            TURNOVER OF UNCLAIMED DIVIDENDS                                                       182,974.36                   0.00
                           TRACEY REBELB                 DIVIDEND PAID 21%                 35.71      7100-000                                                            0.00
                                                         ON CLAIM
                           STEVEN DAVIS                  DIVIDEND PAID 21%                 26.43      7100-000                                                            0.00
                                                         ON CLAIM
                           YVONNE COVAN                  DIVIDEND PAID 21%                 17.23      7100-000                                                            0.00
                                                         ON CLAIM
                           CHERYL DIAS                   DIVIDEND PAID 21%                 10.50      7100-000                                                            0.00
                                                         ON CLAIM
                           DISCOVERY DEPOT               DIVIDEND PAID 21%                176.46      7100-000                                                            0.00
                                                         ON CLAIM
                           BROWN'S PAWN & CYCLE          DIVIDEND PAID 21%                252.09      7100-000                                                            0.00
                                                         ON CLAIM
                           RCN TELECOM SERVICES,         DIVIDEND PAID 21%           44,794.59        7100-000                                                            0.00
                           INC.                          ON CLAIM
                           CITIGROUP                     DIVIDEND PAID 21%            4,479.80        7100-000                                                            0.00
                                                         ON CLAIM
                           GEM CHECK CASHING CORP.       DIVIDEND PAID 21%            1,431.65        7100-000                                                            0.00
                                                         ON CLAIM
                           TOMPKINS EXPRESS CHECK        DIVIDEND PAID 21%                 89.49      7100-000                                                            0.00
                           CASHING CORP.                 ON CLAIM
                           VEIL CHECK CASHING CORP.      DIVIDEND PAID 21%            1,070.32        7100-000                                                            0.00
                                                         ON CLAIM
                           VALE CHECKING OF NEW          DIVIDEND PAID 21%                 53.99      7100-000                                                            0.00
                           YORK, INC.                    ON CLAIM
                           DANIEL CABRERA                DIVIDEND PAID 21%                341.47      7100-000                                                            0.00
                                                         ON CLAIM
                           CITICORP VENDOR FINANCE       DIVIDEND PAID 21%           10,704.04        7100-000                                                            0.00
                           INC.                          ON CLAIM
                           MRS. MARIA TORRES             DIVIDEND PAID 9.77%                6.67      7100-000                                                            0.00
                                                         ON CLAIM
                           TRACEY REBELB                 DIVIDEND PAID 9.77%               52.31      7100-000                                                            0.00
                                                         ON CLAIM
                           STEVEN DAVIS                  DIVIDEND PAID 9.77%               38.72      7100-000                                                            0.00
                                                         ON CLAIM
                           YVONNE COVAN                  DIVIDEND PAID 9.77%               25.23      7100-000                                                            0.00
                                                         ON CLAIM
                                                                                            Subtotals :                 $182,974.36         $182,974.36
{} Asset reference(s)                                                                                                               Printed: 12/07/2017 12:32 PM        V.13.30
                 04-12771-mkv                Doc 733     Filed 12/19/17 Entered 12/19/17 17:57:32                                         Main Document
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                                               Cash Receipts And Disbursements Record
Case Number:        04-12771 (MKV)                                                         Trustee:            JOHN S. PEREIRA (521200)
Case Name:          CASHPOINT NETWORK SERVICES INC.                                        Bank Name:          Rabobank, N.A.
                                                                                           Account:            ******9166 - Unclaimed Dividends Acct
Taxpayer ID #: **-***7072                                                                  Blanket Bond:       N/A
Period Ending: 12/07/17                                                                    Separate Bond: $1,415,080.00

   1            2                        3                                 4                                               5                  6                    7

 Trans.     {Ref #} /                                                                                                  Receipts         Disbursements    Checking
  Date      Check #        Paid To / Received From           Description of Transaction               T-Code              $                   $       Account Balance
                           CHERYL DIAS                   DIVIDEND PAID 9.77%               15.39      7100-000                                                            0.00
                                                         ON CLAIM
                           PETER A. BORGES               DIVIDEND PAID 9.77%               10.48      7100-000                                                            0.00
                                                         ON CLAIM
                           DISCOVERY DEPOT               DIVIDEND PAID 9.77%              258.48      7100-000                                                            0.00
                                                         ON CLAIM
                           ISAIAH CHECK CASHING, INC.    DIVIDEND PAID 9.77%               27.83      7100-000                                                            0.00
                                                         ON CLAIM
                           BROWN'S PAWN & CYCLE          DIVIDEND PAID 9.77%              369.26      7100-000                                                            0.00
                                                         ON CLAIM
                           RCN TELECOM SERVICES,         DIVIDEND PAID 9.77%         65,615.16        7100-000                                                            0.00
                           INC.                          ON CLAIM
                           ASSOCIATED SUPERMARKET        DIVIDEND PAID 9.77%              171.37      7100-000                                                            0.00
                                                         ON CLAIM
                           CITIGROUP                     DIVIDEND PAID 9.77%          6,562.02        7100-000                                                            0.00
                                                         ON CLAIM
                           ALEKSANDAR STANOJEVIC         DIVIDEND PAID 9.77%              222.13      7100-000                                                            0.00
                                                         ON CLAIM
                           DANIEL CABRERA                DIVIDEND PAID 9.77%              500.19      7100-000                                                            0.00
                                                         ON CLAIM
                           CITICORP VENDOR FINANCE       DIVIDEND PAID 9.77%         15,679.29        7100-000                                                            0.00
                           INC.                          ON CLAIM
                           MRS. MARIA TORRES             DIVIDEND PAID 8.2%                 5.62      7100-000                                                            0.00
                                                         ON CLAIM
                           TRACEY REBELB                 DIVIDEND PAID 8.2%                13.95      7100-000                                                            0.00
                                                         ON CLAIM
                           STEVEN DAVIS                  DIVIDEND PAID 8.2%                10.32      7100-000                                                            0.00
                                                         ON CLAIM
                           YVONNE COVAN                  DIVIDEND PAID 8.2%                 6.73      7100-000                                                            0.00
                                                         ON CLAIM
                           PETER A. BORGES               DIVIDEND PAID 8.2%                 8.81      7100-000                                                            0.00
                                                         ON CLAIM
                           DISCOVERY DEPOT               DIVIDEND PAID 8.2%                68.93      7100-000                                                            0.00
                                                         ON CLAIM
                           ISAIAH CHECK CASHING, INC.    DIVIDEND PAID 8.2%                23.39      7100-000                                                            0.00
                                                         ON CLAIM
                           NIAGARA MOHAWK POWER          DIVIDEND PAID 8.2%           3,047.80        7100-000                                                            0.00
                           CORP., A NATIONAL GRID INC.   ON CLAIM
                           NIAGARA MOHAWK POWER          DIVIDEND PAID 8.2%               388.04      7100-000                                                            0.00
                                                                                            Subtotals :                         $0.00             $0.00
{} Asset reference(s)                                                                                                               Printed: 12/07/2017 12:32 PM        V.13.30
                 04-12771-mkv                 Doc 733    Filed 12/19/17 Entered 12/19/17 17:57:32                                         Main Document
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                                               Cash Receipts And Disbursements Record
Case Number:        04-12771 (MKV)                                                         Trustee:            JOHN S. PEREIRA (521200)
Case Name:          CASHPOINT NETWORK SERVICES INC.                                        Bank Name:          Rabobank, N.A.
                                                                                           Account:            ******9166 - Unclaimed Dividends Acct
Taxpayer ID #: **-***7072                                                                  Blanket Bond:       N/A
Period Ending: 12/07/17                                                                    Separate Bond: $1,415,080.00

   1            2                       3                                  4                                               5                  6                    7

 Trans.     {Ref #} /                                                                                                  Receipts         Disbursements    Checking
  Date      Check #        Paid To / Received From           Description of Transaction               T-Code              $                   $       Account Balance
                           CORP., A NATIONAL GRID INC.   ON CLAIM
                           NIAGARA MOHAWK POWER          DIVIDEND PAID 8.2%           1,845.53        7100-000                                                            0.00
                           CORP., A NATIONAL GRID INC.   ON CLAIM
                           BROWN'S PAWN & CYCLE          DIVIDEND PAID 8.2%                98.47      7100-000                                                            0.00
                                                         ON CLAIM
                           RCN TELECOM SERVICES,         DIVIDEND PAID 8.2%          17,497.49        7100-000                                                            0.00
                           INC.                          ON CLAIM
                           CITIGROUP                     DIVIDEND PAID 8.2%           1,749.88        7100-000                                                            0.00
                                                         ON CLAIM
                           MONEY CENTERS                 DIVIDEND PAID 8.2%                12.40      7100-000                                                            0.00
                                                         ON CLAIM
                           MONEY CENTERS                 DIVIDEND PAID 8.2%                 6.27      7100-000                                                            0.00
                                                         ON CLAIM
                           MR. QUICK LOAN, INC.          DIVIDEND PAID 8.2%               550.16      7100-000                                                            0.00
                                                         ON CLAIM
                           SAMCEIL CHECK CASHING         DIVIDEND PAID 8.2%                90.51      7100-000                                                            0.00
                           SERVICE, INC.                 ON CLAIM
                           ALEKSANDAR STANOJEVIC         DIVIDEND PAID 8.2%               186.68      7100-000                                                            0.00
                                                         ON CLAIM
                           DANIEL CABRERA                DIVIDEND PAID 8.2%               133.39      7100-000                                                            0.00
                                                         ON CLAIM
                           JUDITH M. FERTIL              DIVIDEND PAID 8.2%                10.52      7100-000                                                            0.00
                                                         ON CLAIM
                           CITICORP VENDOR FINANCE       DIVIDEND PAID 8.2%           4,181.17        7100-000                                                            0.00
                           INC.                          ON CLAIM

                                                                         ACCOUNT TOTALS                                  182,974.36          182,974.36                  $0.00
                                                                                Less: Bank Transfers                     182,974.36                0.00
                                                                         Subtotal                                                0.00        182,974.36
                                                                                Less: Payments to Debtors                                          0.00
                                                                         NET Receipts / Disbursements                           $0.00       $182,974.36




{} Asset reference(s)                                                                                                               Printed: 12/07/2017 12:32 PM        V.13.30
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                                                       Cash Receipts And Disbursements Record
Case Number:         04-12771 (MKV)                                                                  Trustee:            JOHN S. PEREIRA (521200)
Case Name:           CASHPOINT NETWORK SERVICES INC.                                                 Bank Name:          The Bank of New York Mellon
                                                                                                     Account:            ****-******47-65 - Checking Account
Taxpayer ID #: **-***7072                                                                            Blanket Bond:       N/A
Period Ending: 12/07/17                                                                              Separate Bond: $1,415,080.00

   1            2                          3                                       4                                                 5                   6                   7

 Trans.     {Ref #} /                                                                                                            Receipts         Disbursements    Checking
  Date      Check #          Paid To / Received From                Description of Transaction                  T-Code              $                   $       Account Balance
04/06/10                  Wire in from JPMorgan Chase Bank, Wire in from JPMorgan Chase Bank, N.A.              9999-000          1,119,023.70                         1,119,023.70
                          N.A. account ********4765         account ********4765
04/30/10       Int        The Bank of New York Mellon       Interest posting at 0.3000%                         1270-000                 229.93                        1,119,253.63
05/12/10                  To Account #**********4766        TRANSFER OF FUNDS TO CHECKING                       9999-000                                  4,931.00     1,114,322.63
                                                            ACCOUNT
05/28/10       Int        The Bank of New York Mellon       Interest posting at 0.3000%                         1270-000                 284.46                        1,114,607.09
06/30/10       Int        The Bank of New York Mellon       Interest posting at 0.3000%                         1270-000                 274.83                        1,114,881.92
07/30/10       Int        The Bank of New York Mellon       Interest posting at 0.3000%                         1270-000                 284.12                        1,115,166.04
08/31/10       Int        The Bank of New York Mellon       Interest posting at 0.3000%                         1270-000                 284.14                        1,115,450.18
09/30/10       Int        The Bank of New York Mellon       Interest posting at 0.0700%                         1270-000                  64.16                        1,115,514.34
10/29/10       Int        The Bank of New York Mellon       Interest posting at 0.0700%                         1270-000                  66.29                        1,115,580.63
11/05/10                  To Account #**********4766        TRANSFER OF FUNDS TO CHECKING                       9999-000                                 91,054.68     1,024,525.95
                                                            ACCOUNT
11/30/10       Int        The Bank of New York Mellon       Interest posting at 0.0700%                         1270-000                  59.63                        1,024,585.58
12/31/10       Int        The Bank of New York Mellon       Interest posting at 0.0700%                         1270-000                  60.89                        1,024,646.47
01/18/11       Int        The Bank of New York Mellon       Interest posting at 0.0700%                         1270-000                  33.38                        1,024,679.85
01/31/11       Int        The Bank of New York Mellon       Interest posting at 0.0700%                         1270-000                  27.50                        1,024,707.35
02/10/11      {27}        ADAMS AND REESE LLP               Funds received from BankPlus re: their              1249-000                 215.33                        1,024,922.68
                                                            garnishment
02/28/11       Int        The Bank of New York Mellon       Interest posting at 0.0700%                         1270-000                  54.99                        1,024,977.67
03/31/11       Int        The Bank of New York Mellon       Interest posting at 0.0700%                         1270-000                  60.91                        1,025,038.58
04/29/11       Int        The Bank of New York Mellon       Interest posting at 0.0700%                         1270-000                  58.96                        1,025,097.54
05/10/11                  To Account #**********4766        TRANSFER OF FUNDS TO CHECKING                       9999-000                                  4,931.00     1,020,166.54
                                                            ACCOUNT
05/31/11       Int        The Bank of New York Mellon       Interest posting at 0.0700%                         1270-000                  60.71                        1,020,227.25
06/30/11       Int        The Bank of New York Mellon       Interest posting at 0.0100%                         1270-000                   8.36                        1,020,235.61
07/29/11       Int        The Bank of New York Mellon       Interest posting at 0.0100%                         1270-000                   8.65                        1,020,244.26
08/01/11                  The Bank of New York Mellon       Bank and Technology Services Fee                    2600-000                                  1,956.62     1,018,287.64
08/04/11                  The Bank of New York Mellon       Bank and Technology Services Fee                    2600-000                                 -1,956.62     1,020,244.26
                                                            Adjustment
08/31/11       Int        The Bank of New York Mellon       Interest posting at 0.0100%                         1270-000                   8.64                        1,020,252.90
09/30/11       Int        The Bank of New York Mellon       Interest posting at 0.0100%                         1270-000                   8.36                        1,020,261.26
10/31/11       Int        The Bank of New York Mellon       Interest posting at 0.0100%                         1270-000                   8.65                        1,020,269.91
10/31/11                  The Bank of New York Mellon       Bank and Technology Services Fee                    2600-000                                  1,956.67     1,018,313.24
11/30/11       Int        The Bank of New York Mellon       Interest posting at 0.0100%                         1270-000                   8.34                        1,018,321.58
11/30/11                  The Bank of New York Mellon       Bank and Technology Services Fee                    2600-000                                  2,232.18     1,016,089.40
12/08/11     21001        CLERK                             FEES DUE TO THE COURT FOR FILING OF                 2700-000                                 13,050.00     1,003,039.40

                                                                                                     Subtotals :                $1,121,194.93          $118,155.53
{} Asset reference(s)                                                                                                                         Printed: 12/07/2017 12:32 PM        V.13.30
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                                                  Cash Receipts And Disbursements Record
Case Number:         04-12771 (MKV)                                                            Trustee:            JOHN S. PEREIRA (521200)
Case Name:           CASHPOINT NETWORK SERVICES INC.                                           Bank Name:          The Bank of New York Mellon
                                                                                               Account:            ****-******47-65 - Checking Account
Taxpayer ID #: **-***7072                                                                      Blanket Bond:       N/A
Period Ending: 12/07/17                                                                        Separate Bond: $1,415,080.00

   1            2                         3                                     4                                              5                   6                   7

 Trans.     {Ref #} /                                                                                                      Receipts         Disbursements    Checking
  Date      Check #         Paid To / Received From               Description of Transaction              T-Code              $                   $       Account Balance
                                                         COMPLAINTS COMMENCING ADVERSARY
                                                         PROCEEDINGS
12/30/11       Int        The Bank of New York Mellon    Interest posting at 0.0100%                      1270-000                   8.55                         1,003,047.95
12/30/11                  The Bank of New York Mellon    Bank and Technology Services Fee                 2600-000                                  2,073.55      1,000,974.40
01/31/12       Int        The Bank of New York Mellon    Interest posting at 0.0100%                      1270-000                   8.48                         1,000,982.88
01/31/12                  The Bank of New York Mellon    Bank and Technology Services Fee                 2600-000                                  2,188.29       998,794.59
02/29/12                  The Bank of New York Mellon    Bank and Technology Services Fee                 2600-000                                  1,978.48       996,816.11
03/30/12                  The Bank of New York Mellon    Bank and Technology Services Fee                 2600-000                                  2,042.65       994,773.46
04/30/12                  The Bank of New York Mellon    Bank and Technology Services Fee                 2600-000                                  1,970.52       992,802.94
05/01/12     21002        ARTHUR B. LEVINE COMPANY       BOND NUMBER: 10BSBDU3912 /                       2300-000                                  4,931.00       987,871.94
                                                         EFFECTIVE DATE: 7/10/2012 - 7/09/2013
05/31/12                  The Bank of New York Mellon    Bank and Technology Services Fee                 2600-000                                  2,230.39       985,641.55
06/29/12                  The Bank of New York Mellon    Bank and Technology Services Fee                 2600-000                                  1,952.43       983,689.12
07/31/12                  The Bank of New York Mellon    Bank and Technology Services Fee                 2600-000                                  2,150.13       981,538.99
08/08/12     21003        JONES & SCHWARTZ, P.C.         ATTORNEY FOR TRUSTEE INTERIM                     3210-000                                 12,291.00       969,247.99
                                                         COMPENSATION, PER ORDER GRANTING
                                                         APPLICATIONS FOR ALLOWANCE OF
                                                         INTERIM COMPENSATION, DATED 8/8/12
08/08/12     21004        JONES & SCHWARTZ, P.C.         ATTORNEY FOR TRUSTEE EXPENSES,                   3220-000                                       480.76    968,767.23
                                                         PER ORDER GRANTING APPLICATIONS
                                                         FOR ALLOWANCE OF REIMBURSEMENT
                                                         OF EXPENSES, DATED 8/8/12
08/08/12     21005        ADAMS & REESE LLP              SPECIAL COUNSEL FOR TRUSTEE                      3210-600                                 30,156.19       938,611.04
                                                         INTERIM COMPENSATION, PER ORDER
                                                         GRANTING APPLICATIONS FOR
                                                         ALLOWANCE OF INTERIM
                                                         COMPENSATION, DATED 8/8/12
08/08/12     21006        ADAMS & REESE LLP              SPECIAL COUNSEL FOR TRUSTEE                      3220-610                                  1,467.91       937,143.13
                                                         EXPENSES, PER ORDER GRANTING
                                                         APPLICATIONS FOR ALLOWANCE OF
                                                         REIMBURSEMENT OF EXPENSES, DATED
                                                         8/8/12
08/31/12                  The Bank of New York Mellon    Bank and Technology Services Fee                 2600-000                                  2,074.90       935,068.23
09/28/12                  The Bank of New York Mellon    Bank and Technology Services Fee                 2600-000                                  1,799.18       933,269.05
10/31/12                  The Bank of New York Mellon    Bank and Technology Services Fee                 2600-000                                  2,103.67       931,165.38
11/30/12                  The Bank of New York Mellon    Bank and Technology Services Fee                 2600-000                                  1,908.12       929,257.26
12/13/12                  RABOBANK MIGRATION             TRANSFER TO 0001052120088                        9999-000                                929,257.26                  0.00
                          TRANSFER OUT                   20121213


                                                                                               Subtotals :                         $17.03     $1,003,056.43
{} Asset reference(s)                                                                                                                   Printed: 12/07/2017 12:32 PM        V.13.30
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                                               Cash Receipts And Disbursements Record
Case Number:        04-12771 (MKV)                                                   Trustee:            JOHN S. PEREIRA (521200)
Case Name:          CASHPOINT NETWORK SERVICES INC.                                  Bank Name:          The Bank of New York Mellon
                                                                                     Account:            ****-******47-65 - Checking Account
Taxpayer ID #: **-***7072                                                            Blanket Bond:       N/A
Period Ending: 12/07/17                                                              Separate Bond: $1,415,080.00

   1            2                       3                             4                                              5                   6                   7

 Trans.     {Ref #} /                                                                                            Receipts        Disbursements    Checking
  Date      Check #        Paid To / Received From      Description of Transaction              T-Code              $                  $       Account Balance

                                                                    ACCOUNT TOTALS                                1,121,211.96        1,121,211.96                 $0.00
                                                                           Less: Bank Transfers                   1,119,023.70        1,030,173.94
                                                                    Subtotal                                          2,188.26           91,038.02
                                                                           Less: Payments to Debtors                                           0.00
                                                                    NET Receipts / Disbursements                     $2,188.26          $91,038.02




{} Asset reference(s)                                                                                                         Printed: 12/07/2017 12:32 PM        V.13.30
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                                                      Cash Receipts And Disbursements Record
Case Number:        04-12771 (MKV)                                                               Trustee:            JOHN S. PEREIRA (521200)
Case Name:          CASHPOINT NETWORK SERVICES INC.                                              Bank Name:          The Bank of New York Mellon
                                                                                                 Account:            ****-******47-66 - Checking Account
Taxpayer ID #: **-***7072                                                                        Blanket Bond:       N/A
Period Ending: 12/07/17                                                                          Separate Bond: $1,415,080.00

   1            2                         3                                       4                                              5                   6                   7

 Trans.     {Ref #} /                                                                                                        Receipts        Disbursements    Checking
  Date      Check #         Paid To / Received From                Description of Transaction               T-Code              $                  $       Account Balance
04/06/10                 Wire in from JPMorgan Chase Bank, Wire in from JPMorgan Chase Bank, N.A.           9999-000              4,303.03                                   4,303.03
                         N.A. account ********4766         account ********4766
05/12/10                 From Account #**********4765      TRANSFER OF FUNDS TO CHECKING                    9999-000              4,931.00                                   9,234.03
                                                           ACCOUNT
05/12/10     10765       ARTHUR B. LEVINE COMPANY          BOND NO.: 10BSBDU3912 / FOR THE                  2300-000                                  4,931.00               4,303.03
                                                           PERIOD: 7/10/2010 - 7/09/2011
07/06/10                 Wire in from JPMorgan Chase Bank, Wire in from JPMorgan Chase Bank, N.A.           9999-000             26,439.18                               30,742.21
                         N.A. account ********4766         account ********4766
07/13/10                 To Account #**********7366        TRANSFER OF FUNDS TO UNCLAIMED                   9999-000                                 26,439.18               4,303.03
                                                           DIVIDENDS ACCT
11/05/10                 From Account #**********4765      TRANSFER OF FUNDS TO CHECKING                    9999-000             91,054.68                               95,357.71
                                                           ACCOUNT
11/05/10     10766       JOHN S. PEREIRA                   TRUSTEE'S COMMISSION-PER COURT                   2100-000                                 37,185.72           58,171.99
                                                           ORDER GRANTING INTERIM
                                                           COMPENSATION DATED NOVEMBER 4,
                                                           2010
11/05/10     10767       JONES & SCHWARTZ, P.C.            ATTORNEY FOR TRUSTEE FEES-PER                    3210-000                                 18,373.50           39,798.49
                                                           COURT ORDER GRANTING INTERIM
                                                           COMPENSATION
11/05/10     10768       JONES & SCHWARTZ, P.C.            ATTORNEY FOR TRUSTEE EXPENSES-PER 3220-000                                                      723.19        39,075.30
                                                           COURT ORDER GRANTING
                                                           REIMBURSEMENT OF EXPENSES DATED
                                                           NOVEMBER 4, 2010
11/05/10     10769       ADAMS & REESE LLP                 SPECIAL COUNSEL FOR TRUSTEE                      3210-600                                 34,410.00               4,665.30
                                                           COMPENSATION-PER COURT ORDER
                                                           GRANTING INTERIM COMPENSATION
                                                           DATED NOVEMBER 4, 2010
11/05/10     10770       ADAMS & REESE LLP                 SPECIAL COUNSEL FOR TRUSTEE                      3220-610                                       362.27            4,303.03
                                                           EXPENSES-PER COURT ORDER
                                                           GRANTING REIMBURSEMENT OF
                                                           EXPENSES DATED NOVEMBER 4,2 010
04/12/11                 To Account #**********7366        TRANSFER OF FUNDS TO UNCLAIMED                   9999-000                                  4,303.03                   0.00
                                                           DIVIDENDS ACCT
05/10/11                 From Account #**********4765      TRANSFER OF FUNDS TO CHECKING                    9999-000              4,931.00                                   4,931.00
                                                           ACCOUNT
05/10/11     10771       ARTHUR B. LEVINE COMPANY          BOND NUMBER: 10BSBDU3912 /                       2300-000                                  4,931.00                   0.00
                                                           EFFECTIVE DATE: 7/10/11 - 7/09/2012




                                                                                                 Subtotals :                  $131,658.89          $131,658.89
{} Asset reference(s)                                                                                                                     Printed: 12/07/2017 12:32 PM        V.13.30
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                                               Cash Receipts And Disbursements Record
Case Number:        04-12771 (MKV)                                                   Trustee:            JOHN S. PEREIRA (521200)
Case Name:          CASHPOINT NETWORK SERVICES INC.                                  Bank Name:          The Bank of New York Mellon
                                                                                     Account:            ****-******47-66 - Checking Account
Taxpayer ID #: **-***7072                                                            Blanket Bond:       N/A
Period Ending: 12/07/17                                                              Separate Bond: $1,415,080.00

   1            2                       3                             4                                              5                   6                   7

 Trans.     {Ref #} /                                                                                            Receipts        Disbursements    Checking
  Date      Check #        Paid To / Received From      Description of Transaction              T-Code              $                  $       Account Balance

                                                                    ACCOUNT TOTALS                                  131,658.89          131,658.89                 $0.00
                                                                           Less: Bank Transfers                     131,658.89           30,742.21
                                                                    Subtotal                                              0.00          100,916.68
                                                                           Less: Payments to Debtors                                           0.00
                                                                    NET Receipts / Disbursements                         $0.00         $100,916.68




{} Asset reference(s)                                                                                                         Printed: 12/07/2017 12:32 PM        V.13.30
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                                                     Cash Receipts And Disbursements Record
Case Number:        04-12771 (MKV)                                                                Trustee:            JOHN S. PEREIRA (521200)
Case Name:          CASHPOINT NETWORK SERVICES INC.                                               Bank Name:          The Bank of New York Mellon
                                                                                                  Account:            ****-******73-66 - Unclaimed Dividends Acct
Taxpayer ID #: **-***7072                                                                         Blanket Bond:       N/A
Period Ending: 12/07/17                                                                           Separate Bond: $1,415,080.00

   1            2                         3                                         4                                             5                   6                   7

 Trans.     {Ref #} /                                                                                                         Receipts         Disbursements    Checking
  Date      Check #         Paid To / Received From                Description of Transaction                T-Code              $                   $       Account Balance
04/06/10                 Wire in from JPMorgan Chase Bank, Wire in from JPMorgan Chase Bank, N.A.            9999-000            153,038.30                           153,038.30
                         N.A. account ********7366         account ********7366
07/13/10                 From Account #**********4766      TRANSFER OF FUNDS TO UNCLAIMED                    9999-000             26,439.18                           179,477.48
                                                           DIVIDENDS ACCT
10/18/10     10101       CEBCO CHECK CASHER CORP.          Dividend paid 38.97% on $9,824.11; Claim#         7100-000                                      806.15     178,671.33
                                                           73; Filed: $9,824.11; Reference:
04/12/11                 From Account #**********4766      TRANSFER OF FUNDS TO UNCLAIMED                    9999-000              4,303.03                           182,974.36
                                                           DIVIDENDS ACCT
08/01/11                 The Bank of New York Mellon       Bank and Technology Services Fee                  2600-000                                      350.91     182,623.45
08/04/11                 The Bank of New York Mellon       Bank and Technology Services Fee                  2600-000                                     -350.91     182,974.36
                                                           Adjustment
12/13/12                 RABOBANK MIGRATION                TRANSFER TO 0001052120088                         9999-000                                182,974.36                  0.00
                         TRANSFER OUT                      20121213

                                                                                  ACCOUNT TOTALS                                 183,780.51          183,780.51                 $0.00
                                                                                        Less: Bank Transfers                     183,780.51          182,974.36
                                                                                  Subtotal                                              0.00               806.15
                                                                                        Less: Payments to Debtors                                            0.00
                                                                                  NET Receipts / Disbursements                        $0.00               $806.15




{} Asset reference(s)                                                                                                                      Printed: 12/07/2017 12:32 PM        V.13.30
                 04-12771-mkv                   Doc 733      Filed 12/19/17 Entered 12/19/17 17:57:32                                          Main Document
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                                                     Cash Receipts And Disbursements Record
Case Number:         04-12771 (MKV)                                                            Trustee:            JOHN S. PEREIRA (521200)
Case Name:           CASHPOINT NETWORK SERVICES INC.                                           Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                               Account:            ***-*****47-65 - Money Market Account
Taxpayer ID #: **-***7072                                                                      Blanket Bond:       N/A
Period Ending: 12/07/17                                                                        Separate Bond: $1,415,080.00

   1            2                          3                                     4                                             5                  6                     7

 Trans.     {Ref #} /                                                                                                      Receipts          Disbursements  Money Market
  Date      Check #          Paid To / Received From              Description of Transaction              T-Code              $                    $       Account Balance
04/29/04       {1}        LEFTA CHECKING CASHING          ACCOUNTS RECEIVABLE - INVOICE #1566             1221-000                 529.38                                    529.38
                          CORP.
04/29/04       {1}        MTW CHECKING CASHING CORP. ACCOUNTS RECEIVABLE - INVOICE #1568                  1221-000                 252.66                                    782.04
04/29/04       {1}        MTW CHECK CASHING CORP.         ACCOUNTS RECEIVABLE - INVOICE #1567             1221-000                 212.72                                    994.76
04/29/04       {1}        STATEN ISLAND PAYMENT           ACCOUNTS RECEIVABLE - INVOICE #1569             1221-000                 155.54                                   1,150.30
                          CENTER, INC.
04/29/04       {1}        AMERICAN EAGLE CHECK            ACCOUNTS RECEIVABLE - INVOICE                   1221-000                  78.03                                   1,228.33
                          CASHING                         #001556
04/29/04       {1}        COX COMMUNICATIONS              ACCOUNTS RECEIVABLE - INVOICE #1409             1221-000              7,408.80                                    8,637.13
04/29/04       {1}        DISH NETWORK                    ACCOUNTS RECEIVABLE - INVOICE                   1221-000                 149.12                                   8,786.25
                                                          #909334926349 - REFUND
04/29/04       {1}        VERIZON                         ACCOUNTS RECEIVABLE - IN PAYMENT OF 1221-000                          9,320.73                                18,106.98
                                                          DSL T&V/0204
04/30/04       Int        JPMORGAN CHASE BANK             Interest posting at 0.1500%                     1270-000                   0.01                               18,106.99
05/04/04       {1}        LEFTA CHECKING CASHING          DEPOSITED ITEM RETURNED: CHECK NO.              1221-000                 -529.38                              17,577.61
                          CORP.                           24772; ACCOUNTS RECEIVABLE - INVOICE
                                                          #1566
05/04/04       {1}        MTW CHECKING CASHING CORP. DEPOSITED ITEM RETURNED: CHECK NO.                   1221-000                 -252.66                              17,324.95
                                                          13712; ACCOUNTS RECEIVABLE - INVOICE
                                                          #1568
05/04/04       {1}        MTW CHECK CASHING CORP.         DEPOSITED ITEM RETURNED: CHECK NO.              1221-000                 -212.72                              17,112.23
                                                          13713; ACCOUNTS RECEIVABLE - INVOICE
                                                          #1567
05/04/04       {1}        STATEN ISLAND PAYMENT           DEPOSITED ITEM RETURNED: CHECK NO.              1221-000                 -155.54                              16,956.69
                          CENTER, INC.                    14075; ACCOUNTS RECEIVABLE - INVOICE
                                                          #1569
05/06/04       {2}        FLEET BANK                      TURNOVER OF FUNDS IN FLEET BANK                 1229-000         4,544,168.96                           4,561,125.65
                                                          ACCOUNTS
05/06/04       {2}        FLEET BANK                      TURNOVER OF FUNDS IN FLEET BANK                 1229-000             90,768.09                          4,651,893.74
                                                          ACCOUNTS
05/06/04       {2}        FLEET BANK                      TURNOVER OF FUNDS IN FLEET BANK                 1229-000           426,707.46                           5,078,601.20
                                                          ACCOUNTS
05/17/04                  To Account #********4766        TRANSFER OF FUNDS TO CHECKING                   9999-000                                    412.00      5,078,189.20
                                                          ACCOUNT
05/19/04       {3}        AMERISERV FINANCIAL             TURNOVER OF FUNDS IN DEBTOR'S BANK              1229-000           875,035.04                           5,953,224.24
                                                          ACCOUNT
05/20/04                  To Account #********4766        TRANSFER OF FUNDS TO CHECKING                   9999-000                                  3,710.00      5,949,514.24
                                                          ACCOUNT
05/24/04                  To Account #********4766        TRANSFER OF FUNDS TO CHECKING                   9999-000                                  1,580.00      5,947,934.24
                                                                                               Subtotals :                $5,953,636.24           $5,702.00
{} Asset reference(s)                                                                                                                    Printed: 12/07/2017 12:32 PM        V.13.30
                 04-12771-mkv                   Doc 733      Filed 12/19/17 Entered 12/19/17 17:57:32                                         Main Document
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                                                     Cash Receipts And Disbursements Record
Case Number:         04-12771 (MKV)                                                            Trustee:            JOHN S. PEREIRA (521200)
Case Name:           CASHPOINT NETWORK SERVICES INC.                                           Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                               Account:            ***-*****47-65 - Money Market Account
Taxpayer ID #: **-***7072                                                                      Blanket Bond:       N/A
Period Ending: 12/07/17                                                                        Separate Bond: $1,415,080.00

   1            2                          3                                     4                                             5                  6                    7

 Trans.     {Ref #} /                                                                                                      Receipts         Disbursements  Money Market
  Date      Check #          Paid To / Received From              Description of Transaction              T-Code              $                   $       Account Balance
                                                          ACCOUNT
05/26/04                  To Account #********4767        TRANSFER OF FUNDS - DEPOSIT FROM                9999-000                                     78.03     5,947,856.21
                                                          AMERICAN EAGLE CHECK CASHING
05/28/04       Int        JPMORGAN CHASE BANK             Interest posting at 0.1500%                     1270-000                 498.58                        5,948,354.79
05/28/04                  From Account #********4767      TRANSFER OF FUNDS TO REGULAR MMA - 9999-000                           2,458.43                         5,950,813.22
                                                          DEPOSIT BY MERCHANT'S & PLANTERS
                                                          BANK OF FUNDS HELD IN DEBTOR'S BANK
                                                          ACCOUNT
06/02/04       {5}        FRIENDS OF PATAKI               CONTRIBUTION REFUND                             1290-000              5,000.00                         5,955,813.22
06/02/04       {6}        BANK OF BRINKLEY                TURNOVER OF FUNDS IN DEBTOR'S BANK              1229-000              1,201.22                         5,957,014.44
                                                          ACCOUNT
06/02/04       {6}        FIRST BANK                      TURNOVER OF FUNDS IN DEBTOR'S BANK              1229-000             47,795.41                         6,004,809.85
                                                          ACCOUNT - ACCT NUMBER 002135
06/02/04       {6}        FIRST BANK                      TURNOVER OF FUNDS IN DEBTOR'S BANK              1229-000             25,018.88                         6,029,828.73
                                                          ACCOUNT, LESS $100 FOR COPIES OF
                                                          BANK STATEMENTS - CD ACCT NUMBER
                                                          19749
06/02/04       {6}        BANK OF MORTON                  TURNOVER OF FUNDS IN DEBTOR'S BANK              1229-000             10,460.43                         6,040,289.16
                                                          ACCOUNT
06/02/04       {6}        JONESTOWN BANK                  TURNOVER OF FUNDS IN DEBTOR'S BANK              1229-000                  16.42                        6,040,305.58
                                                          ACCOUNT
06/02/04       {6}        BANK OF SUNSET AND TRUST        TURNOVER OF FUNDS IN DEBTOR'S BANK              1229-000                 378.79                        6,040,684.37
                          CO.                             ACCOUNT
06/02/04       {6}        THE FIRST NATIONAL BANK         TURNOVER OF FUNDS IN DEBTOR'S BANK              1229-000           151,295.98                          6,191,980.35
                                                          ACCOUNT
06/02/04       {7}        CHUBB GROUP OF INSURANCE        SETTLEMENT OF 66.6% DEDUCTIBLE                  1290-000                 666.00                        6,192,646.35
                          COMPANIES                       REIMBURSEMENT; CLAIMANT:
                                                          ENTERPRISE RENTACAR; DATE OF LOSS:
                                                          07/14/03
06/02/04       {8}        WESTERN UNION FINANCIAL         APRIL COMMISSIONS                               1290-000              1,930.35                         6,194,576.70
                          SERVICES INC.
06/02/04       {9}        CITIBANK ELECTRONIC             RPPS RETURNED PAYMENTS/3RD PARTY                1290-000                 330.73                        6,194,907.43
                          PAYMENT SERVICES                REJECTS RETURN
06/02/04       {9}        NORTHSTAR CONFERENCES           REFUND CUSTOM PAYMENT                           1290-000              8,000.00                         6,202,907.43
                          LLC
06/04/04       {6}        CITIZENS PROGRESSIVE BANK       TURNOVER OF FUNDS IN DEBTOR'S BANK              1229-000             21,870.68                         6,224,778.11
                                                          ACCOUNT
06/04/04       {6}        FIRST AMERICAN BANK             TURNOVER OF FUNDS IN DEBTOR'S BANK              1229-000              1,585.81                         6,226,363.92
                                                          ACCOUNT

                                                                                               Subtotals :                  $278,507.71               $78.03
{} Asset reference(s)                                                                                                                   Printed: 12/07/2017 12:32 PM        V.13.30
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                                                 Cash Receipts And Disbursements Record
Case Number:         04-12771 (MKV)                                                          Trustee:            JOHN S. PEREIRA (521200)
Case Name:           CASHPOINT NETWORK SERVICES INC.                                         Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                             Account:            ***-*****47-65 - Money Market Account
Taxpayer ID #: **-***7072                                                                    Blanket Bond:       N/A
Period Ending: 12/07/17                                                                      Separate Bond: $1,415,080.00

   1            2                        3                                    4                                              5                  6                    7

 Trans.     {Ref #} /                                                                                                    Receipts         Disbursements  Money Market
  Date      Check #         Paid To / Received From             Description of Transaction              T-Code              $                   $       Account Balance
06/04/04       {6}        THE BANK OF BOLIVAR COUNTY   TURNOVER OF FUNDS IN DEBTOR'S BANK               1229-000                 497.70                        6,226,861.62
                                                       ACCOUNT
06/04/04       {6}        FARMERS BANK                 TURNOVER OF FUNDS IN DEBTOR'S BANK               1229-000                 480.00                        6,227,341.62
                                                       ACCOUNT
06/04/04      {10}        MOSKOWITZ & BOOK, LLP        PARTIAL RETURN OF RETAINER FROM                  1290-000           200,000.00                          6,427,341.62
                                                       MOSKOWITZ & BOOK LLP
06/07/04       {6}        SIMMONS FIRST BANK OF HOT    TURNOVER OF FUNDS IN DEBTOR'S                    1229-000           170,314.32                          6,597,655.94
                          SPRINGS                      ACCOUNT
06/07/04       {6}        SOUTH LOUISIANA BANK         TURNOVER FUNDS FROM ACCOUNT                      1229-000                 441.05                        6,598,096.99
                                                       #0178608
06/07/04       {6}        FIRST NATIONAL BANK          TURNOVER OF FUNDS FROM ACCOUNT                   1229-000                 452.00                        6,598,548.99
                                                       #2329875
06/07/04       {6}        THE HIGHLANDS BANK           TURNOVER OF FUNDS FROM ACCOUNT                   1229-000             32,451.34                         6,631,000.33
                                                       #1030396
06/07/04       {6}        THE FIRST NATIONAL BANK OF   TURNOVER OF FUNDS IN DEBTOR'S                    1229-000                 458.60                        6,631,458.93
                          WYNNE                        ACCOUNT
06/07/04       {6}        CHAMBERS BANK                TURNOVER OF FUNDS IN DEBTOR'S                    1229-000                 419.49                        6,631,878.42
                                                       ACCOUNT
06/07/04       {6}        CALDWELL BANK & TRUST CO.    TURNOVER OF FUNDS FROM ACCOUNT                   1229-000             67,261.26                         6,699,139.68
                                                       #23930
06/07/04       {6}        THE BANK OF COMMERCE         TURNOVER OF FUNDS FROM ACCOUNT                   1229-000             48,387.29                         6,747,526.97
                                                       #1035282
06/07/04       {6}        FIRST NATIONAL BANK TEXAS    TURNOVER OF FUNDS IN DEBTOR'S                    1229-000           300,922.14                          7,048,449.11
                                                       ACCOUNT
06/07/04       {6}        CITIZENS STATE BANK          TURNOVER OF FUNDS FROM ACCOUNT                   1229-000             19,597.26                         7,068,046.37
                                                       #255300
06/07/04       {6}        BANK OF LAKE VILLAGE         TURNOVER OF FUNDS FROM ACCOUNT                   1229-000                 434.00                        7,068,480.37
                                                       #458-776-6
06/07/04       {6}        FORREST CITY BANK, N.A.      TURNOVER OF FUNDS IN DEBTOR'S                    1229-000                 443.80                        7,068,924.17
                                                       ACCOUNT
06/07/04       {2}        FLEET BANK                   TURNOVER OF FUNDS FROM ACCOUNT                   1229-000             10,183.98                         7,079,108.15
                                                       #9429337969
06/07/04       {2}        FLEET BANK                   TURNOVER OF FUNDS FROM ACCOUNT                   1229-000           456,344.44                          7,535,452.59
                                                       #9429174442
06/07/04       {2}        FLEET BANK                   TURNOVER OF FUNDS FROM ACCOUNT                   1229-000             47,318.25                         7,582,770.84
                                                       #9429134977
06/07/04       {6}        PNC BANK                     TURNOVER OF FUNDS FROM ACCOUNT                   1229-000              4,785.06                         7,587,555.90
                                                       #8016759042 -
06/07/04       {6}        FIRST NATIONAL BANK          TURNOVER OF FUNDS FROM ACCOUNT                   1229-000             63,692.01                         7,651,247.91
                                                                                             Subtotals :                $1,424,883.99               $0.00
{} Asset reference(s)                                                                                                                 Printed: 12/07/2017 12:32 PM        V.13.30
                 04-12771-mkv                    Doc 733       Filed 12/19/17 Entered 12/19/17 17:57:32                                          Main Document
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                                                       Cash Receipts And Disbursements Record
Case Number:         04-12771 (MKV)                                                               Trustee:            JOHN S. PEREIRA (521200)
Case Name:           CASHPOINT NETWORK SERVICES INC.                                              Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                                  Account:            ***-*****47-65 - Money Market Account
Taxpayer ID #: **-***7072                                                                         Blanket Bond:       N/A
Period Ending: 12/07/17                                                                           Separate Bond: $1,415,080.00

   1            2                            3                                     4                                              5                  6                    7

 Trans.     {Ref #} /                                                                                                         Receipts         Disbursements  Money Market
  Date      Check #          Paid To / Received From                 Description of Transaction              T-Code              $                   $       Account Balance
                                                            #10-2609-7
06/07/04       {6}        FIRST NATIONAL BANK               TURNOVER OF FUNDS FROM ACCOUNT                   1229-000           109,395.28                          7,760,643.19
                                                            #10-2657-7
06/07/04       {6}        GULF COAST BANK                   TURNOVER OF FUNDS IN DEBTOR'S                    1229-000              6,264.18                         7,766,907.37
                                                            ACCOUNT
06/07/04       {6}        BANK OF PRESCOTT                  TURNOVER OF FUNDS FROM ACCOUNT                   1229-000                 341.80                        7,767,249.17
                                                            #18209
06/07/04       {6}        KENNEBUNK SAVINGS BANK            TURNOVER OF FUNDS FROM ACCOUNT                   1229-000                 477.07                        7,767,726.24
                                                            #66144153
06/07/04       {6}        CORNERSTONE BANK                  TURNOVER OF FUNDS IN DEBTOR'S                    1229-000             47,642.90                         7,815,369.14
                                                            ACCOUNT
06/09/04       {6}        BANK OF WINNFIELD                 TURNOVER OF FUNDS FROM ACCOUNT                   1229-000             23,769.05                         7,839,138.19
                                                            #141852
06/10/04       {6}        BANGOR SAVINGS BANK               TURNOVER OF FUNDS FROM ACCOUNT                   1229-000             10,532.84                         7,849,671.03
                                                            #2010041918
06/10/04       {6}        UNION BANK                        TURNOVER OF FUNDS FROM ACCOUNT                   1229-000                 472.88                        7,850,143.91
                                                            #36980
06/10/04       {6}        MERCHANTS & FARMERS BANK          TURNOVER OF FUNDS IN DEBTOR'S                    1229-000                 489.00                        7,850,632.91
                          OF DUMAS                          ACCOUNT - BALANCE IN ACCOUNT $500.00
                                                            MINUS $6.00 CLOSING FEE AND $5.00
                                                            CASHIER'S CHECK FEE
06/10/04       {6}        FIRST ARKANSAS BANK & TRUST TURNOVER OF FUNDS FROM ACCOUNT                         1229-000             24,266.70                         7,874,899.61
                                                            #72444485
06/10/04       {6}        FARMERS BANK & TRUST              TURNOVER OF FUNDS IN DEBTOR'S                    1229-000           672,624.82                          8,547,524.43
                                                            ACCOUNT
06/10/04       {6}        ORANGE SAVINGS BANK               TURNOVER OF FUNDS FROM ACCOUNT                   1229-000             31,616.82                         8,579,141.25
                                                            #1153469 - MINUS $3.00 CASHIER'S CHECK
                                                            FEE
06/14/04       {6}        Texas First Bank                  TURNOVER OF FUNDS IN DEBTOR'S                    1229-000             18,492.17                         8,597,633.42
                                                            ACCOUNT
06/14/04       {6}        Cross County Bank                 TURNOVER OF FUNDS IN DEBTOR'S                    1229-000                 450.00                        8,598,083.42
                                                            ACCOUNT
06/14/04       {6}        Arvest Bank                       TURNOVER OF FUNDS IN DEBTOR'S                    1229-000              5,841.39                         8,603,924.81
                                                            ACCOUNT
06/14/04       {6}        Twin City Bank                    TURNOVER OF FUNDS FROM ACCOUNT                   1229-000                 477.38                        8,604,402.19
                                                            #4039327
06/14/04       {6}        First National Bank               TURNOVER OF FUNDS FROM ACCOUNT                   1229-000              6,096.54                         8,610,498.73
                                                            #011 903 2
06/14/04       {6}        First Arkansas Valley Bank        TURNOVER OF FUNDS FROM ACCOUNT                   1229-000           289,990.67                          8,900,489.40

                                                                                                  Subtotals :                $1,249,241.49               $0.00
{} Asset reference(s)                                                                                                                      Printed: 12/07/2017 12:32 PM        V.13.30
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                                                        Cash Receipts And Disbursements Record
Case Number:         04-12771 (MKV)                                                                  Trustee:            JOHN S. PEREIRA (521200)
Case Name:           CASHPOINT NETWORK SERVICES INC.                                                 Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                                     Account:            ***-*****47-65 - Money Market Account
Taxpayer ID #: **-***7072                                                                            Blanket Bond:       N/A
Period Ending: 12/07/17                                                                              Separate Bond: $1,415,080.00

   1            2                            3                                       4                                               5                  6                    7

 Trans.     {Ref #} /                                                                                                            Receipts         Disbursements  Money Market
  Date      Check #          Paid To / Received From                 Description of Transaction                 T-Code              $                   $       Account Balance
                                                             #50010999
06/14/04       {6}        First Security Bank                TURNOVER OF FUNDS FROM ACCOUNT                     1229-000             21,944.98                         8,922,434.38
                                                             #10031316
06/14/04       {6}        FIRST NATIONAL BANK                DEPOSITED ITEM RETURNED - STOP                     1229-000            -63,692.01                         8,858,742.37
                                                             PAYMENT PLACED ON CHECK BY FIRST
                                                             NATIONAL BANK DUE TO INCORRECT
                                                             AMOUNT TURNED OVER IN CASHPOINT
                                                             ACCOUNT
06/16/04       {6}        Guaranty Bank                      Turnover of funds in debtor's bank account         1229-000             22,156.13                         8,880,898.50
06/16/04       {6}        The Capital Bank                   Turnover of funds in debtor's bank account         1229-000             23,140.88                         8,904,039.38
06/16/04       {6}        First National Bank                Turnover of funds in debtors bank account -        1229-000             39,846.66                         8,943,886.04
                                                             Replacement check
06/17/04       {6}        SKOWHEGAN SAVINGS BANK             TURNOVER OF FUNDS FROM ACCOUNT                     1229-000           127,911.17                          9,071,797.21
                                                             #90-382-697
06/17/04       {6}        FIRST DELTA BANK                   TURNOVER OF FUNDS IN DEBTOR'S                      1229-000              7,905.16                         9,079,702.37
                                                             ACCOUNT
06/17/04       {6}        BANK OF ENGLAND                    TURNOVER OF FUNDS IN DEBTOR'S                      1229-000              2,905.29                         9,082,607.66
                                                             ACCOUNT
06/17/04                  To Account #********4766           TRANSFER OF FUNDS TO CHECKING                      9999-000                                 3,648.82      9,078,958.84
                                                             ACCOUNT FROM MONEY MARKET
                                                             ACCOUNT
06/18/04       {6}        First Bank & Trust East Texas      Turnover of funds in Debtor's account, acct        1229-000             57,074.26                         9,136,033.10
                                                             #600166359
06/18/04       {6}        Citizens Bank of Batesville        Turnover of funds in Debtor's account, acct        1229-000           132,813.52                          9,268,846.62
                                                             #05-690-89
06/18/04       {6}        Winnsboro State Bank and Trust     Turnover of funds from account #1030337            1229-000              5,261.39                         9,274,108.01
                          Company
06/18/04       {6}        Simmons First Bank of El Dorado,   Turnover of funds from account #86139022           1229-000              8,170.60                         9,282,278.61
                          N.A.
06/18/04       {6}        Helena National Bank               Turnover of funds from account #139289             1229-000                 479.00                        9,282,757.61
06/21/04       {6}        Frost National Bank                Turnover of funds from account #XX-XXXXXXX         1229-000             23,519.69                         9,306,277.30
06/21/04       {6}        Covenant Bank                      Turnover of funds in debtor's bank account,        1229-000              3,596.39                         9,309,873.69
                                                             acct #0-896-1
06/21/04       {6}        Heritage Bank                      Turnover of funds in debtor's bank account         1229-000                 500.00                        9,310,373.69
06/21/04       {6}        BancorpSouth                       Turnover of funds from account #6039-257-8         1229-000             19,557.93                         9,329,931.62
06/21/04       {6}        The Cleburne County Bank           Turnover of funds from account #91008870           1229-000              1,774.48                         9,331,706.10
06/22/04       {6}        Rayne State Bank and Trust         Turnover of funds in debtor's account              1229-000             11,478.46                         9,343,184.56
                          Company


                                                                                                      Subtotals :                 $446,343.98           $3,648.82
{} Asset reference(s)                                                                                                                         Printed: 12/07/2017 12:32 PM        V.13.30
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                                                      Cash Receipts And Disbursements Record
Case Number:         04-12771 (MKV)                                                                    Trustee:            JOHN S. PEREIRA (521200)
Case Name:           CASHPOINT NETWORK SERVICES INC.                                                   Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                                       Account:            ***-*****47-65 - Money Market Account
Taxpayer ID #: **-***7072                                                                              Blanket Bond:       N/A
Period Ending: 12/07/17                                                                                Separate Bond: $1,415,080.00

   1            2                            3                                         4                                               5                  6                    7

 Trans.     {Ref #} /                                                                                                              Receipts         Disbursements  Money Market
  Date      Check #          Paid To / Received From                  Description of Transaction                  T-Code              $                   $       Account Balance
06/22/04       {6}        The Bank of Navasota                Turnover of funds in debtor's account, acct         1229-000           162,713.93                          9,505,898.49
                                                              #0015297
06/22/04       {6}        Elk Horn Bank & Trust Co.           Turnover of funds in debtor's account, acct         1229-000                 472.81                        9,506,371.30
                                                              #545778
06/22/04       {9}        Citicorp Citibank, N.A.             Turnover of funds from EFT payments and             1290-000                 845.17                        9,507,216.47
                                                              rejected & returned funds from billers
06/25/04       {6}        First National Bank                 Turnover of funds from account #25771               1229-000           123,603.81                          9,630,820.28
06/25/04       {6}        Citizens State Bank                 Turnover of funds from account #11614               1229-000             25,029.29                         9,655,849.57
06/25/04       {6}        Citizens State Bank                 Turnover of funds from account #00-221-6,           1229-000             13,886.94                         9,669,736.51
                                                              less account research fees of $59.75
06/25/04       {6}        Planters Bank & Trust Company       Turnover of funds from account #4700137349          1229-000           305,118.32                          9,974,854.83
06/25/04       {6}        Franklin State Bank                 Turnover of funds in debtor's account               1229-000              6,662.15                         9,981,516.98
06/25/04       {6}        Tensas State Bank                   Turnover of funds from account #1123181             1229-000              4,316.23                         9,985,833.21
06/29/04       {6}        Holmes County Bank and Trust        Turnover of funds from account #6020747             1229-000             20,323.70                        10,006,156.91
                          Company
06/29/04       {6}        Bank of Maringouin                  Turnover of funds in account #828289                1229-000             23,289.87                        10,029,446.78
06/29/04       {6}        Bank of America                     Turnover of funds in bank account                   1229-000              6,071.71                        10,035,518.49
                                                              #0041-6353-1519
06/29/04       {6}        State Bank & Trust Company          Turnover of funds from account #158558              1229-000           100,218.17                         10,135,736.66
06/30/04       Int        JPMORGAN CHASE BANK                 Interest posting at 0.1500%                         1270-000              1,007.05                        10,136,743.71
06/30/04                  To Account #********4766            TRANSFER OF FUNDS TO CHECKING                       9999-000                                 3,122.53     10,133,621.18
                                                              ACCOUNT
07/01/04       {6}        First Security Bank                 Turnover of funds by bank money order, in           1229-000             21,867.91                        10,155,489.09
                                                              debtor's bank account.
07/06/04       {6}        Bank of Ringgold                    Turnover of funds from account #1008846             1229-000             34,673.72                        10,190,162.81
07/08/04                  To Account #********4766            TRANSFER OF FUNDS TO CHECKING                       9999-000                                 1,293.24     10,188,869.57
                                                              ACCOUNT
07/09/04       {9}        Deluxe Business Forms and           refund - duplicate payment                          1290-000                 326.76                       10,189,196.33
                          Supplies
07/12/04       {6}        Bank of Jena                        Turnover of funds from account 9008828              1229-000           152,100.20                         10,341,296.53
07/13/04      {11}        Connecticut Natural Gas             Turnover of excess funds paid by debtor             1290-000             43,093.83                        10,384,390.36
                          Corporation
07/13/04                  To Account #********4766            TRANSFER OF FUNDS TO CHECKING                       9999-000                                25,996.25     10,358,394.11
                                                              ACCOUNT FROM MONEY MARKET
                                                              ACCOUNT
07/13/04                  To Account #********4766            TRANSFER OF FUNDS TO CHECKING                       9999-000                                17,491.25     10,340,902.86
                                                              ACCOUNT FROM MONEY MARKET
                                                              ACCOUNT

                                                                                                        Subtotals :               $1,045,621.57          $47,903.27
{} Asset reference(s)                                                                                                                           Printed: 12/07/2017 12:32 PM        V.13.30
                 04-12771-mkv                      Doc 733          Filed 12/19/17 Entered 12/19/17 17:57:32                                             Main Document
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                                                      Cash Receipts And Disbursements Record
Case Number:         04-12771 (MKV)                                                                       Trustee:            JOHN S. PEREIRA (521200)
Case Name:           CASHPOINT NETWORK SERVICES INC.                                                      Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                                          Account:            ***-*****47-65 - Money Market Account
Taxpayer ID #: **-***7072                                                                                 Blanket Bond:       N/A
Period Ending: 12/07/17                                                                                   Separate Bond: $1,415,080.00

   1            2                            3                                          4                                                 5                  6                    7

 Trans.     {Ref #} /                                                                                                                 Receipts         Disbursements  Money Market
  Date      Check #          Paid To / Received From                     Description of Transaction                  T-Code              $                   $       Account Balance
07/14/04       {2}        Fleet Bank                            Turnover of balance of funds in bank account         1229-000             50,000.00                        10,390,902.86
                                                                [account numbers 9429134977, 9429337969,
                                                                9429174442]
07/19/04       {6}        United Kingfield Bank                 Turnover of funds in debtor's account                1229-000             13,044.21                        10,403,947.07
07/19/04                  To Account #********4766              TRANSFER OF FUNDS TO CHECKING                        9999-000                                 1,474.20     10,402,472.87
                                                                ACCOUNT FROM MMA
07/20/04                  To Account #********4766              TRANSFER OF FUNDS TO CHECKING                        9999-000                                 3,265.50     10,399,207.37
                                                                ACCOUNT
07/26/04       {6}        Houston Community Bank                Turnover of funds from bank account                  1229-000              6,834.79                        10,406,042.16
07/26/04                  To Account #********4766              TRANSFER OF FUNDS TO CHECKING                        9999-000                                 5,000.00     10,401,042.16
                                                                ACCOUNT
07/30/04       Int        JPMORGAN CHASE BANK                   Interest posting at 0.1500%                          1270-000              1,310.74                        10,402,352.90
08/02/04       {6}        Farmers State Bank & Trust Co.        Turnover of funds from account #0000212480           1229-000             51,756.88                        10,454,109.78
08/02/04       {6}        Merchants & Farmers Bank              Turnover of funds from debtor's account              1229-000           137,741.07                         10,591,850.85
08/03/04                  To Account #********4766              TRANSFER OF FUNDS TO CHECKING                        9999-000                                20,000.00     10,571,850.85
                                                                ACCOUNT
08/05/04       {6}        Merrill Merchants Bank                Turnover of funds from debtor's account              1229-000           276,755.61                         10,848,606.46
08/06/04       {6}        United Mississippi Bank               Turnover of funds from account #1802981 &            1229-000             21,318.37                        10,869,924.83
                                                                159988
08/06/04                  To Account #********4766              TRANSFER OF FUNDS TO CHECKING                        9999-000                                15,000.00     10,854,924.83
                                                                ACCOUNT
08/09/04       {6}        Britton & Koontz Bank, NA             Turnover of funds from bank account                  1229-000             20,433.39                        10,875,358.22
08/09/04       {6}        Bodcaw Bank                           Turnover of funds from account number                1229-000                 408.44                       10,875,766.66
                                                                11-0990-1
08/11/04       {6}        First National Bank of Izard County   Turnover of funds from account #0121403201           1229-000                 500.00                       10,876,266.66
08/11/04       {9}        Con Edison                            Refund to SUBWAY CHECK CASHING INC,                  1290-000              6,609.87                        10,882,876.53
                                                                account #44-5015-0691-0003-1
08/11/04       {1}        Simple.net                            Discount incentive for internet access               1221-000                   3.25                       10,882,879.78
                                                                solicitation
08/11/04       {9}        Directory Billing, LLC                Ref: #0107476689                                     1290-000                   3.25                       10,882,883.03
08/11/04       {9}        Verizon                               Refund to account no. 718267-1770839                 1290-000                  10.89                       10,882,893.92
08/11/04       {9}        Verizon                               Refund to account no. 718 297-8349 463               1290-000                   6.22                       10,882,900.14
08/11/04       {9}        Verizon                               Refund to account no. 718 693-2517 013               1290-000                   2.07                       10,882,902.21
08/11/04       {9}        Verizon                               Refund to account no. 718 445-6721 434               1290-000                   7.98                       10,882,910.19
08/11/04       {9}        Verizon                               Refund to account no. 718 712-0134 524               1290-000                  10.32                       10,882,920.51
08/11/04       {9}        Verizon                               Refund to account no. 718 826-3247 030               1290-000                  10.61                       10,882,931.12
08/11/04       {9}        Verizon                               Refund to account no. 718 934-0751 801               1290-000                   5.05                       10,882,936.17
08/11/04       {9}        Verizon                               Refund to account no. 212 395-9532 506               1290-000                   7.98                       10,882,944.15

                                                                                                          Subtotals :                  $586,780.99          $44,739.70
{} Asset reference(s)                                                                                                                              Printed: 12/07/2017 12:32 PM        V.13.30
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                                                     Cash Receipts And Disbursements Record
Case Number:         04-12771 (MKV)                                                                   Trustee:            JOHN S. PEREIRA (521200)
Case Name:           CASHPOINT NETWORK SERVICES INC.                                                  Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                                      Account:            ***-*****47-65 - Money Market Account
Taxpayer ID #: **-***7072                                                                             Blanket Bond:       N/A
Period Ending: 12/07/17                                                                               Separate Bond: $1,415,080.00

   1            2                           3                                         4                                               5                  6                    7

 Trans.     {Ref #} /                                                                                                             Receipts         Disbursements  Money Market
  Date      Check #          Paid To / Received From                   Description of Transaction                T-Code              $                   $       Account Balance
08/12/04       {6}        First Regional Bank                 Received from ELECTRONIC CLEARING                  1229-000           251,466.00                         11,134,410.15
                                                              HOUSE ORGANIZATION - Turnover of funds
08/12/04                  To Account #********4766            TRANSFER OF FUNDS TO CHECKING                      9999-000                                10,000.00     11,124,410.15
                                                              ACCOUNT
08/31/04       {6}        Homebank of Arkansas                Turnover of funds in debtor's bank account         1221-000              4,499.67                        11,128,909.82
08/31/04       {6}        North American Banking Company      Turnover of funds in debtor's bank account         1221-000                 210.56                       11,129,120.38
                                                              #18005421
08/31/04       Int        JPMORGAN CHASE BANK                 Interest posting at 0.2000%                        1270-000              1,707.67                        11,130,828.05
08/31/04                  From Account #********4771          TRANSFER OF FUNDS - CHECK FROM                     9999-000              4,259.02                        11,135,087.07
                                                              GUARANTY BANK IN THE AMOUNT OF
                                                              $4,259.02 [DEPOSITED IN THE WRONG
                                                              ACCOUNT]
09/02/04       {6}        Bank Plus                           Turnover of funds in Debtor's account              1221-000           127,635.47                         11,262,722.54
                                                              #1520004969
09/07/04      {12}        Staten Island Payment Center        Rent for Staten Island property                    1222-000              3,800.00                        11,266,522.54
09/07/04       {6}        Border Trust                        Turnover of funds in debtor's bank account         1221-000              3,005.50                        11,269,528.04
                                                              #2015528
09/07/04       {6}        Merchants and Planters Bank         Turnover of funds in Debtor's bank account.        1221-000                 365.00                       11,269,893.04
                                                              #115169
09/08/04                  To Account #********4766            TRANSFER OF FUNDS TO CHECKING                      9999-000                                 4,920.10     11,264,972.94
                                                              ACCOUNT
09/14/04       {6}        First Regional Bank                 Turnover of funds in bank account 775070633        1221-000           174,080.54                         11,439,053.48
09/14/04                  To Account #********4766            TRANSFER OF FUNDS TO CHECKING                      9999-000                                30,828.45     11,408,225.03
                                                              ACCOUNT
09/15/04                  To Account #********4766            TRANSFER OF FUNDS TO CHECKING                      9999-000                                 1,092.00     11,407,133.03
                                                              ACCOUNT
09/17/04       {6}        Farmers & Merchants Bank            Turnover of funds from account #2049528            1221-000                 446.75                       11,407,579.78
09/17/04                  To Account #********4766            TRANSFER OF FUNDS TO CHECKING                      9999-000                                47,090.14     11,360,489.64
                                                              ACCOUNT
09/20/04       {6}        First National Bank                 Turnover of funds from account #18856              1221-000                 455.00                       11,360,944.64
09/20/04                  To Account #********4766            TRANSFER OF FUNDS TO CHECKING                      9999-000                                10,000.00     11,350,944.64
                                                              ACCOUNT
09/23/04       {9}        Blue Cross Blue Shield of Alabama   Refund                                             1290-000                 484.00                       11,351,428.64
09/28/04       {6}        Citizens State Bank of Woodville    Turnover of bank account                           1221-000             13,565.20                        11,364,993.84
                          Texas
09/30/04       Int        JPMORGAN CHASE BANK                 Interest posting at 0.2000%                        1270-000              1,855.34                        11,366,849.18
10/01/04       {6}        State Bank & Trust Company          Turnover of funds from bank account                1221-000             29,353.82                        11,396,203.00
                                                              #346509400


                                                                                                      Subtotals :                  $617,189.54        $103,930.69
{} Asset reference(s)                                                                                                                          Printed: 12/07/2017 12:32 PM        V.13.30
                 04-12771-mkv                      Doc 733      Filed 12/19/17 Entered 12/19/17 17:57:32                                             Main Document
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                                                     Cash Receipts And Disbursements Record
Case Number:         04-12771 (MKV)                                                                   Trustee:            JOHN S. PEREIRA (521200)
Case Name:           CASHPOINT NETWORK SERVICES INC.                                                  Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                                      Account:            ***-*****47-65 - Money Market Account
Taxpayer ID #: **-***7072                                                                             Blanket Bond:       N/A
Period Ending: 12/07/17                                                                               Separate Bond: $1,415,080.00

   1            2                             3                                     4                                                 5                  6                    7

 Trans.     {Ref #} /                                                                                                             Receipts         Disbursements  Money Market
  Date      Check #          Paid To / Received From                 Description of Transaction                  T-Code              $                   $       Account Balance
10/06/04                  To Account #********4766           TRANSFER OF FUNDS TO CHECKING                       9999-000                                10,000.00     11,386,203.00
                                                             ACCOUNT
10/07/04       {6}        Citizens National Bank             Turnover of funds from account #101258499           1221-000             16,511.28                        11,402,714.28
10/12/04       {6}        Bank of Mountain View              Turnover of funds from account #1020023             1221-000                 500.00                       11,403,214.28
10/13/04       {6}        McGehee Bank                       Turnover of funds in account #565903                1221-000                 500.00                       11,403,714.28
10/14/04       {6}        First Regional Bank                Further payment from ELECTRONIC                     1221-000                 995.00                       11,404,709.28
                                                             CLEARING HOUSE - Turnover of funds
10/19/04       {6}        Union Bank                         Turnover of funds in debtor's bank account          1221-000                 431.97                       11,405,141.25
                                                             #963325
10/21/04       {6}        Peoples Trust Company              Turnover of balance in account # 367419             1221-000                 500.00                       11,405,641.25
10/22/04       {6}        KeyBank National Association       Turnover of funds in bank account                   1221-000           105,818.29                         11,511,459.54
10/25/04                  To Account #********4766           TRANSFER OF FUNDS TO CHECKING                       9999-000                                10,000.00     11,501,459.54
                                                             ACCOUNT
10/26/04       {6}        Little River Bank                  Turnover of funds from bank account #111252         1221-000              1,163.36                        11,502,622.90
10/26/04                  To Account #********4766           TRANSFER OF FUNDS TO CHECKING                       9999-000                                10,000.00     11,492,622.90
                                                             ACCOUNT
10/29/04       Int        JPMORGAN CHASE BANK                Interest posting at 0.2500%                         1270-000              2,032.45                        11,494,655.35
10/29/04                  To Account #********4766           TRANSFER OF FUNDS TO CHECKING                       9999-000                                26,839.74     11,467,815.61
                                                             ACCOUNT
11/04/04                  To Account #********4766           TRANSFER OF FUNDS TO CHECKING                       9999-000                                21,861.13     11,445,954.48
                                                             ACCOUNT
11/05/04       {6}        Iberville Trust & Savings Bank     Turnover of funds in bank account                   1221-000              7,504.41                        11,453,458.89
11/15/04                  To Account #********4770           Turnover of funds from First American Bank,         9999-000                                 1,585.81     11,451,873.08
                                                             account #9022317
11/15/04                  To Account #********4771           Turnover of funds from Bank of Jena, account        9999-000                               152,100.20     11,299,772.88
                                                             #9008829
11/15/04                  To Account #********4771           Turnover of funds from Bank of Morton,              9999-000                                10,460.43     11,289,312.45
                                                             account #6013726
11/15/04                  To Account #********4771           Turnover of funds from Bank of Ringgold,            9999-000                                34,673.72     11,254,638.73
                                                             account #1008846
11/15/04                  To Account #********4771           Turnover of funds from Bank of Marinqouin,          9999-000                                23,289.87     11,231,348.86
                                                             account #828289
11/15/04                  To Account #********4771           Turnover of funds from Bank Plus, account           9999-000                               127,635.47     11,103,713.39
                                                             #1520004969
11/15/04                  To Account #********4771           Turnover of funds from Bank of Winnfield,           9999-000                                23,769.05     11,079,944.34
                                                             account #141852
11/15/04                  To Account #********4771           Turnover of funds from Caldwell Bank & Trust        9999-000                                67,261.26     11,012,683.08
                                                             Co., account #23930

                                                                                                       Subtotals :                 $135,956.76        $519,476.68
{} Asset reference(s)                                                                                                                          Printed: 12/07/2017 12:32 PM        V.13.30
                 04-12771-mkv                  Doc 733      Filed 12/19/17 Entered 12/19/17 17:57:32                                              Main Document
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                                                    Cash Receipts And Disbursements Record
Case Number:        04-12771 (MKV)                                                                 Trustee:            JOHN S. PEREIRA (521200)
Case Name:          CASHPOINT NETWORK SERVICES INC.                                                Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                                   Account:            ***-*****47-65 - Money Market Account
Taxpayer ID #: **-***7072                                                                          Blanket Bond:       N/A
Period Ending: 12/07/17                                                                            Separate Bond: $1,415,080.00

   1            2                         3                                      4                                                 5                  6                    7

 Trans.     {Ref #} /                                                                                                          Receipts        Disbursements  Money Market
  Date      Check #         Paid To / Received From              Description of Transaction                   T-Code              $                  $       Account Balance
11/15/04                 To Account #********4771        Turnover of funds from Citizen's State Bank,         9999-000                                19,597.26     10,993,085.82
                                                         account #255300
11/15/04                 To Account #********4771        Turnover of funds from Citizen's Progressive         9999-000                                21,870.68     10,971,215.14
                                                         Bank, account #1014234
11/15/04                 To Account #********4771        Turnover of funds from Citizens State Bank,          9999-000                                13,886.94     10,957,328.20
                                                         account #00-221-6
11/15/04                 To Account #********4771        Turnover of funds from Citizens Bank of              9999-000                               132,813.52     10,824,514.68
                                                         Batesville, account #05-690-89
11/15/04                 To Account #********4771        Turnover of funds from Citizens State Bank of        9999-000                                13,565.20     10,810,949.48
                                                         Woodville Texas, account #189747
11/15/04                 To Account #********4771        Turnover of funds from Cornerstone Bank,             9999-000                                47,642.90     10,763,306.58
                                                         account #103861
11/15/04                 To Account #********4771        Turnover of funds from Covenant Bank,                9999-000                                 3,596.39     10,759,710.19
                                                         account #0-896-1
11/15/04                 To Account #********4771        Turnover of funds from First Security Bank,          9999-000                                21,867.91     10,737,842.28
                                                         account #224685
11/15/04                 To Account #********4771        Turnover of funds from First National Bank,          9999-000                                 6,096.54     10,731,745.74
                                                         account #0119032
11/15/04                 To Account #********4771        Turnover of funds from First Arkansas Valley         9999-000                               289,990.67     10,441,755.07
                                                         Bank, account #50010999
11/15/04                 To Account #********4771        Turnover of funds from First Arkansas Bank &         9999-000                                24,266.70     10,417,488.37
                                                         Trust, account #0072444485
11/15/04                 To Account #********4771        Turnover of funds from First National Bank,          9999-000                                39,846.66     10,377,641.71
                                                         account #1026097
11/15/04                 To Account #********4771        Turnover of funds from First Bank, account           9999-000                                47,795.41     10,329,846.30
                                                         #002135
11/15/04                 To Account #********4771        Turnover of funds from First Bank & Trust East       9999-000                                57,074.26     10,272,772.04
                                                         Texas, account #6001166359
11/15/04                 To Account #********4771        Turnover of funds from First Security Bank,          9999-000                                21,944.98     10,250,827.06
                                                         account #10031316
11/15/04                 To Account #********4771        Turnover of funds from Franklin State Bank,          9999-000                                 6,662.15     10,244,164.91
                                                         account #001032100
11/15/04                 To Account #********4771        Turnover of funds from Frost National Bank,          9999-000                                23,519.69     10,220,645.22
                                                         account #XX-XXXXXXX
11/15/04                 To Account #********4771        Turnover of funds from Guaranty Bank,                9999-000                                22,156.13     10,198,489.09
                                                         account #38030509900
11/15/04                 To Account #********4771        Turnover of funds from Gulf Coast Bank,              9999-000                                 6,264.18     10,192,224.91
                                                         account #1700301
11/15/04                 To Account #********4771        Turnover of funds from Holmes County Bank            9999-000                                20,323.70     10,171,901.21
                                                                                                   Subtotals :                         $0.00       $840,781.87
{} Asset reference(s)                                                                                                                       Printed: 12/07/2017 12:32 PM        V.13.30
                 04-12771-mkv                   Doc 733      Filed 12/19/17 Entered 12/19/17 17:57:32                                             Main Document
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                                                     Cash Receipts And Disbursements Record
Case Number:         04-12771 (MKV)                                                              Trustee:              JOHN S. PEREIRA (521200)
Case Name:           CASHPOINT NETWORK SERVICES INC.                                             Bank Name:            JPMORGAN CHASE BANK, N.A.
                                                                                                 Account:              ***-*****47-65 - Money Market Account
Taxpayer ID #: **-***7072                                                                        Blanket Bond:         N/A
Period Ending: 12/07/17                                                                          Separate Bond: $1,415,080.00

   1            2                          3                                     4                                                 5                  6                    7

 Trans.     {Ref #} /                                                                                                          Receipts        Disbursements  Money Market
  Date      Check #          Paid To / Received From              Description of Transaction                  T-Code              $                  $       Account Balance
                                                          and Trust Company, account #6020747
11/15/04                  To Account #********4771        Turnover of funds from Merchants & Farmers         9999-000                                137,741.07     10,034,160.14
                                                          Bank, account #107134185
11/15/04                  To Account #********4771        Turnover of funds from Orange Savings Bank,        9999-000                                 31,616.82     10,002,543.32
                                                          account #1153469
11/15/04                  To Account #********4771        Turnover of funds from Rayne State Bank and        9999-000                                 11,478.46      9,991,064.86
                                                          Trust Company, account #1210422
11/15/04                  To Account #********4771        Turnover of funds from State Bank & Trust          9999-000                                100,218.17      9,890,846.69
                                                          Company, account #158558
11/15/04                  To Account #********4771        Turnover of funds from Tensas State Bank,          9999-000                                  4,316.23      9,886,530.46
                                                          account #1123181
11/15/04                  To Account #********4771        Turnover of funds from Texas First Bank,           9999-000                                 18,492.17      9,868,038.29
                                                          account #25109439
11/15/04                  To Account #********4771        Turnover of funds from The First National          9999-000                                151,295.98      9,716,742.31
                                                          Bank, account #0000145246
11/15/04                  To Account #********4771        Turnover of funds from The Bank of                 9999-000                                 48,387.29      9,668,355.02
                                                          Commerce, account #1035282
11/15/04                  To Account #********4771        Turnover of funds from The Bank of Navasota,       9999-000                                162,713.93      9,505,641.09
                                                          account #0015297
11/15/04                  To Account #********4771        Turnover of funds from The Capital Bank,           9999-000                                 23,140.88      9,482,500.21
                                                          account #107441
11/15/04                  To Account #********4771        Turnover of funds from The Highland Bank,          9999-000                                 32,451.34      9,450,048.87
                                                          account #1030396
11/15/04                  To Account #********4771        Turnover of funds from Winnsboro State Bank        9999-000                                  5,261.39      9,444,787.48
                                                          and Trust Company, account #1030337
11/23/04                  To Account #********4766        TRANSFER OF FUNDS TO CHECKING                      9999-000                                  5,000.00      9,439,787.48
                                                          ACCOUNT
11/30/04       Int        JPMORGAN CHASE BANK             Interest posting at 0.2500%                        1270-000               2,144.66                         9,441,932.14
12/02/04                  To Account #********4766        TRANSFER OF FUNDS TO CHECKING                      9999-000                                  5,738.38      9,436,193.76
                                                          ACCOUNT
12/03/04       {9}        P&G Brokerage, Inc.             Refund for policy never issued                     1290-000              10,800.00                         9,446,993.76
12/06/04                  To Account #********4766        TRANSFER OF FUNDS TO CHECKING                      9999-000                                 20,000.00      9,426,993.76
                                                          ACCOUNT
12/07/04                  To Account #********4766        TRANSFER OF FUNDS TO CHECKING                      9999-000                                 10,000.00      9,416,993.76
                                                          ACCOUNT
12/13/04       {1}        Pine Check Cashing Corp         Accounts Receivable - Turnover of funds from       1221-000              15,421.47                         9,432,415.23
                                                          agent
12/20/04                  To Account #********4766        TRANSFER OF FUNDS TO CHECKING                      9999-000                                  2,080.07      9,430,335.16


                                                                                                     Subtotals :                 $28,366.13        $769,932.18
{} Asset reference(s)                                                                                                                       Printed: 12/07/2017 12:32 PM        V.13.30
                 04-12771-mkv                   Doc 733          Filed 12/19/17 Entered 12/19/17 17:57:32                                           Main Document
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                                                     Cash Receipts And Disbursements Record
Case Number:         04-12771 (MKV)                                                                  Trustee:            JOHN S. PEREIRA (521200)
Case Name:           CASHPOINT NETWORK SERVICES INC.                                                 Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                                     Account:            ***-*****47-65 - Money Market Account
Taxpayer ID #: **-***7072                                                                            Blanket Bond:       N/A
Period Ending: 12/07/17                                                                              Separate Bond: $1,415,080.00

   1            2                          3                                         4                                               5                  6                    7

 Trans.     {Ref #} /                                                                                                            Receipts        Disbursements  Money Market
  Date      Check #          Paid To / Received From                   Description of Transaction               T-Code              $                  $       Account Balance
                                                              ACCOUNT
12/21/04                  To Account #********4766            TRANSFER OF FUNDS TO CHECKING                     9999-000                                20,000.00      9,410,335.16
                                                              ACCOUNT
12/23/04                  To Account #********4766            TRANSFER OF FUNDS TO CHECKING                     9999-000                                10,000.00      9,400,335.16
                                                              ACCOUNT
12/31/04       Int        JPMORGAN CHASE BANK                 Interest posting at 1.0500%                       1270-000              7,162.73                         9,407,497.89
01/05/05                  To Account #********4766            TRANSFER OF FUNDS TO CHECKING                     9999-000                                10,000.00      9,397,497.89
                                                              ACCOUNT
01/06/05       {9}        Valor Telecommunications SW, LLC    Refund                                            1290-000                 35.93                         9,397,533.82
01/06/05       {9}        Automatic Data Processing           Refund for an ADP check that was payable to       1290-000                 56.50                         9,397,590.32
                                                              an employee
01/06/05       {9}        IBM                                 Accounts receivable refund                        1290-000              2,363.00                         9,399,953.32
01/31/05       Int        JPMORGAN CHASE BANK                 Interest Earned                                   1270-000              8,386.82                         9,408,340.14
01/31/05                  From Account #********4770          Turnover of funds from Bank One                   9999-000           976,071.82                         10,384,411.96
01/31/05                  From Account #********4770          Turnover of funds from Bank One                   9999-000           511,344.95                         10,895,756.91
02/02/05                  To Account #********4766            TRANSFER OF FUNDS TO CHECKING                     9999-000                                15,000.00     10,880,756.91
                                                              ACCOUNT
02/03/05       {6}        Union Planters Bank                 Turnover of funds from bank account               1221-000           790,412.81                         11,671,169.72
02/09/05                  To Account #********4766            TRANSFER OF FUNDS TO CHECKING                     9999-000                                 1,618.65     11,669,551.07
                                                              ACCOUNT
02/09/05                  To Account #********4766            TRANSFER OF FUNDS TO CHECKING                     9999-000                               708,841.21     10,960,709.86
                                                              ACCOUNT
02/10/05                  To Account #********4766            TRANSFER OF FUNDS TO CHECKING                     9999-000                                38,011.25     10,922,698.61
                                                              ACCOUNT
02/11/05                  To Account #********4766            TRANSFER OF FUNDS TO CHECKING                     9999-000                                    89.00     10,922,609.61
                                                              ACCOUNT
02/14/05                  To Account #********4766            TRANSFER OF FUNDS TO CHECKING                     9999-000                                 1,733.80     10,920,875.81
                                                              ACCOUNT
02/28/05       Int        JPMORGAN CHASE BANK, N.A.           Interest posting at 0.3500%                       1270-000              8,817.21                        10,929,693.02
03/02/05                  To Account #********4766            TRANSFER OF FUNDS TO CHECKING                     9999-000                                14,273.94     10,915,419.08
                                                              ACCOUNT
03/09/05                  To Account #********4766            TRANSFER OF FUNDS TO CHECKING                     9999-000                                 3,542.40     10,911,876.68
                                                              ACCOUNT
03/11/05                  To Account #********4766            TRANSFER OF FUNDS TO CHECKING                     9999-000                                 3,359.36     10,908,517.32
                                                              ACCOUNT
03/15/05       {1}        5 E. 41st St. Check Cashing Corp.   Turnover of funds                                 1221-000             29,917.87                        10,938,435.19
03/15/05                  To Account #********4768            Turnover of funds from 5 East 41st St. Check      9999-000                                29,917.87     10,908,517.32
                                                              Cashing Corp.

                                                                                                      Subtotals :               $2,334,569.64        $856,387.48
{} Asset reference(s)                                                                                                                         Printed: 12/07/2017 12:32 PM        V.13.30
                 04-12771-mkv                     Doc 733      Filed 12/19/17 Entered 12/19/17 17:57:32                                           Main Document
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                                                     Cash Receipts And Disbursements Record
Case Number:         04-12771 (MKV)                                                                Trustee:            JOHN S. PEREIRA (521200)
Case Name:           CASHPOINT NETWORK SERVICES INC.                                               Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                                   Account:            ***-*****47-65 - Money Market Account
Taxpayer ID #: **-***7072                                                                          Blanket Bond:       N/A
Period Ending: 12/07/17                                                                            Separate Bond: $1,415,080.00

   1            2                             3                                    4                                               5                  6                    7

 Trans.     {Ref #} /                                                                                                          Receipts        Disbursements  Money Market
  Date      Check #          Paid To / Received From                Description of Transaction                T-Code              $                  $       Account Balance
03/18/05                  To Account #********4766          TRANSFER OF FUNDS TO CHECKING                     9999-000                                    568.10    10,907,949.22
                                                            ACCOUNT
03/21/05                  To Account #********4766          TRANSFER OF FUNDS TO CHECKING                     9999-000                                    160.00    10,907,789.22
                                                            ACCOUNT
03/23/05                  To Account #********4766          TRANSFER OF FUNDS TO CHECKING                     9999-000                                11,223.90     10,896,565.32
                                                            ACCOUNT
03/31/05       Int        JPMORGAN CHASE BANK, N.A.         Interest posting at 0.3500%                       1270-000              9,731.08                        10,906,296.40
04/06/05       {6}        First State Bank                  Turnover of funds in debtor's bank account        1221-000             11,937.56                        10,918,233.96
                                                            #203-965-6
04/06/05                  To Account #********4766          TRANSFER OF FUNDS TO CHECKING                     9999-000                                 2,991.11     10,915,242.85
                                                            ACCOUNT
04/06/05                  To Account #********4766          TRANSFER OF FUNDS TO CHECKING                     9999-000                                99,255.60     10,815,987.25
                                                            ACCOUNT
04/07/05                  To Account #********4766          TRANSFER OF FUNDS TO CHECKING                     9999-000                                32,477.50     10,783,509.75
                                                            ACCOUNT
04/08/05                  To Account #********4766          TRANSFER OF FUNDS TO CHECKING                     9999-000                                 5,344.17     10,778,165.58
                                                            ACCOUNT
04/20/05                  To Account #********4766          TRANSFER OF FUNDS TO CHECKING                     9999-000                                    209.00    10,777,956.58
                                                            ACCOUNT
04/26/05                  To Account #********4766          TRANSFER OF FUNDS TO CHECKING                     9999-000                                     30.00    10,777,926.58
                                                            ACCOUNT
04/27/05                  To Account #********4766          TRANSFER OF FUNDS TO CHECKING                     9999-000                                12,629.26     10,765,297.32
                                                            ACCOUNT
04/29/05       Int        JPMORGAN CHASE BANK, N.A.         Interest posting at 0.3500%                       1270-000              9,324.33                        10,774,621.65
05/02/05                  To Account #********4766          TRANSFER OF FUNDS TO CHECKING                     9999-000                                    150.00    10,774,471.65
                                                            ACCOUNT
05/03/05       {6}        Citibank                          Turnover of funds in debtor's bank account        1221-000             37,376.03                        10,811,847.68
05/03/05       {6}        Citibank                          Turnover of funds in debtor's bank account        1221-000              1,529.59                        10,813,377.27
05/03/05       {6}        Citibank                          Turnover of funds in debtor's bank account        1221-000              5,000.00                        10,818,377.27
05/03/05       {6}        Citibank                          Turnover of funds in debtor's bank account        1221-000             86,385.32                        10,904,762.59
05/04/05                  To Account #********4766          TRANSFER OF FUNDS TO CHECKING                     9999-000                                 8,700.63     10,896,061.96
                                                            ACCOUNT
05/16/05                  To Account #********4766          TRANSFER OF FUNDS TO CHECKING                     9999-000                                 1,434.94     10,894,627.02
                                                            ACCOUNT
05/19/05       {6}        Mellon Bank, N.A.                 Turnover of funds in account number 104-6300 1221-000                  40,584.93                        10,935,211.95
05/19/05                  To Account #********4766          TRANSFER OF FUNDS TO CHECKING                     9999-000                                22,486.50     10,912,725.45
                                                            ACCOUNT
05/31/05       Int        JPMORGAN CHASE BANK, N.A.         Interest posting at 1.0500%                       1270-000              9,708.92                        10,922,434.37

                                                                                                    Subtotals :                 $211,577.76        $197,660.71
{} Asset reference(s)                                                                                                                       Printed: 12/07/2017 12:32 PM        V.13.30
                 04-12771-mkv                     Doc 733        Filed 12/19/17 Entered 12/19/17 17:57:32                                            Main Document
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                                                     Cash Receipts And Disbursements Record
Case Number:         04-12771 (MKV)                                                                   Trustee:            JOHN S. PEREIRA (521200)
Case Name:           CASHPOINT NETWORK SERVICES INC.                                                  Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                                      Account:            ***-*****47-65 - Money Market Account
Taxpayer ID #: **-***7072                                                                             Blanket Bond:       N/A
Period Ending: 12/07/17                                                                               Separate Bond: $1,415,080.00

   1            2                           3                                         4                                               5                  6                    7

 Trans.     {Ref #} /                                                                                                             Receipts        Disbursements  Money Market
  Date      Check #          Paid To / Received From                  Description of Transaction                 T-Code              $                  $       Account Balance
06/01/05                  To Account #********4766            TRANSFER OF FUNDS TO CHECKING                      9999-000                                12,592.66     10,909,841.71
                                                              ACCOUNT
06/09/05                  From Account #********4771          Balance of sale proceeds from Park Avenue          9999-000             82,845.38                        10,992,687.09
                                                              Funding, LLC re sale of real property at 143
                                                              West 72nd Street
06/09/05                  To Account #********4766            TRANSFER OF FUNDS TO CHECKING                      9999-000                                 8,556.86     10,984,130.23
                                                              ACCOUNT
06/14/05       {6}        First Community Bank                Turnover of funds in debtor's account              1221-000             34,491.73                        11,018,621.96
                                                              #XX-XXXXXXX-6
06/16/05       {6}        First National Bank of Huntsville   Turnover of funds from account no.                 1221-000             28,059.55                        11,046,681.51
                                                              0000078402
06/16/05                  To Account #********4766            TRANSFER OF FUNDS TO CHECKING                      9999-000                                 1,647.75     11,045,033.76
                                                              ACCOUNT
06/22/05       {6}        Huntington Bank                     Turnover of funds in account #01891783140          1221-000             59,454.63                        11,104,488.39
06/29/05                  To Account #********4766            TRANSFER OF FUNDS TO CHECKING                      9999-000                                39,066.75     11,065,421.64
                                                              ACCOUNT
06/30/05       Int        JPMORGAN CHASE BANK, N.A.           Interest posting at 1.0500%                        1270-000              9,499.34                        11,074,920.98
07/06/05                  To Account #********4766            TRANSFER OF FUNDS TO CHECKING                      9999-000                                 5,810.70     11,069,110.28
                                                              ACCOUNT
07/18/05       {6}        Chase Bank                          Turnover of funds in debtor's account              1221-000             47,589.71                        11,116,699.99
07/29/05       {8}        Western Union                       May commissions                                    1290-000                  0.04                        11,116,700.03
07/29/05       Int        JPMORGAN CHASE BANK, N.A.           Interest posting at 1.0500%                        1270-000              9,895.46                        11,126,595.49
07/29/05                  To Account #********4766            TRANSFER OF FUNDS TO CHECKING                      9999-000                                    272.50    11,126,322.99
                                                              ACCOUNT
08/09/05                  To Account #********4766            TRANSFER OF FUNDS TO CHECKING                      9999-000                                23,402.37     11,102,920.62
                                                              ACCOUNT
08/23/05       {6}        Citibank                            Payment in full of all CashPoint funds paid        1221-000             46,477.60                        11,149,398.22
                                                              inadvertently to Samuel Brevdeh
08/23/05                  Simple Net                          Reversal of ACH debit                              2990-000                                    -17.95    11,149,416.17
08/23/05                  Simple Net                          ACH debit                                          2990-000                                     17.95    11,149,398.22
08/31/05       Int        JPMORGAN CHASE BANK, N.A.           Interest posting at 1.2000%                        1270-000             11,246.75                        11,160,644.97
09/02/05                  To Account #********4766            TRANSFER OF FUNDS TO CHECKING                      9999-000                                    150.00    11,160,494.97
                                                              ACCOUNT
09/12/05                  Simple Net                          ACH debit                                          2990-000                                     17.95    11,160,477.02
09/16/05                  To Account #********4766            TRANSFER OF FUNDS TO CHECKING                      9999-000                                 5,810.40     11,154,666.62
                                                              ACCOUNT
09/28/05                  To Account #********4766            TRANSFER OF FUNDS TO CHECKING                      9999-000                                26,043.75     11,128,622.87
                                                              ACCOUNT

                                                                                                       Subtotals :                 $329,560.19        $123,371.69
{} Asset reference(s)                                                                                                                          Printed: 12/07/2017 12:32 PM        V.13.30
                 04-12771-mkv                   Doc 733      Filed 12/19/17 Entered 12/19/17 17:57:32                                         Main Document
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                                                     Cash Receipts And Disbursements Record
Case Number:         04-12771 (MKV)                                                            Trustee:            JOHN S. PEREIRA (521200)
Case Name:           CASHPOINT NETWORK SERVICES INC.                                           Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                               Account:            ***-*****47-65 - Money Market Account
Taxpayer ID #: **-***7072                                                                      Blanket Bond:       N/A
Period Ending: 12/07/17                                                                        Separate Bond: $1,415,080.00

   1            2                          3                                     4                                             5                  6                    7

 Trans.     {Ref #} /                                                                                                      Receipts        Disbursements  Money Market
  Date      Check #          Paid To / Received From             Description of Transaction               T-Code              $                  $       Account Balance
09/30/05       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 1.2000%                     1270-000             11,007.44                        11,139,630.31
10/05/05                  To Account #********4766        TRANSFER OF FUNDS TO CHECKING                   9999-000                                 5,810.40     11,133,819.91
                                                          ACCOUNT
10/25/05                  To Account #********4766        TRANSFER OF FUNDS TO CHECKING                   9999-000                                    150.00    11,133,669.91
                                                          ACCOUNT
10/27/05                  To Account #********4766        TRANSFER OF FUNDS TO CHECKING                   9999-000                                    209.00    11,133,460.91
                                                          ACCOUNT
10/28/05                  To Account #********4766        TRANSFER OF FUNDS TO CHECKING                   9999-000                             1,940,436.57      9,193,024.34
                                                          ACCOUNT
10/31/05       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 1.2000%                     1270-000             11,098.44                         9,204,122.78
11/08/05                  To Account #********4766        TRANSFER OF FUNDS TO CHECKING                   9999-000                                 9,026.25      9,195,096.53
                                                          ACCOUNT
11/18/05                  JP MORGAN CHASE BANK            CREDIT REVERSAL OF DEBIT FROM                   2990-000                                    -29.95     9,195,126.48
                                                          DIRECTORY BILLING
11/18/05                  Pro Bill                        ACH debit                                       2990-000                                     29.95     9,195,096.53
11/30/05                  DIRECTORY BILLING               REVERSAL OF DEBIT INCURRED ON                   2990-000                                    -29.95     9,195,126.48
                                                          11/08/05
11/30/05       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 1.2000%                     1270-000              9,075.54                         9,204,202.02
12/08/05                  To Account #********4773        TRANSFER OF FUNDS TO MMA - TR'EE                9999-000                                18,353.00      9,185,849.02
                                                          CASHPT & COX COMM
12/08/05                  To Account #********4766        TRANSFER OF FUNDS TO CHECKING                   9999-000                                12,380.60      9,173,468.42
                                                          ACCOUNT
12/30/05       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 1.4500%                     1270-000             10,105.78                         9,183,574.20
01/06/06                  To Account #********4766        TRANSFER OF FUNDS TO CHECKING                   9999-000                                    150.00     9,183,424.20
                                                          ACCOUNT
01/26/06                  To Account #********4766        TRANSFER OF FUNDS TO CHECKING                   9999-000                                 5,918.40      9,177,505.80
                                                          ACCOUNT
01/26/06                  To Account #********4766        TRANSFER OF FUNDS TO CHECKING                   9999-000                                    150.00     9,177,355.80
                                                          ACCOUNT
01/31/06       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 1.4500%                     1270-000             11,314.77                         9,188,670.57
02/06/06                  To Account #********4766        TRANSFER OF FUNDS TO CHECKING                   9999-000                                 5,968.40      9,182,702.17
                                                          ACCOUNT
02/28/06       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 1.6000%                     1270-000             10,976.43                         9,193,678.60
03/22/06                  To Account #********4766        TRANSFER OF FUNDS TO CHECKING                   9999-000                                 6,068.40      9,187,610.20
                                                          ACCOUNT
03/30/06      {14}        Cole, Shotz, Meisel, Forman &   Settlement of adversary proceeding              1249-000             37,515.73                         9,225,125.93
                          Leonard
03/31/06       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 1.6000%                     1270-000             12,500.52                         9,237,626.45

                                                                                               Subtotals :                  $113,594.65       $2,004,591.07
{} Asset reference(s)                                                                                                                   Printed: 12/07/2017 12:32 PM        V.13.30
                 04-12771-mkv                    Doc 733           Filed 12/19/17 Entered 12/19/17 17:57:32                                              Main Document
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                                                     Cash Receipts And Disbursements Record
Case Number:         04-12771 (MKV)                                                                       Trustee:            JOHN S. PEREIRA (521200)
Case Name:           CASHPOINT NETWORK SERVICES INC.                                                      Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                                          Account:            ***-*****47-65 - Money Market Account
Taxpayer ID #: **-***7072                                                                                 Blanket Bond:       N/A
Period Ending: 12/07/17                                                                                   Separate Bond: $1,415,080.00

   1            2                           3                                           4                                                 5                  6                    7

 Trans.     {Ref #} /                                                                                                                 Receipts        Disbursements  Money Market
  Date      Check #          Paid To / Received From                      Description of Transaction                 T-Code              $                  $       Account Balance
03/31/06                  To Account #********4766              TRANSFER OF FUNDS TO CHECKING                        9999-000                                    150.00     9,237,476.45
                                                                ACCOUNT
04/28/06       Int        JPMORGAN CHASE BANK, N.A.             Interest posting at 1.7000%                          1270-000             12,510.40                         9,249,986.85
05/02/06                  To Account #********4766              TRANSFER OF FUNDS TO CHECKING                        9999-000                                14,816.48      9,235,170.37
                                                                ACCOUNT
05/08/06                  To Account #********4766              TRANSFER OF FUNDS TO CHECKING                        9999-000                                11,986.80      9,223,183.57
                                                                ACCOUNT
05/10/06                  To Account #********4766              TRANSFER OF FUNDS TO CHECKING                        9999-000                                    332.00     9,222,851.57
                                                                ACCOUNT
05/15/06      {15}        Christopher DeWinter                  First of Six Payments in Settlement of               1249-000              6,250.00                         9,229,101.57
                                                                Adversary Proceeding
05/18/06      {16}        Mintz, Levin, Cohn, Ferris, Glovsky   Partial payment in settlement of adversary           1249-000           166,315.29                          9,395,416.86
                          & Popeo, P.C.                         proceeding against Bernie Bredveh
05/23/06                  To Account #********4766              TRANSFER OF FUNDS TO CHECKING                        9999-000                                 6,475.00      9,388,941.86
                                                                ACCOUNT
05/31/06       Int        JPMORGAN CHASE BANK, N.A.             Interest posting at 1.7000%                          1270-000             13,409.45                         9,402,351.31
06/08/06                  To Account #********4766              TRANSFER OF FUNDS TO CHECKING                        9999-000                                14,816.48      9,387,534.83
                                                                ACCOUNT
06/15/06      {15}        Christopher M. G. DeWinter            Second of six payments in settlement of              1249-000              6,250.00                         9,393,784.83
                                                                adversary proceeding
06/28/06      {13}        Jaspan Schlesinger Hoffman LLP        Balance of purchase price from sale of 143 W         1210-000             25,000.00                         9,418,784.83
                                                                72nd St
06/29/06                  To Account #********4766              TRANSFER OF FUNDS TO CHECKING                        9999-000                                 6,083.95      9,412,700.88
                                                                ACCOUNT
06/30/06       Int        JPMORGAN CHASE BANK, N.A.             Interest posting at 2.5000%                          1270-000             17,671.99                         9,430,372.87
07/17/06                  To Account #********4766              TRANSFER OF FUNDS TO CHECKING                        9999-000                                 5,918.40      9,424,454.47
                                                                ACCOUNT
07/31/06       Int        JPMORGAN CHASE BANK, N.A.             Interest posting at 2.5000%                          1270-000             20,038.29                         9,444,492.76
08/10/06                  To Account #********4766              TRANSFER OF FUNDS TO CHECKING                        9999-000                                    300.00     9,444,192.76
                                                                ACCOUNT
08/18/06      {15}        Christopher and Jane DeWinter         Payment in settlement of adversary proceeding 1249-000                     6,250.00                         9,450,442.76
08/21/06                  To Account #********4766              TRANSFER OF FUNDS TO CHECKING                        9999-000                               405,428.13      9,045,014.63
                                                                ACCOUNT
08/23/06                  From Account #********4775            TRANSFER OF FUNDS FROM REAL                          9999-000         1,125,608.76                         10,170,623.39
                                                                ESTATE ACCOUNT CLOSEOUT
08/23/06                  To Account #********4766              TRANSFER OF FUNDS TO CHECKING                        9999-000                                75,000.00     10,095,623.39
                                                                ACCOUNT
08/31/06       Int        JPMORGAN CHASE BANK, N.A.             Interest posting at 2.5000%                          1270-000             20,420.05                        10,116,043.44


                                                                                                          Subtotals :                $1,419,724.23        $541,307.24
{} Asset reference(s)                                                                                                                              Printed: 12/07/2017 12:32 PM        V.13.30
                 04-12771-mkv                   Doc 733       Filed 12/19/17 Entered 12/19/17 17:57:32                                              Main Document
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                                                     Cash Receipts And Disbursements Record
Case Number:         04-12771 (MKV)                                                                Trustee:              JOHN S. PEREIRA (521200)
Case Name:           CASHPOINT NETWORK SERVICES INC.                                               Bank Name:            JPMORGAN CHASE BANK, N.A.
                                                                                                   Account:              ***-*****47-65 - Money Market Account
Taxpayer ID #: **-***7072                                                                          Blanket Bond:         N/A
Period Ending: 12/07/17                                                                            Separate Bond: $1,415,080.00

   1            2                          3                                       4                                                 5                  6                    7

 Trans.     {Ref #} /                                                                                                            Receipts        Disbursements  Money Market
  Date      Check #          Paid To / Received From              Description of Transaction                    T-Code              $                  $       Account Balance
09/06/06                  From Account #********4773      TRANSFER OF FUNDS FROM MMA                           9999-000            413,745.87                         10,529,789.31
                                                          CLOSEOUT
09/07/06                  To Account #********4766        TRANSFER OF FUNDS TO CHECKING                        9999-000                                  1,048.00     10,528,741.31
                                                          ACCOUNT
09/08/06                  To Account #********4766        TRANSFER OF FUNDS TO CHECKING                        9999-000                                121,405.00     10,407,336.31
                                                          ACCOUNT
09/29/06       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 3.0200%                          1270-000              23,381.59                        10,430,717.90
09/29/06       Int        JPMORGAN CHASE BANK, N.A.       interest adjustment                                  1270-000               4,901.00                        10,435,618.90
10/02/06      {15}        Christopher and Jane DeWinter   The fifth of six payments in settlement of           1249-000               6,250.00                        10,441,868.90
                                                          adversary proceeding
10/12/06                  To Account #********4766        TRANSFER OF FUNDS TO CHECKING                        9999-000                                 17,755.20     10,424,113.70
                                                          ACCOUNT
10/13/06                  To Account #********4766        TRANSFER OF FUNDS TO CHECKING                        9999-000                                  2,542.50     10,421,571.20
                                                          ACCOUNT
10/25/06                  To Account #********4766        TRANSFER OF FUNDS TO CHECKING                        9999-000                                  3,550.00     10,418,021.20
                                                          ACCOUNT
10/27/06      {15}        Christopher M.G. DeWinter       Final payment in settlement of adversary             1249-000               6,250.00                        10,424,271.20
                                                          proceeding
10/31/06       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 3.0200%                          1270-000              27,606.40                        10,451,877.60
11/02/06                  To Account #********4766        TRANSFER OF FUNDS TO CHECKING                        9999-000                                     150.00    10,451,727.60
                                                          ACCOUNT
11/08/06                  To Account #********4766        TRANSFER OF FUNDS TO CHECKING                        9999-000                                  5,918.40     10,445,809.20
                                                          ACCOUNT
11/30/06       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 3.0200%                          1270-000              25,929.38                        10,471,738.58
12/11/06                  To Account #********4766        TRANSFER OF FUNDS TO CHECKING                        9999-000                                  5,918.40     10,465,820.18
                                                          ACCOUNT
12/11/06                  To Account #********4766        TRANSFER OF FUNDS TO CHECKING                        9999-000                                     150.00    10,465,670.18
                                                          ACCOUNT
12/13/06                  To Account #********4766        TRANSFER OF FUNDS TO CHECKING                        9999-000                                750,786.39      9,714,883.79
                                                          ACCOUNT
12/15/06                  To Account #********4766        TRANSFER OF FUNDS TO CHECKING                        9999-000                                  9,937.50      9,704,946.29
                                                          ACCOUNT
12/29/06       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 3.0200%                          1270-000              24,108.31                         9,729,054.60
01/03/07                  To Account #********4766        TRANSFER OF FUNDS TO CHECKING                        9999-000                                     150.00     9,728,904.60
                                                          ACCOUNT
01/10/07                  To Account #********4766        TRANSFER OF FUNDS TO CHECKING                        9999-000                                260,114.56      9,468,790.04
                                                          ACCOUNT
01/11/07      {15}        Christopher & Jane DeWinter     Final payment in settlement of adversary             1249-000               6,250.00                         9,475,040.04


                                                                                                       Subtotals :                $538,422.55       $1,179,425.95
{} Asset reference(s)                                                                                                                         Printed: 12/07/2017 12:32 PM        V.13.30
                 04-12771-mkv                   Doc 733      Filed 12/19/17 Entered 12/19/17 17:57:32                                        Main Document
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                                                     Cash Receipts And Disbursements Record
Case Number:         04-12771 (MKV)                                                           Trustee:            JOHN S. PEREIRA (521200)
Case Name:           CASHPOINT NETWORK SERVICES INC.                                          Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                              Account:            ***-*****47-65 - Money Market Account
Taxpayer ID #: **-***7072                                                                     Blanket Bond:       N/A
Period Ending: 12/07/17                                                                       Separate Bond: $1,415,080.00

   1            2                          3                                     4                                            5                  6                    7

 Trans.     {Ref #} /                                                                                                     Receipts        Disbursements  Money Market
  Date      Check #          Paid To / Received From             Description of Transaction              T-Code              $                  $       Account Balance
                                                          proceeding
01/31/07       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 2.9100%                    1270-000             25,525.36                         9,500,565.40
02/16/07      {16}        MINTZ, LEVIN, COHN, FERRIS,     PROCEEDS OF SALE OF BRONX CHECK                1249-000           157,800.00                          9,658,365.40
                          GLOVSKY & POPEO, P.C.           CASHING PER BREDVEH SETTLEMENT
02/22/07                  To Account #********4766        TRANSFER OF FUNDS TO CHECKING                  9999-000                                11,986.80      9,646,378.60
                                                          ACCOUNT
02/28/07       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 2.9100%                    1270-000             21,300.73                         9,667,679.33
03/30/07       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 2.9100%                    1270-000             23,121.22                         9,690,800.55
04/30/07       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 2.9100%                    1270-000             23,949.06                         9,714,749.61
04/30/07                  To Account #********4766        TRANSFER OF FUNDS TO CHECKING                  9999-000                                12,136.80      9,702,612.81
                                                          ACCOUNT
05/24/07                  To Account #********4766        TRANSFER OF FUNDS TO CHECKING                  9999-000                                 6,218.40      9,696,394.41
                                                          ACCOUNT
05/31/07       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 2.9100%                    1270-000             23,974.29                         9,720,368.70
06/21/07                  To Account #********4766        TRANSFER OF FUNDS TO CHECKING                  9999-000                                 5,918.40      9,714,450.30
                                                          ACCOUNT
06/29/07       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 2.9100%                    1270-000             22,468.07                         9,736,918.37
07/16/07                  To Account #********4766        TRANSFER OF FUNDS TO CHECKING                  9999-000                               127,323.40      9,609,594.97
                                                          ACCOUNT
07/31/07       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 2.7800%                    1270-000             23,688.57                         9,633,283.54
08/23/07                  To Account #********4766        TRANSFER OF FUNDS TO CHECKING                  9999-000                                 6,068.40      9,627,215.14
                                                          ACCOUNT
08/27/07                  To Account #********4766        TRANSFER OF FUNDS TO CHECKING                  9999-000                                    300.00     9,626,915.14
                                                          ACCOUNT
08/31/07       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 2.7800%                    1270-000             22,740.00                         9,649,655.14
09/28/07       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 2.7800%                    1270-000             20,577.69                         9,670,232.83
10/16/07                  To Account #********4766        TRANSFER OF FUNDS TO CHECKING                  9999-000                                12,843.80      9,657,389.03
                                                          ACCOUNT
10/31/07       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 2.7800%                    1270-000             24,288.35                         9,681,677.38
11/01/07                  From Account #********4770      TRANSFER OF FUNDS FROM MONEY                   9999-000         5,548,984.67                         15,230,662.05
                                                          MARKET ACCOUNT CLOSEOUT
11/01/07                  From Account #********4771      TRANSFER OF FUNDS FROM MONEY                   9999-000         4,165,118.57                         19,395,780.62
                                                          MARKET ACCOUNT CLOSEOUT
11/01/07                  To Account #********4766        TRANSFER OF FUNDS TO CHECKING                  9999-000                             8,550,000.00     10,845,780.62
                                                          ACCOUNT
11/27/07                  To Account #********4766        TRANSFER OF FUNDS TO CHECKING                  9999-000                                 6,350.40     10,839,430.22
                                                          ACCOUNT
11/30/07       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 2.3800%                    1270-000             22,876.86                        10,862,307.08

                                                                                              Subtotals :               $10,126,413.44       $8,739,146.40
{} Asset reference(s)                                                                                                                  Printed: 12/07/2017 12:32 PM        V.13.30
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                                                      Cash Receipts And Disbursements Record
Case Number:         04-12771 (MKV)                                                               Trustee:            JOHN S. PEREIRA (521200)
Case Name:           CASHPOINT NETWORK SERVICES INC.                                              Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                                  Account:            ***-*****47-65 - Money Market Account
Taxpayer ID #: **-***7072                                                                         Blanket Bond:       N/A
Period Ending: 12/07/17                                                                           Separate Bond: $1,415,080.00

   1            2                          3                                      4                                               5                  6                    7

 Trans.     {Ref #} /                                                                                                         Receipts        Disbursements  Money Market
  Date      Check #          Paid To / Received From               Description of Transaction                T-Code              $                  $       Account Balance
12/17/07                  To Account #********4766         TRANSFER OF FUNDS TO CHECKING                     9999-000                               446,498.69     10,415,808.39
                                                           ACCOUNT
12/28/07                  To Account #********4766         TRANSFER OF FUNDS TO CHECKING                     9999-000                               408,173.43     10,007,634.96
                                                           ACCOUNT
12/31/07       Int        JPMORGAN CHASE BANK, N.A.        Interest posting at 2.3800%                       1270-000             21,411.76                        10,029,046.72
01/11/08                  To Account #********4766         TRANSFER OF FUNDS TO CHECKING                     9999-000                                12,700.80     10,016,345.92
                                                           ACCOUNT
01/17/08      {26}        Davidoff Malito & Hutcher LLP    First payment of six due under agreement          1249-000             75,000.00                        10,091,345.92
                                                           dated January 7, 2008 with Davidoff Malito &
                                                           Hutcher LLP
01/31/08       Int        JPMORGAN CHASE BANK, N.A.        Interest posting at 1.4500%                       1270-000             18,267.55                        10,109,613.47
02/15/08                  From Account #********4769       TRANSFER OF FUNDS PURSUANT TO                     9999-000        12,047,879.90                         22,157,493.37
                                                           ORDER DATED FEBRUARY 15, 2008
02/22/08      {26}        Davidoff Malito & Hutcher LLP    2nd of 6 installment payments with regard to      1249-000             28,000.00                        22,185,493.37
                                                           settlement
02/29/08       Int        JPMORGAN CHASE BANK, N.A.        Interest posting at 1.2500%                       1270-000             16,507.07                        22,202,000.44
03/19/08      {26}        Davidoff Malito & Hutcher LLP    3rd of 6 installment payments per settlement      1249-000             28,000.00                        22,230,000.44
03/27/08                  To Account #********4766         TRANSFER OF FUNDS TO CHECKING                     9999-000                                13,639.00     22,216,361.44
                                                           ACCOUNT
03/31/08       Int        JPMORGAN CHASE BANK, N.A.        Interest posting at 0.9300%                       1270-000             22,708.43                        22,239,069.87
04/21/08      {26}        Davidoff Malito & Hutcher        Settlement payment                                1249-000             28,000.00                        22,267,069.87
04/30/08       Int        JPMORGAN CHASE BANK, N.A.        Interest posting at 0.9300%                       1270-000             16,998.57                        22,284,068.44
05/07/08                  From Account #********4774       TRANSFER OF FUNDS FROM ACCOUNT                    9999-000           143,880.65                         22,427,949.09
                                                           CLOSEOUT
05/07/08                  From Account #********4772       TRANSFER OF FUNDS FROM ACCOUNT                    9999-000           751,724.38                         23,179,673.47
                                                           CLOSEOUT
05/07/08                  From Account #********4768       TRANSFER OF FUNDS FROM ACCOUNT                    9999-000         1,930,241.70                         25,109,915.17
                                                           CLOSEOUT
05/07/08                  From Account #********4767       TRANSFER OF FUNDS FROM ACCOUNT                    9999-000         5,419,626.60                         30,529,541.77
                                                           CLOSEOUT
05/07/08                  To Account #********4766         TRANSFER OF FUNDS TO CHECKING                     9999-000                               150,000.00     30,379,541.77
                                                           ACCOUNT
05/07/08                  To Account #********4766         TRANSFER OF FUNDS TO CHECKING                     9999-000                            14,850,000.00     15,529,541.77
                                                           ACCOUNT
05/07/08                  To Account #********4766         TRANSFER OF FUNDS TO CHECKING                     9999-000                               221,832.51     15,307,709.26
                                                           ACCOUNT
05/22/08      {26}        DAVIDOFF MALITO & HUTCHER        PAYMENT FOR SETTLEMENT                            1249-000             28,000.00                        15,335,709.26
                          LLP


                                                                                                   Subtotals :              $20,576,246.61     $16,102,844.43
{} Asset reference(s)                                                                                                                      Printed: 12/07/2017 12:32 PM        V.13.30
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                                                     Cash Receipts And Disbursements Record
Case Number:         04-12771 (MKV)                                                                 Trustee:            JOHN S. PEREIRA (521200)
Case Name:           CASHPOINT NETWORK SERVICES INC.                                                Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                                    Account:            ***-*****47-65 - Money Market Account
Taxpayer ID #: **-***7072                                                                           Blanket Bond:       N/A
Period Ending: 12/07/17                                                                             Separate Bond: $1,415,080.00

   1            2                          3                                        4                                               5                  6                    7

 Trans.     {Ref #} /                                                                                                           Receipts        Disbursements  Money Market
  Date      Check #          Paid To / Received From              Description of Transaction                   T-Code              $                  $       Account Balance
05/30/08       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 0.8500%                          1270-000             11,721.93                        15,347,431.19
06/09/08                  To Account #********4766        TRANSFER OF FUNDS TO CHECKING                        9999-000                                 6,439.50     15,340,991.69
                                                          ACCOUNT
06/27/08      {26}        Davidoff Malito & Hutcher LLP   Final installment payment in settlement              1249-000             28,000.00                        15,368,991.69
06/30/08       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 1.1200%                          1270-000             11,526.72                        15,380,518.41
07/17/08                  To Account #********4766        TRANSFER OF FUNDS TO CHECKING                        9999-000                                 9,215.21     15,371,303.20
                                                          ACCOUNT
07/31/08       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 1.2300%                          1270-000             15,040.27                        15,386,343.47
08/14/08                  From Account #********4766      TRANSFER OF FUNDS BACK TO MONEY                      9999-000           235,063.17                         15,621,406.64
                                                          MARKET ACCOUNT
08/18/08                  To Account #********4766        TRANSFER OF FUNDS TO CHECKING                        9999-000                                12,879.00     15,608,527.64
                                                          ACCOUNT
08/26/08                  To Account #********4766        TRANSFER OF FUNDS TO CHECKING                        9999-000                                60,000.00     15,548,527.64
                                                          ACCOUNT
08/29/08       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 1.0900%                          1270-000             13,476.08                        15,562,003.72
09/22/08                  To Account #********4766        TRANSFER OF FUNDS TO CHECKING                        9999-000                                57,699.50     15,504,304.22
                                                          ACCOUNT
09/30/08       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 1.1600%                          1270-000             15,689.91                        15,519,994.13
10/31/08       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 0.9000%                          1270-000             12,523.54                        15,532,517.67
11/06/08                  To Account #********7366        TRANSFER OF FUNDS TO UNCLAIMED                       9999-000                                12,879.00     15,519,638.67
                                                          DIVIDENDS ACCT
11/14/08                  To Account #********4766        TRANSFER OF FUNDS TO CHECKING                        9999-000                                12,879.00     15,506,759.67
                                                          ACCOUNT
11/28/08       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 0.6000%                          1270-000              7,648.45                        15,514,408.12
12/04/08                  To Account #********4766        TRANSFER OF FUNDS TO CHECKING                        9999-000                             7,500,000.00      8,014,408.12
                                                          ACCOUNT
12/04/08                  To Account #********4766        TRANSFER OF FUNDS TO CHECKING                        9999-000                               215,000.00      7,799,408.12
                                                          ACCOUNT
12/15/08                  To Account #********4766        TRANSFER OF FUNDS TO CHECKING                        9999-000                               326,322.70      7,473,085.42
                                                          ACCOUNT
12/31/08       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 0.3000%                          1270-000              3,849.97                         7,476,935.39
01/20/09                  To Account #********4766        TRANSFER OF FUNDS TO CHECKING                        9999-000                                12,879.00      7,464,056.39
                                                          ACCOUNT
01/30/09       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 0.3000%                          1270-000              1,840.40                         7,465,896.79
02/05/09      {29}        PSE&G                           Settlement of adversary proceeding                   1249-000             17,500.00                         7,483,396.79
02/17/09      {30}        Connecticut Natural Gas         Settlement in full per stipulation                   1249-000             13,500.00                         7,496,896.79
                          Corporation
02/27/09       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 0.3000%                          1270-000              1,719.87                         7,498,616.66

                                                                                                    Subtotals :                  $389,100.31       $8,226,192.91
{} Asset reference(s)                                                                                                                        Printed: 12/07/2017 12:32 PM        V.13.30
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                                                     Cash Receipts And Disbursements Record
Case Number:         04-12771 (MKV)                                                             Trustee:              JOHN S. PEREIRA (521200)
Case Name:           CASHPOINT NETWORK SERVICES INC.                                            Bank Name:            JPMORGAN CHASE BANK, N.A.
                                                                                                Account:              ***-*****47-65 - Money Market Account
Taxpayer ID #: **-***7072                                                                       Blanket Bond:         N/A
Period Ending: 12/07/17                                                                         Separate Bond: $1,415,080.00

   1            2                          3                                     4                                                5                  6                    7

 Trans.     {Ref #} /                                                                                                         Receipts         Disbursements  Money Market
  Date      Check #          Paid To / Received From             Description of Transaction                  T-Code              $                   $       Account Balance
03/05/09                  To Account #********4766        TRANSFER OF FUNDS TO CHECKING                     9999-000                                 13,079.00      7,485,537.66
                                                          ACCOUNT
03/31/09       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 0.3000%                       1270-000               1,967.13                         7,487,504.79
04/07/09                  To Account #********4766        TRANSFER OF FUNDS TO CHECKING                     9999-000                                  6,483.40      7,481,021.39
                                                          ACCOUNT
04/30/09       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 0.3000%                       1270-000               1,842.89                         7,482,864.28
05/11/09                  To Account #********4766        TRANSFER OF FUNDS TO CHECKING                     9999-000                                  6,458.40      7,476,405.88
                                                          ACCOUNT
05/29/09       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 0.3000%                       1270-000               1,780.58                         7,478,186.46
06/16/09                  To Account #********4766        TRANSFER OF FUNDS TO CHECKING                     9999-000                                  6,458.40      7,471,728.06
                                                          ACCOUNT
06/30/09       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 0.3000%                       1270-000               1,963.87                         7,473,691.93
07/30/09                  To Account #********4766        TRANSFER OF FUNDS TO CHECKING                     9999-000                                  6,458.40      7,467,233.53
                                                          ACCOUNT
07/31/09       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 0.3000%                       1270-000               1,902.02                         7,469,135.55
08/31/09       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 0.3000%                       1270-000               1,900.96                         7,471,036.51
09/08/09                  To Account #********4766        TRANSFER OF FUNDS TO CHECKING                     9999-000                                 12,916.80      7,458,119.71
                                                          ACCOUNT
09/24/09                  To Account #********4766        TRANSFER OF FUNDS TO CHECKING                     9999-000                                326,539.61      7,131,580.10
                                                          ACCOUNT
09/30/09       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 0.3000%                       1270-000               1,819.01                         7,133,399.11
10/01/09                  To Account #********4766        TRANSFER OF FUNDS TO CHECKING                     9999-000                              6,000,000.00      1,133,399.11
                                                          ACCOUNT
10/09/09                  To Account #********4766        TRANSFER OF FUNDS TO CHECKING                     9999-000                                 15,957.00      1,117,442.11
                                                          ACCOUNT
10/30/09       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 0.3000%                       1270-000                  276.79                        1,117,718.90
11/30/09       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 0.3000%                       1270-000                  284.47                        1,118,003.37
12/31/09       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 0.3000%                       1270-000                  284.54                        1,118,287.91
01/29/10       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 0.3000%                       1270-000                  266.25                        1,118,554.16
02/24/10                  To Account #********4766        TRANSFER OF FUNDS TO CHECKING                     9999-000                                     71.95      1,118,482.21
                                                          ACCOUNT
02/26/10       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 0.3000%                       1270-000                  257.13                        1,118,739.34
03/08/10                  To Account #********4766        TRANSFER OF FUNDS TO CHECKING                     9999-000                                     64.65      1,118,674.69
                                                          ACCOUNT
03/31/10       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 0.3000%                       1270-000                  303.08                        1,118,977.77
04/06/10       Int        JPMORGAN CHASE BANK, N.A.       Current Interest Rate is 0.3000%                  1270-000                   45.93                        1,119,023.70
04/06/10                  Wire out to BNYM account        Wire out to BNYM account **********4765           9999-000          -1,119,023.70                                      0.00
                          **********4765

                                                                                                    Subtotals :              $-1,104,129.05      $6,394,487.61
{} Asset reference(s)                                                                                                                      Printed: 12/07/2017 12:32 PM        V.13.30
                 04-12771-mkv               Doc 733   Filed 12/19/17 Entered 12/19/17 17:57:32                                      Main Document
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                                               Cash Receipts And Disbursements Record
Case Number:        04-12771 (MKV)                                                   Trustee:            JOHN S. PEREIRA (521200)
Case Name:          CASHPOINT NETWORK SERVICES INC.                                  Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                     Account:            ***-*****47-65 - Money Market Account
Taxpayer ID #: **-***7072                                                            Blanket Bond:       N/A
Period Ending: 12/07/17                                                              Separate Bond: $1,415,080.00

   1            2                       3                             4                                              5                  6                    7

 Trans.     {Ref #} /                                                                                            Receipts        Disbursements  Money Market
  Date      Check #        Paid To / Received From      Description of Transaction              T-Code              $                  $       Account Balance

                                                                    ACCOUNT TOTALS                              46,701,608.73       46,701,608.73                  $0.00
                                                                           Less: Bank Transfers                 32,239,830.17       46,701,620.73
                                                                    Subtotal                                    14,461,778.56                -12.00
                                                                           Less: Payments to Debtors                                          0.00
                                                                    NET Receipts / Disbursements               $14,461,778.56               $-12.00




{} Asset reference(s)                                                                                                         Printed: 12/07/2017 12:32 PM        V.13.30
                 04-12771-mkv                 Doc 733      Filed 12/19/17 Entered 12/19/17 17:57:32                                          Main Document
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                                                  Cash Receipts And Disbursements Record
Case Number:        04-12771 (MKV)                                                            Trustee:            JOHN S. PEREIRA (521200)
Case Name:          CASHPOINT NETWORK SERVICES INC.                                           Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                              Account:            ***-*****47-66 - Checking Account
Taxpayer ID #: **-***7072                                                                     Blanket Bond:       N/A
Period Ending: 12/07/17                                                                       Separate Bond: $1,415,080.00

   1            2                        3                                   4                                                5                   6                   7

 Trans.     {Ref #} /                                                                                                     Receipts         Disbursements    Checking
  Date      Check #         Paid To / Received From            Description of Transaction                T-Code              $                   $       Account Balance
05/17/04                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                    9999-000                 412.00                                   412.00
                                                        ACCOUNT
05/17/04      101        POSTMASTER OF NEW YORK         MAIL TRANSMITTAL FEE FOR SIX MONTHS              2990-000                                      412.00                 0.00
05/20/04                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                    9999-000              3,710.00                                   3,710.00
                                                        ACCOUNT
05/20/04      102        THE GARDEN CITY GROUP, INC.    INVOICE NO.: 01798; INVOICE DATED:               2990-000                                     3,500.00             210.00
                                                        05/18/04; FOR SERVICES RENDERED -
                                                        COPYING AND MAILING NOTICES
05/20/04      103        LINDA VU                       REIMBURSEMENT OF EXPENSES -                      2990-000                                      210.00                 0.00
                                                        OPENING POST OFFICE BOX AT F.D.R.
                                                        POST OFFICE STATION
05/24/04                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                    9999-000              1,580.00                                   1,580.00
                                                        ACCOUNT
05/24/04      104        SOLUTIONS                      INVOICE NO.: 3930 / INVOICE DATED:               3992-000                                     1,580.00                0.00
                                                        05/19/2004 / PURCHASE OF 20 HARD
                                                        DRIVES
06/17/04                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                    9999-000              3,648.82                                   3,648.82
                                                        ACCOUNT FROM MONEY MARKET
                                                        ACCOUNT
06/17/04      105        CONSOLIDATED EDISON            ACCOUNT NUMBER: 44-5015-0691-0004-9 /            2420-000                                     3,648.82                0.00
                         COMPANY OF NEW YORK, INC.      BILLING SUMMARY AS OF 06/08/04
06/30/04                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                    9999-000              3,122.53                                   3,122.53
                                                        ACCOUNT
06/30/04      106        SOLUTIONS                      INVOICE #: 3954 / INVOICE DATED:                 3992-000                                     3,122.53                0.00
                                                        06/30/2004; REIMBURSEMENT FOR
                                                        TRAVEL EXPENSES FOR ALABAMA TRIP
07/08/04                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                    9999-000              1,293.24                                   1,293.24
                                                        ACCOUNT
07/08/04      107        STEPHANIE JENKINS              FOR SERVICES RENDERED PER LETTER                 2990-000                                     1,293.24                0.00
                                                        AGREEMENT DATED JUNE 25, 2004
07/13/04                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                    9999-000             25,996.25                               25,996.25
                                                        ACCOUNT FROM MONEY MARKET
                                                        ACCOUNT
07/13/04                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                    9999-000             17,491.25                               43,487.50
                                                        ACCOUNT FROM MONEY MARKET
                                                        ACCOUNT
07/13/04      108        SOLUTIONS                      INVOICE DATED: 5/1/2004, 5/11/2004,              3991-000                                 43,487.50                   0.00
                                                        6/30/2004; INVOICE NOS.: 3903, 3914, 3944
07/19/04                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                    9999-000              1,474.20                                   1,474.20

                                                                                              Subtotals :                    $58,728.29         $57,254.09
{} Asset reference(s)                                                                                                                  Printed: 12/07/2017 12:32 PM        V.13.30
                 04-12771-mkv                 Doc 733      Filed 12/19/17 Entered 12/19/17 17:57:32                                         Main Document
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                                                  Cash Receipts And Disbursements Record
Case Number:        04-12771 (MKV)                                                           Trustee:            JOHN S. PEREIRA (521200)
Case Name:          CASHPOINT NETWORK SERVICES INC.                                          Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                             Account:            ***-*****47-66 - Checking Account
Taxpayer ID #: **-***7072                                                                    Blanket Bond:       N/A
Period Ending: 12/07/17                                                                      Separate Bond: $1,415,080.00

   1            2                        3                                    4                                              5                   6                   7

 Trans.     {Ref #} /                                                                                                    Receipts        Disbursements    Checking
  Date      Check #         Paid To / Received From             Description of Transaction              T-Code              $                  $       Account Balance
                                                        ACCOUNT FROM MMA
07/19/04      109        STEPHANIE JENKINS              FOR SERVICES RENDERED FOR THE                   2990-000                                     1,474.20                0.00
                                                        PERIOD JULY 8, 2004 THROUGH JULY 15,
                                                        2004
07/20/04                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                   9999-000              3,265.50                                   3,265.50
                                                        ACCOUNT
07/20/04      110        STORAGE USA                    PROPERTY NUMBER: 732; UNIT                      2410-000                                     3,265.50                0.00
                                                        NUMBERS: 2226, 2251, 2237; MONTHLY
                                                        STORAGE CHARGES
07/26/04                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                   9999-000              5,000.00                                   5,000.00
                                                        ACCOUNT
07/26/04      111        NEW YORK TEMPORARY STATE       FILING FEE FOR SEMI-ANNUAL REPORT               2990-000                                       50.00             4,950.00
                         COMMISSION ON LOBBYING
07/26/04      112        STEPHANIE JENKINS              FOR SERVICES RENDERED FOR THE                   2990-000                                     1,029.60            3,920.40
                                                        PERIOD JULY 18, 2004 THROUGH JULY 21,
                                                        2004
07/26/04      113        G.E.M. AUCTION CORP.           INVOICE DATED: 7/20/04; R-1497;                 2410-000                                      700.00             3,220.40
                                                        STORAGE FOR THE PERIOD JULY 12 -
                                                        AUG. 12
07/26/04      114        DIGITAL AVALON, LLC            INVOICE DATED: 07/09/2004; INVOICE #:           2990-000                                     1,040.00            2,180.40
                                                        1002; FOR SERVICES RENDERED -
                                                        CONSULTING
08/02/04      115        STEPHANIE JENKINS              FOR SERVICES RENDERED FOR JULY 23 -             2990-000                                     1,198.08             982.32
                                                        JULY 29
08/02/04      116        VIVIAN LEE                     FOR SERVICES RENDERED ON 5/19/04,               2990-000                                      641.25              341.07
                                                        5/20/04 AND 5/25/04
08/03/04                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                   9999-000             20,000.00                               20,341.07
                                                        ACCOUNT
08/03/04      117        HELENA NATIONAL BANK           INVOICE DATED: JULY 26, 2004; CHARGES           2990-000                                       51.25         20,289.82
                                                        FOR COPIES OF BANK STATEMENTS
08/03/04      118        CONSOLIDATED EDISON            ACCOUNT NUMBER: 44-5015-0691-0004-9             2420-000                                     3,454.86        16,834.96
                         COMPANY OF NEW YORK, INC.
08/03/04      119        G.E.M. AUCTION CORP.           REIMBURSEMENT OF EXPENSES FROM                  2990-000                                 10,231.81               6,603.15
                                                        TRIPS TO BIRMINGHAM, ALABAMA
08/03/04      120        PRIMARY LAND SERVICES, LLC     FOR SERVICES RENDERED - TITLE                   2990-000                                      300.00             6,303.15
                                                        SEARCH FOR PROPERTY AT 143 WEST
                                                        72ND STREET, NEW YORK, NEW YORK
                                                        10023
08/04/04      121        CONSOLIDATED EDISON            ACCOUNT NUMBER: 44-5015-0691-0004-9             2420-000                                     4,187.32            2,115.83

                                                                                             Subtotals :                    $28,265.50         $27,623.87
{} Asset reference(s)                                                                                                                 Printed: 12/07/2017 12:32 PM        V.13.30
                 04-12771-mkv                 Doc 733             Filed 12/19/17 Entered 12/19/17 17:57:32                                            Main Document
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                                                  Cash Receipts And Disbursements Record
Case Number:        04-12771 (MKV)                                                                  Trustee:            JOHN S. PEREIRA (521200)
Case Name:          CASHPOINT NETWORK SERVICES INC.                                                 Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                                    Account:            ***-*****47-66 - Checking Account
Taxpayer ID #: **-***7072                                                                           Blanket Bond:       N/A
Period Ending: 12/07/17                                                                             Separate Bond: $1,415,080.00

   1            2                        3                                           4                                              5                    6                  7

 Trans.     {Ref #} /                                                                                                           Receipts            Disbursements    Checking
  Date      Check #         Paid To / Received From                    Description of Transaction              T-Code              $                      $       Account Balance
                         COMPANY OF NEW YORK, INC.
08/04/04      122        STEPHANIE JENKINS                    FOR SERVICES RENDERED FOR JULY 30 -              2990-000                                     1,009.32            1,106.51
                                                              AUGUST 4
08/05/04      123        G.E.M. AUCTION CORP.                 INVOICE DATED: 08/01/04; R-1497;                 2410-000                                      700.00              406.51
                                                              STORAGE FOR THE PERIOD 8/12 - 9/12
08/06/04                 From Account #********4765           TRANSFER OF FUNDS TO CHECKING                    9999-000             15,000.00                               15,406.51
                                                              ACCOUNT
08/06/04      124        VERIZON                              FUNDS ENTITLED TO VERIZON PER                    4210-000                                     9,880.00            5,526.51
                                                              STIPULATION FOR USE AND OCCUPANCY
                                                              PAYMENTS
08/12/04                 From Account #********4765           TRANSFER OF FUNDS TO CHECKING                    9999-000             10,000.00                               15,526.51
                                                              ACCOUNT
08/12/04      125        BANK OF RINGGOLD                     COPYING CHARGE FOR BANK                          2990-000                                       72.00         15,454.51
                                                              STATEMENTS
08/12/04      126        FIRST NATIONAL BANK OF IZARD RESEARCH FEES FOR BANK STATEMENTS 2990-000                                                              15.00         15,439.51
                         COUNTY
08/12/04      127        SOLUTIONS L.L.C.                     INVOICE: 4005 \ INVOICE DATED:                   3991-000                                     1,397.50        14,042.01
                                                              7/31/2004 \ FOR SERVICES RENDERED -
                                                              CONSULTATION
                                                              Voided on 08/12/04
08/12/04      127        SOLUTIONS L.L.C.                     INVOICE: 4005 \ INVOICE DATED:                   3991-000                                   -1,397.50         15,439.51
                                                              7/31/2004 \ FOR SERVICES RENDERED -
                                                              CONSULTATION
                                                              Voided: check issued on 08/12/04
08/12/04      128        SOLUTIONS L.L.C.                     INVOICE #: 4003 \ INVOICE DATED:                 3991-000                                     9,151.25            6,288.26
                                                              7/31/2004 \ FOR SERVICES RENDERED -
                                                              CONSULTATION
08/12/04      129        STEPHANIE JENKINS                    FOR SERVICES RENDERED FROM                       2990-000                                     1,137.24            5,151.02
                                                              AUGUST 5 - 6, AUGUST 9-11
08/13/04      130        FEDEX                                INVOICE NO.: 1-921-46398 \ ACCOUNT               2990-000                                       34.11             5,116.91
                                                              NO.: 1159-6713-4
08/19/04      131        M & M SERVICE STATION, INC.          FOR PURCHASE OF FUEL FOR VEHICLES                2420-000                         !           3,825.17            1,291.74
                                                              Voided on 08/19/04
08/19/04      131        M & M SERVICE STATION, INC.          FOR PURCHASE OF FUEL FOR VEHICLES                2420-000                         !         -3,825.17             5,116.91
                                                              Voided: check issued on 08/19/04
08/20/04      132        FEDEX                                INVOICE NUMBER: 1-968-59293 \ ACCOUNT            2990-000                                       16.26             5,100.65
                                                              NUMBER: 1159-6713-4
08/20/04      133        STEPHANIE JENKINS                    FOR SERVICES RENDERED FROM                       2990-000                                     1,257.36            3,843.29
                                                              AUGUST 12-13, AUGUST 16-18

                                                                                                    Subtotals :                    $25,000.00           $23,272.54
{} Asset reference(s)                          !-Not printed or not transmitted                                                              Printed: 12/07/2017 12:32 PM        V.13.30
                 04-12771-mkv                 Doc 733      Filed 12/19/17 Entered 12/19/17 17:57:32                                         Main Document
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                                                  Cash Receipts And Disbursements Record
Case Number:        04-12771 (MKV)                                                           Trustee:            JOHN S. PEREIRA (521200)
Case Name:          CASHPOINT NETWORK SERVICES INC.                                          Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                             Account:            ***-*****47-66 - Checking Account
Taxpayer ID #: **-***7072                                                                    Blanket Bond:       N/A
Period Ending: 12/07/17                                                                      Separate Bond: $1,415,080.00

   1            2                        3                                    4                                              5                   6                   7

 Trans.     {Ref #} /                                                                                                    Receipts        Disbursements    Checking
  Date      Check #         Paid To / Received From            Description of Transaction               T-Code              $                  $       Account Balance
                                                        (ADDITIONAL 1 HOUR ON 8/11/04, TIME
                                                        WAS INCORRECT, SHOULD HAVE BEEN
                                                        8:45 A.M. INSTEAD OF 9:45 A.M.)
08/26/04      134        STEPHANIE JENKINS              FOR SERVICES RENDERED FROM                      2990-000                                     1,350.96            2,492.33
                                                        AUGUST 19-20 and AUGUST 23-25
08/31/04      135        G.E.M. AUCTION CORP.           INVOICE DATED: 8/24/04 \ R-1497 \               2410-000                                      590.75             1,901.58
                                                        STORAGE FOR THE PERIOD 8/17 - 9/12
                                                        AND TRUCKING CHARGES ON 8/17/04
09/02/04      136        STEPHANIE JENKINS              FOR SERVICES RENDERED FROM                      2990-000                                      971.88              929.70
                                                        AUGUST 26-27 AND AUGUST 30-31
09/08/04                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                   9999-000              4,920.10                                   5,849.80
                                                        ACCOUNT
09/08/04      137        STEPHANIE JENKINS              FOR SERVICES RENDERED FROM                      2990-000                                     1,382.16            4,467.64
                                                        SEPTEMBER 1-3 AND SEPTEMBER 6-8
09/08/04      138        CONSOLIDATED EDISON            ACCOUNT NUMBER: 44-5015-0691-0004-9             2420-000                                     3,476.74             990.90
                         COMPANY OF NEW YORK, INC.
09/08/04      139        G.E.M. AUCTION CORP.           INVOICE DATED: 09/01/04 \ R-1497 \              2410-000                                      990.90                 0.00
                                                        STORAGE FOR THE PERIOD 9/12 - 10/12
09/14/04                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                   9999-000             30,828.45                               30,828.45
                                                        ACCOUNT
09/14/04      140        FEDEX                          INVOICE NUMBER: 7-618-30508 \ ACCOUNT           2990-000                                       17.92         30,810.53
                                                        NUMBER: 1159-6713-4
09/14/04      141        SOLUTIONS L.L.C.               INVOICE DATED: 8/3/2004 \ INVOICE #: 4024 3992-000                                            164.28         30,646.25
                                                        \ PURCHASE OF HP TONER CART
09/14/04      142        SOLUTIONS L.L.C.               INVOICE DATED: 9/10/2004 \ INVOICE #:           3991-000                                 30,646.25                   0.00
                                                        4034 \ FOR SERVICES RENDERED -
                                                        COMPUTER CONSULTATION
09/15/04                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                   9999-000              1,092.00                                   1,092.00
                                                        ACCOUNT
09/15/04      143        STEPHANIE JENKINS              FOR SERVICES RENDERED FROM                      2990-000                                     1,092.00                0.00
                                                        SEPTEMBER 9-10 AND SEPTEMBER 13-14
09/17/04                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                   9999-000             47,090.14                               47,090.14
                                                        ACCOUNT
09/17/04      144        FIRST LIBERTY NATIONAL BANK    COPYING CHARGES FOR BANK                        2990-000                                      133.00         46,957.14
                                                        STATEMENTS
09/17/04      145        PULLMAN & COMLEY, LLC          INVOICE DATED: 09/10/04 \ INVOICE:              2990-000                                     1,354.35        45,602.79
                                                        169495 \ PHOTOCOPY CHARGES FOR
                                                        ADVERSARY PROCEEDING
09/17/04      146        THE GARDEN CITY GROUP, INC.    INVOICE NO. 01909 \ FOR SERVICES                2990-000                                 45,602.79                   0.00

                                                                                             Subtotals :                    $83,930.69         $87,773.98
{} Asset reference(s)                                                                                                                 Printed: 12/07/2017 12:32 PM        V.13.30
                 04-12771-mkv                 Doc 733      Filed 12/19/17 Entered 12/19/17 17:57:32                                        Main Document
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                                                  Cash Receipts And Disbursements Record
Case Number:        04-12771 (MKV)                                                          Trustee:            JOHN S. PEREIRA (521200)
Case Name:          CASHPOINT NETWORK SERVICES INC.                                         Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                            Account:            ***-*****47-66 - Checking Account
Taxpayer ID #: **-***7072                                                                   Blanket Bond:       N/A
Period Ending: 12/07/17                                                                     Separate Bond: $1,415,080.00

   1            2                        3                                      4                                           5                   6                   7

 Trans.     {Ref #} /                                                                                                   Receipts        Disbursements    Checking
  Date      Check #         Paid To / Received From            Description of Transaction              T-Code              $                  $       Account Balance
                                                        RENDERED - COPYING OF DOCUMENTS
09/20/04                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                  9999-000             10,000.00                               10,000.00
                                                        ACCOUNT
09/20/04      147        SPHERION CORPORATION           INVOICE #: 4590016475 \ INVOICE DATED:         2990-000                                     1,364.75            8,635.25
                                                        9/16/2004 \ FOR SERVICES RENDERED -
                                                        TRANSCRIPT OF PEOPLE'S BANK'S
                                                        DEPOSITION
09/22/04      148        STEPHANIE JENKINS              FOR SERVICES RENDERED FROM                     2990-000                                     1,218.36            7,416.89
                                                        SEPTEMBER 15-17 AND SEPTEMBER 20-21
09/29/04      149        VERIZON                        FUNDS ENTITLED TO VERIZON PER                  4210-000                                     2,280.00            5,136.89
                                                        STIPULATION FOR USE AND OCCUPANCY
                                                        PAYMENTS
09/30/04      150        STEPHANIE JENKINS              FOR SERVICES RENDERED FROM                     2990-000                                     1,564.68            3,572.21
                                                        SEPTEMBER 22-24 AND SEPTEMBER 27-29
09/30/04      151        CONSOLIDATED EDISON            ACCOUNT NO.: 44-5015-0691-0004-9               2420-000                                     3,367.18             205.03
                         COMPANY OF NEW YORK, INC.
10/06/04                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                  9999-000             10,000.00                               10,205.03
                                                        ACCOUNT
10/06/04      152        STEPHANIE JENKINS              FOR SERVICES RENDERED FROM 9/30/03,            2990-000                                     1,038.96            9,166.07
                                                        10/1/04 AND 10/4-10/5
10/06/04      153        G.E.M. AUCTION CORP.           INVOICE DATED: 10/1/04 \ R-1497 \              2410-000                                      990.90             8,175.17
                                                        STORAGE FOR THE PERIOD 10/12 - 11/12
10/06/04      154        POSTMASTER                     BOX #1768 \ P.O. BOX RENT FOR 6                2990-000                                      209.00             7,966.17
                                                        MONTHS
10/07/04      155        SPHERION CORPORATION           INVOICE #: 4590016556 \ INVOICE DATED:         2990-000                                     1,560.50            6,405.67
                                                        10/5/2004 \ JOB NUMBER: 12314 \ FOR
                                                        SERVICES RENDERED ON 9/30/2004
10/07/04      156        FEDEX                          INVOICE NUMBER: 7-664-58315 \ ACCOUNT          2990-000                                       16.49             6,389.18
                                                        NUMBER: 1159-6713-4
10/19/04      157        STEPHANIE JENKINS              FOR SERVICES RENDERED ON OCTOBER               2990-000                                     1,466.40            4,922.78
                                                        6-8 AND OCTOBER 11-12
10/25/04                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                  9999-000             10,000.00                               14,922.78
                                                        ACCOUNT
10/25/04      158        SAFEGUARD SELF STORAGE         STORAGE CHARGE \ UNITS: A 2104 and A           2410-000                                     2,896.01        12,026.77
                                                        2106 \ LOCATION: METAIRIE, LOUISIANA
                                                        Stopped on 10/27/04
10/25/04      159        STORAGE CENTER                 STORAGE CHARGE \ UNIT #: 1012 \                2410-000                                     1,845.00        10,181.77
                                                        LOCATION: JACKSON, MISSISSIPPI
                                                        Stopped on 10/27/04

                                                                                              Subtotals :                  $30,000.00         $19,818.23
{} Asset reference(s)                                                                                                                Printed: 12/07/2017 12:32 PM        V.13.30
                 04-12771-mkv                 Doc 733      Filed 12/19/17 Entered 12/19/17 17:57:32                                          Main Document
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                                                  Cash Receipts And Disbursements Record
Case Number:        04-12771 (MKV)                                                            Trustee:            JOHN S. PEREIRA (521200)
Case Name:          CASHPOINT NETWORK SERVICES INC.                                           Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                              Account:            ***-*****47-66 - Checking Account
Taxpayer ID #: **-***7072                                                                     Blanket Bond:       N/A
Period Ending: 12/07/17                                                                       Separate Bond: $1,415,080.00

   1            2                        3                                     4                                              5                   6                   7

 Trans.     {Ref #} /                                                                                                     Receipts        Disbursements    Checking
  Date      Check #         Paid To / Received From              Description of Transaction              T-Code              $                  $       Account Balance
10/25/04      160        CONSOLIDATED EDISON            ACCOUNT NUMBER: 44-5015-0691-0004-9 \            2420-000                                       50.99         10,130.78
                         COMPANY OF NEW YORK, INC.      BILLING SUMMARY AS OF 10/08/04
10/25/04      161        PUBLIC STORAGE                 PER SO ORDERED STIPULATION                       2410-000                                      600.00             9,530.78
                                                        BETWEEN CHAPTER 7 TRUSTEE AND
                                                        YONKERS STORAGE FACILITY
10/25/04      162        SPHERION CORPORATION           INVOICE #: 4590016169 \ INVOICE DATED:           2990-000                                     1,196.50            8,334.28
                                                        8/5/2004 \ JOB NUMBER: 12009 \ FOR
                                                        SERVICES RENDERED ON 8/2/2004
10/25/04      163        MCD PRINT & DOCUMENT           INVOICE NO.: 121216 \ INVOICE DATED:             2990-000                                     1,109.60            7,224.68
                         SOLUTIONS                      10/06/04 \ WORK ORDER: 166091 \
                                                        COPYING OF HOROWITZ ACCOUNTING
                                                        DOCUMENTS
10/25/04      164        STEPHANIE JENKINS              INVOICE DATED: 10/13/04 \ FOR SERVICES           2990-000                                     1,684.80            5,539.88
                                                        RENDERED ON OCTOBER 13-15 AND
                                                        OCTOBER 18-20
10/25/04      165        G.E.M. AUCTION CORP.           INVOICE DATED: 10/6/04 \ R-1511 \                2410-000                                     5,132.84             407.04
                                                        STORAGE FOR THE PERIOD 10/01 - 11/01;
                                                        TRUCKING CHARGES AND LABOR ON 9/24
                                                        & 9/27
10/26/04                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                    9999-000             10,000.00                               10,407.04
                                                        ACCOUNT
10/26/04      166        STEPHANIE JENKINS              INVOICE DATED: 10/21/04 \ FOR SERVICES           2990-000                                     1,034.28            9,372.76
                                                        RENDERED ON OCTOBER 21-22 AND
                                                        OCTOBER 25-26
10/27/04      158        SAFEGUARD SELF STORAGE         STORAGE CHARGE \ UNITS: A 2104 and A             2410-000                                 -2,896.01           12,268.77
                                                        2106 \ LOCATION: METAIRIE, LOUISIANA
                                                        Stopped: check issued on 10/25/04
10/27/04      159        STORAGE CENTER                 STORAGE CHARGE \ UNIT #: 1012 \                  2410-000                                 -1,845.00           14,113.77
                                                        LOCATION: JACKSON, MISSISSIPPI
                                                        Stopped: check issued on 10/25/04
10/27/04      167        G.E.M. AUCTION CORP.           REIMBURSEMENT FOR PAYMENT OF                     2990-000                                     4,741.01            9,372.76
                                                        STORAGE CHARGES IN JACKSONS, MS
                                                        AND METAIRE, LA
10/29/04                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                    9999-000             26,839.74                               36,212.50
                                                        ACCOUNT
10/29/04      168        SOLUTIONS L.L.C.               INVOICE NOS.: 4074 & 4103 \ FOR                  3991-000                                 26,212.50           10,000.00
                                                        SERVICES RENDERED - COMPUTER
                                                        CONSULTATION
11/03/04      169        G.E.M. AUCTION CORP.           INVOICE DATED: 11/1/2004 \ INVOICE #:            3620-000                                     6,266.73            3,733.27


                                                                                              Subtotals :                    $36,839.74         $43,288.24
{} Asset reference(s)                                                                                                                  Printed: 12/07/2017 12:32 PM        V.13.30
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                                                  Cash Receipts And Disbursements Record
Case Number:        04-12771 (MKV)                                                             Trustee:            JOHN S. PEREIRA (521200)
Case Name:          CASHPOINT NETWORK SERVICES INC.                                            Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                               Account:            ***-*****47-66 - Checking Account
Taxpayer ID #: **-***7072                                                                      Blanket Bond:       N/A
Period Ending: 12/07/17                                                                        Separate Bond: $1,415,080.00

   1            2                        3                                      4                                              5                   6                   7

 Trans.     {Ref #} /                                                                                                      Receipts        Disbursements    Checking
  Date      Check #         Paid To / Received From               Description of Transaction              T-Code              $                  $       Account Balance
                                                        1056 \ EXPENSES INCURRED FROM VISIT
                                                        TO MISSISSIPPI, LOUISIANA AND TEXAS
11/04/04                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                     9999-000             21,861.13                               25,594.40
                                                        ACCOUNT
11/04/04      170        STEPHANIE JENKINS              INVOICE DATED: 10/21/04 \ FOR SERVICES            2990-000                                     1,408.68        24,185.72
                                                        RENDERED ON OCTOBER 27-29 AND
                                                        NOVEMBER 1-2
11/04/04      171        GCG                            INVOICE DATED: 10/29/2004 \ INVOICE NO.:          2990-000                                 14,185.72           10,000.00
                                                        02091 \ FOR SERVICES RENDERED -
                                                        COPYING DOCUMENTS
11/10/04      172        STEPHANIE JENKINS              FOR SERVICES RENDERED ON                          2990-000                                     1,385.28            8,614.72
                                                        NOVEMBER 3-5 AND NOVEMBER 8-9
11/10/04      173        G.E.M. AUCTION CORP.           INVOICE DATED: 11/01/04 \ R-1497 \                2410-000                                      990.90             7,623.82
                                                        STORAGE FOR THE PERIOD 11/12 - 12/12
11/10/04      174        G.E.M. AUCTION CORP.           INVOICE DATED: 11/01/04 \ R-1511 \                2410-000                                     2,551.50            5,072.32
                                                        STORAGE FOR THE PERIOD 11/1 - 12/1
                                                        [CASHPOINT -YONKERS]
11/17/04      175        STEPHANIE JENKINS              FOR SERVICES RENDERED ON                          2990-000                                     1,043.64            4,028.68
                                                        NOVEMBER 11-12 AND NOVEMBER 15-16
11/17/04      176        CONSOLIDATED EDISON            ACCOUNT NUMBER: 44-5015-0691-0004-9               2420-000                                     3,437.09             591.59
                         COMPANY OF NEW YORK, INC.
11/23/04                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                     9999-000              5,000.00                                   5,591.59
                                                        ACCOUNT
11/23/04      177        STEPHANIE JENKINS              FOR SERVICES RENDERED FROM                        2990-000                                     1,421.16            4,170.43
                                                        NOVEMBER 17-19 AND NOVEMBER 22-23
12/01/04      178        STEPHANIE JENKINS              FOR SERVICES RENDERED ON                          2990-000                                     1,134.12            3,036.31
                                                        NOVEMBER 24-26 AND NOVEMBER 29-30
12/02/04                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                     9999-000              5,738.38                                   8,774.69
                                                        ACCOUNT
12/02/04      179        ELI B. HOROWITZ, CPA, PC       INVOICE DATED: 9/15/2004 \ INVOICE #:             2990-000                                      650.00             8,124.69
                                                        00-2271
12/02/04      180        CONSOLIDATED EDISON            ACCOUNT NO.: 44-5015-0691-0004-9 \                2420-000                                     3,124.69            5,000.00
                         COMPANY OF NEW YORK, INC.      BILLING SUMMARY AS OF 11/29/04
12/03/04      181        G.E.M. AUCTION CORP.           INVOICE DATED: 12/1/04 \ R-1497 \                 2410-000                                      990.90             4,009.10
                                                        STORAGE FOR THE PERIOD 12/12/04 -
                                                        1/12/05
12/03/04      182        G.E.M. AUCTION CORP.           INVOICE DATED: 12/1/04 \ R-1511                   2410-000                                     2,551.50            1,457.60
                                                        (YONKERS) \ STORAGE FOR THE PERIOD
                                                        OF 12/1/04 - 1/1/05

                                                                                               Subtotals :                    $32,599.51         $34,875.18
{} Asset reference(s)                                                                                                                   Printed: 12/07/2017 12:32 PM        V.13.30
                 04-12771-mkv                 Doc 733      Filed 12/19/17 Entered 12/19/17 17:57:32                                         Main Document
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                                                  Cash Receipts And Disbursements Record
Case Number:        04-12771 (MKV)                                                           Trustee:            JOHN S. PEREIRA (521200)
Case Name:          CASHPOINT NETWORK SERVICES INC.                                          Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                             Account:            ***-*****47-66 - Checking Account
Taxpayer ID #: **-***7072                                                                    Blanket Bond:       N/A
Period Ending: 12/07/17                                                                      Separate Bond: $1,415,080.00

   1            2                        3                                   4                                               5                   6                   7

 Trans.     {Ref #} /                                                                                                    Receipts        Disbursements    Checking
  Date      Check #         Paid To / Received From            Description of Transaction               T-Code              $                  $       Account Balance
12/06/04                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                   9999-000             20,000.00                               21,457.60
                                                        ACCOUNT
12/06/04      183        SOLUTIONS                      INVOICE DATED: 11/1/2004 \ INVOICE NO.:         3991-000                                     7,887.50        13,570.10
                                                        4123 \ FOR SERVICES RENDERED -
                                                        COMPUTER CONSULTATION
12/07/04                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                   9999-000             10,000.00                               23,570.10
                                                        ACCOUNT
12/07/04      184        SOLUTIONS                      INVOICE DATED: 11/1/2004 \ INVOICE NO.:         3991-000                                 15,196.25               8,373.85
                                                        4122
12/09/04      185        STEPHANIE JENKINS              FOR SERVICES RENDERED ON                        2990-000                                     1,096.68            7,277.17
                                                        DECEMBER 1-2 AND DECEMBER 6-7
12/16/04      186        STEPHANIE JENKINS              FOR SERVICES RENDERED ON                        2990-000                                     1,316.64            5,960.53
                                                        DECEMBER 8-10 AND DECEMBER 13-14
12/20/04                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                   9999-000              2,080.07                                   8,040.60
                                                        ACCOUNT
12/20/04      187        POSTMASTER, NEW YORK           BOX #1768 \ P.O. BOX RENT FOR 6                 2990-000                                      412.00             7,628.60
                                                        MONTHS
12/20/04      188        ADP                            CASE #: 40924001341 \ CHARGE TO RERUN 2990-000                                               7,628.60                0.00
                                                        TAX REPORTS AND W2S
12/21/04                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                   9999-000             20,000.00                               20,000.00
                                                        ACCOUNT
12/21/04      189        SOLUTIONS L.L.C.               INVOICE #: 4143 \ INVOICE DATED:                3991-000                                 12,042.00               7,958.00
                                                        11/30/2004 \ FOR SERVICES RENDERED -
                                                        COMPUTER CONSULTATION
12/21/04      190        SOLUTIONS L.L.C.               INVOICE #: 4150 \ INVOICE DATED:                3991-000                                     1,775.50            6,182.50
                                                        11/30/2004 \ FOR SERVICES RENDERED -
                                                        COMPUTER CONSULTING
12/21/04      191        STEPHANIE JENKINS              FOR SERVICES RENDERED ON                        2990-000                                     1,159.08            5,023.42
                                                        DECEMBER 15-17 AND DECEMBER 21
12/23/04                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                   9999-000             10,000.00                               15,023.42
                                                        ACCOUNT
12/23/04      192        PEOPLE'S BANK                  ADEQUATE PROTECTION PAYMENT                     2990-000                                 10,000.00               5,023.42
12/29/04      193        STEPHANIE JENKINS              FOR SERVICES RENDERED ON                        2990-000                                     1,129.44            3,893.98
                                                        DECEMBER 22-24 AND DECEMBER 27-28
01/05/05                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                   9999-000             10,000.00                               13,893.98
                                                        ACCOUNT
01/05/05      194        STEPHANIE JENKINS              FOR SERVICES RENDERED ON                        2990-000                                     1,099.80        12,794.18
                                                        DECEMBER 29-30 AND JANUARY 3-4
01/05/05      195        G.E.M. AUCTION CORP.           INVOICE DATED: 01/03/05 \ R-1497 \              2410-000                                      990.90         11,803.28

                                                                                             Subtotals :                    $72,080.07         $61,734.39
{} Asset reference(s)                                                                                                                 Printed: 12/07/2017 12:32 PM        V.13.30
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                                                  Cash Receipts And Disbursements Record
Case Number:        04-12771 (MKV)                                                           Trustee:            JOHN S. PEREIRA (521200)
Case Name:          CASHPOINT NETWORK SERVICES INC.                                          Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                             Account:            ***-*****47-66 - Checking Account
Taxpayer ID #: **-***7072                                                                    Blanket Bond:       N/A
Period Ending: 12/07/17                                                                      Separate Bond: $1,415,080.00

   1            2                        3                                    4                                              5                   6                   7

 Trans.     {Ref #} /                                                                                                    Receipts        Disbursements    Checking
  Date      Check #         Paid To / Received From             Description of Transaction              T-Code              $                  $       Account Balance
                                                        STORAGE FOR THE PERIOD 1/12 - 2/12
01/05/05      196        G.E.M. AUCTION CORP.           INVOICE DATED: 01/03/05 \ R-1511                2410-000                                     2,551.50            9,251.78
                                                        (YONKERS) \ STORAGE FOR THE PERIOD
                                                        1/1 - 2/1
01/05/05      197        CONSOLIDATED EDISON            ACCOUNT NUMBER: 44-5015-0691-0004-9 \           2420-000                                     3,537.64            5,714.14
                         COMPANY OF NEW YORK, INC.      BILLING SUMMARY AS OF 12/29/04
01/12/05      198        STEPHANIE JENKINS              FOR SERVICES RENDERED FROM                      2990-000                                     1,257.36            4,456.78
                                                        JANUARY 5-7 AND JANUARY 10-11
01/12/05      199        FEDEX                          INVOICE NUMBER: 7-934-30504 \ ACCOUNT           2990-000                                       52.27             4,404.51
                                                        NUMBER: 1159-6713-4
01/20/05      200        STEPHANIE JENKINS              FOR SERVICES RENDERED FROM                      2990-000                                     1,194.96            3,209.55
                                                        JANUARY 12-14 AND JANUARY 17-18
02/02/05                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                   9999-000             15,000.00                               18,209.55
                                                        ACCOUNT
02/02/05      201        STEPHANIE JENKINS              FOR SERVICES RENDERED FROM                      2990-000                                     2,194.92        16,014.63
                                                        JANUARY 19-21 AND JANUARY 24-28
02/02/05      202        PEOPLE'S BANK                  ADEQUATE PROTECTION PAYMENT FOR                 2990-000                                 10,000.00               6,014.63
                                                        JANUARY 2005
02/09/05                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                   9999-000              1,618.65                                   7,633.28
                                                        ACCOUNT
02/09/05                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                   9999-000            708,841.21                           716,474.49
                                                        ACCOUNT
02/09/05      203        CONSOLIDATED EDISON            ACCOUNT NUMBER: 44-5015-0691-0004-9 \           2420-000                                     4,090.88    712,383.61
                         COMPANY OF NEW YORK, INC.      BILLING SUMMARY AS OF 01/28/05
02/09/05      204        G.E.M. AUCTION CORP.           INVOICE DATED: 01/31/05 \ R-1497 \              2410-000                                      990.90     711,392.71
                                                        STORAGE FOR THE PERIOD 2/12 - 3/12
02/09/05      205        G.E.M. AUCTION CORP.           INVOICE DATED: 01/31/05 \ R-1511                2410-000                                     2,551.50    708,841.21
                                                        (YONKERS) \ STORAGE FOR THE PERIOD
                                                        2/1 - 3/1
02/09/05      206        LAW OFFICES OF JOHN S.         ATTORNEY FOR TRUSTEE FEES, PER                  3110-000                                 19,401.38       689,439.83
                         PEREIRA                        ORDER GRANTING APPLICATIONS FOR
                                                        ALLOWANCE OF FINAL COMPENSATION
                                                        DATED 2/9/05
02/09/05      207        JOHN S. PEREIRA                TRUSTEE COMMISSION, PER ORDER                   2100-000                                 79,087.50       610,352.33
                                                        GRANTING APPLICATIONS FOR INTERIM
                                                        COMPENSATION DATED 2/9/05
02/09/05      208        JOHN S. PEREIRA                TRUSTEE EXPENSES, PER ORDER                     2200-000                                     4,554.23    605,798.10
                                                        GRANTING REIMBURSEMENT OF
                                                        EXPENSES DATED 2/9/05

                                                                                             Subtotals :                  $725,459.86         $131,465.04
{} Asset reference(s)                                                                                                                 Printed: 12/07/2017 12:32 PM        V.13.30
                 04-12771-mkv                 Doc 733      Filed 12/19/17 Entered 12/19/17 17:57:32                                        Main Document
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                                                  Cash Receipts And Disbursements Record
Case Number:        04-12771 (MKV)                                                          Trustee:            JOHN S. PEREIRA (521200)
Case Name:          CASHPOINT NETWORK SERVICES INC.                                         Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                            Account:            ***-*****47-66 - Checking Account
Taxpayer ID #: **-***7072                                                                   Blanket Bond:       N/A
Period Ending: 12/07/17                                                                     Separate Bond: $1,415,080.00

   1            2                        3                                   4                                              5                   6                   7

 Trans.     {Ref #} /                                                                                                   Receipts        Disbursements    Checking
  Date      Check #         Paid To / Received From            Description of Transaction              T-Code              $                  $       Account Balance
02/09/05      209        KEVIN M. COFFEY, LLC           ACCOUNTANT TO TRUSTEE FEES, PER                3410-000                               469,152.00        136,646.10
                                                        ORDER GRANTING APPLICATIONS FOR
                                                        INTERIM COMPENSATION DATED 2/9/05
02/09/05      210        KEVIN M. COFFEY, LLC           ACCOUNTANT TO TRUSTEE EXPENSES,                3420-000                                 10,471.80       126,174.30
                                                        PER ORDER GRANTING REIMBURSEMENT
                                                        OF EXPENSES DATED 2/9/05
02/09/05      211        ELI ROSMAN, CPA                ACCOUNTANT TO TRUSTEE FEES, PER                3410-000                               125,826.30                 348.00
                                                        ORDER GRANTING APPLICATIONS FOR
                                                        ALLOWANCE OF INTERIM COMPENSATION
                                                        DATED 2/9/05
02/09/05      212        ELI ROSMAN, CPA                ACCOUNTANT TO TRUSTEE EXPENSES,                3420-000                                      348.00                 0.00
                                                        PER ORDER GRANTING REIMBURSEMENT
                                                        OF EXPENSES DATED 2/9/05
02/10/05                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                  9999-000             38,011.25                               38,011.25
                                                        ACCOUNT
02/10/05      213        SOLUTIONS, LLC                 INVOICE DATED: 1/6/2005 \ INVOICE #: 4162 3991-000                                      14,843.75           23,167.50
                                                        \ FOR SERVICES RENDERED IN
                                                        DECEMBER 2004 - COMPUTER
                                                        CONSULTATION
02/11/05                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                  9999-000                 89.00                               23,256.50
                                                        ACCOUNT
02/11/05      214        AMSOUTH                        INVOICE DATED: 2/3/2005 \ INVOICE              2990-000                                       89.00         23,167.50
                                                        NUMBER: 2906 \ COPYING OF BANK
                                                        STATEMENTS
02/11/05      215        SOLUTIONS LLC                  INVOICE DATED: 1/21/2005 \ INVOICE #:          3991-000                                 18,167.50               5,000.00
                                                        4214 \ FOR SERVICES RENDERED IN
                                                        JANUARY 2005 - COMPUTER
                                                        CONSULATION
02/11/05      216        SOLUTIONS LLC                  INVOICE DATED: 2/10/2005 \ INVOICE #:          3991-000                                     1,950.00            3,050.00
                                                        4219 \ FOR SERVICES RENDERED -
                                                        COMPUTER CONSULATION
02/11/05      217        SOLUTIONS LLC                  INVOICE DATED: 1/6/2005 \ INVOICE #: 4161 3991-000                                          3,050.00                0.00
                                                        \ FOR SERVICES RENDERED - COMPUTER
                                                        CONSULTATION
02/14/05                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                  9999-000              1,733.80                                   1,733.80
                                                        ACCOUNT
02/14/05      218        G.E.M. AUCTION CORP.           INVOICE DATED: 2/10/05 \ R-1497 \              2410-000                                     1,733.80                0.00
                                                        ADDITIONAL STORAGE FOR THE PERIOD
                                                        2/8 - 3/12; SUPPLIED 120 BANKER BOXES;


                                                                                            Subtotals :                    $39,834.05        $645,632.15
{} Asset reference(s)                                                                                                                Printed: 12/07/2017 12:32 PM        V.13.30
                 04-12771-mkv                 Doc 733      Filed 12/19/17 Entered 12/19/17 17:57:32                                         Main Document
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                                                  Cash Receipts And Disbursements Record
Case Number:        04-12771 (MKV)                                                           Trustee:            JOHN S. PEREIRA (521200)
Case Name:          CASHPOINT NETWORK SERVICES INC.                                          Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                             Account:            ***-*****47-66 - Checking Account
Taxpayer ID #: **-***7072                                                                    Blanket Bond:       N/A
Period Ending: 12/07/17                                                                      Separate Bond: $1,415,080.00

   1            2                        3                                   4                                               5                   6                   7

 Trans.     {Ref #} /                                                                                                    Receipts         Disbursements    Checking
  Date      Check #         Paid To / Received From            Description of Transaction               T-Code              $                   $       Account Balance
                                                        TRUCKING CHARGES ON 2/8/05
03/02/05                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                   9999-000             14,273.94                               14,273.94
                                                        ACCOUNT
03/02/05      219        PEOPLE'S BANK                  ADEQUATE PROTECTION PAYMENT FOR                 2990-000                                 14,273.94                   0.00
                                                        FEBRUARY 2005, PLUS INTEREST
                                                        PAYMENTS
03/09/05                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                   9999-000              3,542.40                                   3,542.40
                                                        ACCOUNT
03/09/05      220        G.E.M. AUCTION CORP.           INVOICE DATED: 03/01/05 \ R-1511 \              2410-000                                     2,551.50             990.90
                                                        STORAGE FOR THE PERIOD 3/1 - 4/1
03/09/05      221        G.E.M. AUCTION CORP.           INVOICE DATED: 03/01/05 \ R-1497 \              2410-000                                      990.90                 0.00
                                                        STORAGE FOR THE PERIOD 3/12 - 4/12
03/11/05                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                   9999-000              3,359.36                                   3,359.36
                                                        ACCOUNT
03/11/05      222        CONSOLIDATED EDISON            ACCOUNT NUMBER: 44-5015-0691-0004-9 \           2420-000                                     3,359.36                0.00
                         COMPANY OF NEW YORK, INC.      BILLING SUMMARY AS OF 03/01/05
03/18/05                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                   9999-000                 568.10                                   568.10
                                                        ACCOUNT
03/18/05      223        PRECISE COURT REPORTING        INVOICE #: 4590600511 \ INVOICE DATED:          2990-000                                      568.10                 0.00
                                                        3/15/2005 \ FOR SERVICES RENDERED -
                                                        ORIGINAL & COPY OF TRANSCRIPT AND
                                                        APPEARANCE FEE
03/21/05                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                   9999-000                 160.00                                   160.00
                                                        ACCOUNT
03/21/05      224        AMERICA EXPRESS                ACCOUNT NO.: 3714-642993-42005 \                2990-000                                      160.00                 0.00
                                                        LUNCHEON EXPENSE RE: DEPOSITION OF
                                                        SAM BREVDEH
03/23/05                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                   9999-000             11,223.90                               11,223.90
                                                        ACCOUNT
03/23/05      225        PEOPLE'S BANK                  ADEQUATE PROTECTION PAYMENT FOR                 2990-000                                 11,223.90                   0.00
                                                        MARCH 2005
04/06/05                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                   9999-000              2,991.11                                   2,991.11
                                                        ACCOUNT
04/06/05                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                   9999-000             99,255.60                           102,246.71
                                                        ACCOUNT
04/06/05      226        CONSOLIDATED EDISON            ACCOUNT NUMBER: 44-5015-0691-0004-9 \           2420-000                                     2,991.11        99,255.60
                         COMPANY OF NEW YORK, INC.      BILLING SUMMARY AS OF 03/30/05
04/06/05      227        G.E.M. AUCTION CORP.           AUTIONEER FOR TRUSTEE EXPENSES,                 3620-000                                 99,255.60                   0.00
                                                        PER ORDER GRANTING APPLICATION FOR

                                                                                             Subtotals :                  $135,374.41         $135,374.41
{} Asset reference(s)                                                                                                                 Printed: 12/07/2017 12:32 PM        V.13.30
                 04-12771-mkv                 Doc 733       Filed 12/19/17 Entered 12/19/17 17:57:32                                        Main Document
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                                                  Cash Receipts And Disbursements Record
Case Number:        04-12771 (MKV)                                                           Trustee:            JOHN S. PEREIRA (521200)
Case Name:          CASHPOINT NETWORK SERVICES INC.                                          Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                             Account:            ***-*****47-66 - Checking Account
Taxpayer ID #: **-***7072                                                                    Blanket Bond:       N/A
Period Ending: 12/07/17                                                                      Separate Bond: $1,415,080.00

   1            2                        3                                    4                                              5                   6                   7

 Trans.     {Ref #} /                                                                                                    Receipts         Disbursements    Checking
  Date      Check #         Paid To / Received From             Description of Transaction              T-Code              $                   $       Account Balance
                                                        ALLOWANCE OF REIMBURSEMENT OF
                                                        EXPENSES DATED APRIL 6, 2005
04/07/05                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                   9999-000             32,477.50                               32,477.50
                                                        ACCOUNT
04/07/05      228        SOLUTIONS, LLC                 INVOICE NOS.: 4253 and 4231 \ FOR               3991-000                                 32,477.50                   0.00
                                                        SERVICES RENDERED IN FEBRUARY 2005
                                                        AND MARCH 2005 - COMPUTER
                                                        CONSULTATION
04/08/05                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                   9999-000              5,344.17                                   5,344.17
                                                        ACCOUNT
04/08/05      229        G.E.M. AUCTION CORP.           INVOICE DATED: 4/1/05 \ R-1497 \                2410-000                                     2,792.67            2,551.50
                                                        STORAGE FOR THE PERIOD 3/9 - 5/9 AND
                                                        TRUCKING CHARGES ON 3/9/05
04/08/05      230        G.E.M. AUCTION CORP.           INVOICE DATED: 4/1/05 \ R-1511                  2410-000                                     2,551.50                0.00
                                                        (YONKERS) \ STORAGE FOR THE PERIOD
                                                        4/1 - 5/1
04/20/05                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                   9999-000                 209.00                                   209.00
                                                        ACCOUNT
04/20/05      231        POSTMASTER, NEW YORK           BOX NUMBER: #1768 \ POST OFFICE BOX             2990-000                                      209.00                 0.00
                                                        SERVICE FEE FOR SIX MONTHS
04/26/05                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                   9999-000                  30.00                                    30.00
                                                        ACCOUNT
04/26/05      232        FIRST REGIONAL BANK            RESEARCH FEE                                    2990-000                                       30.00                 0.00
                                                        Stopped on 09/15/05
04/27/05                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                   9999-000             12,629.26                               12,629.26
                                                        ACCOUNT
04/27/05      233        PEOPLE'S BANK                  ADEQUATE PROTECTION PAYMENT FOR                 2990-000                                 12,629.26                   0.00
                                                        APRIL 2005
05/02/05                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                   9999-000                 150.00                                   150.00
                                                        ACCOUNT
05/02/05      234        IDEAL INTERNET SOLUTIONS,      INVOICE #: 22660 \ INVOICE DATED:               2990-000                                      150.00                 0.00
                         INC.                           4/22/2005 \ MONTHLY T-1 SERVICE
                                                        CHARGE (MAY 2005)
05/04/05                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                   9999-000              8,700.63                                   8,700.63
                                                        ACCOUNT
05/04/05      235        PULLMAN & COMLEY, LLC          REIMBURSEMENT OF EXPENSES                       2990-000                                      239.70             8,460.93
                                                        INCURRED FROM DOCUMENT REQUEST
                                                        BY ACCOUNTANT FOR THE TRUSTEE
05/04/05      236        FEDEX                          INVOICE NUMBER: 3-802-58379 \ ACCOUNT           2990-000                                       17.63             8,443.30

                                                                                             Subtotals :                    $59,540.56         $51,097.26
{} Asset reference(s)                                                                                                                 Printed: 12/07/2017 12:32 PM        V.13.30
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                                                  Cash Receipts And Disbursements Record
Case Number:        04-12771 (MKV)                                                           Trustee:            JOHN S. PEREIRA (521200)
Case Name:          CASHPOINT NETWORK SERVICES INC.                                          Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                             Account:            ***-*****47-66 - Checking Account
Taxpayer ID #: **-***7072                                                                    Blanket Bond:       N/A
Period Ending: 12/07/17                                                                      Separate Bond: $1,415,080.00

   1            2                        3                                    4                                              5                   6                   7

 Trans.     {Ref #} /                                                                                                    Receipts        Disbursements    Checking
  Date      Check #         Paid To / Received From             Description of Transaction              T-Code              $                  $       Account Balance
                                                        NUMBER: 1159-6713-4
05/12/05      237        G.E.M. AUCTION CORP.           INVOICE DATED: 5/2/05 \ R-1511                  2410-000                                     2,551.50            5,891.80
                                                        (YONKERS) \ STORAGE FOR THE PERIOD
                                                        5/1 - 6/1
05/12/05      238        G.E.M. AUCTION CORP.           INVOICE DATED: 5/1/05 \ R-1497 \                2410-000                                     5,891.80                0.00
                                                        STORAGE FOR THE PERIOD 4/13 - 6/9;
                                                        TRUCKING CHARGES ON 4/13/05, 4/19/05
                                                        and 4/28/05; SUPPLIED BANKER BOXES
05/16/05                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                   9999-000              1,434.94                                   1,434.94
                                                        ACCOUNT
05/16/05      239        UNITED STATES TREASURY         XX-XXXXXXX \ FORM 940-V \ 2004                  2820-000                                     1,434.94                0.00
05/19/05                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                   9999-000             22,486.50                               22,486.50
                                                        ACCOUNT
05/19/05      240        SOLUTIONS, LLC                 INVOICE NOS.: 4228 \ FOR SERVICES               3991-000                                     7,017.50        15,469.00
                                                        RENDERED - COMPUTER CONSULTATION
05/19/05      241        SOLUTIONS, LLC                 INVOICE NO.: 4227 \ FOR COMPUTER                3991-000                                 15,469.00                   0.00
                                                        CONSULTATION - COMPUTER
                                                        CONSULTATION
06/01/05                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                   9999-000             12,592.66                               12,592.66
                                                        ACCOUNT
06/01/05      242        PEOPLE'S BANK                  ADEQUATE PROTECTION PAYMENT FOR                 2990-000                                 12,592.66                   0.00
                                                        MAY 2005
                                                        Voided on 06/03/05
06/03/05      242        PEOPLE'S BANK                  ADEQUATE PROTECTION PAYMENT FOR                 2990-000                                -12,592.66           12,592.66
                                                        MAY 2005
                                                        Voided: check issued on 06/01/05
06/09/05                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                   9999-000              8,556.86                               21,149.52
                                                        ACCOUNT
06/09/05      243        G.E.M. AUCTION CORP.           INVOICE DATED: 6/1/05 \ R-1511                  2410-000                                     2,551.50        18,598.02
                                                        (YONKERS) \ STORAGE FOR THE PERIOD
                                                        6/1 - 7/1
06/09/05      244        G.E.M. AUCTION CORP.           INVOICE DATED: 6/1/05 \ R-1497 \                2410-000                                     3,259.20        15,338.82
                                                        STORAGE FOR THE PERIOD 6/9 - 7/9
06/09/05      245        EASTERN ABSTRACT CORP.         PAYMENT AJDUSTMENTS RE: SALE OF                 2500-000                                     2,746.16        12,592.66
                                                        REAL PROPERTY
06/16/05                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                   9999-000              1,647.75                               14,240.41
                                                        ACCOUNT
06/16/05      246        TANENBAUM-HARBER CO., INC.     POLICY NO.: 3576-93-79 EZG \ INSURANCE          2420-000                                     1,647.75        12,592.66
                                                        PREMIUM - POLICY PERIOD: 11/20/2003 -

                                                                                             Subtotals :                    $46,718.71         $42,569.35
{} Asset reference(s)                                                                                                                 Printed: 12/07/2017 12:32 PM        V.13.30
                 04-12771-mkv                 Doc 733       Filed 12/19/17 Entered 12/19/17 17:57:32                                        Main Document
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                                                  Cash Receipts And Disbursements Record
Case Number:        04-12771 (MKV)                                                           Trustee:            JOHN S. PEREIRA (521200)
Case Name:          CASHPOINT NETWORK SERVICES INC.                                          Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                             Account:            ***-*****47-66 - Checking Account
Taxpayer ID #: **-***7072                                                                    Blanket Bond:       N/A
Period Ending: 12/07/17                                                                      Separate Bond: $1,415,080.00

   1            2                        3                                    4                                              5                   6                   7

 Trans.     {Ref #} /                                                                                                    Receipts         Disbursements    Checking
  Date      Check #         Paid To / Received From             Description of Transaction              T-Code              $                   $       Account Balance
                                                        6/1/2005
06/29/05                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                   9999-000             39,066.75                               51,659.41
                                                        ACCOUNT
06/29/05      247        THE GARDEN CITY GROUP, INC.    INVOICE NOS.: 02362 & 02517 \ FOR               2990-000                                 38,916.75           12,742.66
                                                        SERVICES RENDERED - PHOTOCOPYING
                                                        DOCUMENTS
07/06/05                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                   9999-000              5,810.70                               18,553.36
                                                        ACCOUNT
07/06/05      248        G.E.M. AUCTION CORP.           INVOICE DATED: 7/1/05 \ R-1497 \                2410-000                                     3,259.20        15,294.16
                                                        STORAGE FOR THE PERIOD 7/9 - 8/9
07/06/05      249        G.E.M. AUCTION CORP.           INVOICE DATED: 7/1/05 \ R-1511                  2410-000                                     2,551.50        12,742.66
                                                        (YONKERS) \ STORAGE FOR THE PERIOD
                                                        7/1 - 8/1
07/20/05      250        HOUSTON COMMUNITY BANK         RESEACH AND COPY FEES OF BANK                   2990-000                                       50.00         12,692.66
                                                        STATEMENTS
07/29/05                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                   9999-000                 272.50                              12,965.16
                                                        ACCOUNT
07/29/05      251        IDEAL INTERNET SOLUTIONS,      INVOICE #: 22729 \ INVOICE DATED:               2990-000                                      150.00         12,815.16
                         INC.                           7/20/2005 \ INTERNET SERVICES FOR
                                                        AUGUST 2005
07/29/05      252        CT CORPORATION                 INVOICE NO.: 2017874-RI \ INVOICE DATED: 2990-000                                             122.50         12,692.66
                                                        05/27/05 \ FOR SERVICES RENDERED -
                                                        CERTIFY COPY OF CERTIFICATE OF
                                                        INCORPORATION & ALL AMENDMENTS
08/09/05                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                   9999-000             23,402.37                               36,095.03
                                                        ACCOUNT
08/09/05      253        SOLUTIONS LLC                  INVOICE NOS: 4254, 4255 & 4256 \ FOR            3991-000                                 15,742.50           20,352.53
                                                        SERVICES RENDERED - COMPUTER
                                                        CONSULTATION
08/09/05      254        IDEAL INTERNET SOLUTIONS,      INVOICE NOS.: 22691 & 22703 \ MONTHLY           2990-000                                      300.00         20,052.53
                         INC.                           INTERNET SERVICES FOR JUNE 2005 AND
                                                        JULY 2005
08/09/05      255        G.E.M. AUCTION CORP.           INVOICE DATED: 08/01/05 \ R-1511                2410-000                                     2,551.50        17,501.03
                                                        (YONKERS) \ STORAGE FOR THE PERIOD
                                                        8/1 - 9/1
08/09/05      256        G.E.M. AUCTION CORP.           INVOICE DATED: 8/1/05 \ R-1497 \                2410-000                                     3,259.20        14,241.83
                                                        STORAGE FOR THE PERIOD 8/9 - 9/9
08/09/05      257        IRON MOUNTAIN RECORDS          CUSTOMER ID#: N2791 \ STORAGE FEES              2410-000                                     1,549.17        12,692.66
                         MANAGEMENT

                                                                                             Subtotals :                    $68,552.32         $68,452.32
{} Asset reference(s)                                                                                                                 Printed: 12/07/2017 12:32 PM        V.13.30
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                                                  Cash Receipts And Disbursements Record
Case Number:        04-12771 (MKV)                                                           Trustee:            JOHN S. PEREIRA (521200)
Case Name:          CASHPOINT NETWORK SERVICES INC.                                          Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                             Account:            ***-*****47-66 - Checking Account
Taxpayer ID #: **-***7072                                                                    Blanket Bond:       N/A
Period Ending: 12/07/17                                                                      Separate Bond: $1,415,080.00

   1            2                        3                                    4                                              5                   6                   7

 Trans.     {Ref #} /                                                                                                    Receipts         Disbursements    Checking
  Date      Check #         Paid To / Received From             Description of Transaction              T-Code              $                   $       Account Balance
09/02/05                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                   9999-000                 150.00                              12,842.66
                                                        ACCOUNT
09/02/05      258        IDEAL INTERNET SOLUTIONS,      INVOICE #: 22750 \ INVOICE DATED:               2990-000                                      150.00         12,692.66
                         INC.                           8/20/2005 \ MONTHLY INTERNET SERVICE
                                                        (SEPTEMBER 2005)
09/15/05      232        FIRST REGIONAL BANK            RESEARCH FEE                                    2990-000                                       -30.00        12,722.66
                                                        Stopped: check issued on 04/26/05
09/16/05                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                   9999-000              5,810.40                               18,533.06
                                                        ACCOUNT
09/16/05      259        G.E.M. AUCTION CORP.           INVOICE DATED: 9/1/05 \ R-1511                  2410-000                                     2,551.50        15,981.56
                                                        (YONKERS) \ STORAGE FOR THE PERIOD
                                                        9/1 - 10/1
09/16/05      260        G.E.M. AUCTION CORP.           INVOICE DATED: 9/1/05 \ R-1497 \                2410-000                                     3,258.90        12,722.66
                                                        STORAGE FOR THE PERIOD 9/12 - 10/12
09/28/05                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                   9999-000             26,043.75                               38,766.41
                                                        ACCOUNT
09/28/05      261        SOLUTIONS                      INVOICE NOS.: 4257 & 4258 \ FOR                 3991-000                                 25,893.75           12,872.66
                                                        SERVICES RENDERED - COMPUTER
                                                        CONSULTATION
09/28/05      262        IDEAL INTERNET SOLUTIONS,      INVOICE #: 22773 \ INVOICE DATED:               2990-000                                      150.00         12,722.66
                         INC.                           9/20/2005 \ MONTHLY INTERNET SERVICE
                                                        FOR OCTOBER 2005
10/05/05                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                   9999-000              5,810.40                               18,533.06
                                                        ACCOUNT
10/05/05      263        G.E.M. AUCTION CORP.           INVOICE DATED: 10/3/05 \ R-1497 \               2410-000                                     3,258.90        15,274.16
                                                        STORAGE FOR THE PERIOD 10/12 - 11/12
10/05/05      264        G.E.M. AUCTION CORP.           INVOICE DATED: 10/3/05 \ R-1511                 2410-000                                     2,551.50        12,722.66
                                                        (YONKERS) \ STORAGE FOR THE PERIOD
                                                        10/1 - 11/1
10/25/05                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                   9999-000                 150.00                              12,872.66
                                                        ACCOUNT
10/25/05      265        IDEAL INTERNET SOLUTIONS,      INVOICE #: 22793 \ INVOICE DATED:               2990-000                                      150.00         12,722.66
                         INC.                           10/20/2005 \ MONTHLY INTERNET SERVICE
                                                        - NOVEMBER 2005
10/27/05                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                   9999-000                 209.00                              12,931.66
                                                        ACCOUNT
10/27/05      266        US POSTAL SERVICE              BOX NUMBER: #1768 \ 10022                       2990-000                                      209.00         12,722.66
10/28/05                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                   9999-000          1,940,436.57                          1,953,159.23
                                                        ACCOUNT

                                                                                             Subtotals :                $1,978,610.12          $38,143.55
{} Asset reference(s)                                                                                                                 Printed: 12/07/2017 12:32 PM        V.13.30
                 04-12771-mkv                 Doc 733      Filed 12/19/17 Entered 12/19/17 17:57:32                                        Main Document
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                                                  Cash Receipts And Disbursements Record
Case Number:        04-12771 (MKV)                                                          Trustee:            JOHN S. PEREIRA (521200)
Case Name:          CASHPOINT NETWORK SERVICES INC.                                         Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                            Account:            ***-*****47-66 - Checking Account
Taxpayer ID #: **-***7072                                                                   Blanket Bond:       N/A
Period Ending: 12/07/17                                                                     Separate Bond: $1,415,080.00

   1            2                        3                                   4                                              5                   6                   7

 Trans.     {Ref #} /                                                                                                   Receipts        Disbursements    Checking
  Date      Check #         Paid To / Received From            Description of Transaction              T-Code              $                  $       Account Balance
10/28/05      267        JOHN S. PEREIRA                TRUSTEE COMMISSION, PER ORDER                  2100-000                               180,000.00       1,773,159.23
                                                        GRANTING APPLICATIONS FOR INTERIM
                                                        COMPENSATION DATED 10/26/05
10/28/05      268        JOHN S. PEREIRA                TRUSTEE EXPENSES, PER ORDER                    2200-000                                     2,166.66   1,770,992.57
                                                        GRANTING REIMBURSEMENT OF
                                                        EXPENSES DATED 10/26/05
10/28/05      269        JASPAN SCHLESINGER             ATTORNEY TO TRUSTEE FEES, PER                  3210-000                               985,101.12        785,891.45
                         HOFFMAN, LLP                   ORDER GRANTING APPLICATIONS FOR
                                                        INTERIM COMPENSATION DATED 10/26/05
10/28/05      270        JASPAN SCHLESINGER             ATTORNEY TO TRUSTEE EXPENSES, PER              3220-000                                 21,010.45       764,881.00
                         HOFFMAN, LLP                   ORDER GRANTING REIMBURSEMENT OF
                                                        EXPENSES DATED 10/26/05
10/28/05      271        KEVIN M. COFFEY, LLC           ACCOUNTANT TO TRUSTEE FEES, PER                3410-000                               669,385.00            95,496.00
                                                        ORDER GRANTING APPLICATIONS FOR
                                                        INTERIM COMPENSATION DATED 10/26/05
10/28/05      272        KEVIN M. COFFEY, LLC           ACCOUNTANT TO TRUSTEE EXPENSES,                3420-000                                 10,242.34           85,253.66
                                                        PER ORDER GRANTING REIMBURSEMENT
                                                        OF EXPENSES DATED 10/26/05
10/28/05      273        ELI ROSMAN, C.P.A.             ACCOUNTANT TO TRUSTEE FEES, PER                3410-000                                 17,131.00           68,122.66
                                                        ORDER GRANTING APPLICATIONS FOR
                                                        ALLOWANCE OF FINAL COMPENSATION
                                                        DATED 10/26/05
10/28/05      274        G.E.M. AUCTION CORP.           CUSTODIAN FOR TRUSTEE FEES, PER                3991-000                                 55,400.00           12,722.66
                                                        ORDER GRANTING APPLICATIONS FOR
                                                        ALLOWANCE OF FINAL COMPENSATION
                                                        DATED 10/26/05
11/08/05                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                  9999-000              9,026.25                               21,748.91
                                                        ACCOUNT
11/08/05      275        SOLUTIONS, LLC                 INVOICE DATED: 11/8/2005 \ INVOICE #:          3991-000                                     9,026.25        12,722.66
                                                        4259 \ FOR SERVICES RENDERED IN
                                                        OCTOBER 2005 - COMPUTER
                                                        CONSULTATION
12/08/05                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                  9999-000             12,380.60                               25,103.26
                                                        ACCOUNT
12/08/05      276        IDEAL INTERNET SOLUTIONS,      INVOICE #: 44146 \ INVOICED DATED:             2990-000                                      150.00         24,953.26
                         INC.                           11/20/2005 \ MONTHLY INTERNET
                                                        SERVICES - DECEMBER 2005
12/08/05      277        G.E.M. AUCTION CORP.           INVOICE DATED: 12/1/05 / R-1511                2410-000                                     5,103.00        19,850.26
                                                        (YONKERS) / STORAGE FOR THE PERIOD


                                                                                            Subtotals :                    $21,406.85      $1,954,715.82
{} Asset reference(s)                                                                                                                Printed: 12/07/2017 12:32 PM        V.13.30
                 04-12771-mkv                 Doc 733       Filed 12/19/17 Entered 12/19/17 17:57:32                                          Main Document
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                                                  Cash Receipts And Disbursements Record
Case Number:        04-12771 (MKV)                                                             Trustee:            JOHN S. PEREIRA (521200)
Case Name:          CASHPOINT NETWORK SERVICES INC.                                            Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                               Account:            ***-*****47-66 - Checking Account
Taxpayer ID #: **-***7072                                                                      Blanket Bond:       N/A
Period Ending: 12/07/17                                                                        Separate Bond: $1,415,080.00

   1            2                        3                                      4                                              5                   6                   7

 Trans.     {Ref #} /                                                                                                      Receipts         Disbursements    Checking
  Date      Check #         Paid To / Received From               Description of Transaction              T-Code              $                   $       Account Balance
                                                        OF 11/1/05 - 1/1/06
12/08/05      278        G.E.M. AUCTION CORP.           INVOICE DATED: 12/1/05 \ R-1497 \                 2410-000                                     7,127.60        12,722.66
                                                        STORAGE FOR THE PERIOD OF 11/12/05 -
                                                        1/12/06
01/06/06                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                     9999-000                 150.00                              12,872.66
                                                        ACCOUNT
01/06/06      279        IDEAL INTERNET SOLUTIONS,      INVOICE DATED: 12/20/2005 \ INVOICE #:            2990-000                                      150.00         12,722.66
                         INC.                           44170 \ MONTHLY INTERNET SERVICE -
                                                        JANUARY 2006
01/26/06                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                     9999-000              5,918.40                               18,641.06
                                                        ACCOUNT
01/26/06                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                     9999-000                 150.00                              18,791.06
                                                        ACCOUNT
01/26/06      280        G.E.M. AUCTION CORP.           INVOICE DATED: 12/29/05 \ R-1497 \                2410-000                                     3,366.90        15,424.16
                                                        STORAGE FOR THE PERIOD 1/12 - 2/12
01/26/06      281        G.E.M. AUCTION CORP.           INVOICE DATED: 12/29/05 \ R-1511                  2410-000                                     2,551.50        12,872.66
                                                        (YONKERS) \ STORAGE FOR THE PERIOD
                                                        1/1 - 2/1
01/26/06      282        IDEAL INTERNET SOLUTIONS,      INVOICE DATED: 1/20/06 \ INVOICE #: 44208 2990-000                                              150.00         12,722.66
                         INC.                           \ MONTHLY INTERNET SERVICE -
                                                        FEBRUARY 2006
02/06/06                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                     9999-000              5,968.40                               18,691.06
                                                        ACCOUNT
02/06/06      283        G.E.M. AUCTION CORP.           INVOICE DATED: 2/1/06 \ R-1497 \                  2410-000                                     3,416.90        15,274.16
                                                        STORAGE FOR THE PERIOD 2/12 - 3/12 and
                                                        TRUCKING CHARGE ON 1/11/06
02/06/06      284        G.E.M. AUCTION CORP.           INVOICE DATED: 1/31/06 \ R-1511                   2410-000                                     2,551.50        12,722.66
                                                        (YONKERS) \ STORAGE FOR THE PERIOD
                                                        2/1 - 3/1
03/22/06                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                     9999-000              6,068.40                               18,791.06
                                                        ACCOUNT
03/22/06      285        G.E.M. AUCTION CORP.           INVOICE DATED: 3/1/2006 \ R-1497 \                2410-000                                     3,366.90        15,424.16
                                                        STORAGE FOR THE PERIOD 3/12 - 4/12
03/22/06      286        G.E.M. AUCTION CORP.           INVOICE DATED: 3/1/2006 \ R-1511                  2410-000                                     2,551.50        12,872.66
                                                        (YONKERS) \ STORAGE FOR THE PERIOD
                                                        3/1 - 4/1
03/22/06      287        IDEAL INTERNET SOLUTIONS,      INVOICE #: 44226 \ INVOICE DATED:                 2990-000                                      150.00         12,722.66
                         INC.                           2/20/2006 \ MONTHLY INTERNET SERVICE -
                                                        MARCH 2006

                                                                                               Subtotals :                    $18,255.20         $25,382.80
{} Asset reference(s)                                                                                                                   Printed: 12/07/2017 12:32 PM        V.13.30
                 04-12771-mkv                 Doc 733       Filed 12/19/17 Entered 12/19/17 17:57:32                                        Main Document
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                                                  Cash Receipts And Disbursements Record
Case Number:        04-12771 (MKV)                                                           Trustee:            JOHN S. PEREIRA (521200)
Case Name:          CASHPOINT NETWORK SERVICES INC.                                          Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                             Account:            ***-*****47-66 - Checking Account
Taxpayer ID #: **-***7072                                                                    Blanket Bond:       N/A
Period Ending: 12/07/17                                                                      Separate Bond: $1,415,080.00

   1            2                        3                                       4                                           5                   6                   7

 Trans.     {Ref #} /                                                                                                    Receipts         Disbursements    Checking
  Date      Check #         Paid To / Received From             Description of Transaction              T-Code              $                   $       Account Balance
03/31/06                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                   9999-000                 150.00                              12,872.66
                                                        ACCOUNT
03/31/06      288        IDEAL INTERNET SOLUTIONS,      INVOICE #: 44246 \ INVOICE DATED:               2990-000                                      150.00         12,722.66
                         INC.                           3/20/2006 \ MONTHLY INTERNET SERVICE -
                                                        APRIL 2006
05/02/06                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                   9999-000             14,816.48                               27,539.14
                                                        ACCOUNT
05/02/06      289        COMMONWEALTH LAND TITLE        RE: 373 HENRY STREET, BROOKLYN                  2420-000                                 14,816.48           12,722.66
05/08/06                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                   9999-000             11,986.80                               24,709.46
                                                        ACCOUNT
05/08/06      290        IDEAL INTERNET SOLUTIONS,      INVOICE #: 44246 \ INVOICE DATED:               2990-000                                      150.00         24,559.46
                         INC.                           3/20/2006 \ MONTHLY INTERNET SERVICE -
                                                        MAY 2006
05/08/06      291        G.E.M. AUCTION CORP.           INVOICE DATED: 5/1/06 \ R-1511                  2410-000                                     5,103.00        19,456.46
                                                        (YONKERS) \ STORAGE FOR THE PERIOD
                                                        4/1 - 6/1
05/08/06      292        G.E.M. AUCTION CORP.           INVOICE DATED: 5/1/06 \ R-1497 \                2410-000                                     6,733.80        12,722.66
                                                        STORAGE FOR THE PERIOD 4/12 - 6/12
05/10/06                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                   9999-000                 332.00                              13,054.66
                                                        ACCOUNT
05/10/06      293        COMMONWEALTH LAND TITLE        ORDER NUMBER: SS060389 \ RECORDING              2990-000                                      332.00         12,722.66
                         INSURANCE COMPANY              (DEED) AND SERVICE FEE FOR PREMISES:
                                                        373 HENRY STREET, BROOKLYN, NY
                                                        (BLOCK 301 LOT 51)
05/23/06                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                   9999-000              6,475.00                               19,197.66
                                                        ACCOUNT
05/23/06      294        SOLUTIONS                      INVOICE #: 4607 \ INVOICE DATED:                3991-000                                     6,475.00        12,722.66
                                                        5/23/2006 \ FOR SERVICES RENDERED IN
                                                        MAY 2006 - COMPUTER CONSULTATION
06/08/06                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                   9999-000             14,816.48                               27,539.14
                                                        ACCOUNT
06/08/06      295        COMMONWEALTH LAND TITLE        RE: 373 HENRY STREET, BROOKLYN                  2500-000                                 14,816.48           12,722.66
06/29/06                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                   9999-000              6,083.95                               18,806.61
                                                        ACCOUNT
06/29/06      296        G.E.M. AUCTION CORP.           INVOICE # 11 \ INVOICE DATED: 6/6/2006 \        2410-000                                     2,551.50        16,255.11
                                                        R-1511 (YONKERS) \ STORAGE FOR THE
                                                        PERIOD 6/1/06 - 7/1/06
06/29/06      297        FEDEX                          INVOICE NUMBER: 3-492-73416 \ ACCOUNT           2990-000                                       15.55         16,239.56
                                                        NUMBER: 1159-6713-4

                                                                                             Subtotals :                    $54,660.71         $51,143.81
{} Asset reference(s)                                                                                                                 Printed: 12/07/2017 12:32 PM        V.13.30
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                                                  Cash Receipts And Disbursements Record
Case Number:        04-12771 (MKV)                                                           Trustee:            JOHN S. PEREIRA (521200)
Case Name:          CASHPOINT NETWORK SERVICES INC.                                          Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                             Account:            ***-*****47-66 - Checking Account
Taxpayer ID #: **-***7072                                                                    Blanket Bond:       N/A
Period Ending: 12/07/17                                                                      Separate Bond: $1,415,080.00

   1            2                        3                                    4                                              5                   6                   7

 Trans.     {Ref #} /                                                                                                    Receipts         Disbursements    Checking
  Date      Check #         Paid To / Received From             Description of Transaction              T-Code              $                   $       Account Balance
06/29/06      298        IDEAL INTERNET SOLUTIONS,      INVOICE #: 44283 \ INVOICE DATED:               2990-000                                      150.00         16,089.56
                         INC.                           5/20/2006 \ FOR MONTHLY INTERNET
                                                        SERVICE - JUNE 2006
06/29/06      299        G.E.M. AUCTION CORP.           INVOICE #: 14 \ INVOICE DATED: 6/6/2006 \       2410-000                                     3,366.90        12,722.66
                                                        R-1497 \ STORAGE FOR THE PERIOD
                                                        6/12/06 - 7/12/06
07/17/06                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                   9999-000              5,918.40                               18,641.06
                                                        ACCOUNT
07/17/06      300        G.E.M. AUCTION CORP.           INVOICE #: 155 \ INVOICE DATED: 7/1/06 \        2410-000                                     3,366.90        15,274.16
                                                        R-1497 \ STORAGE FOR THE PERIOD OF
                                                        7/12/06 - 8/12/06
07/17/06      301        G.E.M. AUCTION CORP.           INVOICE #: 162 \ INVOICE DATED: 7/1/06 \        2410-000                                     2,551.50        12,722.66
                                                        R-162 \ STORAGE FOR THE PERIOD OF
                                                        7/1/06 - 8/1/06
08/10/06                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                   9999-000                 300.00                              13,022.66
                                                        ACCOUNT
08/10/06      302        IDEAL INTERNET SOLUTIONS,      INVOICE #: 44324 \ INVOICE DATED:               2990-000                                      300.00         12,722.66
                         INC.                           8/15/2006 \ MONTHLY INTERNET SERVICE -
                                                        JULY & AUGUST 2006
08/21/06                 From Account #********4775     TRANSFER OF FUNDS TO CHECKING                   9999-000            125,115.00                           137,837.66
                                                        ACCOUNT
08/21/06                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                   9999-000            405,428.13                           543,265.79
                                                        ACCOUNT
08/21/06      303        CITIMORTGAGE, INC.             SATISFACTION OF MORTGAGE RE: 373                4110-000                               434,409.81        108,855.98
                                                        HENRY STREET, BROOKLYN, NEW YORK
08/21/06      304        SWEENEY, GALLO, REICH &        CLOSING COSTS FROM SALE OF: 373                 2500-000                                     1,671.00    107,184.98
                         BOLZ, LLP                      HENRY STREET, BROOKLYN, NEW YORK
08/21/06      305        SLOPE ABSTRACT                 CLOSING COSTS FROM SALE OF: 373                 2500-000                                 19,212.32           87,972.66
                                                        HENRY STREET, BROOKLYN, NEW YORK
08/21/06      306        SALLY FLOTTERON                CLOSING COSTS FROM SALE OF: 373                 2500-000                                      250.00         87,722.66
                                                        HENRY STREET, BROOKLYN, NEW YORK
08/21/06      307        MINTZ LEVIN COHN FERRIS        SHARE OF PROCEEDS PER ORDER 3/24/06 4120-000                                             75,000.00           12,722.66
                         GLOVSKY & POPEO PC             [SALE OF 373 HENRY STREET, BROOKLYN,
                                                        NEW YORK]
08/23/06                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                   9999-000             75,000.00                               87,722.66
                                                        ACCOUNT
08/23/06      308        G.E.M. AUCTION CORP.           6% REAL ESTATE BROKER COMMISSION                3510-000                                 75,000.00           12,722.66
                                                        PER COURT ORDER DATED JULY 26, 2006
09/07/06                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                   9999-000              1,048.00                               13,770.66

                                                                                             Subtotals :                  $612,809.53         $615,278.43
{} Asset reference(s)                                                                                                                 Printed: 12/07/2017 12:32 PM        V.13.30
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                                                  Cash Receipts And Disbursements Record
Case Number:        04-12771 (MKV)                                                           Trustee:            JOHN S. PEREIRA (521200)
Case Name:          CASHPOINT NETWORK SERVICES INC.                                          Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                             Account:            ***-*****47-66 - Checking Account
Taxpayer ID #: **-***7072                                                                    Blanket Bond:       N/A
Period Ending: 12/07/17                                                                      Separate Bond: $1,415,080.00

   1            2                        3                                    4                                              5                   6                   7

 Trans.     {Ref #} /                                                                                                    Receipts         Disbursements    Checking
  Date      Check #         Paid To / Received From             Description of Transaction              T-Code              $                   $       Account Balance
                                                        ACCOUNT
09/07/06      309        IDEAL INTERNET SOLUTIONS,      INVOICE #: 44343 \ INVOICE DATED:               2990-000                                      150.00         13,620.66
                         INC.                           8/20/2006 \ MONTHLY INTERNET SERVICE -
                                                        SEPTEMBER 2006
09/07/06      310        COMMONWEALTH LAND TITLE        ORDER #: NY060884 \ INVOICE DATED:              2990-000                                      898.00         12,722.66
                         INSURANCE COMPANY              7/14/06 \ TITLE SEARCH ON PREMISES: 373
                                                        HENRY STREET, BROOKLYN, NY, BLOCK
                                                        301 LOT 51
09/08/06                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                   9999-000            121,405.00                           134,127.66
                                                        ACCOUNT
09/08/06      311        ARTHUR B. LEVINE COMPANY       BOND NUMBER: 10BSBDU3912 /                      2300-000                               121,405.00            12,722.66
                                                        EFFECTIVE DATE: 7/10/2006 / COMPANY:
                                                        THE HARTFORD FIRE INSURANCE
                                                        COMPANY
10/12/06                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                   9999-000             17,755.20                               30,477.86
                                                        ACCOUNT
10/12/06      312        G.E.M. AUCTION CORP.           INVOICE #: 306 \ INVOICE DATED: 10/1/2006 2410-000                                           7,654.50        22,823.36
                                                        \ R-1511 (YONKERS) \ STORAGE FOR THE
                                                        PERIOD 8/1/06 - 11/1/06
10/12/06      313        G.E.M. AUCTION CORP.           INVOICE #: 300 \ INVOICE DATED: 10/1/2006 2410-000                                       10,100.70           12,722.66
                                                        \ R-1497 \ STORAGE FOR THE PERIOD
                                                        8/12/06 - 11/12/06
10/13/06                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                   9999-000              2,542.50                               15,265.16
                                                        ACCOUNT
10/13/06      314        ACCU-SAFES INC.                INVOICE #: 20486 \ INVOICE DATED:               2990-000                                     2,542.50        12,722.66
                                                        10/9/2006 \ FOR SERVICES RENDERED -
                                                        OPEN AND DISPOSE SAFE
10/25/06                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                   9999-000              3,550.00                               16,272.66
                                                        ACCOUNT
10/25/06      315        ELDEEN OFFICE CLEANING         INVOICE DATED: 9/6/06 \ FOR SERVICES            2990-000                                     3,400.00        12,872.66
                         COMPANY                        RENDERED - CLEANING AND DISPOSAL
                                                        OF GARBAGE OF 373 HENRY STREET,
                                                        BROOKLYN, NY
10/25/06      316        IDEAL INTERNET SOLUTIONS,      INVOICE #: 44364 \ INVOICE DATED:               2990-000                                      150.00         12,722.66
                         INC.                           9/20/2006 \ MONTHLY INTERNET SERVICE -
                                                        OCTOBER 2006
11/02/06                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                   9999-000                 150.00                              12,872.66
                                                        ACCOUNT
11/02/06      317        IDEAL INTERNET SOLUTIONS,      INVOICE #: 44386 \ INVOICE DATED:               2990-000                                      150.00         12,722.66

                                                                                             Subtotals :                  $145,402.70         $146,450.70
{} Asset reference(s)                                                                                                                 Printed: 12/07/2017 12:32 PM        V.13.30
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                                                  Cash Receipts And Disbursements Record
Case Number:        04-12771 (MKV)                                                           Trustee:            JOHN S. PEREIRA (521200)
Case Name:          CASHPOINT NETWORK SERVICES INC.                                          Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                             Account:            ***-*****47-66 - Checking Account
Taxpayer ID #: **-***7072                                                                    Blanket Bond:       N/A
Period Ending: 12/07/17                                                                      Separate Bond: $1,415,080.00

   1            2                        3                                    4                                              5                   6                   7

 Trans.     {Ref #} /                                                                                                    Receipts         Disbursements    Checking
  Date      Check #         Paid To / Received From             Description of Transaction              T-Code              $                   $       Account Balance
                         INC.                           10/20/06 \ MONTHLY INTERNET SERVICE -
                                                        NOVEMBER 2006
11/08/06                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                   9999-000              5,918.40                               18,641.06
                                                        ACCOUNT
11/08/06      318        G.E.M. AUCTION CORP.           R-1497 \ MONTHLY STORAGE FEE                    2410-000                                     3,366.90        15,274.16
11/08/06      319        G.E.M. AUCTION CORP.           R-1511 (YONKERS) \ MONTHLY STORAGE              2410-000                                     2,551.50        12,722.66
                                                        FEE
12/11/06                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                   9999-000              5,918.40                               18,641.06
                                                        ACCOUNT
12/11/06                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                   9999-000                 150.00                              18,791.06
                                                        ACCOUNT
12/11/06      320        G.E.M. AUCTION CORP.           INVOICE #: 399 \ INVOICE DATED: 12/1/2006 2410-000                                           3,366.90        15,424.16
                                                        \ R-1497 \ STORAGE FOR THE PERIOD OF
                                                        12/1/06 - 1/1/07
12/11/06      321        G.E.M. AUCTION CORP.           INVOICE #: 404 \ INVOICE DATED: 12/1/2006 2410-000                                           2,551.50        12,872.66
                                                        \ R-1511 (YONKERS) \ STORAGE FOR THE
                                                        PERIOD OF 12/1/06 - 1/1/07
12/11/06      322        IDEAL INTERNET SOLUTIONS,      INVOICE #: 44405 \ INVOICE DATED:               2990-000                                      150.00         12,722.66
                         INC.                           11/20/2006 \ MONTHLY INTERNET SERVICE
                                                        - DECEMBER 2006
12/13/06                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                   9999-000            750,786.39                           763,509.05
                                                        ACCOUNT
12/13/06      323        JOHN S. PEREIRA, TRUSTEE       TRUSTEE INTERIM COMPENSATION, PER               2100-000                               135,000.00        628,509.05
                                                        ORDER DATED 12/13/06
12/13/06      324        JOHN S. PEREIRA, TRUSTEE       TRUSTEE INTERIM EXPENSES, PER                   2200-000                                     2,937.30    625,571.75
                                                        ORDER DATED 12/13/06
12/13/06      325        JASPAN SCHLESINGER             ATTORNEY FOR THE TRUSTEE INTERIM                3210-000                               568,450.67            57,121.08
                         HOFFMAN LLP                    FEES, PER ORDER DATED 12/13/06
12/13/06      326        JASPAN SCHLESINGER             ATTORNEY FOR THE TRUSTEE INTERIM                3220-000                                 11,178.59           45,942.49
                         HOFFMAN LLP                    EXPENSES, PER ORDER DATED 12/13/06
12/13/06      327        ARNALL GOLDEN GREGORY LLP      SPECIAL COUNSEL TO THE TRUSTEE                  3210-600                                 21,055.50           24,886.99
                                                        FINAL FEES, PER ORDER DATED 12/13/06
12/13/06      328        ARNALL GOLDEN GREGORY LLP      SPECIAL COUNSEL TO THE TRUSTEE                  3220-610                                      343.33         24,543.66
                                                        FINAL EXPENSES, PER ORDER DATED
                                                        12/13/06
12/13/06      329        DOVE & CHILL                   SPECIAL COUNSEL TO THE TRUSTEE                  3210-600                                 11,560.00           12,983.66
                                                        FINAL FEES, PER ORDER DATED 12/13/06
12/13/06      330        DOVE & CHILL                   SPECIAL COUNSEL TO THE TRUSTEE                  3220-610                                      261.00         12,722.66
                                                        FINAL EXPENSES, PER ORDER DATED

                                                                                             Subtotals :                  $762,773.19         $762,773.19
{} Asset reference(s)                                                                                                                 Printed: 12/07/2017 12:32 PM        V.13.30
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                                                  Cash Receipts And Disbursements Record
Case Number:        04-12771 (MKV)                                                            Trustee:            JOHN S. PEREIRA (521200)
Case Name:          CASHPOINT NETWORK SERVICES INC.                                           Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                              Account:            ***-*****47-66 - Checking Account
Taxpayer ID #: **-***7072                                                                     Blanket Bond:       N/A
Period Ending: 12/07/17                                                                       Separate Bond: $1,415,080.00

   1            2                        3                                   4                                                5                   6                   7

 Trans.     {Ref #} /                                                                                                     Receipts         Disbursements    Checking
  Date      Check #         Paid To / Received From            Description of Transaction                T-Code              $                   $       Account Balance
                                                        12/13/06
12/15/06                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                    9999-000              9,937.50                               22,660.16
                                                        ACCOUNT
12/15/06      331        SOLUTIONS LLC                  COMPUTER CONSULTANT TO THE                       3991-000                                     9,937.50        12,722.66
                                                        TRUSTEE INTERIM FEES, PER ORDER
                                                        DATED 12/13/06
01/03/07                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                    9999-000                 150.00                              12,872.66
                                                        ACCOUNT
01/03/07      332        IDEAL INTERNET SOLUTIONS,      INVOICE #: 44428 / INVOICE DATED:                2990-000                                      150.00         12,722.66
                         INC.                           12/20/06 / MONTHLY INTERNET SERVICE -
                                                        JANUARY 2007
01/10/07                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                    9999-000            260,114.56                           272,837.22
                                                        ACCOUNT
01/10/07      333        KEVIN M. COFFEY, LLC           ACCOUNTANT FOR TRUSTEE FEES, PER                 3410-000                               256,977.50            15,859.72
                                                        ORDER GRANTING INTERIM
                                                        COMPENSATION DATED 12/13/06
01/10/07      334        KEVIN M. COFFEY, LLC           ACCOUNTANT FOR TRUSTEE EXPENSES,                 3420-000                                     3,137.06        12,722.66
                                                        PER ORDER GRANTING REIMBURSEMENT
                                                        OF EXPENSES DATED 12/13/06
02/22/07                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                    9999-000             11,986.80                               24,709.46
                                                        ACCOUNT
02/22/07      335        IDEAL INTERNET SOLUTIONS,      INVOICE #: 44449 / INVOICE DATED:                2990-000                                      150.00         24,559.46
                         INC.                           1/20/2007 / MONTHLY INTERNET SERVICE
                                                        CHARGE - FEBRUARY 2007
02/22/07      336        G.E.M. AUCTION CORP.           R-1497 / INVOICE #: 486 & 437 / STORAGE          2410-000                                     6,733.80        17,825.66
                                                        FOR THE PERIOD: 1/1/2007 - 3/1/2007
02/22/07      337        G.E.M. AUCTION CORP.           R-1511 (YONKERS) / INVOICE #: 494 & 443 /        2410-000                                     5,103.00        12,722.66
                                                        STORAGE FOR THE PERIOD: 1/1/2007 -
                                                        3/1/2007
04/30/07                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                    9999-000             12,136.80                               24,859.46
                                                        ACCOUNT
04/30/07      338        IDEAL INTERNET SOLUTIONS,      INVOICE #44477 & 44500 / MONTHLY                 2990-000                                      300.00         24,559.46
                         INC.                           INTERNET SERVICE CHARGE - MARCH
                                                        2007 & APRIL 2007
04/30/07      339        G.E.M. AUCTION CORP.           INVOICE #582 / R-1511 (YONKERS) /                2410-000                                     5,103.00        19,456.46
                                                        STORAGE FOR THE PERIOD 3/1/07 - 5/1/07
04/30/07      340        G.E.M. AUCTION CORP.           INVOICE #: 577 / R-1497 / STORAGE FOR            2410-000                                     6,733.80        12,722.66
                                                        THE PERIOD 3/1/07 - 5/1/07
05/24/07                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                    9999-000              6,218.40                               18,941.06

                                                                                              Subtotals :                  $300,544.06         $294,325.66
{} Asset reference(s)                                                                                                                  Printed: 12/07/2017 12:32 PM        V.13.30
                 04-12771-mkv                 Doc 733      Filed 12/19/17 Entered 12/19/17 17:57:32                                          Main Document
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                                                  Cash Receipts And Disbursements Record
Case Number:        04-12771 (MKV)                                                            Trustee:            JOHN S. PEREIRA (521200)
Case Name:          CASHPOINT NETWORK SERVICES INC.                                           Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                              Account:            ***-*****47-66 - Checking Account
Taxpayer ID #: **-***7072                                                                     Blanket Bond:       N/A
Period Ending: 12/07/17                                                                       Separate Bond: $1,415,080.00

   1            2                        3                                   4                                                5                   6                   7

 Trans.     {Ref #} /                                                                                                     Receipts         Disbursements    Checking
  Date      Check #         Paid To / Received From            Description of Transaction                T-Code              $                   $       Account Balance
                                                        ACCOUNT
05/24/07      341        G.E.M. AUCTION CORP.           INVOICE #: 619 / R-1497 / STORAGE FOR            2410-000                                     3,366.90        15,574.16
                                                        THE PERIOD 5/1/07 - 6/1/07
05/24/07      342        G.E.M. AUCTION CORP.           INVOICE #: 624 / R-1511 (YONKERS) /              2410-000                                     2,551.50        13,022.66
                                                        STORAGE FOR THE PERIOD 5/1/07 - 6/1/07
05/24/07      343        IDEAL INTERNET SOLUTIONS,      INVOICE #: 44524 & 44549 / MONTHLY               2990-000                                      300.00         12,722.66
                         INC.                           INTERNET SERVICE CHARGE - MAY 2007 &
                                                        JUNE 2007
06/21/07                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                    9999-000              5,918.40                               18,641.06
                                                        ACCOUNT
06/21/07      344        G.E.M. AUCTION CORP.           INVOICE #: 671 / R-1511 (YONKERS) /              2410-000                                     2,551.50        16,089.56
                                                        STORAGE FOR THE PERIOD 6/1/07 - 7/1/07
06/21/07      345        G.E.M. AUCTION CORP.           INVOICE #: 666 / R-1497 / STORAGE FOR            2410-000                                     3,366.90        12,722.66
                                                        THE PERIOD 6/1/07 - 7/1/07
07/16/07                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                    9999-000            127,323.40                           140,046.06
                                                        ACCOUNT
07/16/07      346        ARTHUR B. LEVINE COMPANY       BOND NUMBER: 10BSBDU3912 /                       2300-000                               121,405.00            18,641.06
                                                        EFFECTIVE DATE: 7/10/2007 - 7/09/2008 /
                                                        COMPANY: THE HARTFORD FIRE
                                                        INSURANCE COMPANY
07/16/07      347        G.E.M. AUCTION CORP.           INVOICE #: 708 / R-1511 (YONKERS) /              2410-000                                     2,551.50        16,089.56
                                                        STORAGE FOR THE PERIOD 7/1/07 - 8/1/07
07/16/07      348        G.E.M. AUCTION CORP.           INVOICE #: 702 / R-1497 / STORAGE FOR            2410-000                                     3,366.90        12,722.66
                                                        THE PERIOD 7/1/07 - 8/1/07
08/23/07                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                    9999-000              6,068.40                               18,791.06
                                                        ACCOUNT
08/23/07      349        IDEAL INTERNET SOLUTIONS,      INVOICE #: 44575 / MONTHLY INTERNET              2990-000                                      150.00         18,641.06
                         INC.                           SERVICE CHARGE - JULY 2007
08/23/07      350        G.E.M. AUCTION CORP.           INVOICE #: 756 / R-1511 (YONKERS) /              2410-000                                     2,551.50        16,089.56
                                                        STORAGE FOR THE PERIOD 8/1/07 - 9/1/07
08/23/07      351        G.E.M. AUCTION CORP.           INVOICE #: 748 / R-1497 / STORAGE FOR            2410-000                                     3,366.90        12,722.66
                                                        THE PERIOD 8/1/07 - 9/1/07
08/27/07                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                    9999-000                 300.00                              13,022.66
                                                        ACCOUNT
08/27/07      352        IDEAL INTERNET SOLUTIONS,      INVOICE #: 44622 / MONTHLY INTERNET              2990-000                                      300.00         12,722.66
                         INC.                           CHARGE - AUGUST 2007 and SEPTEMBER
                                                        2007
                                                        Voided on 08/28/07
08/28/07      352        IDEAL INTERNET SOLUTIONS,      INVOICE #: 44622 / MONTHLY INTERNET              2990-000                                      -300.00        13,022.66

                                                                                              Subtotals :                  $139,610.20         $145,528.60
{} Asset reference(s)                                                                                                                  Printed: 12/07/2017 12:32 PM        V.13.30
                 04-12771-mkv                 Doc 733      Filed 12/19/17 Entered 12/19/17 17:57:32                                           Main Document
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                                                  Cash Receipts And Disbursements Record
Case Number:        04-12771 (MKV)                                                             Trustee:            JOHN S. PEREIRA (521200)
Case Name:          CASHPOINT NETWORK SERVICES INC.                                            Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                               Account:            ***-*****47-66 - Checking Account
Taxpayer ID #: **-***7072                                                                      Blanket Bond:       N/A
Period Ending: 12/07/17                                                                        Separate Bond: $1,415,080.00

   1            2                        3                                      4                                              5                   6                   7

 Trans.     {Ref #} /                                                                                                      Receipts        Disbursements    Checking
  Date      Check #         Paid To / Received From               Description of Transaction              T-Code              $                  $       Account Balance
                         INC.                           CHARGE - AUGUST 2007 and SEPTEMBER
                                                        2007
                                                        Voided: check issued on 08/27/07
08/28/07      353        IDEAL INTERNET SOLUTIONS,      INVOICE #: 44622 / MONTHLY INTERNET               2990-000                                      150.00         12,872.66
                         INC.                           CHARGE - AUGUST 2007
10/16/07                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                     9999-000             12,843.80                               25,716.46
                                                        ACCOUNT
10/16/07      354        G.E.M. AUCTION CORP.           INVOICE #: 863 / R-1497 / STORAGE FOR             2410-000                                     7,740.80        17,975.66
                                                        THE PERIOD 9/1/07 - 11/1/07; LABOR AND
                                                        EXPENSES FOR PICKED UP INVENTORY
                                                        AT LIC STORAGE
10/16/07      355        G.E.M. AUCTION CORP.           INVOICE #: 868 / R-1511 (YONKERS) /               2410-000                                     5,103.00        12,872.66
                                                        STORAGE FOR THE PERIOD 9/1/07 -
                                                        11/1/07
11/01/07                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                     9999-000          8,550,000.00                          8,562,872.66
                                                        ACCOUNT
11/01/07      356        ENTERGY SERVICES, INC.         PER STIPULATION AND ORDER -                       4220-000                             8,550,000.00            12,872.66
                                                        PAYMENTS ON THE ALLOWED
                                                        PRE-PETITION SECURED CLAIM, DATED
                                                        10/31/07
11/27/07                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                     9999-000              6,350.40                               19,223.06
                                                        ACCOUNT
11/27/07      357        G.E.M. AUCTION CORP.           INVOICE #: 911 / R-1511 (YONKERS) /               2410-000                                     2,551.50        16,671.56
                                                        STORAGE FOR THE PERIOD 11/1/07 -
                                                        12/1/07
11/27/07      358        G.E.M. AUCTION CORP.           INVOICE #: 905 / R-1497 / STORAGE FOR             2410-000                                     3,798.90        12,872.66
                                                        THE PERIOD 11/1/07 - 12/1/07 and EXTRA
                                                        STORAGE FOR INVENTORY (4 SKIDS)
12/17/07                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                     9999-000            446,498.69                           459,371.35
                                                        ACCOUNT
12/17/07      359        JASPAN SCHLESINGER             ATTORNEY FOR TRUSTEE FEES, PER                    3210-000                               442,940.70            16,430.65
                         HOFFMAN LLP                    ORDER GRANTING APPLICATION FOR
                                                        ALLOWANCE OF FINAL COMPENSATION
                                                        DATED 12/12/07
12/17/07      360        JASPAN SCHLESINGER             ATTORNEY FOR TRUSTEE EXPENSES,                    3220-000                                     3,557.99        12,872.66
                         HOFFMAN LLP                    PER ORDER GRANTING APPLICATION FOR
                                                        ALLOWANCE OF REIMBURSEMENT OF
                                                        EXPENSES DATED 12/12/07
12/28/07                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                     9999-000            408,173.43                           421,046.09


                                                                                               Subtotals :                $9,423,866.32       $9,015,842.89
{} Asset reference(s)                                                                                                                   Printed: 12/07/2017 12:32 PM        V.13.30
                 04-12771-mkv                 Doc 733      Filed 12/19/17 Entered 12/19/17 17:57:32                                        Main Document
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                                                  Cash Receipts And Disbursements Record
Case Number:        04-12771 (MKV)                                                          Trustee:            JOHN S. PEREIRA (521200)
Case Name:          CASHPOINT NETWORK SERVICES INC.                                         Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                            Account:            ***-*****47-66 - Checking Account
Taxpayer ID #: **-***7072                                                                   Blanket Bond:       N/A
Period Ending: 12/07/17                                                                     Separate Bond: $1,415,080.00

   1            2                        3                                   4                                              5                   6                   7

 Trans.     {Ref #} /                                                                                                   Receipts        Disbursements    Checking
  Date      Check #         Paid To / Received From            Description of Transaction              T-Code              $                  $       Account Balance
                                                        ACCOUNT
01/02/08      361        JONES & SCHWARTZ, P.C.         ATTORNEY FOR TRUSTEE FEES, PER                 3210-000                                 62,889.80       358,156.29
                                                        ORDER GRANTING APPLICATIONS FOR
                                                        ALLOWANCE OF INTERIM COMPENSATION
                                                        DATED DECEMBER 12, 2007
01/02/08      362        JONES & SCHWARTZ, P.C.         ATTORNEY FOR TRUSTEE EXPENSES,                 3220-000                                     1,254.89    356,901.40
                                                        PER ORDER GRANTING APPLICATIONS
                                                        FOR ALLOWANCE OF REIMBURSEMENT
                                                        OF EXPENSES DATED DECEMBER 12, 2007
01/02/08      363        JOHN S. PEREIRA                TRUSTEE COMPENSATION, PER ORDER                2100-000                               270,000.00            86,901.40
                                                        GRANTING APPLICATION FOR
                                                        ALLOWANCE OF INTERIM COMPENSATION
                                                        DATED DECEMBER 12, 2007
01/02/08      364        JOHN S. PEREIRA                TRUSTEE EXPENSES, PER ORDER                    2200-000                                     2,282.06        84,619.34
                                                        GRANTING APPLICATION FOR
                                                        ALLOWANCE OF REIMBURSEMENT OF
                                                        EXPENSES DATED DECEMBER 12, 2007
01/07/08      365        KEVIN M. COFFEY, LLC           ACCOUNTANT FOR TRUSTEE FEES, PER               3410-000                                 71,720.00           12,899.34
                                                        ORDER GRANTING APPLICATIONS FOR
                                                        ALLOWANCE OF INTERIM COMPENSATION
                                                        DATED DECEMBER 12, 2007
01/07/08      366        KEVIN M. COFFEY, LLC           ACCOUNTANT FOR TRUSTEE EXPENSES,               3420-000                                       28.68         12,870.66
                                                        PER ORDER GRANTING APPLICATIONS
                                                        FOR ALLOWANCE OF INTERIM
                                                        REIMBURSEMENT OF EXPENSES DATED
                                                        DECEMBER 12, 2007
01/11/08                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                  9999-000             12,700.80                               25,571.46
                                                        ACCOUNT
01/11/08      367        G.E.M. AUCTION CORP.           INVOICE #: 992 / R-1497 / STORAGE FOR          2410-000                                     7,597.80        17,973.66
                                                        THE PERIOD 12/1/2007 - 2/1/2008
01/11/08      368        G.E.M. AUCTION CORP.           INVOICE #: 999 / R-1511 / STORAGE FOR          2410-000                                     5,103.00        12,870.66
                                                        THE PERIOD 12/1/2007 - 2/1/2008
03/27/08                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                  9999-000             13,639.00                               26,509.66
                                                        ACCOUNT
03/27/08      369        G.E.M. AUCTION CORP.           INVOICE #: 1093 / R-1497 / STORAGE FOR         2410-000                                     7,597.80        18,911.86
                                                        THE PERIOD 2/1/08 - 4/1/08
03/27/08      370        G.E.M. AUCTION CORP.           INVOICE #: 1098 / R-1511 (YONKERS) /           2410-000                                     5,681.20        13,230.66
                                                        STORAGE FOR THE PERIOD 2/1/08 - 4/1/08
05/07/08                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                  9999-000            150,000.00                           163,230.66


                                                                                            Subtotals :                  $176,339.80         $434,155.23
{} Asset reference(s)                                                                                                                Printed: 12/07/2017 12:32 PM        V.13.30
                 04-12771-mkv                 Doc 733      Filed 12/19/17 Entered 12/19/17 17:57:32                                          Main Document
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                                                  Cash Receipts And Disbursements Record
Case Number:        04-12771 (MKV)                                                            Trustee:            JOHN S. PEREIRA (521200)
Case Name:          CASHPOINT NETWORK SERVICES INC.                                           Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                              Account:            ***-*****47-66 - Checking Account
Taxpayer ID #: **-***7072                                                                     Blanket Bond:       N/A
Period Ending: 12/07/17                                                                       Separate Bond: $1,415,080.00

   1            2                        3                                      4                                             5                   6                   7

 Trans.     {Ref #} /                                                                                                     Receipts        Disbursements    Checking
  Date      Check #         Paid To / Received From            Description of Transaction                T-Code              $                  $       Account Balance
                                                        ACCOUNT
05/07/08                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                    9999-000        14,850,000.00                           15,013,230.66
                                                        ACCOUNT
05/07/08                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                    9999-000            221,832.51                          15,235,063.17
                                                        ACCOUNT
05/07/08      371        JASPAN SCHLESINGER             PER ORDER AUTHORIZING INTERIM                    3210-000                               221,832.51       15,013,230.66
                         HOFFMAN, LLP                   COMPENSATION
                                                        Voided on 05/07/08
05/07/08      371        JASPAN SCHLESINGER             PER ORDER AUTHORIZING INTERIM                    3210-000                               -221,832.51      15,235,063.17
                         HOFFMAN, LLP                   COMPENSATION
                                                        Voided: check issued on 05/07/08
05/07/08      372        JOHN S. PEREIRA                PER ORDER AUTHORIZING INTERIM                    2200-000                                     1,365.42   15,233,697.75
                                                        COMPENSATION AND REIMBURSEMENT
                                                        OF EXPENSES
05/07/08      373        JOHN S. PEREIRA                PER ORDER AUTHORIZING INTERIM                    2100-000                               256,733.82       14,976,963.93
                                                        COMPENSATION AND REIMBURSEMENT
                                                        OF EXPENSES
05/07/08      374        JONES & SCHWARTZ, P.C.         PER ORDER AUTHORIZING INTERIM                    3220-000                                      970.90    14,975,993.03
                                                        COMPENSATION AND REIMBURSEMENT
                                                        OF EXPENSES
05/07/08      375        JONES & SCHWARTZ, P.C.         PER ORDER AUTHORIZING INTERIM                    3210-000                                 66,723.00      14,909,270.03
                                                        COMPENSATION AND REIMBURSEMENT
                                                        OF EXPENSES
05/07/08      376        KEVIN M. COFFEY, LLC           PER ORDER AUTHORIZING INTERIM                    3410-000                                 33,325.00      14,875,945.03
                                                        COMPENSATION
05/07/08      377        NEW YORK STATE BANKING         PER ORDER AUTHORIZING AN INTERIM                 2990-000                                     9,315.90   14,866,629.13
                         DEPARTMENT                     DISTRIBUTION, DATED MAY 7, 2008 / REF:
                                                        XX-XXXXXXX
05/07/08      378        NEW YORK STATE DEPARTMENT PER ORDER AUTHORIZING AN INTERIM                      2820-000                                      209.23    14,866,419.90
                         OF TAXATION AND FINANCE        DISTRIBUTION, DATED MAY 7, 2008 / REF:
                                                        XX-XXXXXXX
05/07/08      379        ASM CAPITAL, TFREE OF COX      PER ORDER AUTHORIZING AN INTERIM                 2990-000                                 10,000.00      14,856,419.90
                         COMMUNICATIONS LOUISIANA       DISTRIBUTION, DATED MAY 7, 2008
05/07/08      380        INTERNAL REVENUE SERVICE       Dividend paid 100.00% on $1,681.48; Filed:       5300-000                                     1,681.48   14,854,738.42
                                                        $0.00 for Federal W/H
05/07/08      381        INTERNAL REVENUE SERVICE       Dividend paid 100.00% on $417.01; Filed:         5300-000                                      417.01    14,854,321.41
                                                        $0.00 for FICA
05/07/08      382        INTERNAL REVENUE SERVICE       Dividend paid 100.00% on $97.52; Filed: $0.00 5300-000                                          97.52    14,854,223.89
                                                        for Medicare

                                                                                               Subtotals :              $15,071,832.51         $380,839.28
{} Asset reference(s)                                                                                                                  Printed: 12/07/2017 12:32 PM        V.13.30
                 04-12771-mkv               Doc 733       Filed 12/19/17 Entered 12/19/17 17:57:32                                         Main Document
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                                               Cash Receipts And Disbursements Record
Case Number:        04-12771 (MKV)                                                          Trustee:            JOHN S. PEREIRA (521200)
Case Name:          CASHPOINT NETWORK SERVICES INC.                                         Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                            Account:            ***-*****47-66 - Checking Account
Taxpayer ID #: **-***7072                                                                   Blanket Bond:       N/A
Period Ending: 12/07/17                                                                     Separate Bond: $1,415,080.00

   1            2                       3                                        4                                          5                   6                   7

 Trans.     {Ref #} /                                                                                                   Receipts        Disbursements    Checking
  Date      Check #        Paid To / Received From             Description of Transaction              T-Code              $                  $       Account Balance
05/07/08      383        NYS INCOME TAX               Dividend paid 100.00% on $132.37; Filed:         5300-000                                      132.37    14,854,091.52
                                                      $0.00 for State W/H
05/07/08      384        NYS INCOME TAX               Dividend paid 100.00% on $72.04; Filed: $0.00 5300-000                                          72.04    14,854,019.48
                                                      for City W/H
05/07/08      385        ILLINOIS DEPARTMENT OF       Dividend paid 100.00% on $147.75; Filed:         5300-000                                      147.75    14,853,871.73
                         REVENUE                      $0.00 for Illinois State
05/07/08      386        ALEKSANDAR STANOJEVIC        Dividend paid 100.00% on $3,169.24; Claim#       5300-000                                     3,169.24   14,850,702.49
                                                      128P; Filed: $4,925.00; Reference:
05/07/08      387        HARVEY STARK                 Dividend paid 100.00% on $1,008.49; Claim#       5300-000                                     1,008.49   14,849,694.00
                                                      149; Filed: $1,800.90; Reference:
05/07/08      388        INTERNAL REVENUE SERVICE     Dividend paid 100.00% on $417.01; Filed:         5800-000                                      417.01    14,849,276.99
                                                      $0.00 for FICA; XX-XXXXXXX
05/07/08      389        INTERNAL REVENUE SERVICE     Dividend paid 100.00% on $97.52; Filed: $0.00 5800-000                                          97.52    14,849,179.47
                                                      for Medicare; XX-XXXXXXX
05/07/08      390        STATE OF NEW YORK            Dividend paid 100.00% on $482.52; Claim#         5800-000                                      482.52    14,848,696.95
                         DEPARTMENT OF LABOR          21; Filed: $482.52; Reference: XX-XXXXXXX
05/07/08      391        PENNSYLVANIA DEPARTMENT      Dividend paid 100.00% on $24,352.00; Claim#      5800-000                                 24,352.00      14,824,344.95
                         OF REVENUE                   152; Filed: $24,352.00; Reference:
                                                      XX-XXXXXXX
05/07/08      392        KATHERINE RAUSA              Dividend paid 100.00% on $250.00; Claim#         5800-000                                      250.00    14,824,094.95
                                                      161; Filed: $250.00; Reference:
05/07/08      393        JOHN MACEDO                  Dividend paid 21.00% on $49.32; Claim# 1;        7100-000                                       10.37    14,824,084.58
                                                      Filed: $49.32; Reference:
05/07/08      394        JASON DESOUTO                Dividend paid 21.00% on $501.14; Claim# 2;       7100-000                                      105.29    14,823,979.29
                                                      Filed: $501.14; Reference:
05/07/08      395        JANICE DESOUTO               Dividend paid 21.00% on $337.26; Claim# 3;       7100-000                                       70.85    14,823,908.44
                                                      Filed: $337.26; Reference:
05/07/08      396        GILBERTA NOVERSA             Dividend paid 21.00% on $41.35; Claim# 4;        7100-000                                         8.69   14,823,899.75
                                                      Filed: $41.35; Reference:
05/07/08      397        MRS. MARIA TORRES            Dividend paid 21.00% on $68.39; Claim# 5;        7100-000                                       14.37    14,823,885.38
                                                      Filed: $68.39; Reference:
05/07/08      398        MR. MANUEL TORRES            Dividend paid 21.00% on $32.37; Claim# 6;        7100-000                                         6.80   14,823,878.58
                                                      Filed: $32.37; Reference:
05/07/08      399        ALEXANDER C. PIERCE          Dividend paid 21.00% on $150.00; Claim# 7;       7100-000                                       31.51    14,823,847.07
                                                      Filed: $150.00; Reference:
05/07/08      400        TRACEY REBELB                Dividend paid 21.00% on $170.00; Claim# 8;       7100-001                                       35.71    14,823,811.36
                                                      Filed: $170.00; Reference:
                                                      Stopped on 08/06/08
05/07/08      401        LENA RAMSEY                  Dividend paid 21.00% on $56.72; Claim# 9;        7100-000                                       11.92    14,823,799.44

                                                                                             Subtotals :                        $0.00         $30,424.45
{} Asset reference(s)                                                                                                                Printed: 12/07/2017 12:32 PM        V.13.30
                 04-12771-mkv                Doc 733      Filed 12/19/17 Entered 12/19/17 17:57:32                                           Main Document
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                                               Cash Receipts And Disbursements Record
Case Number:        04-12771 (MKV)                                                            Trustee:            JOHN S. PEREIRA (521200)
Case Name:          CASHPOINT NETWORK SERVICES INC.                                           Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                              Account:            ***-*****47-66 - Checking Account
Taxpayer ID #: **-***7072                                                                     Blanket Bond:       N/A
Period Ending: 12/07/17                                                                       Separate Bond: $1,415,080.00

   1            2                        3                                    4                                               5                   6                   7

 Trans.     {Ref #} /                                                                                                     Receipts        Disbursements    Checking
  Date      Check #        Paid To / Received From            Description of Transaction                 T-Code              $                  $       Account Balance
                                                       Filed: $56.72; Reference:
05/07/08      402        STEVEN DAVIS                  Dividend paid 21.00% on $125.82; Claim# 11;       7100-001                                       26.43    14,823,773.01
                                                       Filed: $125.82; Reference:
                                                       Stopped on 08/06/08
05/07/08      403        YVONNE COVAN                  Dividend paid 21.00% on $82.00; Claim# 12;        7100-001                                       17.23    14,823,755.78
                                                       Filed: $82.00; Reference:
                                                       Stopped on 05/27/08
05/07/08      404        PATRICIA STEPHENS             Dividend paid 21.00% on $69.00; Claim# 13;        7100-000                                       14.50    14,823,741.28
                                                       Filed: $69.00; Reference:
05/07/08      405        STEVEN FISHER                 Dividend paid 21.00% on $120.00; Claim# 14;       7100-000                                       25.21    14,823,716.07
                                                       Filed: $120.00; Reference:
05/07/08      406        NORBERT MONIZ                 Dividend paid 21.00% on $79.51; Claim# 15;        7100-000                                       16.70    14,823,699.37
                                                       Filed: $79.51; Reference:
05/07/08      407        LIQUIDITY SOLUTIONS, INC.,    Dividend paid 21.00% on $3,140.80; Claim#         7100-000                                      659.80    14,823,039.57
                         TRANSFEREE                    16; Filed: $3,140.80; Reference:
05/07/08      408        CHERYL DIAS                   Dividend paid 21.00% on $50.00; Claim# 17;        7100-001                                       10.50    14,823,029.07
                                                       Filed: $50.00; Reference:
                                                       Stopped on 08/06/08
05/07/08      409        NATIONAL FUEL                 Dividend paid 21.00% on $162.23; Claim# 18;       7100-000                                       34.08    14,822,994.99
                                                       Filed: $162.23; Reference:
05/07/08      410        WILLIAM J. KUNEMAN            Dividend paid 21.00% on $200.23; Claim# 19;       7100-000                                       42.06    14,822,952.93
                                                       Filed: $200.23; Reference:
05/07/08      411        MORGAN, LEWIS & BOCKIUS LLP   Dividend paid 21.00% on $97,592.70; Claim#        7100-000                                 20,501.57      14,802,451.36
                                                       20; Filed: $97,592.70; Reference:
05/07/08      412        ASM CAPITAL, L.P. TFREE OF    Dividend paid 21.00% on $20,083.44; Claim#        7100-000                                     4,218.98   14,798,232.38
                         CLB CHECK CASHING, INC.       22; Filed: $20,083.44; Reference:
05/07/08      413        PETER A. BORGOS               Dividend paid 21.00% on $107.31; Claim# 23;       7100-000                                       22.54    14,798,209.84
                                                       Filed: $107.31; Reference:
05/07/08      414        IBM CREDIT, LLC.              Dividend paid 21.00% on $598,492.00;              7100-000                               125,726.88       14,672,482.96
                                                       Claim# 24; Filed: $598,492.00; Reference:
05/07/08      415        MABLE HENDERSON               Dividend paid 21.00% on $162.23; Claim# 25;       7100-000                                       34.08    14,672,448.88
                                                       Filed: $162.23; Reference:
05/07/08      416        SAM MARCOS CHECK CASHING      Dividend paid 21.00% on $25.73; Claim# 26;        7100-000                                         5.41   14,672,443.47
                                                       Filed: $25.73; Reference:
05/07/08      417        SAM MARCOS CHECK CASHING      Dividend paid 21.00% on $1,357.21; Claim#         7100-000                                      285.11    14,672,158.36
                                                       27; Filed: $1,357.21; Reference:
05/07/08      418        ASM CAPITAL, L.P., TFREE OF   Dividend paid 21.00% on $5,379.76; Claim#         7100-000                                     1,130.14   14,671,028.22
                         SAM MARCOS CHECK CASHING      28; Filed: $5,379.76; Reference:
05/07/08      419        ANN & HOPE, INC.              Dividend paid 21.00% on $852.75; Claim# 29;       7100-000                                      179.14    14,670,849.08

                                                                                              Subtotals :                         $0.00        $152,950.36
{} Asset reference(s)                                                                                                                  Printed: 12/07/2017 12:32 PM        V.13.30
                 04-12771-mkv                 Doc 733      Filed 12/19/17 Entered 12/19/17 17:57:32                                         Main Document
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                                               Cash Receipts And Disbursements Record
Case Number:        04-12771 (MKV)                                                           Trustee:            JOHN S. PEREIRA (521200)
Case Name:          CASHPOINT NETWORK SERVICES INC.                                          Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                             Account:            ***-*****47-66 - Checking Account
Taxpayer ID #: **-***7072                                                                    Blanket Bond:       N/A
Period Ending: 12/07/17                                                                      Separate Bond: $1,415,080.00

   1            2                         3                                    4                                             5                   6                   7

 Trans.     {Ref #} /                                                                                                    Receipts        Disbursements    Checking
  Date      Check #        Paid To / Received From             Description of Transaction               T-Code              $                  $       Account Balance
                                                        Filed: $852.75; Reference:
05/07/08      420        AMERICAN SOLUTIONS FOR         Dividend paid 21.00% on $16,027.33; Claim#      7100-000                                     3,366.91   14,667,482.17
                         BUSINESS                       30; Filed: $16,027.33; Reference:
05/07/08      421        MICKEY GROCERY INC.            Dividend paid 21.00% on $328.11; Claim# 31;     7100-000                                       68.93    14,667,413.24
                                                        Filed: $328.11; Reference:
05/07/08      422        COTTONLAND FINANCIAL           Dividend paid 21.00% on $333.25; Claim# 32;     7100-000                                       70.01    14,667,343.23
                         SERVICES, INC.                 Filed: $333.25; Reference:
05/07/08      423        SPCP GROUP, LLP ASSNR OF       Dividend paid 21.00% on $265.00; Claim# 33;     7100-000                                       55.67    14,667,287.56
                         RED & WHITE EXPRESSMART        Filed: $265.00; Reference:
05/07/08      424        DISCOVERY DEPOT                Dividend paid 21.00% on $840.00; Claim# 34;     7100-001                                      176.46    14,667,111.10
                                                        Filed: $840.00; Reference:
                                                        Stopped on 05/27/08
05/07/08      425        DISCOVER FINANCIAL             Dividend paid 21.00% on $2,435.62; Claim#       7100-000                                      511.66    14,666,599.44
                         SERVICES, INC.                 35; Filed: $2,435.62; Reference:
05/07/08      426        GARDERE VILLAGE                Dividend paid 21.00% on $850.00; Claim# 36;     7100-000                                      178.56    14,666,420.88
                         SUPERMARKET                    Filed: $850.00; Reference:
05/07/08      427        CLEM'S CREATIONS               Dividend paid 21.00% on $846.65; Claim# 37;     7100-000                                      177.86    14,666,243.02
                                                        Filed: $846.65; Reference:
05/07/08      428        ISAIAH CHECK CASHING, INC.     Dividend paid 21.00% on $285.00; Claim# 38;     7100-000                                       59.87    14,666,183.15
                                                        Filed: $285.00; Reference:
05/07/08      429        SAWEJKO COMMUNICATIONS         Dividend paid 21.00% on $1,628.75; Claim#       7100-000                                      342.16    14,665,840.99
                                                        39; Filed: $1,628.75; Reference:
05/07/08      430        THOMAS J. HANSON               Dividend paid 21.00% on $6,285.17; Claim#       7100-000                                     1,320.34   14,664,520.65
                                                        40; Filed: $6,285.17; Reference:
05/07/08      431        NIAGARA MOHAWK POWER           Dividend paid 21.00% on $37,142.08; Claim#      7100-000                                     7,802.54   14,656,718.11
                         CORP., A NATIONAL GRID INC.    41; Filed: $37,142.08; Reference:
05/07/08      432        NIAGARA MOHAWK POWER           Dividend paid 21.00% on $4,728.84; Claim#       7100-000                                      993.40    14,655,724.71
                         CORP., A NATIONAL GRID INC.    42; Filed: $4,728.84; Reference:
05/07/08      433        NIAGARA MOHAWK POWER           Dividend paid 21.00% on $41.55; Claim# 43;      7100-000                                         8.73   14,655,715.98
                         CORP., A NATIONAL GRID INC.    Filed: $41.55; Reference:
05/07/08      434        NIAGARA MOHAWK POWER           Dividend paid 21.00% on $22,490.66; Claim#      7100-000                                     4,724.68   14,650,991.30
                         CORP., A NATIONAL GRID INC.    44; Filed: $22,490.66; Reference:
05/07/08      435        BROWN'S PAWN & CYCLE           Dividend paid 21.00% on $1,200.00; Claim#       7100-001                                      252.09    14,650,739.21
                                                        45; Filed: $1,200.00; Reference:
                                                        Stopped on 08/06/08
05/07/08      436        LIQUIDITY SOLUTIONS INC.       Dividend paid 21.00% on $1,787.96; Claim#       7100-000                                      375.60    14,650,363.61
                                                        47; Filed: $1,787.96; Reference:
05/07/08      437        DISCOUNT PAWN AND JEWELRY, Dividend paid 21.00% on $1,755.00; Claim#           7100-000                                      368.68    14,649,994.93
                         CORP.                          48; Filed: $1,755.00; Reference:

                                                                                             Subtotals :                         $0.00         $20,854.15
{} Asset reference(s)                                                                                                                 Printed: 12/07/2017 12:32 PM        V.13.30
                 04-12771-mkv                Doc 733      Filed 12/19/17 Entered 12/19/17 17:57:32                                           Main Document
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                                               Cash Receipts And Disbursements Record
Case Number:        04-12771 (MKV)                                                            Trustee:            JOHN S. PEREIRA (521200)
Case Name:          CASHPOINT NETWORK SERVICES INC.                                           Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                              Account:            ***-*****47-66 - Checking Account
Taxpayer ID #: **-***7072                                                                     Blanket Bond:       N/A
Period Ending: 12/07/17                                                                       Separate Bond: $1,415,080.00

   1            2                        3                                    4                                               5                   6                   7

 Trans.     {Ref #} /                                                                                                     Receipts        Disbursements    Checking
  Date      Check #        Paid To / Received From            Description of Transaction                 T-Code              $                  $       Account Balance
05/07/08      438        ELYSE MANCHER                 Dividend paid 21.00% on $1,897.30; Claim#         7100-000                                      398.57    14,649,596.36
                                                       49; Filed: $1,897.30; Reference:
05/07/08      439        DENNIS SLUDER                 Dividend paid 21.00% on $571.20; Claim# 50;       7100-000                                      119.99    14,649,476.37
                                                       Filed: $571.20; Reference:
05/07/08      440        RALPH E. LOPRESTI             Dividend paid 21.00% on $590.00; Claim# 51;       7100-000                                      123.94    14,649,352.43
                                                       Filed: $590.00; Reference:
05/07/08      441        RCN TELECOM SERVICES, INC.    Dividend paid 21.00% on $213,233.65;              7100-001                                 44,794.59      14,604,557.84
                                                       Claim# 52; Filed: $213,233.65; Reference:
                                                       Stopped on 08/06/08
05/07/08      442        NEW YORK STATE BANKING        Dividend paid 21.00% on $1,846.90; Claim#         7100-000                                      387.98    14,604,169.86
                         DEPARTMENT                    53; Filed: $1,846.90; Reference:
05/07/08      443        ENTERGY SERVICES, INC.        Dividend paid 21.00% on $16,404,509.28;           7100-000                             3,446,140.84       11,158,029.02
                                                       Claim# 54; Filed: $16,404,509.28; Reference:
05/07/08      444        GREGORY C. LEGG               Dividend paid 21.00% on $8,113.24; Claim#         7100-000                                     1,704.37   11,156,324.65
                                                       59; Filed: $8,113.24; Reference:
05/07/08      445        NICHOLE MONGEON, GENERAL      Dividend paid 21.00% on $2,174.20; Claim#         7100-000                                      456.74    11,155,867.91
                         COUNSEL                       61; Filed: $2,174.20; Reference:
05/07/08      446        SERVICE REX ALL DRUGS         Dividend paid 21.00% on $343.35; Claim# 62;       7100-000                                       72.13    11,155,795.78
                                                       Filed: $343.35; Reference:
05/07/08      447        WHITTINGTONS NOTARY           Dividend paid 21.00% on $2,846.40; Claim#         7100-000                                      597.95    11,155,197.83
                         SERVICE, LLC                  63; Filed: $2,846.40; Reference:
05/07/08      448        EZ CASH                       Dividend paid 21.00% on $3,125.45; Claim#         7100-000                                      656.57    11,154,541.26
                                                       64; Filed: $3,125.45; Reference:
05/07/08      449        ASSOCIATED SUPERMARKET        Dividend paid 21.00% on $1,755.02; Claim#         7100-000                                      368.68    11,154,172.58
                                                       65; Filed: $1,755.02; Reference:
05/07/08      450        CITIGROUP                     Dividend paid 21.00% on $21,325.00; Claim#        7100-001                                     4,479.80   11,149,692.78
                                                       67; Filed: $21,325.00; Reference:
                                                       Stopped on 10/01/08
05/07/08      451        CHALLENGER CHECK CASHING      Dividend paid 21.00% on $7,046.59; Claim#         7100-000                                     1,480.30   11,148,212.48
                         CORP. GERALD GOLDMAN, ESQ     72; Filed: $7,046.59; Reference:
05/07/08      452        CEBCO CHECK CASHER CORP.      Dividend paid 21.00% on $9,824.11; Claim#         7100-000                                     2,063.78   11,146,148.70
                         GERALD GOLDMAN, ESQ.          73; Filed: $9,824.11; Reference:
05/07/08      453        MONEY CENTERS GERALD          Dividend paid 21.00% on $151.09; Claim# 74;       7100-000                                       31.74    11,146,116.96
                         GOLDMAN, ESQ.                 Filed: $151.09; Reference:
05/07/08      454        MONEY CENTERS GERALD          Dividend paid 21.00% on $37.91; Claim# 75;        7100-000                                         7.96   11,146,109.00
                         GOLDMAN, ESQ.                 Filed: $37.91; Reference:
05/07/08      455        MONEY CENTERS GERALD          Dividend paid 21.00% on $46.71; Claim# 76;        7100-000                                         9.81   11,146,099.19
                         GOLDMAN, ESQ.                 Filed: $46.71; Reference:
05/07/08      456        MONEY CENTERS GERALD          Dividend paid 21.00% on $76.49; Claim# 77;        7100-000                                       16.07    11,146,083.12

                                                                                              Subtotals :                         $0.00      $3,503,911.81
{} Asset reference(s)                                                                                                                  Printed: 12/07/2017 12:32 PM        V.13.30
                 04-12771-mkv                Doc 733      Filed 12/19/17 Entered 12/19/17 17:57:32                                           Main Document
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                                               Cash Receipts And Disbursements Record
Case Number:        04-12771 (MKV)                                                            Trustee:            JOHN S. PEREIRA (521200)
Case Name:          CASHPOINT NETWORK SERVICES INC.                                           Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                              Account:            ***-*****47-66 - Checking Account
Taxpayer ID #: **-***7072                                                                     Blanket Bond:       N/A
Period Ending: 12/07/17                                                                       Separate Bond: $1,415,080.00

   1            2                        3                                    4                                               5                   6                   7

 Trans.     {Ref #} /                                                                                                     Receipts        Disbursements    Checking
  Date      Check #        Paid To / Received From            Description of Transaction                 T-Code              $                  $       Account Balance
                         GOLDMAN, ESQ.                 Filed: $76.49; Reference:
05/07/08      457        MONEY CENTERS GERALD          Dividend paid 21.00% on $40.56; Claim# 78;        7100-000                                         8.52   11,146,074.60
                         GOLDMAN, ESQ.                 Filed: $40.56; Reference:
05/07/08      458        JENN GREG ENTERPRISES INC.    Dividend paid 21.00% on $33,391.73; Claim#        7100-000                                     7,014.69   11,139,059.91
                                                       80; Filed: $33,391.73; Reference:
05/07/08      459        GEM CHECK CASHING CORP.       Dividend paid 21.00% on $6,815.00; Claim#         7100-001                                     1,431.65   11,137,628.26
                                                       81; Filed: $6,815.00; Reference:
                                                       Stopped on 10/01/08
05/07/08      460        TOMPKINS EXPRESS CHECK        Dividend paid 21.00% on $426.00; Claim# 82;       7100-001                                       89.49    11,137,538.77
                         CASHING CORP.                 Filed: $426.00; Reference:
                                                       Stopped on 10/01/08
05/07/08      461        VEIL CHECK CASHING CORP.      Dividend paid 21.00% on $5,095.00; Claim#         7100-001                                     1,070.32   11,136,468.45
                                                       83; Filed: $5,095.00; Reference:
                                                       Stopped on 10/01/08
05/07/08      462        VALE CHECKING OF NEW YORK,    Dividend paid 21.00% on $257.00; Claim# 84;       7100-001                                       53.99    11,136,414.46
                         INC.                          Filed: $257.00; Reference:
                                                       Stopped on 10/01/08
05/07/08      463        PPL GAS UTILITIES             Dividend paid 21.00% on $169,045.42;              7100-000                                 35,511.84      11,100,902.62
                         CORPORATION                   Claim# 93; Filed: $169,045.42; Reference:
05/07/08      464        PPL ELECTRIC UTILITIES        Dividend paid 21.00% on $952,127.00;              7100-000                               200,015.96       10,900,886.66
                         CORPORATION                   Claim# 94; Filed: $952,127.00; Reference:
05/07/08      465        DIANNE E. DUSMAN              Dividend paid 21.00% on $24,387.41; Claim#        7100-000                                     5,123.13   10,895,763.53
                                                       102; Filed: $24,387.41; Reference:
05/07/08      466        DIANNE E. DUSMAN              Dividend paid 21.00% on $15,164.09; Claim#        7100-000                                     3,185.56   10,892,577.97
                                                       103; Filed: $15,164.09; Reference:
05/07/08      467        MR. QUICK LOAN, INC. GERALD   Dividend paid 21.00% on $6,704.56; Claim#         7100-000                                     1,408.45   10,891,169.52
                         GOLDMAN, ESQ.                 106; Filed: $6,704.56; Reference:
05/07/08      468        PUBLIC SERVICE COMPANY OF     Dividend paid 21.00% on $46,639.11; Claim#        7100-000                                     9,797.61   10,881,371.91
                         NEW HAMPSHIRE                 107; Filed: $46,639.11; Reference:
05/07/08      469        WESTERN MASSACHUSETTS         Dividend paid 21.00% on $41,072.32; Claim#        7100-000                                     8,628.18   10,872,743.73
                         ELECTRIC COMPANY              108; Filed: $41,072.32; Reference:
05/07/08      470        ONE STOP FINANCIAL SERVICES   Dividend paid 21.00% on $18,373.99; Claim#        7100-000                                     3,859.88   10,868,883.85
                                                       114; Filed: $18,373.99; Reference:
05/07/08      471        NEW YORK CITY HOUSING         Dividend paid 21.00% on $4,179,354.12;            7100-000                               877,968.53        9,990,915.32
                         AUTHORITY                     Claim# 116; Filed: $4,179,354.12; Reference:
05/07/08      472        JPMORGAN CHASE BANK           Dividend paid 21.00% on $9,736,813.46;            7100-000                             2,045,439.45        7,945,475.87
                                                       Claim# 117; Filed: $9,736,813.46; Reference:
05/07/08      473        SAMCEIL CHECK CASHING         Dividend paid 21.00% on $1,103.00; Claim#         7100-000                                      231.71     7,945,244.16
                         SERVICE, INC.                 119; Filed: $1,103.00; Reference:

                                                                                              Subtotals :                         $0.00      $3,200,838.96
{} Asset reference(s)                                                                                                                  Printed: 12/07/2017 12:32 PM        V.13.30
                 04-12771-mkv                 Doc 733       Filed 12/19/17 Entered 12/19/17 17:57:32                                           Main Document
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                                                 Cash Receipts And Disbursements Record
Case Number:        04-12771 (MKV)                                                              Trustee:            JOHN S. PEREIRA (521200)
Case Name:          CASHPOINT NETWORK SERVICES INC.                                             Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                                Account:            ***-*****47-66 - Checking Account
Taxpayer ID #: **-***7072                                                                       Blanket Bond:       N/A
Period Ending: 12/07/17                                                                         Separate Bond: $1,415,080.00

   1            2                        3                                      4                                               5                   6                   7

 Trans.     {Ref #} /                                                                                                       Receipts        Disbursements    Checking
  Date      Check #        Paid To / Received From              Description of Transaction                 T-Code              $                  $       Account Balance
05/07/08      474        CONSOLIDATED EDISON             Dividend paid 21.00% on $19,744,295.43;           7100-000                             4,147,738.99       3,797,505.17
                         COMPANY OF NEW YORK, INC.       Claim# 121; Filed: $19,744,295.43;
                                                         Reference:
05/07/08      475        YANKEE GAS COMPANY              Dividend paid 21.00% on $7,505.53; Claim#         7100-000                                     1,576.71   3,795,928.46
                                                         122; Filed: $7,505.53; Reference:
05/07/08      476        MONEY CENTERS GERALD            Dividend paid 21.00% on $38.58; Claim# 126;       7100-000                                         8.10   3,795,920.36
                         GOLDMAN, ESQ.                   Filed: $38.58; Reference:
05/07/08      477        J&F MINI MARKET, INC.           Dividend paid 21.00% on $2,544.54; Claim#         7100-000                                      534.54    3,795,385.82
                                                         127; Filed: $2,544.54; Reference:
05/07/08      478        ALEKSANDAR STANOJEVIC           Dividend paid 21.00% on $2,275.00; Claim#         7100-000                                      477.92    3,794,907.90
                                                         128U; Filed: $2,275.00; Reference:
05/07/08      479        TELESECTOR RESOURCES            Dividend paid 21.00% on $12,600,000.00;           7100-000                             2,646,917.00       1,147,990.90
                         GROUP INC. D/B/A VERIZON        Claim# 129; Filed: $12,600,000.00;
                         SVCS                            Reference:
                                                         Stopped on 05/15/08
05/07/08      480        LIQUIDITY SOLUTIONS, INC.       Dividend paid 21.00% on $1,985.00; Claim#         7100-000                                      416.99    1,147,573.91
                                                         130; Filed: $1,985.00; Reference:
05/07/08      481        CSC HOLDINGS, INC.              Dividend paid 21.00% on $1,373,657.52;            7100-000                               288,568.05        859,005.86
                                                         Claim# 132; Filed: $1,373,657.52; Reference:
05/07/08      482        NATIONAL UNION FIRE INS. CO.    Dividend paid 21.00% on $623,708.69;              7100-000                               131,024.22        727,981.64
                         OF PITTSBURG, PA, TFREE         Claim# 133; Filed: $623,708.69; Reference:
05/07/08      483        SCOTT J. WOLFE                  Dividend paid 21.00% on $199.25; Claim#           7100-000                                       41.86     727,939.78
                                                         134; Filed: $199.25; Reference:
05/07/08      484        JEFF A. WALTERS                 Dividend paid 21.00% on $400.54; Claim#           7100-000                                       84.14     727,855.64
                                                         136; Filed: $400.54; Reference:
05/07/08      485        BRAZIL FOR YOU                  Dividend paid 21.00% on $871.39; Claim#           7100-000                                      183.06     727,672.58
                                                         137; Filed: $871.39; Reference:
05/07/08      486        DANIEL CABRERA                  Dividend paid 21.00% on $1,625.50; Claim#         7100-001                                      341.47     727,331.11
                                                         138; Filed: $1,625.50; Reference:
                                                         Stopped on 08/06/08
05/07/08      487        SPRINT SPECTRUM L.P. D/B/A      Dividend paid 21.00% on $77,411.36; Claim#        7100-000                                 16,262.02       711,069.09
                         SPRINT PCS                      139; Filed: $77,411.36; Reference:
05/07/08      488        BELLSOUTH                       Dividend paid 21.00% on $31,835.42; Claim#        7100-000                                     6,687.76    704,381.33
                         TELECOMMUNICATIONS, INC.        140; Filed: $31,835.42; Reference:
05/07/08      489        JUDITH M. FERTIL                Dividend paid 21.00% on $128.12; Claim#           7100-000                                       26.91     704,354.42
                                                         141; Filed: $128.12; Reference:
05/07/08      490        CITICORP VENDOR FINANCE INC. Dividend paid 21.00% on $50,953.96; Claim#           7100-001                                 10,704.04       693,650.38
                                                         142; Filed: $50,953.96; Reference:
                                                         Stopped on 08/06/08

                                                                                                Subtotals :                         $0.00      $7,251,593.78
{} Asset reference(s)                                                                                                                    Printed: 12/07/2017 12:32 PM        V.13.30
                 04-12771-mkv                  Doc 733      Filed 12/19/17 Entered 12/19/17 17:57:32                                           Main Document
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                                                  Cash Receipts And Disbursements Record
Case Number:        04-12771 (MKV)                                                              Trustee:            JOHN S. PEREIRA (521200)
Case Name:          CASHPOINT NETWORK SERVICES INC.                                             Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                                Account:            ***-*****47-66 - Checking Account
Taxpayer ID #: **-***7072                                                                       Blanket Bond:       N/A
Period Ending: 12/07/17                                                                         Separate Bond: $1,415,080.00

   1            2                          3                                    4                                               5                   6                   7

 Trans.     {Ref #} /                                                                                                       Receipts        Disbursements    Checking
  Date      Check #           Paid To / Received From           Description of Transaction                 T-Code              $                  $       Account Balance
05/07/08      491        ANA ORTIZ                       Dividend paid 21.00% on $280.69; Claim#           7100-000                                       58.97     693,591.41
                                                         146; Filed: $280.69; Reference:
05/07/08      492        JACQUELINE T. MELE              Dividend paid 21.00% on $2,342.07; Claim#         7100-000                                      492.01     693,099.40
                                                         147; Filed: $2,342.07; Reference:
05/07/08      493        CITY OF NEW YORK                Dividend paid 21.00% on $24,188.02; Claim#        7100-000                                     5,081.24    688,018.16
                                                         150; Filed: $24,188.02; Reference:
                                                         XX-XXXXXXX
05/07/08      494        CITY OF NEW YORK                Dividend paid 21.00% on $596,300.22;              7100-000                               125,266.44        562,751.72
                                                         Claim# 151; Filed: $949,800.22; Reference:
                                                         XX-XXXXXXX
05/07/08      495        CAREER GROUP INC.               Dividend paid 21.00% on $1,296.00; Claim#         7100-000                                      272.25     562,479.47
                                                         153; Filed: $1,296.00; Reference:
05/07/08      496        SCATURRO SUPERMARKETS           Dividend paid 21.00% on $1,105.00; Claim#         7100-000                                      232.13     562,247.34
                                                         154; Filed: $1,105.00; Reference:
05/07/08      497        NEW YORK STATE DEPARTMENT Dividend paid 21.00% on $8,449.35; Claim#               7100-000                                     1,774.98    560,472.36
                         OF                              158U; Filed: $8,449.35; Reference:
                                                         XX-XXXXXXX
05/07/08      498        CONSOLIDATED EDISON             Dividend paid 21.00% on $4,755.24; Claim#         7100-000                                      998.95     559,473.41
                         COMPANY OF NEW YORK, INC.       159; Filed: $4,755.24; Reference:
05/07/08      499        JOSE D. PENA OLIVER             Dividend paid 21.00% on $1,047.23; Claim#         7100-000                                      219.99     559,253.42
                                                         163; Filed: $1,047.23; Reference:
05/07/08      500        ASM CAPITAL, TFREE OF COX       Dividend paid 21.00% on $410,000.00;              7100-000                                 86,129.84       473,123.58
                         COMMUNICATIONS LOUISIANA,       Claim# 164; Filed: $410,000.00; Reference:
                         LLC
05/07/08      501        STORAGE USA                     Dividend paid 21.00% on $35,549.14; Claim#        7100-000                                     7,467.91    465,655.67
                                                         166; Filed: $35,549.14; Reference:
05/07/08      502        ASM CAPITAL , ASSIGNEE OF       Dividend paid 21.00% on $1,097,679.12;            7100-000                               230,592.50        235,063.17
                         TIME WARNER                     Claim# 167; Filed: $1,097,679.12; Reference:
05/12/08      503        G.E.M. AUCTION CORP.            INVOICE #: 1166 / R-1497 / STORAGE FOR            2410-000                                     7,597.80    227,465.37
                                                         THE PERIOD 4/1/08 - 6/1/08
05/12/08      504        G.E.M. AUCTION CORP.            INVOICE #: 1171 / R-1511 (YONKERS) /              2410-000                                     5,281.20    222,184.17
                                                         STORAGE FOR THE PERIOD 4/1/08 - 6/1/08
05/15/08      479        TELESECTOR RESOURCES            Dividend paid 21.00% on $12,600,000.00;           7100-000                             -2,646,917.00      2,869,101.17
                         GROUP INC. D/B/A VERIZON        Claim# 129; Filed: $12,600,000.00;
                         SVCS                            Reference:
                                                         Stopped: check issued on 05/07/08
05/15/08      505        TELESECTOR RESOURCES            Dividend paid 21.00% on $12,600,000.00;           7100-000                             2,646,917.00        222,184.17
                         GROUP INC. D/B/A VERIZON        Claim# 129; Filed: $12,600,000.00;
                         SVCS                            Reference:

                                                                                                Subtotals :                         $0.00        $471,466.21
{} Asset reference(s)                                                                                                                    Printed: 12/07/2017 12:32 PM        V.13.30
                 04-12771-mkv                  Doc 733      Filed 12/19/17 Entered 12/19/17 17:57:32                                           Main Document
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                                                    Cash Receipts And Disbursements Record
Case Number:        04-12771 (MKV)                                                              Trustee:            JOHN S. PEREIRA (521200)
Case Name:          CASHPOINT NETWORK SERVICES INC.                                             Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                                Account:            ***-*****47-66 - Checking Account
Taxpayer ID #: **-***7072                                                                       Blanket Bond:       N/A
Period Ending: 12/07/17                                                                         Separate Bond: $1,415,080.00

   1            2                         3                                     4                                               5                   6                   7

 Trans.     {Ref #} /                                                                                                       Receipts        Disbursements    Checking
  Date      Check #         Paid To / Received From             Description of Transaction                 T-Code              $                  $       Account Balance
05/27/08      403        YVONNE COVAN                    Dividend paid 21.00% on $82.00; Claim# 12;        7100-001                                       -17.23    222,201.40
                                                         Filed: $82.00; Reference:
                                                         Stopped: check issued on 05/07/08
05/27/08      424        DISCOVERY DEPOT                 Dividend paid 21.00% on $840.00; Claim# 34;       7100-001                                      -176.46    222,377.86
                                                         Filed: $840.00; Reference:
                                                         Stopped: check issued on 05/07/08
06/09/08                 From Account #********4765      TRANSFER OF FUNDS TO CHECKING                     9999-000              6,439.50                           228,817.36
                                                         ACCOUNT
06/09/08      506        G.E.M. AUCTION CORP.            INVOICE #: 1212 / R-1497 / STORAGE                2410-000                                     3,798.90    225,018.46
                                                         FOR THE PERIOD 6/1/08 - 7/1/08
06/09/08      507        G.E.M. AUCTION CORP.            INVOICE #: 1217 / R-1511 (YONKERS) /              2410-000                                     2,640.60    222,377.86
                                                         STORAGE FOR THE PERIOD 6/1/08 - 7/1/08
07/17/08                 From Account #********4765      TRANSFER OF FUNDS TO CHECKING                     9999-000              9,215.21                           231,593.07
                                                         ACCOUNT
07/21/08      508        AT&T WIRELESS SERVICES, INC.    Dividend paid 21.00% on $43,881.96; Claim#        7100-000                                     9,215.21    222,377.86
                                                         71; Filed: $43,881.96; Reference:
08/06/08      400        TRACEY REBELB                   Dividend paid 21.00% on $170.00; Claim# 8;        7100-001                                       -35.71    222,413.57
                                                         Filed: $170.00; Reference:
                                                         Stopped: check issued on 05/07/08
08/06/08      402        STEVEN DAVIS                    Dividend paid 21.00% on $125.82; Claim# 11;       7100-001                                       -26.43    222,440.00
                                                         Filed: $125.82; Reference:
                                                         Stopped: check issued on 05/07/08
08/06/08      408        CHERYL DIAS                     Dividend paid 21.00% on $50.00; Claim# 17;        7100-001                                       -10.50    222,450.50
                                                         Filed: $50.00; Reference:
                                                         Stopped: check issued on 05/07/08
08/06/08      435        BROWN'S PAWN & CYCLE            Dividend paid 21.00% on $1,200.00; Claim#         7100-001                                      -252.09    222,702.59
                                                         45; Filed: $1,200.00; Reference:
                                                         Stopped: check issued on 05/07/08
08/06/08      441        RCN TELECOM SERVICES, INC.      Dividend paid 21.00% on $213,233.65;              7100-001                                -44,794.59       267,497.18
                                                         Claim# 52; Filed: $213,233.65; Reference:
                                                         Stopped: check issued on 05/07/08
08/06/08      486        DANIEL CABRERA                  Dividend paid 21.00% on $1,625.50; Claim#         7100-001                                      -341.47    267,838.65
                                                         138; Filed: $1,625.50; Reference:
                                                         Stopped: check issued on 05/07/08
08/06/08      490        CITICORP VENDOR FINANCE INC. Dividend paid 21.00% on $50,953.96; Claim#           7100-001                                -10,704.04       278,542.69
                                                         142; Filed: $50,953.96; Reference:
                                                         Stopped: check issued on 05/07/08
08/14/08                 To Account #********4765        TRANSFER OF FUNDS BACK TO MONEY                   9999-000                               235,063.17            43,479.52
                                                         MARKET ACCOUNT

                                                                                                Subtotals :                    $15,654.71        $194,359.36
{} Asset reference(s)                                                                                                                    Printed: 12/07/2017 12:32 PM        V.13.30
                 04-12771-mkv                  Doc 733      Filed 12/19/17 Entered 12/19/17 17:57:32                                           Main Document
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                                                    Cash Receipts And Disbursements Record
Case Number:        04-12771 (MKV)                                                              Trustee:            JOHN S. PEREIRA (521200)
Case Name:          CASHPOINT NETWORK SERVICES INC.                                             Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                                Account:            ***-*****47-66 - Checking Account
Taxpayer ID #: **-***7072                                                                       Blanket Bond:       N/A
Period Ending: 12/07/17                                                                         Separate Bond: $1,415,080.00

   1            2                         3                                      4                                              5                   6                   7

 Trans.     {Ref #} /                                                                                                       Receipts        Disbursements    Checking
  Date      Check #         Paid To / Received From                Description of Transaction              T-Code              $                  $       Account Balance
08/18/08                 From Account #********4765      TRANSFER OF FUNDS TO CHECKING                     9999-000             12,879.00                               56,358.52
                                                         ACCOUNT
08/18/08      509        G.E.M. AUCTION CORP.            R-1497 / INVOICE #: 1294 / STORAGE FOR            2410-000                                     7,597.80        48,760.72
                                                         THE PERIOD 7/1/2008 - 9/1/2008
08/18/08      510        G.E.M. AUCTION CORP.            R-1511 (YONKERS) / INVOICE #: 1302 /              2410-000                                     5,281.20        43,479.52
                                                         STORAGE FOR THE PERIOD 7/1/2008 -
                                                         9/1/2008
08/26/08                 From Account #********4765      TRANSFER OF FUNDS TO CHECKING                     9999-000             60,000.00                           103,479.52
                                                         ACCOUNT
08/26/08      511        THE CITY OF NEW YORK            PER STIPULATION AND ORDER                         5800-000                                 60,000.00           43,479.52
                                                         CONCERNING CLAIM NUMBER 157, DATED
                                                         AUGUST 25, 2008
09/22/08                 From Account #********4765      TRANSFER OF FUNDS TO CHECKING                     9999-000             57,699.50                           101,179.02
                                                         ACCOUNT
09/22/08      512        G.E.M. AUCTION CORP.            R-1511 (YONKERS) / INVOICE #: 1343 /              2410-000                                     2,640.60        98,538.42
                                                         STORAGE FOR THE PERIOD 9/1/08 -
                                                         10/1/08
09/22/08      513        G.E.M. AUCTION CORP.            R-1497 / INVOICE #: 1340 / STORAGE FOR            2410-000                                     3,798.90        94,739.52
                                                         THE PERIOD 9/1/08 - 10/1/08
09/22/08      514        ARTHUR B. LEVINE COMPANY        BOND NUMBER: 10BSBDU3912 /                        2300-000                                 51,260.00           43,479.52
                                                         EFFECTIVE DATE: 7/10/2008 - 7/09/2009
10/01/08      450        CITIGROUP                       Dividend paid 21.00% on $21,325.00; Claim#        7100-001                                 -4,479.80           47,959.32
                                                         67; Filed: $21,325.00; Reference:
                                                         Stopped: check issued on 05/07/08
10/01/08      459        GEM CHECK CASHING CORP.         Dividend paid 21.00% on $6,815.00; Claim#         7100-001                                 -1,431.65           49,390.97
                                                         81; Filed: $6,815.00; Reference:
                                                         Stopped: check issued on 05/07/08
10/01/08      460        TOMPKINS EXPRESS CHECK          Dividend paid 21.00% on $426.00; Claim# 82;       7100-001                                       -89.49        49,480.46
                         CASHING CORP.                   Filed: $426.00; Reference:
                                                         Stopped: check issued on 05/07/08
10/01/08      461        VEIL CHECK CASHING CORP.        Dividend paid 21.00% on $5,095.00; Claim#         7100-001                                 -1,070.32           50,550.78
                                                         83; Filed: $5,095.00; Reference:
                                                         Stopped: check issued on 05/07/08
10/01/08      462        VALE CHECKING OF NEW YORK,      Dividend paid 21.00% on $257.00; Claim# 84;       7100-001                                       -53.99        50,604.77
                         INC.                            Filed: $257.00; Reference:
                                                         Stopped: check issued on 05/07/08
10/15/08                 To Account #********7366        TRANSFER OF FUNDS TO CHECKING                     9999-000                                 50,604.77                  0.00
                                                         ACCOUNT
11/14/08                 From Account #********4765      TRANSFER OF FUNDS TO CHECKING                     9999-000             12,879.00                               12,879.00

                                                                                                Subtotals :                  $143,457.50         $174,058.02
{} Asset reference(s)                                                                                                                    Printed: 12/07/2017 12:32 PM        V.13.30
                 04-12771-mkv                  Doc 733      Filed 12/19/17 Entered 12/19/17 17:57:32                                           Main Document
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                                                  Cash Receipts And Disbursements Record
Case Number:        04-12771 (MKV)                                                              Trustee:            JOHN S. PEREIRA (521200)
Case Name:          CASHPOINT NETWORK SERVICES INC.                                             Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                                Account:            ***-*****47-66 - Checking Account
Taxpayer ID #: **-***7072                                                                       Blanket Bond:       N/A
Period Ending: 12/07/17                                                                         Separate Bond: $1,415,080.00

   1            2                          3                                     4                                              5                   6                   7

 Trans.     {Ref #} /                                                                                                       Receipts        Disbursements    Checking
  Date      Check #           Paid To / Received From              Description of Transaction              T-Code              $                  $       Account Balance
                                                         ACCOUNT
11/14/08      515        G.E.M. AUCTION CORP.            R-1497 / INVOICE #: 1403 / STORAGE FOR            2410-000                                     7,597.80            5,281.20
                                                         THE PERIOD 10/1/08 - 12/1/08
11/14/08      516        G.E.M. AUCTION CORP.            R-1511 (YONKERS) / INVOICE #: 1406 /              2410-000                                     5,281.20                0.00
                                                         STORAGE FOR THE PERIOD 10/1/08 -
                                                         12/1/08
12/04/08                 From Account #********4765      TRANSFER OF FUNDS TO CHECKING                     9999-000          7,500,000.00                          7,500,000.00
                                                         ACCOUNT
12/04/08                 From Account #********4765      TRANSFER OF FUNDS TO CHECKING                     9999-000            215,000.00                          7,715,000.00
                                                         ACCOUNT
12/04/08      517        NEW YORK STATE DEPARTMENT Dividend paid 100.00% on $18,863.50; Claim#             5800-000                                 18,863.50      7,696,136.50
                         OF                              158P; Filed: $37,727.00; Reference:
12/04/08      518        JASON DESOUTO                   Dividend paid 30.77% on $501.14; Claim# 2;        7100-000                                       48.93    7,696,087.57
                                                         Filed: $501.14; Reference:
12/04/08      519        JANICE DESOUTO                  Dividend paid 30.77% on $337.26; Claim# 3;        7100-000                                       32.93    7,696,054.64
                                                         Filed: $337.26; Reference:
12/04/08      520        MRS. MARIA TORRES               Dividend paid 30.77% on $68.39; Claim# 5;         7100-001                                         6.67   7,696,047.97
                                                         Filed: $68.39; Reference:
                                                         Stopped on 09/24/09
12/04/08      521        ALEXANDER C. PIERCE             Dividend paid 30.77% on $150.00; Claim# 7;        7100-000                                       14.65    7,696,033.32
                                                         Filed: $150.00; Reference:
12/04/08      522        TRACEY REBELB                   Dividend paid 30.77% on $170.00; Claim# 8;        7100-001                                       52.31    7,695,981.01
                                                         Filed: $170.00; Reference:
                                                         Stopped on 09/24/09
12/04/08      523        LENA RAMSEY                     Dividend paid 30.77% on $56.72; Claim# 9;         7100-000                                         5.53   7,695,975.48
                                                         Filed: $56.72; Reference:
12/04/08      524        STEVEN DAVIS                    Dividend paid 30.77% on $125.82; Claim# 11;       7100-001                                       38.72    7,695,936.76
                                                         Filed: $125.82; Reference:
                                                         Stopped on 09/24/09
12/04/08      525        YVONNE COVAN                    Dividend paid 30.77% on $82.00; Claim# 12;        7100-001                                       25.23    7,695,911.53
                                                         Filed: $82.00; Reference:
                                                         Stopped on 09/24/09
12/04/08      526        PATRICIA STEPHENS               Dividend paid 30.77% on $69.00; Claim# 13;        7100-000                                         6.73   7,695,904.80
                                                         Filed: $69.00; Reference:
12/04/08      527        STEVEN FISHER                   Dividend paid 30.77% on $120.00; Claim# 14;       7100-000                                       11.72    7,695,893.08
                                                         Filed: $120.00; Reference:
12/04/08      528        NORBERT MONIZ                   Dividend paid 30.77% on $79.51; Claim# 15;        7100-000                                         7.77   7,695,885.31
                                                         Filed: $79.51; Reference:
12/04/08      529        LIQUIDITY SOLUTIONS, INC.,      Dividend paid 30.77% on $3,140.80; Claim#         7100-000                                      306.67    7,695,578.64

                                                                                                Subtotals :                $7,715,000.00          $32,300.36
{} Asset reference(s)                                                                                                                    Printed: 12/07/2017 12:32 PM        V.13.30
                 04-12771-mkv                  Doc 733       Filed 12/19/17 Entered 12/19/17 17:57:32                                           Main Document
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                                                  Cash Receipts And Disbursements Record
Case Number:        04-12771 (MKV)                                                               Trustee:            JOHN S. PEREIRA (521200)
Case Name:          CASHPOINT NETWORK SERVICES INC.                                              Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                                 Account:            ***-*****47-66 - Checking Account
Taxpayer ID #: **-***7072                                                                        Blanket Bond:       N/A
Period Ending: 12/07/17                                                                          Separate Bond: $1,415,080.00

   1            2                          3                                     4                                               5                   6                   7

 Trans.     {Ref #} /                                                                                                        Receipts        Disbursements    Checking
  Date      Check #           Paid To / Received From            Description of Transaction                 T-Code              $                  $       Account Balance
                         TRANSFEREE                       16; Filed: $3,140.80; Reference:
12/04/08      530        CHERYL DIAS                      Dividend paid 30.77% on $50.00; Claim# 17;        7100-001                                       15.39    7,695,563.25
                                                          Filed: $50.00; Reference:
                                                          Stopped on 09/24/09
12/04/08      531        NATIONAL FUEL                    Dividend paid 30.77% on $162.23; Claim# 18;       7100-000                                       15.84    7,695,547.41
                                                          Filed: $162.23; Reference:
12/04/08      532        WILLIAM J. KUNEMAN               Dividend paid 30.77% on $200.23; Claim# 19;       7100-000                                       19.55    7,695,527.86
                                                          Filed: $200.23; Reference:
12/04/08      533        MORGAN, LEWIS & BOCKIUS LLP      Dividend paid 30.77% on $97,592.70; Claim#        7100-000                                     9,529.15   7,685,998.71
                                                          20; Filed: $97,592.70; Reference:
12/04/08      534        ASM CAPITAL, L.P. TRANSFEREE     Dividend paid 30.77% on $20,083.44; Claim#        7100-000                                     1,960.99   7,684,037.72
                         OF                               22; Filed: $20,083.44; Reference:
12/04/08      535        PETER A. BORGOS                  Dividend paid 30.77% on $107.31; Claim# 23;       7100-001                                       10.48    7,684,027.24
                                                          Filed: $107.31; Reference:
                                                          Stopped on 09/24/09
12/04/08      536        IBM CREDIT, LLC.                 Dividend paid 30.77% on $598,492.00;              7100-000                                 58,437.99      7,625,589.25
                                                          Claim# 24; Filed: $598,492.00; Reference:
12/04/08      537        MABLE HENDERSON                  Dividend paid 30.77% on $162.23; Claim# 25;       7100-000                                       15.84    7,625,573.41
                                                          Filed: $162.23; Reference:
12/04/08      538        SAM MARCOS CHECK CASHING         Dividend paid 30.77% on $1,357.21; Claim#         7100-000                                      132.52    7,625,440.89
                                                          27; Filed: $1,357.21; Reference:
12/04/08      539        ASM CAPITAL, L.P., TRANSFEREE Dividend paid 30.77% on $5,379.76; Claim#            7100-000                                      525.29    7,624,915.60
                         OF                               28; Filed: $5,379.76; Reference:
12/04/08      540        ANN & HOPE, INC.                 Dividend paid 30.77% on $852.75; Claim# 29;       7100-000                                       83.26    7,624,832.34
                                                          Filed: $852.75; Reference:
12/04/08      541        AMERICAN SOLUTIONS FOR           Dividend paid 30.77% on $16,027.33; Claim#        7100-000                                     1,564.94   7,623,267.40
                         BUSINESS                         30; Filed: $16,027.33; Reference:
12/04/08      542        MICKEY GROCERY INC.              Dividend paid 30.77% on $328.11; Claim# 31;       7100-000                                       32.03    7,623,235.37
                                                          Filed: $328.11; Reference:
12/04/08      543        COTTONLAND FINANCIAL             Dividend paid 30.77% on $333.25; Claim# 32;       7100-000                                       32.54    7,623,202.83
                         SERVICES, INC.                   Filed: $333.25; Reference:
12/04/08      544        SPCP GROUP, LLP ASSNR OF         Dividend paid 30.77% on $265.00; Claim# 33;       7100-000                                       25.87    7,623,176.96
                         RED & WHITE EXPRESSMART          Filed: $265.00; Reference:
12/04/08      545        DISCOVERY DEPOT                  Dividend paid 30.77% on $840.00; Claim# 34;       7100-001                                      258.48    7,622,918.48
                                                          Filed: $840.00; Reference:
                                                          Stopped on 09/24/09
12/04/08      546        DISCOVER FINANCIAL               Dividend paid 30.77% on $2,435.62; Claim#         7100-000                                      237.82    7,622,680.66
                         SERVICES, INC.                   35; Filed: $2,435.62; Reference:
12/04/08      547        GARDERE VILLAGE                  Dividend paid 30.77% on $850.00; Claim# 36;       7100-000                                       83.00    7,622,597.66

                                                                                                 Subtotals :                         $0.00         $72,980.98
{} Asset reference(s)                                                                                                                     Printed: 12/07/2017 12:32 PM        V.13.30
                 04-12771-mkv                Doc 733       Filed 12/19/17 Entered 12/19/17 17:57:32                                           Main Document
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                                               Cash Receipts And Disbursements Record
Case Number:        04-12771 (MKV)                                                             Trustee:            JOHN S. PEREIRA (521200)
Case Name:          CASHPOINT NETWORK SERVICES INC.                                            Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                               Account:            ***-*****47-66 - Checking Account
Taxpayer ID #: **-***7072                                                                      Blanket Bond:       N/A
Period Ending: 12/07/17                                                                        Separate Bond: $1,415,080.00

   1            2                       3                                      4                                               5                   6                   7

 Trans.     {Ref #} /                                                                                                      Receipts        Disbursements    Checking
  Date      Check #        Paid To / Received From             Description of Transaction                 T-Code              $                  $       Account Balance
                         SUPERMARKET                    Filed: $850.00; Reference:
12/04/08      548        CLEM'S CREATIONS               Dividend paid 30.77% on $846.65; Claim# 37;       7100-000                                       82.67    7,622,514.99
                                                        Filed: $846.65; Reference:
12/04/08      549        ISAIAH CHECK CASHING, INC.     Dividend paid 30.77% on $285.00; Claim# 38;       7100-001                                       27.83    7,622,487.16
                                                        Filed: $285.00; Reference:
                                                        Stopped on 09/24/09
12/04/08      550        SAWEJKO COMMUNICATIONS         Dividend paid 30.77% on $1,628.75; Claim#         7100-000                                      159.03    7,622,328.13
                                                        39; Filed: $1,628.75; Reference:
12/04/08      551        THOMAS J. HANSON               Dividend paid 30.77% on $6,285.17; Claim#         7100-000                                      613.70    7,621,714.43
                                                        40; Filed: $6,285.17; Reference:
12/04/08      552        NIAGARA MOHAWK POWER           Dividend paid 30.77% on $37,142.08; Claim#        7100-000                                     3,626.63   7,618,087.80
                         CORP., A NATIONAL GRID INC.    41; Filed: $37,142.08; Reference:
                                                        Stopped on 03/10/09
12/04/08      553        NIAGARA MOHAWK POWER           Dividend paid 30.77% on $4,728.84; Claim#         7100-000                                      461.73    7,617,626.07
                         CORP., A NATIONAL GRID INC.    42; Filed: $4,728.84; Reference:
                                                        Stopped on 03/10/09
12/04/08      554        NIAGARA MOHAWK POWER           Dividend paid 30.77% on $22,490.66; Claim#        7100-000                                     2,196.03   7,615,430.04
                         CORP., A NATIONAL GRID INC.    44; Filed: $22,490.66; Reference:
                                                        Stopped on 03/10/09
12/04/08      555        BROWN'S PAWN & CYCLE           Dividend paid 30.77% on $1,200.00; Claim#         7100-001                                      369.26    7,615,060.78
                                                        45; Filed: $1,200.00; Reference:
                                                        Stopped on 09/24/09
12/04/08      556        LIQUIDITY SOLUTIONS INC.       Dividend paid 30.77% on $1,787.96; Claim#         7100-000                                      174.58    7,614,886.20
                                                        47; Filed: $1,787.96; Reference:
12/04/08      557        DISCOUNT PAWN AND JEWELRY, Dividend paid 30.77% on $1,755.00; Claim#             7100-000                                      171.36    7,614,714.84
                         CORP.                          48; Filed: $1,755.00; Reference:
12/04/08      558        ELYSE MANCHER                  Dividend paid 30.77% on $1,897.30; Claim#         7100-000                                      185.26    7,614,529.58
                                                        49; Filed: $1,897.30; Reference:
12/04/08      559        DENNIS SLUDER                  Dividend paid 30.77% on $571.20; Claim# 50;       7100-000                                       55.78    7,614,473.80
                                                        Filed: $571.20; Reference:
12/04/08      560        RALPH E. LOPRESTI              Dividend paid 30.77% on $590.00; Claim# 51;       7100-000                                       57.61    7,614,416.19
                                                        Filed: $590.00; Reference:
12/04/08      561        RCN TELECOM SERVICES, INC.     Dividend paid 30.77% on $213,233.65;              7100-001                                 65,615.16      7,548,801.03
                                                        Claim# 52; Filed: $213,233.65; Reference:
                                                        Stopped on 09/24/09
12/04/08      562        NEW YORK STATE BANKING         Dividend paid 30.77% on $1,846.90; Claim#         7100-000                                      180.34    7,548,620.69
                         DEPARTMENT                     53; Filed: $1,846.90; Reference:
12/04/08      563        ENTERGY SERVICES, INC.         Dividend paid 30.77% on $16,404,509.28;           7100-000                             1,601,770.09       5,946,850.60
                                                        Claim# 54; Filed: $16,404,509.28; Reference:

                                                                                               Subtotals :                         $0.00      $1,675,747.06
{} Asset reference(s)                                                                                                                   Printed: 12/07/2017 12:32 PM        V.13.30
                 04-12771-mkv                Doc 733       Filed 12/19/17 Entered 12/19/17 17:57:32                                           Main Document
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                                               Cash Receipts And Disbursements Record
Case Number:        04-12771 (MKV)                                                             Trustee:            JOHN S. PEREIRA (521200)
Case Name:          CASHPOINT NETWORK SERVICES INC.                                            Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                               Account:            ***-*****47-66 - Checking Account
Taxpayer ID #: **-***7072                                                                      Blanket Bond:       N/A
Period Ending: 12/07/17                                                                        Separate Bond: $1,415,080.00

   1            2                        3                                     4                                               5                   6                   7

 Trans.     {Ref #} /                                                                                                      Receipts        Disbursements    Checking
  Date      Check #        Paid To / Received From             Description of Transaction                 T-Code              $                  $       Account Balance
12/04/08      564        GREGORY C. LEGG                Dividend paid 30.77% on $8,113.24; Claim#         7100-000                                      792.19    5,946,058.41
                                                        59; Filed: $8,113.24; Reference:
12/04/08      565        NICHOLE MONGEON, GENERAL       Dividend paid 30.77% on $2,174.20; Claim#         7100-000                                      212.29    5,945,846.12
                         COUNSEL                        61; Filed: $2,174.20; Reference:
12/04/08      566        SERVICE REX ALL DRUGS          Dividend paid 30.77% on $343.35; Claim# 62;       7100-000                                       33.52    5,945,812.60
                                                        Filed: $343.35; Reference:
12/04/08      567        WHITTINGTONS NOTARY            Dividend paid 30.77% on $2,846.40; Claim#         7100-000                                      277.93    5,945,534.67
                         SERVICE, LLC                   63; Filed: $2,846.40; Reference:
12/04/08      568        EZ CASH                        Dividend paid 30.77% on $3,125.45; Claim#         7100-000                                      305.18    5,945,229.49
                                                        64; Filed: $3,125.45; Reference:
12/04/08      569        ASSOCIATED SUPERMARKET         Dividend paid 30.77% on $1,755.02; Claim#         7100-001                                      171.37    5,945,058.12
                                                        65; Filed: $1,755.02; Reference:
                                                        Stopped on 09/24/09
12/04/08      570        CITIGROUP                      Dividend paid 30.77% on $21,325.00; Claim#        7100-001                                     6,562.02   5,938,496.10
                                                        67; Filed: $21,325.00; Reference:
                                                        Stopped on 09/24/09
12/04/08      571        AT&T WIRELESS SERVICES, INC.   Dividend paid 30.77% on $43,881.96; Claim#        7100-000                                     4,287.92   5,934,208.18
                                                        71; Filed: $43,881.96; Reference:
12/04/08      572        LIQUIDITY SOLUTIONS, INC.      Dividend paid 30.77% on $7,046.59; Claim#         7100-000                                      688.04    5,933,520.14
                                                        72; Filed: $7,046.59; Reference:
12/04/08      573        CEBCO CHECK CASHER CORP.       Dividend paid 30.77% on $9,824.11; Claim#         7100-000                                      959.24    5,932,560.90
                         GERALD GOLDMAN, ESQ.           73; Filed: $9,824.11; Reference:
12/04/08      574        MONEY CENTERS GERALD           Dividend paid 30.77% on $151.09; Claim# 74;       7100-000                                       14.75    5,932,546.15
                         GOLDMAN, ESQ.                  Filed: $151.09; Reference:
12/04/08      575        MONEY CENTERS GERALD           Dividend paid 30.77% on $76.49; Claim# 77;        7100-000                                         7.47   5,932,538.68
                         GOLDMAN, ESQ.                  Filed: $76.49; Reference:
12/04/08      576        JENN GREG ENTERPRISES INC.     Dividend paid 30.77% on $33,391.73; Claim#        7100-000                                     3,260.44   5,929,278.24
                                                        80; Filed: $33,391.73; Reference:
12/04/08      577        GEM CHECK CASHING CORP.        Dividend paid 30.77% on $6,815.00; Claim#         7100-000                                     2,097.08   5,927,181.16
                                                        81; Filed: $6,815.00; Reference:
12/04/08      578        TOMPKINS EXPRESS CHECK         Dividend paid 30.77% on $426.00; Claim# 82;       7100-000                                      131.09    5,927,050.07
                         CASHING CORP.                  Filed: $426.00; Reference:
12/04/08      579        VEIL CHECK CASHING CORP.       Dividend paid 30.77% on $5,095.00; Claim#         7100-000                                     1,567.81   5,925,482.26
                                                        83; Filed: $5,095.00; Reference:
12/04/08      580        VALE CHECKING OF NEW YORK,     Dividend paid 30.77% on $257.00; Claim# 84;       7100-000                                       79.08    5,925,403.18
                         INC.                           Filed: $257.00; Reference:
12/04/08      581        PPL GAS UTILITIES              Dividend paid 30.77% on $169,045.42;              7100-000                                 16,505.94      5,908,897.24
                         CORPORATION                    Claim# 93; Filed: $169,045.42; Reference:
12/04/08      582        PPL ELECTRIC UTILITIES         Dividend paid 30.77% on $952,127.00;              7100-000                                 92,967.65      5,815,929.59

                                                                                               Subtotals :                         $0.00        $130,921.01
{} Asset reference(s)                                                                                                                   Printed: 12/07/2017 12:32 PM        V.13.30
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                                                 Cash Receipts And Disbursements Record
Case Number:        04-12771 (MKV)                                                           Trustee:            JOHN S. PEREIRA (521200)
Case Name:          CASHPOINT NETWORK SERVICES INC.                                          Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                             Account:            ***-*****47-66 - Checking Account
Taxpayer ID #: **-***7072                                                                    Blanket Bond:       N/A
Period Ending: 12/07/17                                                                      Separate Bond: $1,415,080.00

   1            2                        3                                    4                                              5                   6                   7

 Trans.     {Ref #} /                                                                                                    Receipts        Disbursements    Checking
  Date      Check #        Paid To / Received From            Description of Transaction                T-Code              $                  $       Account Balance
                         CORPORATION                   Claim# 94; Filed: $952,127.00; Reference:
12/04/08      583        DIANNE E. DUSMAN              Dividend paid 30.77% on $24,387.41; Claim#       7100-000                                     2,381.24   5,813,548.35
                                                       102; Filed: $24,387.41; Reference:
12/04/08      584        DIANNE E. DUSMAN              Dividend paid 30.77% on $15,164.09; Claim#       7100-000                                     1,480.66   5,812,067.69
                                                       103; Filed: $15,164.09; Reference:
12/04/08      585        MR. QUICK LOAN, INC. GERALD   Dividend paid 30.77% on $6,704.56; Claim#        7100-000                                      654.64    5,811,413.05
                         GOLDMAN, ESQ.                 106; Filed: $6,704.56; Reference:
12/04/08      586        PUBLIC SERVICE COMPANY OF     Dividend paid 30.77% on $46,639.11; Claim#       7100-000                                     4,553.94   5,806,859.11
                         NEW HAMPSHIRE                 107; Filed: $46,639.11; Reference:
12/04/08      587        WESTERN MASSACHUSETTS         Dividend paid 30.77% on $41,072.32; Claim#       7100-000                                     4,010.38   5,802,848.73
                         ELECTRIC COMPANY              108; Filed: $41,072.32; Reference:
12/04/08      588        LONG ISLAND LIGHTING          Dividend paid 30.77% on $35,802.22; Claim#       7100-000                                 11,016.87      5,791,831.86
                         COMPANY D/B/A LIPA            109; Filed: $35,802.22; Reference:
12/04/08      589        KEYSPAN ENERGY DELIVERY       Dividend paid 30.77% on $56,881.68; Claim#       7100-000                                 17,503.34      5,774,328.52
                         NEW ENGLAND                   110; Filed: $56,881.68; Reference:
12/04/08      590        KEYSPAN GAS EAST              Dividend paid 30.77% on $31,620.35; Claim#       7100-000                                     9,730.05   5,764,598.47
                         CORPORATION D/B/A             111; Filed: $31,620.35; Reference:
12/04/08      591        ONE STOP FINANCIAL SERVICES   Dividend paid 30.77% on $18,373.99; Claim#       7100-000                                     1,794.07   5,762,804.40
                                                       114; Filed: $18,373.99; Reference:
12/04/08      592        NEW YORK CITY HOUSING         Dividend paid 30.77% on $4,179,354.12;           7100-000                               408,080.75       5,354,723.65
                         AUTHORITY                     Claim# 116; Filed: $4,179,354.12; Reference:
12/04/08      593        JPMORGAN CHASE BANK           Dividend paid 30.77% on $9,736,813.46;           7100-000                               950,722.54       4,404,001.11
                                                       Claim# 117; Filed: $9,736,813.46; Reference:
12/04/08      594        THE BROOKLYN UNION GAS        Dividend paid 30.77% on $1,930,736.97;           7100-000                               594,116.42       3,809,884.69
                         COMPANY D/B/A                 Claim# 118; Filed: $2,435,236.97; Reference:
12/04/08      595        SAMCEIL CHECK CASHING         Dividend paid 30.77% on $1,103.00; Claim#        7100-000                                      107.70    3,809,776.99
                         SERVICE, INC.                 119; Filed: $1,103.00; Reference:
12/04/08      596        CONSOLIDATED EDISON           Dividend paid 30.77% on $19,744,295.43;          7100-000                             1,927,873.70       1,881,903.29
                         COMPANY OF NEW YORK, INC.     Claim# 121; Filed: $19,744,295.43;
                                                       Reference:
12/04/08      597        YANKEE GAS COMPANY            Dividend paid 30.77% on $7,505.53; Claim#        7100-000                                      732.85    1,881,170.44
                                                       122; Filed: $7,505.53; Reference:
12/04/08      598        J&F MINI MARKET, INC.         Dividend paid 30.77% on $2,544.54; Claim#        7100-000                                      248.45    1,880,921.99
                                                       127; Filed: $2,544.54; Reference:
12/04/08      599        ALEKSANDAR STANOJEVIC         Dividend paid 30.77% on $2,275.00; Claim#        7100-001                                      222.13    1,880,699.86
                                                       128U; Filed: $2,275.00; Reference:
                                                       Stopped on 09/24/09
12/04/08      600        TELESECTOR RESOURCES          Dividend paid 30.77% on $12,600,000.00;          7100-000                             1,230,289.97        650,409.89
                         GROUP INC. D/B/A VERIZON      Claim# 129; Filed: $12,600,000.00;

                                                                                              Subtotals :                        $0.00      $5,165,519.70
{} Asset reference(s)                                                                                                                 Printed: 12/07/2017 12:32 PM        V.13.30
                 04-12771-mkv                  Doc 733      Filed 12/19/17 Entered 12/19/17 17:57:32                                           Main Document
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                                                  Cash Receipts And Disbursements Record
Case Number:        04-12771 (MKV)                                                              Trustee:            JOHN S. PEREIRA (521200)
Case Name:          CASHPOINT NETWORK SERVICES INC.                                             Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                                Account:            ***-*****47-66 - Checking Account
Taxpayer ID #: **-***7072                                                                       Blanket Bond:       N/A
Period Ending: 12/07/17                                                                         Separate Bond: $1,415,080.00

   1            2                          3                                    4                                               5                   6                   7

 Trans.     {Ref #} /                                                                                                       Receipts        Disbursements    Checking
  Date      Check #           Paid To / Received From           Description of Transaction                 T-Code              $                  $       Account Balance
                         SVCS                            Reference:
12/04/08      601        LIQUIDITY SOLUTIONS, INC.       Dividend paid 30.77% on $1,985.00; Claim#         7100-000                                      193.82     650,216.07
                                                         130; Filed: $1,985.00; Reference:
12/04/08      602        CSC HOLDINGS, INC.              Dividend paid 30.77% on $1,373,657.52;            7100-000                               134,126.75        516,089.32
                                                         Claim# 132; Filed: $1,373,657.52; Reference:
12/04/08      603        NATIONAL UNION FIRE INS. CO.    Dividend paid 30.77% on $623,708.69;              7100-000                                 60,900.20       455,189.12
                         OF PITTSBURG, PA, TFREE         Claim# 133; Filed: $623,708.69; Reference:
12/04/08      604        SCOTT J. WOLFE                  Dividend paid 30.77% on $199.25; Claim#           7100-000                                       19.45     455,169.67
                                                         134; Filed: $199.25; Reference:
12/04/08      605        JEFF A. WALTERS                 Dividend paid 30.77% on $400.54; Claim#           7100-000                                       39.11     455,130.56
                                                         136; Filed: $400.54; Reference:
12/04/08      606        BRAZIL FOR YOU                  Dividend paid 30.77% on $871.39; Claim#           7100-000                                       85.08     455,045.48
                                                         137; Filed: $871.39; Reference:
12/04/08      607        DANIEL CABRERA                  Dividend paid 30.77% on $1,625.50; Claim#         7100-001                                      500.19     454,545.29
                                                         138; Filed: $1,625.50; Reference:
                                                         Stopped on 09/24/09
12/04/08      608        SPRINT SPECTRUM L.P. D/B/A      Dividend paid 30.77% on $77,411.36; Claim#        7100-000                                     7,558.60    446,986.69
                         SPRINT PCS                      139; Filed: $77,411.36; Reference:
12/04/08      609        BELLSOUTH                       Dividend paid 30.77% on $31,835.42; Claim#        7100-000                                     3,108.47    443,878.22
                         TELECOMMUNICATIONS, INC.        140; Filed: $31,835.42; Reference:
12/04/08      610        JUDITH M. FERTIL                Dividend paid 30.77% on $128.12; Claim#           7100-000                                       12.51     443,865.71
                                                         141; Filed: $128.12; Reference:
12/04/08      611        CITICORP VENDOR FINANCE INC. Dividend paid 30.77% on $50,953.96; Claim#           7100-001                                 15,679.29       428,186.42
                                                         142; Filed: $50,953.96; Reference:
                                                         Stopped on 09/24/09
12/04/08      612        ANA ORTIZ                       Dividend paid 30.77% on $280.69; Claim#           7100-000                                       27.40     428,159.02
                                                         146; Filed: $280.69; Reference:
12/04/08      613        LIQUIDITY SOLUTIONS, INC.       Dividend paid 30.77% on $2,342.07; Claim#         7100-000                                      228.68     427,930.34
                                                         147; Filed: $2,342.07; Reference:
12/04/08      614        CITY OF NEW YORK                Dividend paid 30.77% on $24,188.02; Claim#        7100-000                                     2,361.77    425,568.57
                                                         150; Filed: $24,188.02; Reference:
12/04/08      615        CITY OF NEW YORK                Dividend paid 30.77% on $596,300.22;              7100-000                                 58,223.99       367,344.58
                                                         Claim# 151; Filed: $949,800.22; Reference:
12/04/08      616        CAREER GROUP INC.               Dividend paid 30.77% on $1,296.00; Claim#         7100-000                                      126.55     367,218.03
                                                         153; Filed: $1,296.00; Reference:
12/04/08      617        SCATURRO SUPERMARKETS           Dividend paid 30.77% on $1,105.00; Claim#         7100-000                                      107.89     367,110.14
                                                         154; Filed: $1,105.00; Reference:
12/04/08      618        NEW YORK STATE DEPARTMENT Dividend paid 30.77% on $8,449.35; Claim#               7100-000                                      825.01     366,285.13
                         OF                              158U; Filed: $8,449.35; Reference:

                                                                                                Subtotals :                         $0.00        $284,124.76
{} Asset reference(s)                                                                                                                    Printed: 12/07/2017 12:32 PM        V.13.30
                 04-12771-mkv                    Doc 733      Filed 12/19/17 Entered 12/19/17 17:57:32                                           Main Document
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                                                  Cash Receipts And Disbursements Record
Case Number:        04-12771 (MKV)                                                                Trustee:            JOHN S. PEREIRA (521200)
Case Name:          CASHPOINT NETWORK SERVICES INC.                                               Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                                  Account:            ***-*****47-66 - Checking Account
Taxpayer ID #: **-***7072                                                                         Blanket Bond:       N/A
Period Ending: 12/07/17                                                                           Separate Bond: $1,415,080.00

   1            2                         3                                       4                                               5                   6                   7

 Trans.     {Ref #} /                                                                                                         Receipts        Disbursements    Checking
  Date      Check #         Paid To / Received From               Description of Transaction                 T-Code              $                  $       Account Balance
12/04/08      619        CONSOLIDATED EDISON               Dividend paid 30.77% on $4,755.24; Claim#         7100-000                                      464.31     365,820.82
                         COMPANY OF NEW YORK, INC.         159; Filed: $4,755.24; Reference:
12/04/08      620        JOSE D. PENA OLIVER               Dividend paid 30.77% on $1,047.23; Claim#         7100-000                                      102.26     365,718.56
                                                           163; Filed: $1,047.23; Reference:
12/04/08      621        ASM CAPITAL, TFREE OF COX         Dividend paid 30.77% on $410,000.00;              7100-000                                 40,033.24       325,685.32
                         COMMUNICATIONS LOUISIANA,         Claim# 164; Filed: $410,000.00; Reference:
                         LLC
12/04/08      622        STORAGE USA                       Dividend paid 30.77% on $35,549.14; Claim#        7100-000                                     3,471.09    322,214.23
                                                           166; Filed: $35,549.14; Reference:
12/04/08      623        ASM CAPITAL , ASSIGNEE OF         Dividend paid 30.77% on $1,097,679.12;            7100-000                               107,179.65        215,034.58
                         TIME WARNER                       Claim# 167; Filed: $1,097,679.12; Reference:
12/04/08      624        U.S. Bankruptcy Court             COMBINED SMALL CHECK                                                                             34.58     215,000.00
                                                             Dividend paid 30.77%                 4.82       7100-000                                                 215,000.00
                                                             on $49.32; Claim# 1;
                                                             Filed: $49.32
                                                             Dividend paid 30.77%                 4.03       7100-000                                                 215,000.00
                                                             on $41.35; Claim# 4;
                                                             Filed: $41.35
                                                             Dividend paid 30.77%                 3.16       7100-000                                                 215,000.00
                                                             on $32.37; Claim# 6;
                                                             Filed: $32.37
                                                             Dividend paid 30.77%                 3.71       7100-000                                                 215,000.00
                                                             on $37.91; Claim# 75;
                                                             Filed: $37.91
                                                             Dividend paid 30.77%                 4.56       7100-000                                                 215,000.00
                                                             on $46.71; Claim# 76;
                                                             Filed: $46.71
                                                             Dividend paid 30.77%                 3.96       7100-000                                                 215,000.00
                                                             on $40.56; Claim# 78;
                                                             Filed: $40.56
                                                             Dividend paid 30.77%                 3.77       7100-000                                                 215,000.00
                                                             on $38.58; Claim# 126;
                                                             Filed: $38.58
                                                             Dividend paid 30.77%                 2.51       7100-000                                                 215,000.00
                                                             on $25.73; Claim# 26;
                                                             Filed: $25.73
                                                             Dividend paid 30.77%                 4.06       7100-000                                                 215,000.00
                                                             on $41.55; Claim# 43;
                                                             Filed: $41.55

                                                                                                  Subtotals :                         $0.00        $151,285.13
{} Asset reference(s)                                                                                                                      Printed: 12/07/2017 12:32 PM        V.13.30
                 04-12771-mkv                 Doc 733      Filed 12/19/17 Entered 12/19/17 17:57:32                                          Main Document
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                                                  Cash Receipts And Disbursements Record
Case Number:        04-12771 (MKV)                                                            Trustee:            JOHN S. PEREIRA (521200)
Case Name:          CASHPOINT NETWORK SERVICES INC.                                           Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                              Account:            ***-*****47-66 - Checking Account
Taxpayer ID #: **-***7072                                                                     Blanket Bond:       N/A
Period Ending: 12/07/17                                                                       Separate Bond: $1,415,080.00

   1            2                        3                                     4                                              5                   6                   7

 Trans.     {Ref #} /                                                                                                     Receipts        Disbursements    Checking
  Date      Check #         Paid To / Received From              Description of Transaction              T-Code              $                  $       Account Balance
12/04/08      625        GREENWICH INSURANCE            FULL SETTLEMENT AND SATISFACTION                 4220-000                               215,000.00                    0.00
                         COMPANY                        OF CLAIM NO. 120
12/15/08                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                    9999-000            326,322.70                           326,322.70
                                                        ACCOUNT
12/15/08      626        JOHN S. PEREIRA                PER ORDER GRANTING APPLICATIONS                  2100-000                               225,000.00        101,322.70
                                                        FOR ALLOWANCE OF INTERIM
                                                        COMPENSATION, DATED 12/3/08
12/15/08      627        JONES & SCHWARTZ, P.C.         PER ORDER GRANTING APPLICATIONS                  3210-000                               100,234.40                1,088.30
                                                        FOR ALLOWANCE OF INTERIM
                                                        COMPENSATION, DATED 12/3/08
12/15/08      628        JONES & SCHWARTZ, P.C.         PER ORDER GRANTING APPLICATIONS                  3220-000                                     1,088.30                0.00
                                                        FOR REIMBURSEMENT OF EXPENSES,
                                                        DATED 12/3/08
01/20/09                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                    9999-000             12,879.00                               12,879.00
                                                        ACCOUNT
01/20/09      629        G.E.M. AUCTION CORP.           R-1497 / INVOICE #: 1471 / STORAGE FOR           2410-000                                     7,597.80            5,281.20
                                                        THE PERIOD 12/1/08 - 2/1/09
01/20/09      630        G.E.M. AUCTION CORP.           R-1511 (YONKERS) / INVOICE #: 1475 /             2410-000                                     5,281.20                0.00
                                                        STORAGE FOR THE PERIOD 12/1/08 -
                                                        2/1/09
03/05/09                 From Account #********4765     TRANSFER OF FUNDS TO CHECKING                    9999-000             13,079.00                               13,079.00
                                                        ACCOUNT
03/05/09      631        G.E.M. AUCTION CORP.           R-1497 / INVOICE #: 1547 / STORAGE FOR           2410-000                                     7,797.80            5,281.20
                                                        THE PERIOD 2/1/09 - 4/1/09 and PICKUP OF
                                                        15 BOXES FROM ACCOUNTANT'S OFFICE
03/05/09      632        G.E.M. AUCTION CORP.           R-1511 (YONKERS) / INVOICE #: 1550 /             2410-000                                     5,281.20                0.00
                                                        STORAGE FOR THE PERIOD 2/1/09 - 4/1/09
03/10/09      552        NIAGARA MOHAWK POWER           Dividend paid 30.77% on $37,142.08; Claim#       7100-000                                 -3,626.63               3,626.63
                         CORP., A NATIONAL GRID INC.    41; Filed: $37,142.08; Reference:
                                                        Stopped: check issued on 12/04/08
03/10/09      553        NIAGARA MOHAWK POWER           Dividend paid 30.77% on $4,728.84; Claim#        7100-000                                      -461.73            4,088.36
                         CORP., A NATIONAL GRID INC.    42; Filed: $4,728.84; Reference:
                                                        Stopped: check issued on 12/04/08
03/10/09      554        NIAGARA MOHAWK POWER           Dividend paid 30.77% on $22,490.66; Claim#       7100-000                                 -2,196.03               6,284.39
                         CORP., A NATIONAL GRID INC.    44; Filed: $22,490.66; Reference:
                                                        Stopped: check issued on 12/04/08
03/10/09      633        NIAGARA MOHAWK POWER           Dividend paid 30.77% on $37,142.08; Claim#       7100-000                                     3,626.63            2,657.76
                         CORP., A NATIONAL GRID INC.    41; Filed: $37,142.08; Reference:
03/10/09      634        NIAGARA MOHAWK POWER           Dividend paid 30.77% on $4,728.84; Claim#        7100-000                                      461.73             2,196.03

                                                                                              Subtotals :                  $352,280.70         $565,084.67
{} Asset reference(s)                                                                                                                  Printed: 12/07/2017 12:32 PM        V.13.30
                 04-12771-mkv                  Doc 733      Filed 12/19/17 Entered 12/19/17 17:57:32                                           Main Document
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                                                    Cash Receipts And Disbursements Record
Case Number:        04-12771 (MKV)                                                              Trustee:            JOHN S. PEREIRA (521200)
Case Name:          CASHPOINT NETWORK SERVICES INC.                                             Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                                Account:            ***-*****47-66 - Checking Account
Taxpayer ID #: **-***7072                                                                       Blanket Bond:       N/A
Period Ending: 12/07/17                                                                         Separate Bond: $1,415,080.00

   1            2                         3                                      4                                              5                   6                   7

 Trans.     {Ref #} /                                                                                                       Receipts        Disbursements    Checking
  Date      Check #         Paid To / Received From                Description of Transaction              T-Code              $                  $       Account Balance
                         CORP., A NATIONAL GRID INC.     42; Filed: $4,728.84; Reference:
03/10/09      635        NIAGARA MOHAWK POWER            Dividend paid 30.77% on $22,490.66; Claim#        7100-000                                     2,196.03                0.00
                         CORP., A NATIONAL GRID INC.     44; Filed: $22,490.66; Reference:
04/07/09                 From Account #********4765      TRANSFER OF FUNDS TO CHECKING                     9999-000              6,483.40                                   6,483.40
                                                         ACCOUNT
04/07/09      636        G.E.M. AUCTION CORP.            R-1497 / INVOICE #: 1580 / STORAGE FOR            2410-000                                     3,842.80            2,640.60
                                                         THE PERIOD 4/1/09 - 5/1/09 and PICKUP OF
                                                         7 BOXES FROM COUNSEL'S OFFICE
04/07/09      637        G.E.M. AUCTION CORP.            R-1511 (YONKERS) / INVOICE #: 1583 /              2410-000                                     2,640.60                0.00
                                                         STORAGE FOR THE PERIOD 4/1/09 - 5/1/09
05/11/09                 From Account #********4765      TRANSFER OF FUNDS TO CHECKING                     9999-000              6,458.40                                   6,458.40
                                                         ACCOUNT
05/11/09      638        G.E.M. AUCTION CORP.            R-1497 / INVOICE #: 1612 / STORAGE FOR            2410-000                                     3,817.80            2,640.60
                                                         THE PERIOD 5/1/09 - 6/1/09
05/11/09      639        G.E.M. AUCTION CORP.            R-1511 (YONKERS) / INVOICE #: 1615 /              2410-000                                     2,640.60                0.00
                                                         STORAGE FOR THE PERIOD 5/1/09 - 6/1/09
06/16/09                 From Account #********4765      TRANSFER OF FUNDS TO CHECKING                     9999-000              6,458.40                                   6,458.40
                                                         ACCOUNT
06/16/09      640        G.E.M. AUCTION CORP.            R-1497 / INVOICE #: 1647 / STORAGE FOR            2410-000                                     3,817.80            2,640.60
                                                         THE PERIOD 6/1/09 - 7/1/09
06/16/09      641        G.E.M. AUCTION CORP.            R-1511 (YONKERS) / INVOICE #: 1650 /              2410-000                                     2,640.60                0.00
                                                         STORAGE FOR THE PERIOD 6/1/09 - 7/1/09
07/30/09                 From Account #********4765      TRANSFER OF FUNDS TO CHECKING                     9999-000              6,458.40                                   6,458.40
                                                         ACCOUNT
07/30/09      642        G.E.M. AUCTION CORP.            R-1511 (YONKERS) / INVOICE #: 1673 /              2410-000                                     2,640.60            3,817.80
                                                         STORAGE FOR THE PERIOD 7/1/09 - 8/1/09
07/30/09      643        G.E.M. AUCTION CORP.            R-1497 / INVOICE # 1671 / STORAGE FOR             2410-000                                     3,817.80                0.00
                                                         THE PERIOD 7/1/09 - 8/1/09
09/08/09                 From Account #********4765      TRANSFER OF FUNDS TO CHECKING                     9999-000             12,916.80                               12,916.80
                                                         ACCOUNT
09/08/09      644        G.E.M. AUCTION CORP.            R-1497 / INVOICE #: 1696 & 1719 /                 2410-000                                     7,635.60            5,281.20
                                                         STORAGE FOR THE PERIOD 8/1/09 -
                                                         10/1/09
09/08/09      645        G.E.M. AUCTION CORP.            R-1511 (YONKERS) / INVOICE #: 1700 &              2410-000                                     5,281.20                0.00
                                                         1721 / STORAGE FOR THE PERIOD 8/1/09 -
                                                         10/1/09
09/24/09                 From Account #********4765      TRANSFER OF FUNDS TO CHECKING                     9999-000            326,539.61                           326,539.61
                                                         ACCOUNT
09/24/09                 To Account #********7366        TRANSFER OF FUNDS - UNCLAIMED                     9999-000                                 89,554.53       236,985.08

                                                                                                Subtotals :                  $365,315.01         $130,525.96
{} Asset reference(s)                                                                                                                    Printed: 12/07/2017 12:32 PM        V.13.30
                 04-12771-mkv               Doc 733      Filed 12/19/17 Entered 12/19/17 17:57:32                                           Main Document
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                                               Cash Receipts And Disbursements Record
Case Number:        04-12771 (MKV)                                                           Trustee:            JOHN S. PEREIRA (521200)
Case Name:          CASHPOINT NETWORK SERVICES INC.                                          Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                             Account:            ***-*****47-66 - Checking Account
Taxpayer ID #: **-***7072                                                                    Blanket Bond:       N/A
Period Ending: 12/07/17                                                                      Separate Bond: $1,415,080.00

   1            2                       3                                    4                                               5                   6                   7

 Trans.     {Ref #} /                                                                                                    Receipts        Disbursements    Checking
  Date      Check #        Paid To / Received From           Description of Transaction                 T-Code              $                  $       Account Balance
                                                      DIVIDENDS
09/24/09      520        MRS. MARIA TORRES            Dividend paid 30.77% on $68.39; Claim# 5;         7100-001                                       -6.67     236,991.75
                                                      Filed: $68.39; Reference:
                                                      Stopped: check issued on 12/04/08
09/24/09      522        TRACEY REBELB                Dividend paid 30.77% on $170.00; Claim# 8;        7100-001                                      -52.31     237,044.06
                                                      Filed: $170.00; Reference:
                                                      Stopped: check issued on 12/04/08
09/24/09      524        STEVEN DAVIS                 Dividend paid 30.77% on $125.82; Claim# 11;       7100-001                                      -38.72     237,082.78
                                                      Filed: $125.82; Reference:
                                                      Stopped: check issued on 12/04/08
09/24/09      525        YVONNE COVAN                 Dividend paid 30.77% on $82.00; Claim# 12;        7100-001                                      -25.23     237,108.01
                                                      Filed: $82.00; Reference:
                                                      Stopped: check issued on 12/04/08
09/24/09      530        CHERYL DIAS                  Dividend paid 30.77% on $50.00; Claim# 17;        7100-001                                      -15.39     237,123.40
                                                      Filed: $50.00; Reference:
                                                      Stopped: check issued on 12/04/08
09/24/09      535        PETER A. BORGOS              Dividend paid 30.77% on $107.31; Claim# 23;       7100-001                                      -10.48     237,133.88
                                                      Filed: $107.31; Reference:
                                                      Stopped: check issued on 12/04/08
09/24/09      545        DISCOVERY DEPOT              Dividend paid 30.77% on $840.00; Claim# 34;       7100-001                                     -258.48     237,392.36
                                                      Filed: $840.00; Reference:
                                                      Stopped: check issued on 12/04/08
09/24/09      549        ISAIAH CHECK CASHING, INC.   Dividend paid 30.77% on $285.00; Claim# 38;       7100-001                                      -27.83     237,420.19
                                                      Filed: $285.00; Reference:
                                                      Stopped: check issued on 12/04/08
09/24/09      555        BROWN'S PAWN & CYCLE         Dividend paid 30.77% on $1,200.00; Claim#         7100-001                                     -369.26     237,789.45
                                                      45; Filed: $1,200.00; Reference:
                                                      Stopped: check issued on 12/04/08
09/24/09      561        RCN TELECOM SERVICES, INC.   Dividend paid 30.77% on $213,233.65;              7100-001                                -65,615.16       303,404.61
                                                      Claim# 52; Filed: $213,233.65; Reference:
                                                      Stopped: check issued on 12/04/08
09/24/09      569        ASSOCIATED SUPERMARKET       Dividend paid 30.77% on $1,755.02; Claim#         7100-001                                     -171.37     303,575.98
                                                      65; Filed: $1,755.02; Reference:
                                                      Stopped: check issued on 12/04/08
09/24/09      570        CITIGROUP                    Dividend paid 30.77% on $21,325.00; Claim#        7100-001                                 -6,562.02       310,138.00
                                                      67; Filed: $21,325.00; Reference:
                                                      Stopped: check issued on 12/04/08
09/24/09      599        ALEKSANDAR STANOJEVIC        Dividend paid 30.77% on $2,275.00; Claim#         7100-001                                     -222.13     310,360.13
                                                      128U; Filed: $2,275.00; Reference:


                                                                                             Subtotals :                         $0.00         $-73,375.05
{} Asset reference(s)                                                                                                                 Printed: 12/07/2017 12:32 PM        V.13.30
                 04-12771-mkv                 Doc 733       Filed 12/19/17 Entered 12/19/17 17:57:32                                         Main Document
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                                                  Cash Receipts And Disbursements Record
Case Number:        04-12771 (MKV)                                                            Trustee:            JOHN S. PEREIRA (521200)
Case Name:          CASHPOINT NETWORK SERVICES INC.                                           Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                              Account:            ***-*****47-66 - Checking Account
Taxpayer ID #: **-***7072                                                                     Blanket Bond:       N/A
Period Ending: 12/07/17                                                                       Separate Bond: $1,415,080.00

   1            2                        3                                      4                                             5                   6                   7

 Trans.     {Ref #} /                                                                                                     Receipts        Disbursements    Checking
  Date      Check #         Paid To / Received From             Description of Transaction               T-Code              $                  $       Account Balance
                                                         Stopped: check issued on 12/04/08
09/24/09      607        DANIEL CABRERA                  Dividend paid 30.77% on $1,625.50; Claim#       7100-001                                      -500.19    310,860.32
                                                         138; Filed: $1,625.50; Reference:
                                                         Stopped: check issued on 12/04/08
09/24/09      611        CITICORP VENDOR FINANCE INC. Dividend paid 30.77% on $50,953.96; Claim#         7100-001                                -15,679.29       326,539.61
                                                         142; Filed: $50,953.96; Reference:
                                                         Stopped: check issued on 12/04/08
09/24/09      646        JOHN S. PEREIRA                 TRUSTEE COMMISSION, PER ORDER                   2100-000                               210,435.97        116,103.64
                                                         GRANTING INTERIM COMPENSATION
                                                         DATED SEPTEMBER 24, 2009
09/24/09      647        JONES & SCHWARTZ, P.C.          ATTORNEY FOR THE TRUSTEE FEES, PER              3210-000                                 26,808.00           89,295.64
                                                         ORDER GRANTING INTERIM
                                                         COMPENSATION DATED SEPTEMBER 24,
                                                         2009
09/24/09      648        JONES & SCHWARTZ, P.C.          ATTORNEY FOR THE TRUSTEE                        3220-000                                      763.43         88,532.21
                                                         EXPENSES, PER ORDER GRANTING
                                                         REIMBURSEMENT OF EXPENSES DATED
                                                         SEPTEMBER 24, 2009
09/24/09      649        KEVIN M. COFFEY, LLC            ACCOUNTANT FOR THE TRUSTEE FEES,                3410-000                                 66,303.00           22,229.21
                                                         PER ORDER GRANTING INTERIM
                                                         COMPENSATION DATED SEPTEMBER 24,
                                                         2009
09/24/09      650        KEVIN M. COFFEY, LLC            ACCOUNTANT FOR THE TRUSTEE                      3420-000                                      141.74         22,087.47
                                                         EXPENSES, PER ORDER GRANTING
                                                         REIMBURSEMENT OF EXPENSES DATED
                                                         SEPTEMBER 24, 2009
09/24/09      651        ADAMS & REESE LLP               SPECIAL COUNSEL FOR THE TRUSTEE                 3210-600                                 19,817.50               2,269.97
                                                         FEES, PER ORDER GRANTING INTERIM
                                                         COMPENSATION DATED SEPTEMBER 24,
                                                         2009
09/24/09      652        ADAMS & REESE LLP               SPECIAL COUNSEL FOR THE TRUSTEE                 3220-610                                     2,269.97                0.00
                                                         EXPENSES, PER ORDER GRANTING
                                                         REIMBURSEMENT OF EXPENSES DATED
                                                         SEPTEMBER 24, 2009
10/01/09                 From Account #********4765      TRANSFER OF FUNDS TO CHECKING                   9999-000          6,000,000.00                          6,000,000.00
                                                         ACCOUNT
10/01/09      653        JASON DESOUTO                   Dividend paid 38.97% on $501.14; Claim# 2;      7100-000                                       41.12    5,999,958.88
                                                         Filed: $501.14; Reference:
10/01/09      654        JANICE DESOUTO                  Dividend paid 38.97% on $337.26; Claim# 3;      7100-000                                       27.68    5,999,931.20


                                                                                              Subtotals :                $6,000,000.00         $310,428.93
{} Asset reference(s)                                                                                                                  Printed: 12/07/2017 12:32 PM        V.13.30
                 04-12771-mkv                  Doc 733      Filed 12/19/17 Entered 12/19/17 17:57:32                                           Main Document
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                                                  Cash Receipts And Disbursements Record
Case Number:        04-12771 (MKV)                                                              Trustee:            JOHN S. PEREIRA (521200)
Case Name:          CASHPOINT NETWORK SERVICES INC.                                             Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                                Account:            ***-*****47-66 - Checking Account
Taxpayer ID #: **-***7072                                                                       Blanket Bond:       N/A
Period Ending: 12/07/17                                                                         Separate Bond: $1,415,080.00

   1            2                          3                                    4                                               5                   6                   7

 Trans.     {Ref #} /                                                                                                       Receipts        Disbursements    Checking
  Date      Check #           Paid To / Received From           Description of Transaction                 T-Code              $                  $       Account Balance
                                                         Filed: $337.26; Reference:
10/01/09      655        MRS. MARIA TORRES               Dividend paid 38.97% on $68.39; Claim# 5;         7100-001                                         5.62   5,999,925.58
                                                         Filed: $68.39; Reference:
                                                         Stopped on 07/02/10
10/01/09      656        ALEXANDER C. PIERCE             Dividend paid 38.97% on $150.00; Claim# 7;        7100-000                                       12.31    5,999,913.27
                                                         Filed: $150.00; Reference:
10/01/09      657        TRACEY REBELB                   Dividend paid 38.97% on $170.00; Claim# 8;        7100-001                                       13.95    5,999,899.32
                                                         Filed: $170.00; Reference:
                                                         Stopped on 07/02/10
10/01/09      658        STEVEN DAVIS                    Dividend paid 38.97% on $125.82; Claim# 11;       7100-001                                       10.32    5,999,889.00
                                                         Filed: $125.82; Reference:
                                                         Stopped on 07/02/10
10/01/09      659        YVONNE COVAN                    Dividend paid 38.97% on $82.00; Claim# 12;        7100-001                                         6.73   5,999,882.27
                                                         Filed: $82.00; Reference:
                                                         Stopped on 07/02/10
10/01/09      660        PATRICIA STEPHENS               Dividend paid 38.97% on $69.00; Claim# 13;        7100-000                                         5.66   5,999,876.61
                                                         Filed: $69.00; Reference:
10/01/09      661        STEVEN FISHER                   Dividend paid 38.97% on $120.00; Claim# 14;       7100-000                                         9.84   5,999,866.77
                                                         Filed: $120.00; Reference:
10/01/09      662        NORBERT MONIZ                   Dividend paid 38.97% on $79.51; Claim# 15;        7100-000                                         6.52   5,999,860.25
                                                         Filed: $79.51; Reference:
10/01/09      663        LIQUIDITY SOLUTIONS, INC.,      Dividend paid 38.97% on $3,140.80; Claim#         7100-000                                      257.73    5,999,602.52
                         TRANSFEREE                      16; Filed: $3,140.80; Reference:
10/01/09      664        NATIONAL FUEL                   Dividend paid 38.97% on $162.23; Claim# 18;       7100-000                                       13.31    5,999,589.21
                                                         Filed: $162.23; Reference:
10/01/09      665        WILLIAM J. KUNEMAN              Dividend paid 38.97% on $200.23; Claim# 19;       7100-000                                       16.43    5,999,572.78
                                                         Filed: $200.23; Reference:
10/01/09      666        MORGAN, LEWIS & BOCKIUS LLP     Dividend paid 38.97% on $97,592.70; Claim#        7100-000                                     8,008.25   5,991,564.53
                                                         20; Filed: $97,592.70; Reference:
10/01/09      667        ASM CAPITAL, L.P. TRANSFEREE    Dividend paid 38.97% on $20,083.44; Claim#        7100-000                                     1,648.01   5,989,916.52
                         OF                              22; Filed: $20,083.44; Reference:
10/01/09      668        PETER A. BORGOS                 Dividend paid 38.97% on $107.31; Claim# 23;       7100-001                                         8.81   5,989,907.71
                                                         Filed: $107.31; Reference:
                                                         Stopped on 07/02/10
10/01/09      669        IBM CREDIT, LLC.                Dividend paid 38.97% on $598,492.00;              7100-000                                 49,110.96      5,940,796.75
                                                         Claim# 24; Filed: $598,492.00; Reference:
10/01/09      670        MABLE HENDERSON                 Dividend paid 38.97% on $162.23; Claim# 25;       7100-000                                       13.31    5,940,783.44
                                                         Filed: $162.23; Reference:
10/01/09      671        SAM MARCOS CHECK CASHING        Dividend paid 38.97% on $1,357.21; Claim#         7100-000                                      111.37    5,940,672.07

                                                                                                Subtotals :                         $0.00         $59,259.13
{} Asset reference(s)                                                                                                                    Printed: 12/07/2017 12:32 PM        V.13.30
                 04-12771-mkv                  Doc 733       Filed 12/19/17 Entered 12/19/17 17:57:32                                        Main Document
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                                                  Cash Receipts And Disbursements Record
Case Number:        04-12771 (MKV)                                                            Trustee:            JOHN S. PEREIRA (521200)
Case Name:          CASHPOINT NETWORK SERVICES INC.                                           Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                              Account:            ***-*****47-66 - Checking Account
Taxpayer ID #: **-***7072                                                                     Blanket Bond:       N/A
Period Ending: 12/07/17                                                                       Separate Bond: $1,415,080.00

   1            2                          3                                     4                                            5                   6                   7

 Trans.     {Ref #} /                                                                                                     Receipts        Disbursements    Checking
  Date      Check #           Paid To / Received From            Description of Transaction              T-Code              $                  $       Account Balance
                                                          27; Filed: $1,357.21; Reference:
10/01/09      672        ASM CAPITAL, L.P., TRANSFEREE Dividend paid 38.97% on $5,379.76; Claim#         7100-000                                      441.45    5,940,230.62
                         OF                               28; Filed: $5,379.76; Reference:
10/01/09      673        ANN & HOPE, INC.                 Dividend paid 38.97% on $852.75; Claim# 29;    7100-000                                       69.98    5,940,160.64
                                                          Filed: $852.75; Reference:
10/01/09      674        AMERICAN SOLUTIONS FOR           Dividend paid 38.97% on $16,027.33; Claim#     7100-000                                     1,315.17   5,938,845.47
                         BUSINESS                         30; Filed: $16,027.33; Reference:
10/01/09      675        MICKEY GROCERY INC.              Dividend paid 38.97% on $328.11; Claim# 31;    7100-000                                       26.93    5,938,818.54
                                                          Filed: $328.11; Reference:
10/01/09      676        COTTONLAND FINANCIAL             Dividend paid 38.97% on $333.25; Claim# 32;    7100-000                                       27.34    5,938,791.20
                         SERVICES, INC.                   Filed: $333.25; Reference:
10/01/09      677        SPCP GROUP, LLP ASSNR OF         Dividend paid 38.97% on $265.00; Claim# 33;    7100-000                                       21.75    5,938,769.45
                         RED & WHITE EXPRESSMART          Filed: $265.00; Reference:
10/01/09      678        DISCOVERY DEPOT                  Dividend paid 38.97% on $840.00; Claim# 34;    7100-001                                       68.93    5,938,700.52
                                                          Filed: $840.00; Reference:
                                                          Stopped on 07/02/10
10/01/09      679        DISCOVER FINANCIAL               Dividend paid 38.97% on $2,435.62; Claim#      7100-000                                      199.86    5,938,500.66
                         SERVICES, INC.                   35; Filed: $2,435.62; Reference:
10/01/09      680        GARDERE VILLAGE                  Dividend paid 38.97% on $850.00; Claim# 36;    7100-000                                       69.75    5,938,430.91
                         SUPERMARKET                      Filed: $850.00; Reference:
10/01/09      681        CLEM'S CREATIONS                 Dividend paid 38.97% on $846.65; Claim# 37;    7100-000                                       69.47    5,938,361.44
                                                          Filed: $846.65; Reference:
10/01/09      682        ISAIAH CHECK CASHING, INC.       Dividend paid 38.97% on $285.00; Claim# 38;    7100-001                                       23.39    5,938,338.05
                                                          Filed: $285.00; Reference:
                                                          Stopped on 10/22/09
10/01/09      683        SAWEJKO COMMUNICATIONS           Dividend paid 38.97% on $1,628.75; Claim#      7100-000                                      133.65    5,938,204.40
                                                          39; Filed: $1,628.75; Reference:
10/01/09      684        THOMAS J. HANSON                 Dividend paid 38.97% on $6,285.17; Claim#      7100-000                                      515.75    5,937,688.65
                                                          40; Filed: $6,285.17; Reference:
10/01/09      685        NIAGARA MOHAWK POWER             Dividend paid 38.97% on $37,142.08; Claim#     7100-001                                     3,047.80   5,934,640.85
                         CORP., A NATIONAL GRID INC.      41; Filed: $37,142.08; Reference:
                                                          Stopped on 07/02/10
10/01/09      686        NIAGARA MOHAWK POWER             Dividend paid 38.97% on $4,728.84; Claim#      7100-001                                      388.04    5,934,252.81
                         CORP., A NATIONAL GRID INC.      42; Filed: $4,728.84; Reference:
                                                          Stopped on 07/02/10
10/01/09      687        NIAGARA MOHAWK POWER             Dividend paid 38.97% on $22,490.66; Claim#     7100-001                                     1,845.53   5,932,407.28
                         CORP., A NATIONAL GRID INC.      44; Filed: $22,490.66; Reference:
                                                          Stopped on 07/02/10
10/01/09      688        BROWN'S PAWN & CYCLE             Dividend paid 38.97% on $1,200.00; Claim#      7100-001                                       98.47    5,932,308.81

                                                                                               Subtotals :                        $0.00           $8,363.26
{} Asset reference(s)                                                                                                                  Printed: 12/07/2017 12:32 PM        V.13.30
                 04-12771-mkv                Doc 733       Filed 12/19/17 Entered 12/19/17 17:57:32                                           Main Document
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                                                                                                                                                                           Exhibit 9


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                                               Cash Receipts And Disbursements Record
Case Number:        04-12771 (MKV)                                                             Trustee:            JOHN S. PEREIRA (521200)
Case Name:          CASHPOINT NETWORK SERVICES INC.                                            Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                               Account:            ***-*****47-66 - Checking Account
Taxpayer ID #: **-***7072                                                                      Blanket Bond:       N/A
Period Ending: 12/07/17                                                                        Separate Bond: $1,415,080.00

   1            2                       3                                      4                                               5                   6                   7

 Trans.     {Ref #} /                                                                                                      Receipts        Disbursements    Checking
  Date      Check #        Paid To / Received From             Description of Transaction                 T-Code              $                  $       Account Balance
                                                        45; Filed: $1,200.00; Reference:
                                                        Stopped on 10/22/09
10/01/09      689        LIQUIDITY SOLUTIONS INC.       Dividend paid 38.97% on $1,787.96; Claim#         7100-000                                      146.72    5,932,162.09
                                                        47; Filed: $1,787.96; Reference:
10/01/09      690        DISCOUNT PAWN AND JEWELRY, Dividend paid 38.97% on $1,755.00; Claim#             7100-000                                      144.01    5,932,018.08
                         CORP.                          48; Filed: $1,755.00; Reference:
10/01/09      691        ELYSE MANCHER                  Dividend paid 38.97% on $1,897.30; Claim#         7100-000                                      155.69    5,931,862.39
                                                        49; Filed: $1,897.30; Reference:
10/01/09      692        DENNIS SLUDER                  Dividend paid 38.97% on $571.20; Claim# 50;       7100-000                                       46.87    5,931,815.52
                                                        Filed: $571.20; Reference:
10/01/09      693        RALPH E. LOPRESTI              Dividend paid 38.97% on $590.00; Claim# 51;       7100-000                                       48.42    5,931,767.10
                                                        Filed: $590.00; Reference:
10/01/09      694        RCN TELECOM SERVICES, INC.     Dividend paid 38.97% on $213,233.65;              7100-001                                 17,497.49      5,914,269.61
                                                        Claim# 52; Filed: $213,233.65; Reference:
                                                        Stopped on 07/02/10
10/01/09      695        NEW YORK STATE BANKING         Dividend paid 38.97% on $1,846.90; Claim#         7100-000                                      151.55    5,914,118.06
                         DEPARTMENT                     53; Filed: $1,846.90; Reference: XX-XXXXXXX
10/01/09      696        ENTERGY SERVICES, INC.         Dividend paid 38.97% on $16,404,509.28;           7100-000                             1,346,118.73       4,567,999.33
                                                        Claim# 54; Filed: $16,404,509.28; Reference:
10/01/09      697        GREGORY C. LEGG                Dividend paid 38.97% on $8,113.24; Claim#         7100-000                                      665.76    4,567,333.57
                                                        59; Filed: $8,113.24; Reference:
10/01/09      698        NICHOLE MONGEON, GENERAL       Dividend paid 38.97% on $2,174.20; Claim#         7100-000                                      178.41    4,567,155.16
                         COUNSEL                        61; Filed: $2,174.20; Reference:
10/01/09      699        SERVICE REX ALL DRUGS          Dividend paid 38.97% on $343.35; Claim# 62;       7100-000                                       28.18    4,567,126.98
                                                        Filed: $343.35; Reference:
10/01/09      700        WHITTINGTONS NOTARY            Dividend paid 38.97% on $2,846.40; Claim#         7100-000                                      233.57    4,566,893.41
                         SERVICE, LLC                   63; Filed: $2,846.40; Reference:
10/01/09      701        EZ CASH                        Dividend paid 38.97% on $3,125.45; Claim#         7100-000                                      256.47    4,566,636.94
                                                        64; Filed: $3,125.45; Reference:
10/01/09      702        ASSOCIATED SUPERMARKET         Dividend paid 38.97% on $1,755.02; Claim#         7100-000                                      144.01    4,566,492.93
                                                        65; Filed: $1,755.02; Reference:
10/01/09      703        CITIGROUP                      Dividend paid 38.97% on $21,325.00; Claim#        7100-001                                     1,749.88   4,564,743.05
                                                        67; Filed: $21,325.00; Reference:
                                                        Stopped on 07/02/10
10/01/09      704        JAMES ROBERT SLIGH             Dividend paid 38.97% on $250,000.00;              7100-000                                 97,443.17      4,467,299.88
                                                        Claim# 70; Filed: $250,000.00; Reference:
10/01/09      705        AT&T WIRELESS SERVICES, INC.   Dividend paid 38.97% on $43,881.96; Claim#        7100-000                                     3,600.86   4,463,699.02
                                                        71; Filed: $43,881.96; Reference:
10/01/09      706        LIQUIDITY SOLUTIONS, INC.      Dividend paid 38.97% on $7,046.59; Claim#         7100-000                                      578.23    4,463,120.79

                                                                                               Subtotals :                         $0.00      $1,469,188.02
{} Asset reference(s)                                                                                                                   Printed: 12/07/2017 12:32 PM        V.13.30
                 04-12771-mkv                Doc 733      Filed 12/19/17 Entered 12/19/17 17:57:32                                           Main Document
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                                                Cash Receipts And Disbursements Record
Case Number:        04-12771 (MKV)                                                            Trustee:            JOHN S. PEREIRA (521200)
Case Name:          CASHPOINT NETWORK SERVICES INC.                                           Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                              Account:            ***-*****47-66 - Checking Account
Taxpayer ID #: **-***7072                                                                     Blanket Bond:       N/A
Period Ending: 12/07/17                                                                       Separate Bond: $1,415,080.00

   1            2                        3                                    4                                               5                   6                   7

 Trans.     {Ref #} /                                                                                                     Receipts        Disbursements    Checking
  Date      Check #        Paid To / Received From            Description of Transaction                 T-Code              $                  $       Account Balance
                                                       72; Filed: $7,046.59; Reference:
10/01/09      707        CEBCO CHECK CASHER CORP.      Dividend paid 38.97% on $9,824.11; Claim#         7100-000                                      806.15    4,462,314.64
                         GERALD GOLDMAN, ESQ.          73; Filed: $9,824.11; Reference:
                                                       Stopped on 07/02/10
10/01/09      708        MONEY CENTERS GERALD          Dividend paid 38.97% on $151.09; Claim# 74;       7100-001                                       12.40    4,462,302.24
                         GOLDMAN, ESQ.                 Filed: $151.09; Reference:
                                                       Stopped on 07/02/10
10/01/09      709        MONEY CENTERS GERALD          Dividend paid 38.97% on $76.49; Claim# 77;        7100-001                                         6.27   4,462,295.97
                         GOLDMAN, ESQ.                 Filed: $76.49; Reference:
                                                       Stopped on 07/02/10
10/01/09      710        JENN GREG ENTERPRISES INC.    Dividend paid 38.97% on $33,391.73; Claim#        7100-000                                     2,740.05   4,459,555.92
                                                       80; Filed: $33,391.73; Reference:
10/01/09      711        GEM CHECK CASHING CORP.       Dividend paid 38.97% on $6,815.00; Claim#         7100-000                                      559.22    4,458,996.70
                                                       81; Filed: $6,815.00; Reference:
10/01/09      712        TOMPKINS EXPRESS CHECK        Dividend paid 38.97% on $426.00; Claim# 82;       7100-000                                       34.95    4,458,961.75
                         CASHING CORP.                 Filed: $426.00; Reference:
10/01/09      713        VEIL CHECK CASHING CORP.      Dividend paid 38.97% on $5,095.00; Claim#         7100-000                                      418.08    4,458,543.67
                                                       83; Filed: $5,095.00; Reference:
10/01/09      714        VALE CHECKING OF NEW YORK,    Dividend paid 38.97% on $257.00; Claim# 84;       7100-000                                       21.09    4,458,522.58
                         INC.                          Filed: $257.00; Reference:
10/01/09      715        PPL GAS UTILITIES             Dividend paid 38.97% on $169,045.42;              7100-000                                 13,871.51      4,444,651.07
                         CORPORATION                   Claim# 93; Filed: $169,045.42; Reference:
10/01/09      716        PPL ELECTRIC UTILITIES        Dividend paid 38.97% on $952,127.00;              7100-000                                 78,129.49      4,366,521.58
                         CORPORATION                   Claim# 94; Filed: $952,127.00; Reference:
10/01/09      717        DIANNE E. DUSMAN              Dividend paid 38.97% on $24,387.41; Claim#        7100-000                                     2,001.18   4,364,520.40
                                                       102; Filed: $24,387.41; Reference:
10/01/09      718        DIANNE E. DUSMAN              Dividend paid 38.97% on $15,164.09; Claim#        7100-000                                     1,244.33   4,363,276.07
                                                       103; Filed: $15,164.09; Reference:
10/01/09      719        MR. QUICK LOAN, INC. GERALD   Dividend paid 38.97% on $6,704.56; Claim#         7100-001                                      550.16    4,362,725.91
                         GOLDMAN, ESQ.                 106; Filed: $6,704.56; Reference:
                                                       Stopped on 07/02/10
10/01/09      720        PUBLIC SERVICE COMPANY OF     Dividend paid 38.97% on $46,639.11; Claim#        7100-000                                     3,827.10   4,358,898.81
                         NEW HAMPSHIRE                 107; Filed: $46,639.11; Reference:
10/01/09      721        WESTERN MASSACHUSETTS         Dividend paid 38.97% on $41,072.32; Claim#        7100-000                                     3,370.31   4,355,528.50
                         ELECTRIC COMPANY              108; Filed: $41,072.32; Reference:
10/01/09      722        LONG ISLAND LIGHTING          Dividend paid 38.97% on $35,802.22; Claim#        7100-000                                     2,937.86   4,352,590.64
                         COMPANY D/B/A LIPA            109; Filed: $35,802.22; Reference:
10/01/09      723        KEYSPAN ENERGY DELIVERY       Dividend paid 38.97% on $56,881.68; Claim#        7100-000                                     4,667.59   4,347,923.05
                         NEW ENGLAND                   110; Filed: $56,881.68; Reference:

                                                                                              Subtotals :                         $0.00        $115,197.74
{} Asset reference(s)                                                                                                                  Printed: 12/07/2017 12:32 PM        V.13.30
                 04-12771-mkv                 Doc 733      Filed 12/19/17 Entered 12/19/17 17:57:32                                           Main Document
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                                                 Cash Receipts And Disbursements Record
Case Number:        04-12771 (MKV)                                                             Trustee:            JOHN S. PEREIRA (521200)
Case Name:          CASHPOINT NETWORK SERVICES INC.                                            Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                               Account:            ***-*****47-66 - Checking Account
Taxpayer ID #: **-***7072                                                                      Blanket Bond:       N/A
Period Ending: 12/07/17                                                                        Separate Bond: $1,415,080.00

   1            2                        3                                     4                                               5                   6                   7

 Trans.     {Ref #} /                                                                                                      Receipts        Disbursements    Checking
  Date      Check #        Paid To / Received From             Description of Transaction                 T-Code              $                  $       Account Balance
                                                        Voided on 03/02/10
10/01/09      724        KEYSPAN GAS EAST               Dividend paid 38.97% on $31,620.35; Claim#        7100-000                                     2,594.70   4,345,328.35
                         CORPORATION D/B/A              111; Filed: $31,620.35; Reference:
10/01/09      725        ONE STOP FINANCIAL SERVICES    Dividend paid 38.97% on $18,373.99; Claim#        7100-000                                     1,507.73   4,343,820.62
                                                        114; Filed: $18,373.99; Reference:
10/01/09      726        NEW YORK CITY HOUSING          Dividend paid 38.97% on $4,179,354.12;            7100-000                               342,948.81       4,000,871.81
                         AUTHORITY                      Claim# 116; Filed: $4,179,354.12; Reference:
                                                        XX-XXXXXXX
10/01/09      727        JPMORGAN CHASE BANK            Dividend paid 38.97% on $9,736,813.46;            7100-000                               798,981.96       3,201,889.85
                                                        Claim# 117; Filed: $9,736,813.46; Reference:
10/01/09      728        THE BROOKLYN UNION GAS         Dividend paid 38.97% on $1,930,736.97;            7100-000                               158,432.12       3,043,457.73
                         COMPANY D/B/A                  Claim# 118; Filed: $2,435,236.97; Reference:
                                                        Voided on 03/02/10
10/01/09      729        SAMCEIL CHECK CASHING          Dividend paid 38.97% on $1,103.00; Claim#         7100-001                                       90.51    3,043,367.22
                         SERVICE, INC.                  119; Filed: $1,103.00; Reference:
                                                        Stopped on 07/02/10
10/01/09      730        CONSOLIDATED EDISON            Dividend paid 38.97% on $19,744,295.43;           7100-000                             1,620,174.39       1,423,192.83
                         COMPANY OF NEW YORK, INC.      Claim# 121; Filed: $19,744,295.43;
                                                        Reference:
10/01/09      731        YANKEE GAS COMPANY             Dividend paid 38.97% on $7,505.53; Claim#         7100-000                                      615.89    1,422,576.94
                                                        122; Filed: $7,505.53; Reference:
10/01/09      732        CENTRAL MAINE POWER            Dividend paid 38.97% on $81,099.26; Claim#        7100-000                                 31,610.28      1,390,966.66
                         COMPANY                        124; Filed: $81,099.26; Reference:
10/01/09      733        J&F MINI MARKET, INC.          Dividend paid 38.97% on $2,544.54; Claim#         7100-000                                      208.80    1,390,757.86
                                                        127; Filed: $2,544.54; Reference:
10/01/09      734        ALEKSANDAR STANOJEVIC          Dividend paid 38.97% on $2,275.00; Claim#         7100-001                                      186.68    1,390,571.18
                                                        128U; Filed: $2,275.00; Reference:
                                                        Stopped on 07/02/10
10/01/09      735        TELESECTOR RESOURCES           Dividend paid 38.97% on $12,600,000.00;           7100-000                             1,033,928.89        356,642.29
                         GROUP INC. D/B/A VERIZON       Claim# 129; Filed: $12,600,000.00;
                         SVCS                           Reference:
10/01/09      736        LIQUIDITY SOLUTIONS, INC.      Dividend paid 38.97% on $1,985.00; Claim#         7100-000                                      162.89     356,479.40
                                                        130; Filed: $1,985.00; Reference:
10/01/09      737        CSC HOLDINGS, INC.             Dividend paid 38.97% on $1,373,657.52;            7100-000                               112,719.38        243,760.02
                                                        Claim# 132; Filed: $1,373,657.52; Reference:
10/01/09      738        NATIONAL UNION FIRE INS. CO.   Dividend paid 38.97% on $623,708.69;              7100-000                                 51,180.19       192,579.83
                         OF PITTSBURG, PA, TFREE        Claim# 133; Filed: $623,708.69; Reference:
10/01/09      739        SCOTT J. WOLFE                 Dividend paid 38.97% on $199.25; Claim#           7100-000                                       16.35     192,563.48
                                                        134; Filed: $199.25; Reference:

                                                                                               Subtotals :                         $0.00      $4,155,359.57
{} Asset reference(s)                                                                                                                   Printed: 12/07/2017 12:32 PM        V.13.30
                 04-12771-mkv                  Doc 733      Filed 12/19/17 Entered 12/19/17 17:57:32                                           Main Document
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                                                  Cash Receipts And Disbursements Record
Case Number:        04-12771 (MKV)                                                              Trustee:            JOHN S. PEREIRA (521200)
Case Name:          CASHPOINT NETWORK SERVICES INC.                                             Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                                Account:            ***-*****47-66 - Checking Account
Taxpayer ID #: **-***7072                                                                       Blanket Bond:       N/A
Period Ending: 12/07/17                                                                         Separate Bond: $1,415,080.00

   1            2                          3                                    4                                               5                   6                   7

 Trans.     {Ref #} /                                                                                                       Receipts        Disbursements    Checking
  Date      Check #           Paid To / Received From           Description of Transaction                 T-Code              $                  $       Account Balance
10/01/09      740        JEFF A. WALTERS                 Dividend paid 38.97% on $400.54; Claim#           7100-000                                       32.87     192,530.61
                                                         136; Filed: $400.54; Reference:
10/01/09      741        BRAZIL FOR YOU                  Dividend paid 38.97% on $871.39; Claim#           7100-000                                       71.50     192,459.11
                                                         137; Filed: $871.39; Reference:
10/01/09      742        DANIEL CABRERA                  Dividend paid 38.97% on $1,625.50; Claim#         7100-001                                      133.39     192,325.72
                                                         138; Filed: $1,625.50; Reference:
                                                         Stopped on 07/02/10
10/01/09      743        SPRINT SPECTRUM L.P. D/B/A      Dividend paid 38.97% on $77,411.36; Claim#        7100-000                                     6,352.21    185,973.51
                         SPRINT PCS                      139; Filed: $77,411.36; Reference:
10/01/09      744        BELLSOUTH                       Dividend paid 38.97% on $31,835.42; Claim#        7100-000                                     2,612.35    183,361.16
                         TELECOMMUNICATIONS, INC.        140; Filed: $31,835.42; Reference:
10/01/09      745        JUDITH M. FERTIL                Dividend paid 38.97% on $128.12; Claim#           7100-001                                       10.52     183,350.64
                                                         141; Filed: $128.12; Reference:
                                                         Stopped on 07/02/10
10/01/09      746        CITICORP VENDOR FINANCE INC. Dividend paid 38.97% on $50,953.96; Claim#           7100-001                                     4,181.17    179,169.47
                                                         142; Filed: $50,953.96; Reference:
                                                         Stopped on 10/22/09
10/01/09      747        ANA ORTIZ                       Dividend paid 38.97% on $280.69; Claim#           7100-000                                       23.04     179,146.43
                                                         146; Filed: $280.69; Reference:
10/01/09      748        LIQUIDITY SOLUTIONS, INC.       Dividend paid 38.97% on $2,342.07; Claim#         7100-000                                      192.18     178,954.25
                                                         147; Filed: $2,342.07; Reference:
10/01/09      749        CITY OF NEW YORK                Dividend paid 38.97% on $24,188.02; Claim#        7100-000                                     1,984.82    176,969.43
                                                         150; Filed: $24,188.02; Reference:
                                                         XX-XXXXXXX
10/01/09      750        CITY OF NEW YORK                Dividend paid 38.97% on $596,300.22;              7100-000                                 48,931.11       128,038.32
                                                         Claim# 151; Filed: $949,800.22; Reference:
                                                         XX-XXXXXXX
10/01/09      751        CAREER GROUP INC.               Dividend paid 38.97% on $1,296.00; Claim#         7100-000                                      106.35     127,931.97
                                                         153; Filed: $1,296.00; Reference:
10/01/09      752        SCATURRO SUPERMARKETS           Dividend paid 38.97% on $1,105.00; Claim#         7100-000                                       90.68     127,841.29
                                                         154; Filed: $1,105.00; Reference:
10/01/09      753        NEW YORK STATE DEPARTMENT Dividend paid 38.97% on $8,449.35; Claim#               7100-000                                      693.34     127,147.95
                         OF                              158U; Filed: $8,449.35; Reference:
                                                         XX-XXXXXXX
10/01/09      754        CONSOLIDATED EDISON             Dividend paid 38.97% on $4,755.24; Claim#         7100-000                                      390.20     126,757.75
                         COMPANY OF NEW YORK, INC.       159; Filed: $4,755.24; Reference:
10/01/09      755        JOSE D. PENA OLIVER             Dividend paid 38.97% on $1,047.23; Claim#         7100-000                                       85.93     126,671.82
                                                         163; Filed: $1,047.23; Reference:
10/01/09      756        ASM CAPITAL, TFREE OF COX       Dividend paid 38.97% on $410,000.00;              7100-000                                 33,643.72           93,028.10

                                                                                                Subtotals :                         $0.00         $99,535.38
{} Asset reference(s)                                                                                                                    Printed: 12/07/2017 12:32 PM        V.13.30
                 04-12771-mkv                    Doc 733      Filed 12/19/17 Entered 12/19/17 17:57:32                                          Main Document
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                                                  Cash Receipts And Disbursements Record
Case Number:        04-12771 (MKV)                                                               Trustee:            JOHN S. PEREIRA (521200)
Case Name:          CASHPOINT NETWORK SERVICES INC.                                              Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                                 Account:            ***-*****47-66 - Checking Account
Taxpayer ID #: **-***7072                                                                        Blanket Bond:       N/A
Period Ending: 12/07/17                                                                          Separate Bond: $1,415,080.00

   1            2                         3                                       4                                              5                   6                   7

 Trans.     {Ref #} /                                                                                                        Receipts        Disbursements    Checking
  Date      Check #         Paid To / Received From               Description of Transaction                T-Code              $                  $       Account Balance
                         COMMUNICATIONS LOUISIANA,         Claim# 164; Filed: $410,000.00; Reference:
                         LLC
10/01/09      757        STORAGE USA                       Dividend paid 38.97% on $35,549.14; Claim#       7100-000                                     2,917.08        90,111.02
                                                           166; Filed: $35,549.14; Reference:
10/01/09      758        ASM CAPITAL , ASSIGNEE OF         Dividend paid 38.97% on $1,097,679.12;           7100-000                                 90,073.19                 37.83
                         TIME WARNER                       Claim# 167; Filed: $1,097,679.12; Reference:
10/01/09      759        U.S. Bankruptcy Court             COMBINED SMALL CHECK                                                                            37.83                0.00
                                                             Dividend paid 38.97%                4.04       7100-000                                                            0.00
                                                             on $49.32; Claim# 1;
                                                             Filed: $49.32
                                                             Dividend paid 38.97%                3.40       7100-000                                                            0.00
                                                             on $41.35; Claim# 4;
                                                             Filed: $41.35
                                                             Dividend paid 38.97%                2.66       7100-000                                                            0.00
                                                             on $32.37; Claim# 6;
                                                             Filed: $32.37
                                                             Dividend paid 38.97%                4.66       7100-000                                                            0.00
                                                             on $56.72; Claim# 9;
                                                             Filed: $56.72
                                                             Dividend paid 38.97%                4.10       7100-000                                                            0.00
                                                             on $50.00; Claim# 17;
                                                             Filed: $50.00
                                                             Dividend paid 38.97%                3.11       7100-000                                                            0.00
                                                             on $37.91; Claim# 75;
                                                             Filed: $37.91
                                                             Dividend paid 38.97%                3.84       7100-000                                                            0.00
                                                             on $46.71; Claim# 76;
                                                             Filed: $46.71
                                                             Dividend paid 38.97%                3.33       7100-000                                                            0.00
                                                             on $40.56; Claim# 78;
                                                             Filed: $40.56
                                                             Dividend paid 38.97%                3.17       7100-000                                                            0.00
                                                             on $38.58; Claim# 126;
                                                             Filed: $38.58
                                                             Dividend paid 38.97%                2.11       7100-000                                                            0.00
                                                             on $25.73; Claim# 26;
                                                             Filed: $25.73
                                                             Dividend paid 38.97%                3.41       7100-000                                                            0.00
                                                             on $41.55; Claim# 43;

                                                                                                  Subtotals :                        $0.00         $93,028.10
{} Asset reference(s)                                                                                                                     Printed: 12/07/2017 12:32 PM        V.13.30
                 04-12771-mkv                 Doc 733       Filed 12/19/17 Entered 12/19/17 17:57:32                                            Main Document
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                                                    Cash Receipts And Disbursements Record
Case Number:        04-12771 (MKV)                                                             Trustee:              JOHN S. PEREIRA (521200)
Case Name:          CASHPOINT NETWORK SERVICES INC.                                            Bank Name:            JPMORGAN CHASE BANK, N.A.
                                                                                               Account:              ***-*****47-66 - Checking Account
Taxpayer ID #: **-***7072                                                                      Blanket Bond:         N/A
Period Ending: 12/07/17                                                                        Separate Bond: $1,415,080.00

   1            2                         3                                     4                                                5                   6                   7

 Trans.     {Ref #} /                                                                                                        Receipts        Disbursements    Checking
  Date      Check #         Paid To / Received From              Description of Transaction                 T-Code              $                  $       Account Balance
                                                            Filed: $41.55
10/09/09                 From Account #********4765      TRANSFER OF FUNDS TO CHECKING                     9999-000              15,957.00                               15,957.00
                                                         ACCOUNT
10/09/09      760        ARTHUR B. LEVINE COMPANY        BOND NUMBER: 10BSBDU3912 /                        2300-000                                  15,957.00                   0.00
                                                         EFFECTIVE DATE: 7/10/2009 - 7/09/2010
10/22/09      682        ISAIAH CHECK CASHING, INC.      Dividend paid 38.97% on $285.00; Claim# 38;       7100-001                                        -23.39              23.39
                                                         Filed: $285.00; Reference:
                                                         Stopped: check issued on 10/01/09
10/22/09      688        BROWN'S PAWN & CYCLE            Dividend paid 38.97% on $1,200.00; Claim#         7100-001                                        -98.47             121.86
                                                         45; Filed: $1,200.00; Reference:
                                                         Stopped: check issued on 10/01/09
10/22/09      746        CITICORP VENDOR FINANCE INC. Dividend paid 38.97% on $50,953.96; Claim#           7100-001                                  -4,181.17               4,303.03
                                                         142; Filed: $50,953.96; Reference:
                                                         Stopped: check issued on 10/01/09
02/24/10                 From Account #********4765      TRANSFER OF FUNDS TO CHECKING                     9999-000                  71.95                                   4,374.98
                                                         ACCOUNT
02/24/10      761        VERITEXT NEW YORK               INVOICE #: NY314797 / JOB #: 239637 / FOR         2990-000                                        71.95             4,303.03
                         REPORTING CO.                   SERVICES RENDERED - ORIGINAL
                                                         TRANSCRIPT OF AUGUST 16, 2007
                                                         HEARING
03/02/10      723        KEYSPAN ENERGY DELIVERY         Dividend paid 38.97% on $56,881.68; Claim#        7100-000                                  -4,667.59               8,970.62
                         NEW ENGLAND                     110; Filed: $56,881.68; Reference:
                                                         Voided: check issued on 10/01/09
03/02/10      728        THE BROOKLYN UNION GAS          Dividend paid 38.97% on $1,930,736.97;            7100-000                                -158,432.12       167,402.74
                         COMPANY D/B/A                   Claim# 118; Filed: $2,435,236.97; Reference:
                                                         Voided: check issued on 10/01/09
03/02/10      762        KEYSPAN ENERGY DELIVERY         Dividend paid 38.97% on $56,881.68; Claim#        7100-000                                      4,667.59    162,735.15
                         NEW ENGLAND                     110; Filed: $56,881.68; Reference:
03/02/10      763        THE BROOKLYN UNION GAS          Dividend paid 38.97% on $1,930,736.97;            7100-000                                158,432.12                4,303.03
                         COMPANY D/B/A                   Claim# 118; Filed: $2,435,236.97; Reference:
03/08/10                 From Account #********4765      TRANSFER OF FUNDS TO CHECKING                     9999-000                  64.65                                   4,367.68
                                                         ACCOUNT
03/08/10      764        VERITEXT NEW YORK               INVOICE #: NY317020 / JOB #: 241605 / FOR         2990-000                                        64.65             4,303.03
                         REPORTING CO.                   SERVICES RENDERED - ORIGINAL
                                                         TRANSCRIPT OF 4/30/08 HEARING
04/06/10                 Wire out to BNYM account        Wire out to BNYM account **********4766           9999-000              -4,303.03                                       0.00
                         **********4766
07/02/10      655        MRS. MARIA TORRES               Dividend paid 38.97% on $68.39; Claim# 5;         7100-001                                         -5.62                5.62
                                                         Filed: $68.39; Reference:

                                                                                                   Subtotals :                  $11,790.57         $11,784.95
{} Asset reference(s)                                                                                                                     Printed: 12/07/2017 12:32 PM        V.13.30
                 04-12771-mkv                Doc 733      Filed 12/19/17 Entered 12/19/17 17:57:32                                           Main Document
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                                               Cash Receipts And Disbursements Record
Case Number:        04-12771 (MKV)                                                            Trustee:            JOHN S. PEREIRA (521200)
Case Name:          CASHPOINT NETWORK SERVICES INC.                                           Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                              Account:            ***-*****47-66 - Checking Account
Taxpayer ID #: **-***7072                                                                     Blanket Bond:       N/A
Period Ending: 12/07/17                                                                       Separate Bond: $1,415,080.00

   1            2                        3                                    4                                               5                   6                   7

 Trans.     {Ref #} /                                                                                                     Receipts        Disbursements    Checking
  Date      Check #        Paid To / Received From            Description of Transaction                 T-Code              $                  $       Account Balance
                                                       Stopped: check issued on 10/01/09
07/02/10      657        TRACEY REBELB                 Dividend paid 38.97% on $170.00; Claim# 8;        7100-001                                      -13.95               19.57
                                                       Filed: $170.00; Reference:
                                                       Stopped: check issued on 10/01/09
07/02/10      658        STEVEN DAVIS                  Dividend paid 38.97% on $125.82; Claim# 11;       7100-001                                      -10.32               29.89
                                                       Filed: $125.82; Reference:
                                                       Stopped: check issued on 10/01/09
07/02/10      659        YVONNE COVAN                  Dividend paid 38.97% on $82.00; Claim# 12;        7100-001                                       -6.73               36.62
                                                       Filed: $82.00; Reference:
                                                       Stopped: check issued on 10/01/09
07/02/10      668        PETER A. BORGOS               Dividend paid 38.97% on $107.31; Claim# 23;       7100-001                                       -8.81               45.43
                                                       Filed: $107.31; Reference:
                                                       Stopped: check issued on 10/01/09
07/02/10      678        DISCOVERY DEPOT               Dividend paid 38.97% on $840.00; Claim# 34;       7100-001                                      -68.93              114.36
                                                       Filed: $840.00; Reference:
                                                       Stopped: check issued on 10/01/09
07/02/10      685        NIAGARA MOHAWK POWER          Dividend paid 38.97% on $37,142.08; Claim#        7100-001                                 -3,047.80               3,162.16
                         CORP., A NATIONAL GRID INC.   41; Filed: $37,142.08; Reference:
                                                       Stopped: check issued on 10/01/09
07/02/10      686        NIAGARA MOHAWK POWER          Dividend paid 38.97% on $4,728.84; Claim#         7100-001                                     -388.04             3,550.20
                         CORP., A NATIONAL GRID INC.   42; Filed: $4,728.84; Reference:
                                                       Stopped: check issued on 10/01/09
07/02/10      687        NIAGARA MOHAWK POWER          Dividend paid 38.97% on $22,490.66; Claim#        7100-001                                 -1,845.53               5,395.73
                         CORP., A NATIONAL GRID INC.   44; Filed: $22,490.66; Reference:
                                                       Stopped: check issued on 10/01/09
07/02/10      694        RCN TELECOM SERVICES, INC.    Dividend paid 38.97% on $213,233.65;              7100-001                                -17,497.49           22,893.22
                                                       Claim# 52; Filed: $213,233.65; Reference:
                                                       Stopped: check issued on 10/01/09
07/02/10      703        CITIGROUP                     Dividend paid 38.97% on $21,325.00; Claim#        7100-001                                 -1,749.88           24,643.10
                                                       67; Filed: $21,325.00; Reference:
                                                       Stopped: check issued on 10/01/09
07/02/10      707        CEBCO CHECK CASHER CORP.      Dividend paid 38.97% on $9,824.11; Claim#         7100-000                                     -806.15         25,449.25
                         GERALD GOLDMAN, ESQ.          73; Filed: $9,824.11; Reference:
                                                       Stopped: check issued on 10/01/09
07/02/10      708        MONEY CENTERS GERALD          Dividend paid 38.97% on $151.09; Claim# 74;       7100-001                                      -12.40         25,461.65
                         GOLDMAN, ESQ.                 Filed: $151.09; Reference:
                                                       Stopped: check issued on 10/01/09
07/02/10      709        MONEY CENTERS GERALD          Dividend paid 38.97% on $76.49; Claim# 77;        7100-001                                       -6.27         25,467.92
                         GOLDMAN, ESQ.                 Filed: $76.49; Reference:


                                                                                              Subtotals :                         $0.00         $-25,462.30
{} Asset reference(s)                                                                                                                  Printed: 12/07/2017 12:32 PM        V.13.30
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                                                    Cash Receipts And Disbursements Record
Case Number:        04-12771 (MKV)                                                             Trustee:            JOHN S. PEREIRA (521200)
Case Name:          CASHPOINT NETWORK SERVICES INC.                                            Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                               Account:            ***-*****47-66 - Checking Account
Taxpayer ID #: **-***7072                                                                      Blanket Bond:       N/A
Period Ending: 12/07/17                                                                        Separate Bond: $1,415,080.00

   1            2                         3                                     4                                              5                   6                   7

 Trans.     {Ref #} /                                                                                                      Receipts        Disbursements    Checking
  Date      Check #         Paid To / Received From             Description of Transaction                T-Code              $                  $       Account Balance
                                                         Stopped: check issued on 10/01/09
07/02/10      719        MR. QUICK LOAN, INC. GERALD     Dividend paid 38.97% on $6,704.56; Claim#        7100-001                                     -550.16         26,018.08
                         GOLDMAN, ESQ.                   106; Filed: $6,704.56; Reference:
                                                         Stopped: check issued on 10/01/09
07/02/10      729        SAMCEIL CHECK CASHING           Dividend paid 38.97% on $1,103.00; Claim#        7100-001                                      -90.51         26,108.59
                         SERVICE, INC.                   119; Filed: $1,103.00; Reference:
                                                         Stopped: check issued on 10/01/09
07/02/10      734        ALEKSANDAR STANOJEVIC           Dividend paid 38.97% on $2,275.00; Claim#        7100-001                                     -186.68         26,295.27
                                                         128U; Filed: $2,275.00; Reference:
                                                         Stopped: check issued on 10/01/09
07/02/10      742        DANIEL CABRERA                  Dividend paid 38.97% on $1,625.50; Claim#        7100-001                                     -133.39         26,428.66
                                                         138; Filed: $1,625.50; Reference:
                                                         Stopped: check issued on 10/01/09
07/02/10      745        JUDITH M. FERTIL                Dividend paid 38.97% on $128.12; Claim#          7100-001                                      -10.52         26,439.18
                                                         141; Filed: $128.12; Reference:
                                                         Stopped: check issued on 10/01/09
07/06/10                 Wire out to BNYM account        Wire out to BNYM account **********4766          9999-000            -26,439.18                                      0.00
                         **********4766

                                                                             ACCOUNT TOTALS                               44,726,094.21       44,726,094.21                  $0.00
                                                                                     Less: Bank Transfers                 44,726,094.21          375,222.47
                                                                             Subtotal                                               0.00      44,350,871.74
                                                                                     Less: Payments to Debtors                                           0.00
                                                                             NET Receipts / Disbursements                          $0.00     $44,350,871.74




{} Asset reference(s)                                                                                                                   Printed: 12/07/2017 12:32 PM        V.13.30
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                                                     Cash Receipts And Disbursements Record
Case Number:         04-12771 (MKV)                                                           Trustee:            JOHN S. PEREIRA (521200)
Case Name:           CASHPOINT NETWORK SERVICES INC.                                          Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                              Account:            ***-*****47-67 - Agent w/o Full Accounting
Taxpayer ID #: **-***7072                                                                     Blanket Bond:       N/A
Period Ending: 12/07/17                                                                       Separate Bond: $1,415,080.00

   1            2                          3                                     4                                            5                    6                   7

 Trans.     {Ref #} /                                                                                                      Receipts        Disbursements  Money Market
  Date      Check #          Paid To / Received From             Description of Transaction              T-Code               $                  $       Account Balance
05/17/04       {1}        USA CHECK CASHERS OF LITTLE ACCOUNTS RECEIVABLE - AGENT 99527 &                1221-000             24,809.91                                24,809.91
                          ROCK, INC.                      AGENT 99528
05/17/04       {1}        SAMCEIL CHECK CASHING           ACCOUNTS RECEIVABLE - SITE #263                1221-000             30,670.99                                55,480.90
                          SERVICE INC.
05/17/04       {1}        H & S CHECK CASHING SERVICE     ACCOUNTS RECEIVABLE - SITE #262                1221-000                 218.45                               55,699.35
                          INC.
05/20/04       {1}        HILLSIDE CHECK CASHING          ACCOUNTS RECEIVABLE - TURNOVER OF              1221-000             33,509.99                                89,209.34
                          CORP.                           FUNDS PER ORDER
05/21/04       {1}        HANNAFORD BROS. CO.             ACCOUNTS RECEIVABLE - INVOICE NO.              1221-000            152,882.92                            242,092.26
                                                          052004/VOUCHER: V15001
05/21/04       {1}        SUNSET CHECK CASHING, INC.      ACCOUNTS RECEIVABLE                            1221-000             10,101.03                            252,193.29
05/25/04       {1}        NORTHFIELD SAVINGS BANK         ACCOUNTS RECEIVABLE                            1221-000             15,022.04                            267,215.33
05/25/04       {1}        NORTHFIELD SAVINGS BANK         ACCOUNTS RECEIVABLE                            1221-000            113,637.45                            380,852.78
05/26/04                  From Account #********4765      TRANSFER OF FUNDS - DEPOSIT FROM               9999-000                  78.03                           380,930.81
                                                          AMERICAN EAGLE CHECK CASHING
05/27/04       {1}        ACTION CHECK CASHING CORP.      ACCOUNTS RECEIVABLE - TURNOVER OF              1221-000            472,834.82                            853,765.63
                                                          FUNDS FROM AGENT
05/28/04       {4}        MERCHANTS & PLANTERS BANK       TURNOVER OF FUNDS HELD IN DEBTOR'S             1229-000              2,458.43                            856,224.06
                                                          BANK ACCOUNT
05/28/04       Int        JPMORGAN CHASE BANK             Interest posting at 0.1500%                    1270-000                  19.35                           856,243.41
05/28/04                  To Account #********4765        TRANSFER OF FUNDS TO REGULAR MMA - 9999-000                                               2,458.43       853,784.98
                                                          DEPOSIT BY MERCHANT'S & PLANTERS
                                                          BANK OF FUNDS HELD IN DEBTOR'S BANK
                                                          ACCOUNT
06/02/04       {1}        JOHN H. WAGNER STORES, INC.     ACCOUNTS RECEIVABLE - TURNOVER OF              1221-000             14,805.75                            868,590.73
                                                          FUNDS FROM AGENT
06/02/04       {1}        SABRINA CHECK CASHING II,       ACCOUNTS RECEIVABLE - TURNOVER OF              1221-000              2,503.33                            871,094.06
                          INC.                            FUNDS FROM AGENT
06/02/04       {1}        SABRINA'S CHECK CASHING,        ACCOUNTS RECEIVABLE - TURNOVER OF              1221-000             20,088.17                            891,182.23
                          INC.                            FUNDS FROM AGENT
06/03/04       {1}        RELIABLE CHECK CASHING          ACCOUNTS RECEIVABLE - TURNOVER OF              1221-000             21,602.23                            912,784.46
                          CORP.                           FUNDS FROM AGENT
06/04/04       {1}        JASON'S INC.                    ACCOUNTS RECEIVABLE - TURNOVER OF              1221-000              6,235.18                            919,019.64
                                                          FUNDS FROM AGENT
06/07/04       {1}        ROBERTS COMPANY, INC            ACCOUNTS RECEIVABLE - TURNOVER OF              1221-000                 929.87                           919,949.51
                                                          FUNDS FROM AGENT
06/07/04       {1}        EXPRESS ENTERPRISES OF PA,      ACCOUNTS RECEIVABLE - TURNOVER OF              1221-000              5,476.45                            925,425.96
                          INC.                            FUNDS FROM AGENT


                                                                                              Subtotals :                   $927,884.39            $2,458.43
{} Asset reference(s)                                                                                                                   Printed: 12/07/2017 12:32 PM        V.13.30
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                                                      Cash Receipts And Disbursements Record
Case Number:         04-12771 (MKV)                                                               Trustee:            JOHN S. PEREIRA (521200)
Case Name:           CASHPOINT NETWORK SERVICES INC.                                              Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                                  Account:            ***-*****47-67 - Agent w/o Full Accounting
Taxpayer ID #: **-***7072                                                                         Blanket Bond:       N/A
Period Ending: 12/07/17                                                                           Separate Bond: $1,415,080.00

   1            2                            3                                     4                                              5                    6                   7

 Trans.     {Ref #} /                                                                                                          Receipts        Disbursements  Money Market
  Date      Check #          Paid To / Received From                Description of Transaction               T-Code               $                  $       Account Balance
06/07/04       {1}        SCHEXNAYDER'S                     ACCOUNTS RECEIVABLE - TURNOVER OF                1221-000             16,735.00                            942,160.96
                          SUPERMARKET                       FUNDS FROM AGENT
06/07/04       {1}        ROARING SPRING DEPARTMENT         ACCOUNTS RECEIVABLE - TURNOVER OF                1221-000                 534.26                           942,695.22
                          STORE                             FUNDS FROM AGENT
06/08/04       {1}        COMMUNITY CHECK CASHING,          ACCOUNTS RECEIVABLE - FUNDS                      1221-000              7,644.04                            950,339.26
                          INC.                              TURNED OVER BY AGENT
06/14/04       {1}        ANB Food Market                   ACCOUNTS RECEIVABLE - TURNOVER OF                1221-000              4,753.04                            955,092.30
                                                            FUNDS HELD BY AGENT
06/14/04       {1}        Omo Check Cashing Inc.            ACCOUNTS RECEIVABLE - TURNOVER OF                1221-000              2,086.85                            957,179.15
                                                            FUNDS HELD BY AGENT
06/14/04       {1}        Wimbledon Corp.                   ACCOUNTS RECEIVABLE - TURNOVER OF                1221-000                 100.00                           957,279.15
                                                            FUNDS HELD BY AGENT
06/14/04       {1}        Manhattan Bridge                  ACCOUNTS RECEIVABLE - TURNOVER OF                1221-000                 907.71                           958,186.86
                                                            FUNDS HELD BY AGENT
06/18/04       {1}        Challenger Check Cashing Corp.    Accounts Receivable - Turnover of funds held     1221-000                 512.62                           958,699.48
                                                            by Agent
06/25/04       {1}        Long Beach Check Cashing Corp.    Accounts Receivable - Turnover of funds held     1221-000             10,550.47                            969,249.95
                                                            by Agent
06/25/04       {1}        Easy Cash Corp                    Accounts Receivable - Turnover of funds held     1221-000             12,497.54                            981,747.49
                                                            by Agent
06/25/04       {1}        Check Stop of CT, LLC             Accounts Receivable - Turnover of funds held     1221-000              7,917.08                            989,664.57
                                                            by Agent
06/29/04       {1}        CBMC Inc. d/b/a Money Centers     Accounts Receivable - Turnover of funds from     1221-000              4,814.77                            994,479.34
                                                            agent
06/29/04       {1}        Cleveland Shell, Inc.             Accounts Receivable - Funds turned over by       1221-000                 107.00                           994,586.34
                                                            agent
06/30/04       {1}        I & B Check Cashing Corp.         Accounts Receivable - Turnover of funds from     1221-000              2,663.32                            997,249.66
                                                            agent
06/30/04       {1}        I & B Check Cashing Corp.         Accounts Receivable - Turnover of funds from     1221-000                 990.00                           998,239.66
                                                            agent
06/30/04       Int        JPMORGAN CHASE BANK               Interest posting at 0.1500%                      1270-000                 115.83                           998,355.49
07/07/04       {1}        Dead River Company                Accounts Receivable - Turnover of funds from     1221-000                 241.00                           998,596.49
                                                            agent
07/13/04       {1}        Whitestone Check Cashing Corp     Accounts Receivable - Turnover of funds from     1221-000            225,784.07                          1,224,380.56
                                                            agent
07/13/04       {1}        Check Change, LLC.                Accounts Receivable - Turnover of funds from     1221-000             45,253.54                          1,269,634.10
                                                            agent
07/13/04       {1}        Church St. Check Cashing Corp.    Accounts Receivable - Turnover of funds from     1221-000             54,637.89                          1,324,271.99
                                                            agent
                                                                                                   Subtotals :                  $398,846.03                $0.00
{} Asset reference(s)                                                                                                                       Printed: 12/07/2017 12:32 PM        V.13.30
                 04-12771-mkv                     Doc 733         Filed 12/19/17 Entered 12/19/17 17:57:32                                            Main Document
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                                                       Cash Receipts And Disbursements Record
Case Number:         04-12771 (MKV)                                                                  Trustee:             JOHN S. PEREIRA (521200)
Case Name:           CASHPOINT NETWORK SERVICES INC.                                                 Bank Name:           JPMORGAN CHASE BANK, N.A.
                                                                                                     Account:             ***-*****47-67 - Agent w/o Full Accounting
Taxpayer ID #: **-***7072                                                                            Blanket Bond:        N/A
Period Ending: 12/07/17                                                                              Separate Bond: $1,415,080.00

   1            2                            3                                        4                                               5                    6                   7

 Trans.     {Ref #} /                                                                                                              Receipts        Disbursements  Money Market
  Date      Check #          Paid To / Received From                   Description of Transaction                T-Code               $                  $       Account Balance
07/29/04       {1}        Staten Island Payment Center, Inc.   Accounts Receivable                              1221-000               3,800.00                          1,328,071.99
07/29/04       {1}        Staten Island Payment Center         Accounts Receivable                              1221-000              12,666.67                          1,340,738.66
07/30/04       Int        JPMORGAN CHASE BANK                  Interest posting at 0.1500%                      1270-000                  151.44                         1,340,890.10
08/04/04       {1}        D & V/New Trend Pharmacy             Accounts Receivable - Turnover of funds from     1221-000               1,568.88                          1,342,458.98
                                                               agent
08/05/04       {1}        NYCT Payment Center, Inc.            Accounts Receivable - Turnover of funds from     1221-000               1,198.88                          1,343,657.86
                                                               agent
08/06/04       {1}        J. Edwin White, Jr.                  Accounts receivable - Entergy payments           1221-000              23,048.82                          1,366,706.68
08/06/04       {1}        Mickey Grocery Inc.                  Accounts receivable                              1221-000              12,460.31                          1,379,166.99
08/06/04       {1}        Broadway Payment Center              Accounts receivable                              1221-000               4,428.39                          1,383,595.38
08/06/04       {1}        Mateo P. Luciano                     Accounts receivable                              1221-000               2,389.30                          1,385,984.68
08/12/04       {1}        Grove's Office Supplies, Inc.        Accounts Receivable - Turnover of funds from     1221-000             105,110.12                          1,491,094.80
                                                               agent
08/13/04       {1}        K & F, Inc.                          Accounts Receivable - Turnover of funds from     1221-000              28,972.62                          1,520,067.42
                                                               agent
08/13/04       {1}        CNR Super Market Co.                 Accounts Receivable - Turnover of funds from     1221-000               2,317.99                          1,522,385.41
                                                               agent
08/17/04       {1}        Parente Check Cashing Corp.          Accounts Receivable - Turnover of funds from     1221-000                  749.63                         1,523,135.04
                                                               agent
08/17/04       {1}        Jones Grocery and Deli               Accounts Receivable - Turnover of funds from     1221-000              25,324.71                          1,548,459.75
                                                               Agent
08/19/04       {1}        G & J Check Cashing Corp.            Accounts Receivable - Turnover of funds from     1221-000               4,440.03                          1,552,899.78
                                                               agent, Agent #624
08/19/04       {1}        Ruleville Cash & Pay, Inc.           Accounts Receivable - Turnover of funds from     1221-000               3,001.12                          1,555,900.90
                                                               Agent [Entergy Payments]
08/23/04       {1}        Manila Business Center               ACCOUNTS RECEIVABLE - Turnover of funds 1221-000                           786.90                         1,556,687.80
                                                               from agent
08/23/04       {1}        VAM Check Cashing Corp.              ACCOUNTS RECEIVABLE                              1221-000               2,373.19                          1,559,060.99
08/23/04       {1}        Pine Check Cashing Corporation       Turnover of funds from agent.                    1221-000               2,323.48                          1,561,384.47
08/27/04       {1}        CV Services & Plus                   Accounts Receivable - Turnover of funds from     1221-000                  829.88                         1,562,214.35
                                                               agent
08/27/04       {1}        M & S Spa Corp.                      Accounts Receivable - Turnover of funds from     1221-000                  310.18                         1,562,524.53
                                                               agent
08/27/04       {1}        C.R. Philbrick & Sons                Accounts Receivable - Turnover of funds from     1221-000                  284.65                         1,562,809.18
                                                               agent
08/31/04       Int        JPMORGAN CHASE BANK                  Interest posting at 0.2000%                      1270-000                  229.13                         1,563,038.31
09/16/04       {1}        Eastchester Check Cashing, Inc.      Accounts Receivable - Turnover of funds from     1221-000             328,353.00                          1,891,391.31
                                                               agent

                                                                                                        Subtotals :                 $567,119.32                $0.00
{} Asset reference(s)                                                                                                                           Printed: 12/07/2017 12:32 PM        V.13.30
                 04-12771-mkv                    Doc 733            Filed 12/19/17 Entered 12/19/17 17:57:32                                           Main Document
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                                                     Cash Receipts And Disbursements Record
Case Number:         04-12771 (MKV)                                                                    Trustee:            JOHN S. PEREIRA (521200)
Case Name:           CASHPOINT NETWORK SERVICES INC.                                                   Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                                       Account:            ***-*****47-67 - Agent w/o Full Accounting
Taxpayer ID #: **-***7072                                                                              Blanket Bond:       N/A
Period Ending: 12/07/17                                                                                Separate Bond: $1,415,080.00

   1            2                            3                                      4                                                  5                    6                   7

 Trans.     {Ref #} /                                                                                                               Receipts        Disbursements  Money Market
  Date      Check #          Paid To / Received From                  Description of Transaction                  T-Code               $                  $       Account Balance
09/30/04       Int        JPMORGAN CHASE BANK                Interest posting at 0.2000%                          1270-000                 276.75                         1,891,668.06
10/07/04       {1}        Argo Check Cashing Inc.            Turnover of funds from agent, Site #861 and          1221-000             67,047.88                          1,958,715.94
                                                             #864
10/07/04       {1}        R & M Check Cashing Corp.          Turnover of funds from agent, Site #860              1221-000             45,813.20                          2,004,529.14
10/13/04       {1}        MTW Check Cashing                  Turnover of funds from agent                         1221-000              3,800.00                          2,008,329.14
10/29/04       Int        JPMORGAN CHASE BANK                Interest posting at 0.2500%                          1270-000                 353.08                         2,008,682.22
11/10/04       {1}        All-american Check Cashing Corp.   Accounts Receivable - Turnover of funds from         1221-000              4,490.62                          2,013,172.84
                                                             agent
11/15/04       {1}        Brighton RX Inc.                   Accounts Receivable - Turnover of funds from         1221-000             10,312.45                          2,023,485.29
                                                             agent
11/22/04       {1}        1 Stop Check Cashing Corp          Accounts Receivable - Turnover of funds from         1221-000             65,743.99                          2,089,229.28
                                                             agent
11/22/04       {1}        Gentile and Dickler                Accounts Receivable - Turnover of funds from         1221-000            118,540.20                          2,207,769.48
                                                             agents
11/30/04       Int        JPMORGAN CHASE BANK                Interest posting at 0.2500%                          1270-000                 424.00                         2,208,193.48
12/31/04       Int        JPMORGAN CHASE BANK                Interest posting at 1.0500%                          1270-000              1,679.45                          2,209,872.93
01/07/05       {1}        NY Community Financial LLC         Turnover of funds from agent                         1221-000            306,705.30                          2,516,578.23
01/31/05       Int        JPMORGAN CHASE BANK                Interest Earned                                      1270-000              2,156.91                          2,518,735.14
02/28/05       Int        JPMORGAN CHASE BANK, N.A.          Interest posting at 0.3500%                          1270-000              2,029.58                          2,520,764.72
03/18/05       {1}        Subway Check Cashing Service,      Turnover of funds                                    1221-000             32,286.29                          2,553,051.01
                          Inc.
03/21/05       {1}        Swank Foods, Inc.                  Turnover of funds by agent                           1221-000              4,680.99                          2,557,732.00
03/21/05       {1}        Swank Foods, Inc.                  Turnover of funds by agent                           1221-000              1,439.46                          2,559,171.46
03/31/05       Int        JPMORGAN CHASE BANK, N.A.          Interest posting at 0.3500%                          1270-000              2,260.74                          2,561,432.20
04/04/05       {1}        Dilone Market                      Turnover of funds from agent                         1221-000                 434.01                         2,561,866.21
04/05/05       {1}        B & H Check Cashing Service of     Turnover of funds from agent, Site # 380, 381,       1221-000            189,284.88                          2,751,151.09
                          Brooklyn, Inc.                     382, 383 and 384
04/05/05       {1}        Garden State Check Cashing         Turnover from agent                                  1221-000              2,710.94                          2,753,862.03
                          Service, Inc.
04/29/05       Int        JPMORGAN CHASE BANK, N.A.          Interest posting at 0.3500%                          1270-000              2,344.38                          2,756,206.41
05/31/05       Int        JPMORGAN CHASE BANK, N.A.          Interest posting at 1.0500%                          1270-000              2,458.99                          2,758,665.40
06/22/05       {1}        Boston Checkcashers Inc.           Turnover of funds from Boston Checkcashers           1221-000            200,000.00                          2,958,665.40
                                                             Inc.
06/30/05       Int        JPMORGAN CHASE BANK, N.A.          Interest posting at 1.0500%                          1270-000              2,422.03                          2,961,087.43
07/20/05       {1}        Prima Check Cashing                Turnover of funds from Agent                         1221-000            200,000.00                          3,161,087.43
07/21/05       {1}        Mott Avenue Check Cashing Corp.    Turnover of funds from Agent of CashPoint            1221-000             46,312.23                          3,207,399.66
07/29/05       Int        JPMORGAN CHASE BANK, N.A.          Interest posting at 1.0500%                          1270-000              2,720.16                          3,210,119.82


                                                                                                       Subtotals :                 $1,318,728.51                $0.00
{} Asset reference(s)                                                                                                                            Printed: 12/07/2017 12:32 PM        V.13.30
                 04-12771-mkv                     Doc 733        Filed 12/19/17 Entered 12/19/17 17:57:32                                               Main Document
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                                                        Cash Receipts And Disbursements Record
Case Number:         04-12771 (MKV)                                                                     Trustee:            JOHN S. PEREIRA (521200)
Case Name:           CASHPOINT NETWORK SERVICES INC.                                                    Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                                        Account:            ***-*****47-67 - Agent w/o Full Accounting
Taxpayer ID #: **-***7072                                                                               Blanket Bond:       N/A
Period Ending: 12/07/17                                                                                 Separate Bond: $1,415,080.00

   1            2                             3                                       4                                                 5                    6                   7

 Trans.     {Ref #} /                                                                                                                Receipts        Disbursements  Money Market
  Date      Check #          Paid To / Received From                   Description of Transaction                  T-Code               $                  $       Account Balance
08/03/05       {1}        Belair Payroll Services, Inc.       Turnover of funds by agent                           1221-000             45,590.46                          3,255,710.28
08/08/05       {1}        M T W Check Cashing Corporation     Partial turnover of funds held by Agent              1221-000             53,426.00                          3,309,136.28
08/08/05       {1}        Lefta Check Cashing Corp.           Partial turnover of funds held by the Agent          1221-000             17,470.00                          3,326,606.28
08/16/05       {1}        Greenridge Check Cashing Service,   Turnover of undisputed funds from Agent              1221-000             16,576.77                          3,343,183.05
                          Inc.
08/16/05       {1}        Lazer Check Cashing Corp.           Turnover of undisputed funds from Agent              1221-000            237,990.71                          3,581,173.76
08/16/05       {1}        Richmond Avenue Check Cashing       Turnover of undisputed funds from Agent              1221-000             25,232.94                          3,606,406.70
                          Service
08/16/05       {1}        Hylan Check Cashing Service, Inc.   Turnover of undisputed funds from Agent              1221-000             31,308.49                          3,637,715.19
08/17/05       {1}        Prima Check Cashing                 Turnover of funds from Agent                         1221-000            125,000.00                          3,762,715.19
08/17/05       {1}        P.R. Check Cashing                  Turnover of funds from Agent                         1221-000             35,000.00                          3,797,715.19
08/18/05       {1}        Gentile and Dickler                 Turnover of undisputed funds from various            1221-000            118,000.00                          3,915,715.19
                                                              Agents (Penn Starrett Check Cashing Corp.,
                                                              Peninsula Check Cashing Payroll Corp.,
                                                              Woodhaven Check Cashing Corp., Richmond
08/19/05       {1}        Page Avenue Check Cashing           Turnover of funds from Agent                         1221-000              4,533.47                          3,920,248.66
                          Services, Inc.
08/19/05       {1}        S & E Check Cashing Corp.           Turnover of funds from Agent                         1221-000             25,000.00                          3,945,248.66
08/24/05       {1}        Gentile & Dickler                   Deposited Item Returned \ Check No. 10037:           1221-000           -118,000.00                          3,827,248.66
                                                              Turnover of undisputed funds from various
                                                              Agents
08/31/05       Int        JPMORGAN CHASE BANK, N.A.           Interest posting at 1.2000%                          1270-000              3,588.96                          3,830,837.62
09/20/05       {1}        Prima Check Cashing                 Turnover of funds from Agent                         1221-000            143,035.37                          3,973,872.99
09/20/05       {1}        PR Check Cashing                    Turnover of funds from Agent                         1221-000             34,350.50                          4,008,223.49
09/21/05       {1}        Uribea Realty Corp.                 Turnover of funds from Agent                         1221-000             31,187.42                          4,039,410.91
09/22/05       {1}        Esther Check Cashing, Inc.          Turnover of funds from Agent                         1221-000              3,000.00                          4,042,410.91
09/23/05       {1}        Financial Services Co. Inc.         Turnover of funds by Agent                           1221-000             38,705.76                          4,081,116.67
09/30/05       {1}        Jaspan Schlesinger Hoffman LLP      Turnover of funds from LIE Check Cashing             1221-000             35,890.00                          4,117,006.67
                                                              ($7,472.00) and JCG Check Cashing
                                                              ($28,418.00)
09/30/05       Int        JPMORGAN CHASE BANK, N.A.           Interest posting at 1.2000%                          1270-000              3,859.13                          4,120,865.80
10/04/05       {1}        S & E Check Cashing Corp.           Final payment from Agent in full accounting          1221-000              5,206.01                          4,126,071.81
10/04/05       {1}        Jewett Payroll & Check Cashing,     Turnover of funds from Agent                         1221-000             12,108.11                          4,138,179.92
                          Inc.
10/04/05       {1}        Flatbush Check Cashing, Inc.        Turnover of funds fom Agent                          1221-000             13,000.00                          4,151,179.92
10/07/05       {1}        Boston Checkcashers Inc             Turnover of funds from Agent (1st of 4               1221-000             68,847.37                          4,220,027.29
                                                              payments totaling $275,389.48)
10/13/05       {1}        PR Check Cashing                    Turnover of funds from Agent                         1221-000             34,350.00                          4,254,377.29

                                                                                                        Subtotals :                 $1,044,257.47                $0.00
{} Asset reference(s)                                                                                                                             Printed: 12/07/2017 12:32 PM        V.13.30
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                                                       Cash Receipts And Disbursements Record
Case Number:         04-12771 (MKV)                                                                     Trustee:              JOHN S. PEREIRA (521200)
Case Name:           CASHPOINT NETWORK SERVICES INC.                                                    Bank Name:            JPMORGAN CHASE BANK, N.A.
                                                                                                        Account:              ***-*****47-67 - Agent w/o Full Accounting
Taxpayer ID #: **-***7072                                                                               Blanket Bond:         N/A
Period Ending: 12/07/17                                                                                 Separate Bond: $1,415,080.00

   1            2                          3                                           4                                                  5                    6                   7

 Trans.     {Ref #} /                                                                                                                  Receipts        Disbursements  Money Market
  Date      Check #          Paid To / Received From                  Description of Transaction                     T-Code               $                  $       Account Balance
10/19/05       {1}        Esther Check Cashing, Inc.          Turnover of funds from Agent                          1221-000               3,714.97                          4,258,092.26
10/21/05       {1}        JCG Check Cashing Corp.             Turnover of funds by Agent                            1221-000              35,890.00                          4,293,982.26
10/31/05       Int        JPMORGAN CHASE BANK, N.A.           Interest posting at 1.2000%                           1270-000               4,301.51                          4,298,283.77
11/01/05       {1}        P.R. Check Cashing Corp.            Turnover of funds from Agent                          1221-000               2,312.94                          4,300,596.71
11/09/05       {1}        Boston Checkcashers Inc             Second installment payment in connection with         1221-000              68,847.37                          4,369,444.08
                                                              turnover of funds by Agent
11/16/05       {1}        Evelyn Lorge, Attorney at Law       Turnover of funds from JCG and LIE Check              1221-000              35,890.00                          4,405,334.08
                                                              Cashing Corp
11/22/05       {1}        Inbox Check Cashing Service, Inc.   Turnover of funds by agent                            1221-000              10,000.00                          4,415,334.08
11/30/05       Int        JPMORGAN CHASE BANK, N.A.           Interest posting at 1.2000%                           1270-000               4,299.51                          4,419,633.59
12/02/05       {1}        A&A Check Cashing Corp.             Turnover of funds by agent - first of three           1221-000              11,110.45                          4,430,744.04
                                                              installments
12/02/05       {1}        Airport Check Cashing               First of three installments of turnover of funds      1221-000              86,665.30                          4,517,409.34
                                                              from Agents
12/06/05       {1}        Boston Checkcashers Inc             Turnover of funds from agent - Third of Four          1221-000              68,847.37                          4,586,256.71
                                                              Installments
12/27/05       {1}        Inbox Check Cashing Service, Inc.   Turnover of funds by Agent                            1221-000               6,787.50                          4,593,044.21
12/30/05       Int        JPMORGAN CHASE BANK, N.A.           Interest posting at 1.4500%                           1270-000               4,771.15                          4,597,815.36
01/03/06       {1}        A&A Check Cashing Corp.             Second of three installments of turnover of           1221-000              11,110.45                          4,608,925.81
                                                              funds from Agent
01/04/06       {1}        Airport Check Cashing               Turnover of funds from Agent                          1221-000              43,332.65                          4,652,258.46
01/09/06       {1}        W.J.J. Check Cashing Corp.          Turnover of funds by agent                            1221-000              37,328.42                          4,689,586.88
01/16/06       {1}        Boston Checkcashers Inc.            Turnover of funds by agent, final installment         1221-000              68,847.37                          4,758,434.25
01/31/06       {1}        A & A Check Cashing Corp.           Third and final installment of turnover of funds      1221-000              11,110.45                          4,769,544.70
                                                              from Agent
01/31/06       {1}        Inbox Check Cashing Service, Inc.   Third of four installments of turnover funds from 1221-000                   6,787.50                          4,776,332.20
                                                              Agent
01/31/06       Int        JPMORGAN CHASE BANK, N.A.           Interest posting at 1.4500%                           1270-000               5,786.30                          4,782,118.50
02/02/06       {1}        Airport Check Cashing               Third and final installment of turnover of funds      1221-000              43,332.65                          4,825,451.15
                                                              by agents
02/17/06       {1}        Flatbush Check Cashing, Inc.        Full turnover of funds from Agent                     1221-000               3,899.87                          4,829,351.02
02/23/06       {1}        InBox Check Cashing Service, Inc.   Final turnover of funds by agent                      1221-000               3,575.00                          4,832,926.02
02/28/06       Int        JPMORGAN CHASE BANK, N.A.           Interest posting at 1.6000%                           1270-000               5,759.57                          4,838,685.59
03/27/06       {1}        Prescription Headquarters           Turnover of funds by agent                            1221-000              28,501.77                          4,867,187.36
03/31/06       {1}        JWJ Check Cashing Corp.             Full settlement of adversary proceeding               1221-000              33,000.00                          4,900,187.36
                                                              against JWJ Check Cashing Corp.
03/31/06       Int        JPMORGAN CHASE BANK, N.A.           Interest posting at 1.6000%                           1270-000               6,583.38                          4,906,770.74
04/19/06       {1}        RDC Payroll Services, Inc.          Turnover of funds from Agent - First of three         1221-000              15,872.38                          4,922,643.12
                                                                                                            Subtotals :                 $668,265.83                $0.00
{} Asset reference(s)                                                                                                                               Printed: 12/07/2017 12:32 PM        V.13.30
                 04-12771-mkv                   Doc 733         Filed 12/19/17 Entered 12/19/17 17:57:32                                              Main Document
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                                                       Cash Receipts And Disbursements Record
Case Number:         04-12771 (MKV)                                                                   Trustee:            JOHN S. PEREIRA (521200)
Case Name:           CASHPOINT NETWORK SERVICES INC.                                                  Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                                      Account:            ***-*****47-67 - Agent w/o Full Accounting
Taxpayer ID #: **-***7072                                                                             Blanket Bond:       N/A
Period Ending: 12/07/17                                                                               Separate Bond: $1,415,080.00

   1            2                          3                                          4                                               5                    6                   7

 Trans.     {Ref #} /                                                                                                              Receipts        Disbursements  Money Market
  Date      Check #          Paid To / Received From                  Description of Transaction                 T-Code               $                  $       Account Balance
                                                            installments of turnover funds
04/24/06       {1}        Rabinowitz Pharmacy Inc.          Turnover of funds from Agent - final installment     1221-000              4,655.53                          4,927,298.65
                                                            payment
04/28/06       Int        JPMORGAN CHASE BANK, N.A.         Interest posting at 1.7000%                          1270-000              6,647.20                          4,933,945.85
05/09/06      {18}        Wink Check Cashing Corp.          Partial turnover of funds from Agent                 1249-000             80,000.00                          5,013,945.85
05/15/06       {1}        RDC Payroll Services, Inc.        Turnover of funds from Agent - Second of             1221-000              7,936.19                          5,021,882.04
                                                            Three Installments
05/31/06       Int        JPMORGAN CHASE BANK, N.A.         Interest posting at 1.7000%                          1270-000              7,212.61                          5,029,094.65
06/16/06       {1}        RDC Payroll Services, Inc.        Third and final installment of turnover of funds     1221-000              7,936.19                          5,037,030.84
06/30/06       Int        JPMORGAN CHASE BANK, N.A.         Interest posting at 2.5000%                          1270-000              9,466.50                          5,046,497.34
07/31/06       Int        JPMORGAN CHASE BANK, N.A.         Interest posting at 2.5000%                          1270-000             10,726.17                          5,057,223.51
08/22/06      {18}        Wink Check Cashing Corp.          Next installment payment of turnover funds           1249-000              6,000.00                          5,063,223.51
                                                            from agent
08/31/06       Int        JPMORGAN CHASE BANK, N.A.         Interest posting at 2.5000%                          1270-000             10,752.26                          5,073,975.77
09/18/06      {18}        Wink Check Cashing Corp.          Payment of balance of turnover funds                 1249-000              6,000.00                          5,079,975.77
09/29/06       Int        JPMORGAN CHASE BANK, N.A.         Interest posting at 3.0200%                          1270-000             11,458.54                          5,091,434.31
10/04/06      {18}        Wink Check Cashing Corp.          Installment payment in settlement of adversary       1249-000              6,000.00                          5,097,434.31
                                                            proceeding
10/13/06      {18}        Wink Check Cashing Corp.          Next installment payment of turnover funds           1249-000              6,000.00                          5,103,434.31
10/16/06      {19}        Jaspan Schlesinger Hoffman LLP    Judgment execution against debtor's bank             1249-000              4,809.45                          5,108,243.76
                                                            account
10/31/06       Int        JPMORGAN CHASE BANK, N.A.         Interest posting at 3.0200%                          1270-000             13,505.17                          5,121,748.93
11/06/06      {21}        M T W Check Cashing Corporation   Pursuant to Stipulation                              1249-000                  36.00                         5,121,784.93
11/06/06      {21}        M T W Check Cashing Corporation   Pursuant to Stipulation                              1249-000             19,896.96                          5,141,681.89
11/06/06      {22}        Lefta Check Cashing Corp.         Pursuant to Stipulation                              1249-000             43,067.04                          5,184,748.93
11/16/06      {18}        Wink Check Cashing Corp.          Installment payment of turnover of funds from        1249-000              6,000.00                          5,190,748.93
                                                            Agent
11/29/06      {24}        V & V Check Cashing Corp.         Full and final payment of outstanding monies         1249-000             10,436.00                          5,201,184.93
                                                            owed
11/30/06       Int        JPMORGAN CHASE BANK, N.A.         Interest posting at 3.0200%                          1270-000             12,836.04                          5,214,020.97
12/26/06      {25}        Rosalynd W. Klipper               Full turnover from agent (Jackson Check              1249-000             11,043.50                          5,225,064.47
                                                            Cashing Corp.)
12/27/06      {18}        Wink Check Cashing Corp.          Final installment of turnover funds                  1249-000              6,830.56                          5,231,895.03
12/29/06       Int        JPMORGAN CHASE BANK, N.A.         Interest posting at 3.0200%                          1270-000             12,511.71                          5,244,406.74
01/31/07       Int        JPMORGAN CHASE BANK, N.A.         Interest posting at 2.9100%                          1270-000             14,001.98                          5,258,408.72
02/28/07       Int        JPMORGAN CHASE BANK, N.A.         Interest posting at 2.9100%                          1270-000             11,737.60                          5,270,146.32
03/30/07       Int        JPMORGAN CHASE BANK, N.A.         Interest posting at 2.9100%                          1270-000             12,604.08                          5,282,750.40


                                                                                                       Subtotals :                  $360,107.28                $0.00
{} Asset reference(s)                                                                                                                           Printed: 12/07/2017 12:32 PM        V.13.30
                 04-12771-mkv                   Doc 733      Filed 12/19/17 Entered 12/19/17 17:57:32                                             Main Document
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                                                     Cash Receipts And Disbursements Record
Case Number:         04-12771 (MKV)                                                               Trustee:            JOHN S. PEREIRA (521200)
Case Name:           CASHPOINT NETWORK SERVICES INC.                                              Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                                  Account:            ***-*****47-67 - Agent w/o Full Accounting
Taxpayer ID #: **-***7072                                                                         Blanket Bond:       N/A
Period Ending: 12/07/17                                                                           Separate Bond: $1,415,080.00

   1            2                          3                                     4                                                5                    6                   7

 Trans.     {Ref #} /                                                                                                          Receipts        Disbursements  Money Market
  Date      Check #          Paid To / Received From             Description of Transaction                  T-Code               $                  $       Account Balance
04/30/07       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 2.9100%                        1270-000             13,055.36                          5,295,805.76
05/31/07       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 2.9100%                        1270-000             13,087.63                          5,308,893.39
06/29/07       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 2.9100%                        1270-000             12,273.52                          5,321,166.91
07/31/07       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 2.7800%                        1270-000             13,025.15                          5,334,192.06
08/31/07       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 2.7800%                        1270-000             12,593.81                          5,346,785.87
09/28/07       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 2.7800%                        1270-000             11,401.91                          5,358,187.78
10/31/07       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 2.7800%                        1270-000             13,466.62                          5,371,654.40
11/30/07       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 2.3800%                        1270-000             11,331.18                          5,382,985.58
12/31/07       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 2.3800%                        1270-000             10,880.09                          5,393,865.67
01/31/08       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 1.4500%                        1270-000              9,810.14                          5,403,675.81
02/29/08       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 1.2500%                        1270-000              5,513.69                          5,409,189.50
03/31/08       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 0.9300%                        1270-000              5,530.95                          5,414,720.45
04/30/08       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 0.9300%                        1270-000              4,137.38                          5,418,857.83
05/07/08       Int        JPMORGAN CHASE BANK, N.A.       Current Interest Rate is 0.1700%                   1270-000                 768.77                         5,419,626.60
05/07/08                  To Account #********4765        TRANSFER OF FUNDS FROM ACCOUNT                     9999-000                              5,419,626.60                   0.00
                                                          CLOSEOUT

                                                                               ACCOUNT TOTALS                                  5,422,085.03        5,422,085.03                  $0.00
                                                                                        Less: Bank Transfers                           78.03       5,422,085.03
                                                                               Subtotal                                        5,422,007.00                 0.00
                                                                                        Less: Payments to Debtors                                           0.00
                                                                               NET Receipts / Disbursements                   $5,422,007.00                $0.00




{} Asset reference(s)                                                                                                                       Printed: 12/07/2017 12:32 PM        V.13.30
                 04-12771-mkv                      Doc 733      Filed 12/19/17 Entered 12/19/17 17:57:32                                               Main Document
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                                                    Cash Receipts And Disbursements Record
Case Number:         04-12771 (MKV)                                                                    Trustee:            JOHN S. PEREIRA (521200)
Case Name:           CASHPOINT NETWORK SERVICES INC.                                                   Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                                       Account:            ***-*****47-68 - Agent w/Full Accounting
Taxpayer ID #: **-***7072                                                                              Blanket Bond:       N/A
Period Ending: 12/07/17                                                                                Separate Bond: $1,415,080.00

   1            2                           3                                        4                                                 5                    6                   7

 Trans.     {Ref #} /                                                                                                               Receipts        Disbursements  Money Market
  Date      Check #          Paid To / Received From                 Description of Transaction                   T-Code               $                  $       Account Balance
05/27/04       {1}        FAMILY PRESCRIPTION CENTER         ACCOUNTS RECEIVABLE - TURNOVER OF                    1221-000              2,056.06                                    2,056.06
                                                             FUNDS FROM AGENT
05/27/04       {1}        O.D.S., LLC                        ACCOUNTS RECEIVABLE - TURNOVER OF                    1221-000                 631.84                                   2,687.90
                                                             FUNDS FROM AGENT
05/27/04       {1}        VIC'S CHECK CASHING CORP.          ACCOUNTS RECEIVABLE - TURNOVER OF                    1221-000             34,541.38                                37,229.28
                                                             FUNDS FROM AGENT
05/27/04       {1}        ESCO DRUG COMPANY, INC.            ACCOUNTS RECEIVABLE - TURNOVER OF                    1221-000              8,917.98                                46,147.26
                                                             FUNDS FROM AGENT
05/28/04       {1}        79 AVENUE D                        ACCOUNTS RECEIVABLE - TURNOVER OF                    1221-000              4,865.70                                51,012.96
                                                             FUNDS FROM AGENT
05/28/04       Int        JPMORGAN CHASE BANK                Interest posting at 0.1500%                          1270-000                   0.57                               51,013.53
06/07/04       {1}        GROVE'S OFFICE SUPPLY, INC.        ACCOUNTS RECEIVABLE - TURNOVER OF                    1221-000              1,677.65                                52,691.18
                                                             FUNDS BY AGENT
06/08/04       {1}        TWIN MOUNT SERVICE STATION         ACCOUNTS RECEIVABLE - TURNOVER OF                    1221-000                  82.33                               52,773.51
                          INC.                               FUNDS FROM AGENT
06/08/04       {1}        TWIN MOUNT SERVICE STATION         ACCOUNTS RECEIVABLE - TURNOVER OF                    1221-000                 183.56                               52,957.07
                          INC.                               FUNDS FROM AGENT
06/08/04       {1}        TWIN MOUNT SERVICE STATION         ACCOUNTS RECEIVABLE - TURNOVER OF                    1221-000                  45.33                               53,002.40
                          INC.                               FUNDS FROM AGENT
06/08/04       {1}        TWIN MOUNT SERVICE STATION         ACCOUNTS RECEIVABLE - TURNOVER OF                    1221-000                  63.32                               53,065.72
                          INC.                               FUNDS FROM AGENT
06/14/04       {1}        Midtown Tunnel                     ACCOUNTS RECEIVABLE - TURNOVER OF                    1221-000                 134.89                               53,200.61
                                                             FUNDS HELD BY AGENT
06/14/04       {6}        Crooked River Corp                 ACCOUNTS RECEIVABLE - TURNOVER OF                    1229-000                 966.18                               54,166.79
                                                             FUNDS HELD BY AGENT
06/14/04       {1}        Food Mart, Inc.                    ACCOUNTS RECEIVABLE - TURNOVER OF                    1221-000                 832.01                               54,998.80
                                                             FUNDS HELD BY AGENT
06/14/04       {1}        Border Foods, Inc.                 ACCOUNTS RECEIVABLE - TURNOVER OF                    1221-000                 286.76                               55,285.56
                                                             FUNDS HELD BY AGENT
06/14/04       {1}        St. Albans Foods, Inc.             ACCOUNTS RECEIVABLE - TURNOVER OF                    1221-000              6,073.26                                61,358.82
                                                             FUNDS HELD BY AGENT
06/14/04       {1}        RITECHECK                          ACCOUNTS RECEIVABLE - TURNOVER OF                    1221-000            183,720.71                            245,079.53
                                                             FUNDS HELD BY AGENT
06/15/04       {1}        Samceil Check Cashing Service,     Turnover of funds collected for Verizon              1221-000                 168.30                           245,247.83
                          Inc.                               Wireless
06/15/04       {1}        Samceil Check Cashing Service,     Turnover of funds collected for Verizon              1221-000                 422.24                           245,670.07
                          Inc.
06/15/04       {1}        Samceil Check Cashing Service,     Turnover of NYC Housing Payments received            1221-000              1,433.00                            247,103.07
                          Inc.
                                                                                                       Subtotals :                   $247,103.07                $0.00
{} Asset reference(s)                                                                                                                            Printed: 12/07/2017 12:32 PM        V.13.30
                 04-12771-mkv                     Doc 733         Filed 12/19/17 Entered 12/19/17 17:57:32                                               Main Document
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                                                      Cash Receipts And Disbursements Record
Case Number:         04-12771 (MKV)                                                                      Trustee:            JOHN S. PEREIRA (521200)
Case Name:           CASHPOINT NETWORK SERVICES INC.                                                     Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                                         Account:            ***-*****47-68 - Agent w/Full Accounting
Taxpayer ID #: **-***7072                                                                                Blanket Bond:       N/A
Period Ending: 12/07/17                                                                                  Separate Bond: $1,415,080.00

   1            2                             3                                        4                                                 5                    6                   7

 Trans.     {Ref #} /                                                                                                                 Receipts        Disbursements  Money Market
  Date      Check #          Paid To / Received From                    Description of Transaction                  T-Code               $                  $       Account Balance
06/29/04       {1}        York St. Check Cashiers Inc.         Accounts Receivable - Turnover of funds from         1221-000              3,015.20                            250,118.27
                                                               agent [Site #226 / Terminal ID# 112796]
                                                               [NYCHA Payments 4/20 - 4/21]
06/29/04       {1}        York St. Check Cashiers Inc.         Accounts Receivable - Turnover of funds from         1221-000              1,216.73                            251,335.00
                                                               agent [Site #226 - Verizon Payments 4/20 -
                                                               4/21]
06/29/04       {1}        Sunrise Check Cashing Services       Accounts Receivable - Turnover of funds from         1221-000            134,807.62                            386,142.62
                          LLC                                  agent
06/29/04       {1}        York St. Check Cashiers Inc.         Accounts Receivable - Turnover of funds from         1221-000              1,425.77                            387,568.39
                                                               agent
06/29/04       {1}        Prince Food Corp.                    Accounts Receivable - Turnover of funds from         1221-000              7,201.85                            394,770.24
                                                               agent.
06/30/04       {1}        Roebling Check Cashing Corp.         Accounts Receivable - Turnover of funds from         1221-000              1,071.69                            395,841.93
                                                               agent
06/30/04       {1}        All Purpose Check Cashing Service,   Accounts Receivable - Turnover of funds from         1221-000                  63.15                           395,905.08
                          Inc.                                 agent
06/30/04       {1}        I & B Check Cashing Corp.            Accounts Receivable - Turnover of funds from         1221-000                 851.50                           396,756.58
                                                               agent
06/30/04       {1}        I & B Check Cashing Corp.            Accounts Receivable - Turnover of funds from         1221-000              1,117.78                            397,874.36
                                                               agent
06/30/04       Int        JPMORGAN CHASE BANK                  Interest posting at 0.1500%                          1270-000                  19.04                           397,893.40
07/02/04       {1}        Continental Check Cashers #3, Inc.   Accounts Receivable - Turnover of funds held         1221-000             92,833.31                            490,726.71
                                                               by Agent
07/02/04       {1}        Continental Check Cashers #1, Inc.   Accounts receivable - Turnover of funds from         1221-000             14,982.55                            505,709.26
                                                               agent
07/02/04       {1}        The Money Exchange Center            Accounts Receivable - Turnover of funds by           1221-000              2,376.25                            508,085.51
                                                               agent
07/07/04       {1}        Loisaida Rx, Inc.                    Accounts Receivable - Turnover of funds from         1221-000              1,457.76                            509,543.27
                                                               agent
07/13/04       {1}        123 Community Check Cash, Inc.       Accounts receivable - Turnover of funds from         1221-000             25,660.96                            535,204.23
                                                               agent with accounting
07/13/04       {1}        C.L.B. Check Cashing, Inc.           Accounts Receivable - Turnover of funds from         1221-000            840,182.96                          1,375,387.19
                                                               agent with accounting
07/13/04       {1}        Green Food Market                    Accounts Receivable - Turnover of funds from         1221-000              3,968.98                          1,379,356.17
                                                               agent
07/22/04       {1}        63rd Drive Pharmacy Corp.            Accounts Receivable - Turnover of funds from         1221-000                 352.72                         1,379,708.89
                                                               agent with accounting
07/30/04       Int        JPMORGAN CHASE BANK                  Interest posting at 0.1500%                          1270-000                 126.91                         1,379,835.80
08/05/04       {1}        Money Express Check Cashing          Accounts Receivable - Turnover of funds from         1221-000                 834.72                         1,380,670.52
                                                                                                         Subtotals :                 $1,133,567.45                $0.00
{} Asset reference(s)                                                                                                                              Printed: 12/07/2017 12:32 PM        V.13.30
                 04-12771-mkv                  Doc 733      Filed 12/19/17 Entered 12/19/17 17:57:32                                            Main Document
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                                                  Cash Receipts And Disbursements Record
Case Number:         04-12771 (MKV)                                                             Trustee:            JOHN S. PEREIRA (521200)
Case Name:           CASHPOINT NETWORK SERVICES INC.                                            Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                                Account:            ***-*****47-68 - Agent w/Full Accounting
Taxpayer ID #: **-***7072                                                                       Blanket Bond:       N/A
Period Ending: 12/07/17                                                                         Separate Bond: $1,415,080.00

   1            2                         3                                     4                                               5                    6                   7

 Trans.     {Ref #} /                                                                                                        Receipts        Disbursements  Money Market
  Date      Check #          Paid To / Received From             Description of Transaction                T-Code               $                  $       Account Balance
                                                         agent [Spring PCS payments]
08/05/04       {1}        Money Express Check Cashing    Accounts Receivable - Turnover of funds from      1221-000             15,152.69                          1,395,823.21
                                                         agent [Cablevision payments]
08/05/04       {1}        Money Express Check Cashing    Accounts Receivable - turnover of funds from      1221-000             28,119.12                          1,423,942.33
                                                         agent [Con Edison payments]
08/05/04       {1}        Money Express Check Cashing    Accounts Receivable - turnover of funds from      1221-000                 125.89                         1,424,068.22
                                                         agent [DEP payment]
08/05/04       {1}        Money Express Check Cashing    Accounts Receivable - turnover of funds from      1221-000                 529.25                         1,424,597.47
                                                         agent [Keyspan payments]
08/05/04       {1}        Money Express Check Cashing    Accounts Receivable - turnover of funds from      1221-000                 287.62                         1,424,885.09
                                                         agent [Verizon wireless payments]
08/05/04       {1}        Money Express Check Cashing    Accounts Receivable - turnover of funds from      1221-000                 167.55                         1,425,052.64
                                                         agent [MCI payments]
08/05/04       {1}        Money Express Check Cashing    Accounts Receivable - turnover of funds from      1221-000                  68.04                         1,425,120.68
                                                         agent [Met Tel payments]
08/05/04       {1}        Money Express Check Cashing    Accounts Receivable - turnover of funds from      1221-000                 240.34                         1,425,361.02
                                                         agent [Dishnetwork payments]
08/05/04       {1}        Money Express Check Cashing    Accounts Receivable - turnover of funds from      1221-000                 595.59                         1,425,956.61
                                                         agent [Direct TV payments]
08/05/04       {1}        Money Express Check Cashing    Accounts Receivable - turnover of funds from      1221-000                  72.96                         1,426,029.57
                                                         agent [Time Warner payments]
08/05/04       {1}        Money Express Check Cashing    Accounts Receivable - turnover of funds from      1221-000              1,469.21                          1,427,498.78
                                                         agent [Housing payments]
08/05/04       {1}        Money Express Check Cashing    Accounts Receivable - turnover of funds from      1221-000              1,410.00                          1,428,908.78
                                                         agent [Parking tickets payments]
08/05/04       {1}        Money Express Check Cashing    Accounts Receivable - turnover of funds from      1221-000             15,106.08                          1,444,014.86
                                                         agent [Verizon Payments]
08/05/04       {1}        233 St. Check Cashing Corp     Accounts Receivable - turnover of funds from      1221-000              4,383.75                          1,448,398.61
                                                         agent [Housing payments]
08/05/04       {1}        233 St. Check Cashing Corp     Accounts Receivable - turnover of funds from      1221-000             13,119.67                          1,461,518.28
                                                         agent [Con Edison Payments]
08/05/04       {1}        233 St. Check Cashing Corp     Accounts Receivable - turnover of funds from      1221-000                 265.00                         1,461,783.28
                                                         agent [MCI payments]
08/05/04       {1}        233 St. Check Cashing Corp     Accounts Receivable - turnover of funds from      1221-000                 513.42                         1,462,296.70
                                                         agent [Direct TV payments]
08/05/04       {1}        233 St. Check Cashing Corp     Accounts Receivable - turnover of funds from      1221-000                 343.91                         1,462,640.61
                                                         agent [Sprint PCS payments]
08/05/04       {1}        233 St. Check Cashing Corp     Accounts Receivable - turnover of funds from      1221-000                  65.58                         1,462,706.19
                                                         agent [Dishnetwork payments]
                                                                                                 Subtotals :                   $82,035.67                $0.00
{} Asset reference(s)                                                                                                                     Printed: 12/07/2017 12:32 PM        V.13.30
                 04-12771-mkv                       Doc 733       Filed 12/19/17 Entered 12/19/17 17:57:32                                           Main Document
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                                                     Cash Receipts And Disbursements Record
Case Number:         04-12771 (MKV)                                                                  Trustee:            JOHN S. PEREIRA (521200)
Case Name:           CASHPOINT NETWORK SERVICES INC.                                                 Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                                     Account:            ***-*****47-68 - Agent w/Full Accounting
Taxpayer ID #: **-***7072                                                                            Blanket Bond:       N/A
Period Ending: 12/07/17                                                                              Separate Bond: $1,415,080.00

   1            2                               3                                    4                                               5                    6                   7

 Trans.     {Ref #} /                                                                                                             Receipts        Disbursements  Money Market
  Date      Check #          Paid To / Received From                   Description of Transaction               T-Code               $                  $       Account Balance
08/05/04       {1}        233 St. Check Cashing Corp          Accounts Receivable - turnover of funds from      1221-000                 275.00                         1,462,981.19
                                                              agent [Verizon Wireless payments]
08/05/04       {1}        233 St. Check Cashing Corp          Accounts Receivable - turnover of funds from      1221-000              6,078.85                          1,469,060.04
                                                              agent [Verizon payments]
08/05/04       {1}        233 St. Check Cashing Corp          Accounts Receivable - turnover of funds from      1221-000              3,478.94                          1,472,538.98
                                                              agent [Cablevision payments]
08/10/04       {1}        Bay Street Check Cashing Corp       Accounts Receivable - Turnover of funds by        1221-000                  90.00                         1,472,628.98
                                                              Agent with accounting [two Parking Violations
                                                              Bureau bills]
08/10/04       {1}        A.V.W. Check Cashing Corp.          Accounts Receivable - Turnover of funds from      1221-000              1,445.00                          1,474,073.98
                                                              Agent with accounting [22 Parking Violations
                                                              Bureau payments]
08/17/04       {1}        National Check Cashing, Inc.        Accounts Receivable - Turnover of funds from      1221-000             16,623.65                          1,490,697.63
                                                              agent
08/17/04       {1}        Challenger Check Cashing Corp.      Accounts Receivable - Turnover of funds from      1221-000              1,239.56                          1,491,937.19
                                                              agent
08/17/04       {1}        HCC Enterprises LLC                 Accounts Receivable - Turnover of funds from      1221-000                 346.83                         1,492,284.02
                                                              agent
08/17/04       {1}        Rice Oil Co. Inc.                   Accounts Receivable - Turnover of funds from      1221-000              2,893.44                          1,495,177.46
                                                              agent
08/23/04       {1}        Nason's Quick Mart                  ACCOUNTS RECEIVABLE - Turnover from               1221-000              7,322.71                          1,502,500.17
                                                              agent
08/23/04       {1}        Bay Street Check Cashing Corp       ACCOUNTS RECEIVABLE - Turnover from               1221-000                 159.85                         1,502,660.02
                                                              agent
08/23/04       {1}        Har-Joe Check Cashing Corp.         ACCOUNTS RECEIVABLE - Turnover from               1221-000              4,959.84                          1,507,619.86
                                                              agent
08/27/04       {1}        Thrifty Stores Inc.                 Accounts Receivable - Turnover of funds by        1221-000              1,556.80                          1,509,176.66
                                                              agent.
08/27/04       {1}        Thrifty Stores Inc.                 Accounts Receivable - Turnover of funds by        1221-000              1,661.70                          1,510,838.36
                                                              agent.
08/27/04       {1}        Jim & Lori Inc.                     Accounts Receivable - Turnover of funds by        1221-000              1,620.37                          1,512,458.73
                                                              agent.
08/27/04       {1}        Jim & Lori Inc.                     Accounts Receivable - Turnover of funds by        1221-000              2,457.47                          1,514,916.20
                                                              agent.
08/27/04       {1}        Ric & Ed Inc.                       Accounts Receivable - Turnover of funds by        1221-000              1,582.88                          1,516,499.08
                                                              agent
08/27/04       {1}        Ric & Ed Inc.                       Accounts Receivable - Turnover of funds by        1221-000              1,992.58                          1,518,491.66
                                                              agent
08/31/04       Int        JPMORGAN CHASE BANK                 Interest posting at 0.2000%                       1270-000                 230.40                         1,518,722.06

                                                                                                      Subtotals :                   $56,015.87                $0.00
{} Asset reference(s)                                                                                                                          Printed: 12/07/2017 12:32 PM        V.13.30
                 04-12771-mkv                    Doc 733         Filed 12/19/17 Entered 12/19/17 17:57:32                                             Main Document
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                                                    Cash Receipts And Disbursements Record
Case Number:         04-12771 (MKV)                                                                   Trustee:            JOHN S. PEREIRA (521200)
Case Name:           CASHPOINT NETWORK SERVICES INC.                                                  Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                                      Account:            ***-*****47-68 - Agent w/Full Accounting
Taxpayer ID #: **-***7072                                                                             Blanket Bond:       N/A
Period Ending: 12/07/17                                                                               Separate Bond: $1,415,080.00

   1            2                          3                                         4                                                5                    6                   7

 Trans.     {Ref #} /                                                                                                              Receipts        Disbursements  Money Market
  Date      Check #          Paid To / Received From                  Description of Transaction                 T-Code               $                  $       Account Balance
09/07/04       {1}        RiteCheck                           Accounts Receivable - Turnover of balance of       1221-000              5,722.88                          1,524,444.94
                                                              funds from Agent
09/20/04       {1}        Conn. State Check Cashing Serv.     Accounts Receivable - Turnover of funds from       1221-000                 631.76                         1,525,076.70
                                                              Agent
09/30/04       Int        JPMORGAN CHASE BANK                 Interest posting at 0.2000%                        1270-000                 250.39                         1,525,327.09
10/06/04       {1}        Woodhaven Blvd. Pharmacy, Inc.      Accounts Receivable - Turnover of funds from       1221-000              4,000.00                          1,529,327.09
                                                              agent
10/26/04       {1}        Kingston Check Cashing Corp.        Accounts Receivable - Turnover of funds from       1221-000             37,899.58                          1,567,226.67
                                                              agent
10/29/04       Int        JPMORGAN CHASE BANK                 Interest posting at 0.2500%                        1270-000                 273.51                         1,567,500.18
11/30/04       Int        JPMORGAN CHASE BANK                 Interest posting at 0.2500%                        1270-000                 322.12                         1,567,822.30
12/31/04       Int        JPMORGAN CHASE BANK                 Interest posting at 1.0500%                        1270-000              1,192.41                          1,569,014.71
01/31/05       Int        JPMORGAN CHASE BANK                 Interest Earned                                    1270-000              1,399.82                          1,570,414.53
02/28/05       Int        JPMORGAN CHASE BANK, N.A.           Interest posting at 0.3500%                        1270-000              1,265.43                          1,571,679.96
03/01/05       {1}        B & H Check Cashing                 Turnover of funds from agent, Site # 380, 381,     1221-000             66,067.63                          1,637,747.59
                                                              382, 383 & 384
03/15/05                  From Account #********4765          Turnover of funds from 5 East 41st St. Check       9999-000             29,917.87                          1,667,665.46
                                                              Cashing Corp.
03/31/05       Int        JPMORGAN CHASE BANK, N.A.           Interest posting at 0.3500%                        1270-000              1,473.87                          1,669,139.33
04/19/05       {1}        V & V Check Cashing Corp.           Turnover of funds from agent                       1221-000              3,866.36                          1,673,005.69
04/29/05       Int        JPMORGAN CHASE BANK, N.A.           Interest posting at 0.3500%                        1270-000              1,442.31                          1,674,448.00
05/31/05       Int        JPMORGAN CHASE BANK, N.A.           Interest posting at 1.0500%                        1270-000              1,493.88                          1,675,941.88
06/30/05       Int        JPMORGAN CHASE BANK, N.A.           Interest posting at 1.0500%                        1270-000              1,446.96                          1,677,388.84
07/29/05       Int        JPMORGAN CHASE BANK, N.A.           Interest posting at 1.0500%                        1270-000              1,496.51                          1,678,885.35
08/10/05       {1}        Check Busters Financial Svcs.Inc.   Turnover of funds held by Agent                    1221-000            122,479.07                          1,801,364.42
08/31/05       Int        JPMORGAN CHASE BANK, N.A.           Interest posting at 1.2000%                        1270-000              1,778.67                          1,803,143.09
09/28/05       {1}        1 Stop Check Cashing                Turnover of funds by Agent                         1221-000             15,726.30                          1,818,869.39
09/30/05       Int        JPMORGAN CHASE BANK, N.A.           Interest posting at 1.2000%                        1270-000              1,779.81                          1,820,649.20
10/31/05       Int        JPMORGAN CHASE BANK, N.A.           Interest posting at 1.2000%                        1270-000              1,856.48                          1,822,505.68
11/30/05       Int        JPMORGAN CHASE BANK, N.A.           Interest posting at 1.2000%                        1270-000              1,798.40                          1,824,304.08
12/30/05       Int        JPMORGAN CHASE BANK, N.A.           Interest posting at 1.4500%                        1270-000              2,008.30                          1,826,312.38
01/31/06       Int        JPMORGAN CHASE BANK, N.A.           Interest posting at 1.4500%                        1270-000              2,250.46                          1,828,562.84
02/28/06       Int        JPMORGAN CHASE BANK, N.A.           Interest posting at 1.6000%                        1270-000              2,185.51                          1,830,748.35
03/31/06       Int        JPMORGAN CHASE BANK, N.A.           Interest posting at 1.6000%                        1270-000              2,489.45                          1,833,237.80
04/28/06       Int        JPMORGAN CHASE BANK, N.A.           Interest posting at 1.7000%                        1270-000              2,482.77                          1,835,720.57
05/31/06       Int        JPMORGAN CHASE BANK, N.A.           Interest posting at 1.7000%                        1270-000              2,652.33                          1,838,372.90
06/30/06       Int        JPMORGAN CHASE BANK, N.A.           Interest posting at 2.5000%                        1270-000              3,458.27                          1,841,831.17

                                                                                                      Subtotals :                   $323,109.11                $0.00
{} Asset reference(s)                                                                                                                           Printed: 12/07/2017 12:32 PM        V.13.30
                 04-12771-mkv                   Doc 733      Filed 12/19/17 Entered 12/19/17 17:57:32                                             Main Document
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                                                     Cash Receipts And Disbursements Record
Case Number:         04-12771 (MKV)                                                               Trustee:            JOHN S. PEREIRA (521200)
Case Name:           CASHPOINT NETWORK SERVICES INC.                                              Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                                  Account:            ***-*****47-68 - Agent w/Full Accounting
Taxpayer ID #: **-***7072                                                                         Blanket Bond:       N/A
Period Ending: 12/07/17                                                                           Separate Bond: $1,415,080.00

   1            2                          3                                     4                                                5                    6                   7

 Trans.     {Ref #} /                                                                                                          Receipts        Disbursements  Money Market
  Date      Check #          Paid To / Received From              Description of Transaction                 T-Code               $                  $       Account Balance
07/31/06       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 2.5000%                        1270-000              3,914.76                          1,845,745.93
08/31/06       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 2.5000%                        1270-000              3,923.08                          1,849,669.01
09/29/06       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 3.0200%                        1270-000              4,175.29                          1,853,844.30
10/31/06       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 3.0200%                        1270-000              4,907.79                          1,858,752.09
11/30/06       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 3.0200%                        1270-000              4,613.23                          1,863,365.32
12/29/06       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 3.0200%                        1270-000              4,470.53                          1,867,835.85
01/31/07       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 2.9100%                        1270-000              4,986.91                          1,872,822.76
02/28/07       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 2.9100%                        1270-000              4,180.44                          1,877,003.20
03/30/07       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 2.9100%                        1270-000              4,489.04                          1,881,492.24
04/30/07       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 2.9100%                        1270-000              4,649.76                          1,886,142.00
05/31/07       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 2.9100%                        1270-000              4,661.26                          1,890,803.26
06/29/07       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 2.9100%                        1270-000              4,371.31                          1,895,174.57
07/31/07       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 2.7800%                        1270-000              4,639.00                          1,899,813.57
08/31/07       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 2.7800%                        1270-000              4,485.38                          1,904,298.95
09/28/07       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 2.7800%                        1270-000              4,060.87                          1,908,359.82
10/31/07       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 2.7800%                        1270-000              4,796.24                          1,913,156.06
11/30/07       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 2.3800%                        1270-000              4,035.68                          1,917,191.74
12/31/07       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 2.3800%                        1270-000              3,875.02                          1,921,066.76
01/31/08       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 1.4500%                        1270-000              3,493.95                          1,924,560.71
02/29/08       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 1.2500%                        1270-000              1,963.74                          1,926,524.45
03/31/08       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 0.9300%                        1270-000              1,969.89                          1,928,494.34
04/30/08       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 0.9300%                        1270-000              1,473.56                          1,929,967.90
05/07/08       Int        JPMORGAN CHASE BANK, N.A.       Current Interest Rate is 0.1700%                   1270-000                 273.80                         1,930,241.70
05/07/08                  To Account #********4765        TRANSFER OF FUNDS FROM ACCOUNT                     9999-000                              1,930,241.70                   0.00
                                                          CLOSEOUT

                                                                               ACCOUNT TOTALS                                  1,930,241.70        1,930,241.70                  $0.00
                                                                                        Less: Bank Transfers                      29,917.87        1,930,241.70
                                                                               Subtotal                                        1,900,323.83                 0.00
                                                                                        Less: Payments to Debtors                                           0.00
                                                                               NET Receipts / Disbursements                   $1,900,323.83                $0.00




{} Asset reference(s)                                                                                                                       Printed: 12/07/2017 12:32 PM        V.13.30
                 04-12771-mkv                 Doc 733      Filed 12/19/17 Entered 12/19/17 17:57:32                                        Main Document
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                                                Cash Receipts And Disbursements Record
Case Number:         04-12771 (MKV)                                                         Trustee:            JOHN S. PEREIRA (521200)
Case Name:           CASHPOINT NETWORK SERVICES INC.                                        Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                            Account:            ***-*****47-69 - CashPoint Escrow Account
Taxpayer ID #: **-***7072                                                                   Blanket Bond:       N/A
Period Ending: 12/07/17                                                                     Separate Bond: $1,415,080.00

   1            2                         3                                    4                                            5                  6                    7

 Trans.     {Ref #} /                                                                                                   Receipts         Disbursements  Money Market
  Date      Check #         Paid To / Received From            Description of Transaction              T-Code              $                   $       Account Balance
06/10/04       {6}        PEOPLE'S BANK                 TURNOVER OF FUNDS IN DEBTOR'S                  1229-000         5,654,826.86                          5,654,826.86
                                                        ACCOUNT
06/10/04       {6}        PEOPLE'S BANK                 TURNOVER OF FUNDS IN DEBTOR'S                  1229-000                  49.00                        5,654,875.86
                                                        ACCOUNT
06/30/04       Int        JPMORGAN CHASE BANK           Interest posting at 0.1500%                    1270-000                 488.03                        5,655,363.89
07/01/04       {6}        PEOPLE'S BANK                 TURNOVER OF FUNDS FROM DEBTOR'S                1229-000         2,600,000.00                          8,255,363.89
                                                        ACCOUNT - WIRE TRANSFER
07/30/04       Int        JPMORGAN CHASE BANK           Interest posting at 0.1500%                    1270-000              1,051.75                         8,256,415.64
08/31/04       Int        JPMORGAN CHASE BANK           Interest posting at 0.2000%                    1270-000              1,289.44                         8,257,705.08
09/30/04       Int        JPMORGAN CHASE BANK           Interest posting at 0.2000%                    1270-000              1,357.53                         8,259,062.61
10/29/04       Int        JPMORGAN CHASE BANK           Interest posting at 0.2500%                    1270-000              1,470.91                         8,260,533.52
11/30/04       Int        JPMORGAN CHASE BANK           Interest posting at 0.2500%                    1270-000              1,697.53                         8,262,231.05
12/31/04       Int        JPMORGAN CHASE BANK           Interest posting at 1.0500%                    1270-000              6,283.86                         8,268,514.91
01/31/05       Int        JPMORGAN CHASE BANK           Interest Earned                                1270-000              7,376.88                         8,275,891.79
02/28/05       Int        JPMORGAN CHASE BANK, N.A.     Interest posting at 0.3500%                    1270-000              6,668.64                         8,282,560.43
03/31/05       Int        JPMORGAN CHASE BANK, N.A.     Interest posting at 0.3500%                    1270-000              7,389.41                         8,289,949.84
04/29/05       Int        JPMORGAN CHASE BANK, N.A.     Interest posting at 0.3500%                    1270-000              7,157.32                         8,297,107.16
05/31/05       Int        JPMORGAN CHASE BANK, N.A.     Interest posting at 1.0500%                    1270-000              7,402.39                         8,304,509.55
06/22/05       {6}        People's Bank                 Turnover of funds in bank account              1221-000         1,012,998.60                          9,317,508.15
06/22/05       {6}        People's Bank                 Turnover of funds in bank account              1221-000         2,030,097.20                         11,347,605.35
06/23/05       {6}        People's Bank                 Turnover of funds in bank account              1221-000              2,532.90                        11,350,138.25
06/23/05       {6}        People's Bank                 Turnover of funds in bank account              1221-000              1,263.89                        11,351,402.14
06/30/05       Int        JPMORGAN CHASE BANK, N.A.     Interest posting at 1.0500%                    1270-000              7,958.72                        11,359,360.86
07/29/05       Int        JPMORGAN CHASE BANK, N.A.     Interest posting at 1.0500%                    1270-000             10,134.42                        11,369,495.28
08/31/05       Int        JPMORGAN CHASE BANK, N.A.     Interest posting at 1.2000%                    1270-000             11,499.71                        11,380,994.99
09/30/05       Int        JPMORGAN CHASE BANK, N.A.     Interest posting at 1.2000%                    1270-000             11,230.44                        11,392,225.43
10/31/05       Int        JPMORGAN CHASE BANK, N.A.     Interest posting at 1.2000%                    1270-000             11,616.43                        11,403,841.86
11/30/05       Int        JPMORGAN CHASE BANK, N.A.     Interest posting at 1.2000%                    1270-000             11,252.98                        11,415,094.84
12/30/05       Int        JPMORGAN CHASE BANK, N.A.     Interest posting at 1.4500%                    1270-000             11,952.80                        11,427,047.64
01/31/06       Int        JPMORGAN CHASE BANK, N.A.     Interest posting at 1.4500%                    1270-000             14,080.87                        11,441,128.51
02/28/06       Int        JPMORGAN CHASE BANK, N.A.     Interest posting at 1.6000%                    1270-000             13,674.53                        11,454,803.04
03/31/06       Int        JPMORGAN CHASE BANK, N.A.     Interest posting at 1.6000%                    1270-000             15,576.21                        11,470,379.25
04/28/06       Int        JPMORGAN CHASE BANK, N.A.     Interest posting at 1.7000%                    1270-000             15,534.44                        11,485,913.69
05/31/06       Int        JPMORGAN CHASE BANK, N.A.     Interest posting at 1.7000%                    1270-000             16,595.35                        11,502,509.04
06/30/06       Int        JPMORGAN CHASE BANK, N.A.     Interest posting at 2.5000%                    1270-000             21,638.03                        11,524,147.07
07/31/06       Int        JPMORGAN CHASE BANK, N.A.     Interest posting at 2.5000%                    1270-000             24,494.22                        11,548,641.29
08/31/06       Int        JPMORGAN CHASE BANK, N.A.     Interest posting at 2.5000%                    1270-000             24,546.28                        11,573,187.57

                                                                                            Subtotals :               $11,573,187.57               $0.00
{} Asset reference(s)                                                                                                                Printed: 12/07/2017 12:32 PM        V.13.30
                 04-12771-mkv                   Doc 733      Filed 12/19/17 Entered 12/19/17 17:57:32                                            Main Document
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                                                     Cash Receipts And Disbursements Record
Case Number:         04-12771 (MKV)                                                               Trustee:            JOHN S. PEREIRA (521200)
Case Name:           CASHPOINT NETWORK SERVICES INC.                                              Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                                  Account:            ***-*****47-69 - CashPoint Escrow Account
Taxpayer ID #: **-***7072                                                                         Blanket Bond:       N/A
Period Ending: 12/07/17                                                                           Separate Bond: $1,415,080.00

   1            2                          3                                     4                                                5                  6                    7

 Trans.     {Ref #} /                                                                                                         Receipts        Disbursements  Money Market
  Date      Check #          Paid To / Received From              Description of Transaction                 T-Code              $                  $       Account Balance
09/29/06       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 3.0200%                        1270-000             26,124.37                        11,599,311.94
10/31/06       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 3.0200%                        1270-000             30,707.55                        11,630,019.49
11/30/06       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 3.0200%                        1270-000             28,864.54                        11,658,884.03
12/29/06       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 3.0200%                        1270-000             27,971.64                        11,686,855.67
01/31/07       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 2.9100%                        1270-000             31,202.61                        11,718,058.28
02/28/07       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 2.9100%                        1270-000             26,156.58                        11,744,214.86
03/30/07       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 2.9100%                        1270-000             28,087.46                        11,772,302.32
04/30/07       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 2.9100%                        1270-000             29,093.12                        11,801,395.44
05/31/07       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 2.9100%                        1270-000             29,165.02                        11,830,560.46
06/29/07       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 2.9100%                        1270-000             27,350.83                        11,857,911.29
07/31/07       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 2.7800%                        1270-000             29,025.79                        11,886,937.08
08/31/07       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 2.7800%                        1270-000             28,064.58                        11,915,001.66
09/28/07       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 2.7800%                        1270-000             25,408.50                        11,940,410.16
10/31/07       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 2.7800%                        1270-000             30,009.59                        11,970,419.75
11/30/07       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 2.3800%                        1270-000             25,250.88                        11,995,670.63
12/31/07       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 2.3800%                        1270-000             24,245.64                        12,019,916.27
01/31/08       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 1.4500%                        1270-000             21,861.34                        12,041,777.61
02/15/08       Int        JPMORGAN CHASE BANK, N.A.       Current Interest Rate is 0.3000%                   1270-000              6,102.29                        12,047,879.90
02/15/08                  To Account #********4765        TRANSFER OF FUNDS PURSUANT TO                      9999-000                            12,047,879.90                   0.00
                                                          ORDER DATED FEBRUARY 15, 2008

                                                                               ACCOUNT TOTALS                                12,047,879.90       12,047,879.90                  $0.00
                                                                                        Less: Bank Transfers                           0.00      12,047,879.90
                                                                               Subtotal                                      12,047,879.90                0.00
                                                                                        Less: Payments to Debtors                                         0.00
                                                                               NET Receipts / Disbursements                 $12,047,879.90               $0.00




{} Asset reference(s)                                                                                                                      Printed: 12/07/2017 12:32 PM        V.13.30
                 04-12771-mkv                    Doc 733      Filed 12/19/17 Entered 12/19/17 17:57:32                                              Main Document
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                                                     Cash Receipts And Disbursements Record
Case Number:         04-12771 (MKV)                                                                 Trustee:            JOHN S. PEREIRA (521200)
Case Name:           CASHPOINT NETWORK SERVICES INC.                                                Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                                    Account:            ***-*****47-70 - MMA - Agent for Entergy
Taxpayer ID #: **-***7072                                                                           Blanket Bond:       N/A
Period Ending: 12/07/17                                                                             Separate Bond: $1,415,080.00

   1            2                            3                                     4                                                5                   6                   7

 Trans.     {Ref #} /                                                                                                           Receipts         Disbursements  Money Market
  Date      Check #          Paid To / Received From                 Description of Transaction                T-Code              $                   $       Account Balance
06/29/04       {6}        Security State Bank              Turnover of funds in debtor's bank account,         1229-000            157,216.26                           157,216.26
                                                           account #16881, as agent to Entergy
07/08/04      1001        JOHN S. PEREIRA                  BOND PREMIUM PAYMENT ON LEDGER                      2300-000                                     10.13       157,206.13
                                                           BALANCE AS OF 04/30/2004 FOR CASE
                                                           #04-12771-REG
07/30/04       Int        JPMORGAN CHASE BANK              Interest posting at 0.1500%                         1270-000                  20.01                          157,226.14
08/31/04       Int        JPMORGAN CHASE BANK              Interest posting at 0.2000%                         1270-000                  24.55                          157,250.69
09/30/04       Int        JPMORGAN CHASE BANK              Interest posting at 0.2000%                         1270-000                  25.85                          157,276.54
10/01/04       {6}        Regions Bank                     Turnover of funds from bank account                 1221-000            810,763.19                           968,039.73
                                                           #03-0499-4396
10/29/04       Int        JPMORGAN CHASE BANK              Interest posting at 0.2500%                         1270-000                 154.63                          968,194.36
11/15/04                  From Account #********4765       Turnover of funds from First American Bank,         9999-000              1,585.81                           969,780.17
                                                           account #9022317
11/30/04       Int        JPMORGAN CHASE BANK              Interest posting at 0.2500%                         1270-000                 199.14                          969,979.31
12/28/04       {1}        American Payment Systems         Accounts Receivable - funds collected for           1221-000              3,057.33                           973,036.64
                                                           Entergy
12/28/04       {6}        Bank One                         Turnover of funds in bank account                   1221-000          2,481,635.21                         3,454,671.85
12/28/04       {6}        Bank One                         Turnover of funds in bank account                   1221-000            976,071.82                         4,430,743.67
12/28/04       {6}        Bank One                         Turnover of funds in bank account                   1221-000            511,344.95                         4,942,088.62
12/31/04       Int        JPMORGAN CHASE BANK              Interest posting at 1.0500%                         1270-000              1,194.63                         4,943,283.25
01/06/05       {6}        Trustmark National Bank          Turnover of funds in account #1000222158            1221-000          1,520,682.15                         6,463,965.40
01/25/05       {6}        AmSouth Bank of Tennessee        Turnover of funds from account no.                  1221-000             99,551.98                         6,563,517.38
                                                           0018571579
01/31/05       Int        JPMORGAN CHASE BANK              Interest Earned                                     1270-000              5,562.34                         6,569,079.72
01/31/05                  To Account #********4765         Turnover of funds from Bank One                     9999-000                                976,071.82     5,593,007.90
01/31/05                  To Account #********4765         Turnover of funds from Bank One                     9999-000                                511,344.95     5,081,662.95
02/10/05       {6}        Texas State Bank                 Turnover of funds from account no. 9030721          1221-000            157,623.14                         5,239,286.09
                                                           (Deducted research/copying fees in the
                                                           amount of $200.00 from total balance)
02/28/05       Int        JPMORGAN CHASE BANK, N.A.        Interest posting at 0.3500%                         1270-000              4,205.61                         5,243,491.70
03/31/05       Int        JPMORGAN CHASE BANK, N.A.        Interest posting at 0.3500%                         1270-000              4,678.06                         5,248,169.76
04/29/05       Int        JPMORGAN CHASE BANK, N.A.        Interest posting at 0.3500%                         1270-000              4,531.13                         5,252,700.89
05/23/05       {6}        Simmons First National Bank      Turnover of funds in account #10299578              1221-000              3,510.67                         5,256,211.56
05/31/05       Int        JPMORGAN CHASE BANK, N.A.        Interest posting at 1.0500%                         1270-000              4,686.98                         5,260,898.54
06/30/05       Int        JPMORGAN CHASE BANK, N.A.        Interest posting at 1.0500%                         1270-000              4,542.12                         5,265,440.66
07/29/05       Int        JPMORGAN CHASE BANK, N.A.        Interest posting at 1.0500%                         1270-000              4,697.64                         5,270,138.30
08/31/05       Int        JPMORGAN CHASE BANK, N.A.        Interest posting at 1.2000%                         1270-000              5,330.50                         5,275,468.80


                                                                                                    Subtotals :                 $6,762,895.70       $1,487,426.90
{} Asset reference(s)                                                                                                                        Printed: 12/07/2017 12:32 PM        V.13.30
                 04-12771-mkv                   Doc 733      Filed 12/19/17 Entered 12/19/17 17:57:32                                             Main Document
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                                                     Cash Receipts And Disbursements Record
Case Number:         04-12771 (MKV)                                                               Trustee:            JOHN S. PEREIRA (521200)
Case Name:           CASHPOINT NETWORK SERVICES INC.                                              Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                                  Account:            ***-*****47-70 - MMA - Agent for Entergy
Taxpayer ID #: **-***7072                                                                         Blanket Bond:       N/A
Period Ending: 12/07/17                                                                           Separate Bond: $1,415,080.00

   1            2                          3                                     4                                                5                   6                   7

 Trans.     {Ref #} /                                                                                                         Receipts         Disbursements  Money Market
  Date      Check #          Paid To / Received From              Description of Transaction                 T-Code              $                   $       Account Balance
09/30/05       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 1.2000%                        1270-000              5,205.68                         5,280,674.48
10/31/05       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 1.2000%                        1270-000              5,384.60                         5,286,059.08
11/30/05       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 1.2000%                        1270-000              5,216.13                         5,291,275.21
12/30/05       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 1.4500%                        1270-000              5,824.95                         5,297,100.16
01/31/06       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 1.4500%                        1270-000              6,527.30                         5,303,627.46
02/28/06       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 1.6000%                        1270-000              6,338.94                         5,309,966.40
03/31/06       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 1.6000%                        1270-000              7,220.48                         5,317,186.88
04/28/06       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 1.7000%                        1270-000              7,201.12                         5,324,388.00
05/31/06       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 1.7000%                        1270-000              7,692.91                         5,332,080.91
06/30/06       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 2.5000%                        1270-000             10,030.48                         5,342,111.39
07/31/06       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 2.5000%                        1270-000             11,354.49                         5,353,465.88
08/31/06       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 2.5000%                        1270-000             11,378.63                         5,364,844.51
09/29/06       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 3.0200%                        1270-000             12,110.16                         5,376,954.67
10/31/06       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 3.0200%                        1270-000             14,234.73                         5,391,189.40
11/30/06       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 3.0200%                        1270-000             13,380.39                         5,404,569.79
12/29/06       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 3.0200%                        1270-000             12,966.48                         5,417,536.27
01/31/07       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 2.9100%                        1270-000             14,464.22                         5,432,000.49
02/28/07       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 2.9100%                        1270-000             12,125.09                         5,444,125.58
03/30/07       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 2.9100%                        1270-000             13,020.17                         5,457,145.75
04/30/07       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 2.9100%                        1270-000             13,486.35                         5,470,632.10
05/31/07       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 2.9100%                        1270-000             13,519.68                         5,484,151.78
06/29/07       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 2.9100%                        1270-000             12,678.70                         5,496,830.48
07/31/07       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 2.7800%                        1270-000             13,455.14                         5,510,285.62
08/31/07       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 2.7800%                        1270-000             13,009.56                         5,523,295.18
09/28/07       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 2.7800%                        1270-000             11,778.31                         5,535,073.49
10/31/07       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 2.7800%                        1270-000             13,911.18                         5,548,984.67
11/01/07       Int        JPMORGAN CHASE BANK, N.A.       Current Interest Rate is 0.6500%                   1270-000                   0.00                        5,548,984.67
11/01/07                  To Account #********4765        TRANSFER OF FUNDS FROM MONEY                       9999-000                              5,548,984.67                  0.00
                                                          MARKET ACCOUNT CLOSEOUT

                                                                               ACCOUNT TOTALS                                  7,036,411.57        7,036,411.57                 $0.00
                                                                                        Less: Bank Transfers                       1,585.81        7,036,401.44
                                                                               Subtotal                                        7,034,825.76                10.13
                                                                                        Less: Payments to Debtors                                           0.00
                                                                               NET Receipts / Disbursements                   $7,034,825.76               $10.13




{} Asset reference(s)                                                                                                                      Printed: 12/07/2017 12:32 PM        V.13.30
                 04-12771-mkv                     Doc 733       Filed 12/19/17 Entered 12/19/17 17:57:32                                              Main Document
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                                                        Cash Receipts And Disbursements Record
Case Number:         04-12771 (MKV)                                                                   Trustee:            JOHN S. PEREIRA (521200)
Case Name:           CASHPOINT NETWORK SERVICES INC.                                                  Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                                      Account:            ***-*****47-71 - Entergy No Control Agrmt
Taxpayer ID #: **-***7072                                                                             Blanket Bond:       N/A
Period Ending: 12/07/17                                                                               Separate Bond: $1,415,080.00

   1            2                             3                                     4                                                 5                   6                   7

 Trans.     {Ref #} /                                                                                                             Receipts         Disbursements  Money Market
  Date      Check #          Paid To / Received From                  Description of Transaction                 T-Code              $                   $       Account Balance
08/09/04       {6}        First Guaranty Bank                Turnover of funds in bank account with              1229-000            167,602.85                           167,602.85
                                                             accounting - account no. 6034136
08/09/04       {6}        Petit Jean State Bank              Turnover of funds from account number 31518         1229-000             14,099.64                           181,702.49
08/10/04       {6}        Cross Keys Bank                    Turnover of funds from account #36765               1229-000             55,737.29                           237,439.78
08/12/04       {6}        Sabine State Bank                  Turnover of funds from account #350022187           1229-000             37,238.38                           274,678.16
08/13/04       {6}        Clinton Bank & Trust Co.           Turnover of funds from account #220779              1229-000              2,118.12                           276,796.28
08/13/04       {6}        Farmers Merchants Bank & Trust     Turnover of funds from account #1115057             1229-000             11,482.48                           288,278.76
                          Co.
08/16/04       {6}        Wells Fargo Bank                   Turnover of funds from account #75697904,           1229-000            130,089.43                           418,368.19
                                                             coll. no. 1200408060254
08/19/04       {6}        Richland State Bank                Turnover of funds from bank account                 1229-000             78,678.51                           497,046.70
08/23/04       {1}        Guaranty Bank & Trust Company      ACCOUNTS RECEIVABLE - Turnover from                 1221-000              4,259.02                           501,305.72
                                                             agent
08/23/04       {1}        Peoples Bank                       Turnover of funds from account #9011757             1221-000             98,886.70                           600,192.42
08/23/04       {1}        First Liberty National Bank        Turnover of funds debtor's account                  1221-000             37,753.27                           637,945.69
08/30/04       {6}        THE PEOPLES BANK & TRUST           TURNOVER OF FUNDS IN DEBTOR'S BANK                  1221-000            176,809.00                           814,754.69
                          COMPANY                            ACCOUNT #0900338087
08/30/04       {6}        The Mer Rouge State Bank           Turnover of funds in debtor's bank account          1221-000             11,686.06                           826,440.75
                                                             #1130811
08/31/04       {6}        Southern Heritage Bank             Turnover of funds in debtor's bank account          1221-000             15,168.10                           841,608.85
                                                             #1527223
08/31/04       {6}        Whitney National Bank              Turnover of funds in debtor's bank account          1221-000             60,013.64                           901,622.49
08/31/04       Int        JPMORGAN CHASE BANK                Interest posting at 0.2000%                         1270-000                  50.14                          901,672.63
08/31/04                  To Account #********4765           TRANSFER OF FUNDS - CHECK FROM                      9999-000                                  4,259.02       897,413.61
                                                             GUARANTY BANK IN THE AMOUNT OF
                                                             $4,259.02 [DEPOSITED IN THE WRONG
                                                             ACCOUNT]
09/14/04       {6}        Bank of Cave City                  Turnover of funds in bank account                   1221-000             20,238.68                           917,652.29
09/23/04       {6}        Hull State Bank                    Turnover of funds in debtor's bank account          1221-000             17,117.64                           934,769.93
                                                             #25577
09/24/04       {6}        Hancock Bank of Mississippi        Turnover of funds from account #016570542           1221-000            353,012.95                         1,287,782.88
09/30/04       Int        JPMORGAN CHASE BANK                Interest posting at 0.2000%                         1270-000                 154.52                        1,287,937.40
10/13/04       {6}        Bank of Kilmichael                 Turnover of funds from account #6506232             1221-000              8,048.83                         1,295,986.23
10/26/04       {6}        Jackson Parish Bank                Turnover of funds from bank account                 1221-000              9,199.39                         1,305,185.62
                                                             #0001108212
10/29/04       Int        JPMORGAN CHASE BANK                Interest posting at 0.2500%                         1270-000                 230.44                        1,305,416.06
11/15/04                  From Account #********4765         Turnover of funds from Bank of Jena, account        9999-000            152,100.20                         1,457,516.26
                                                             #9008829

                                                                                                      Subtotals :                $1,461,775.28            $4,259.02
{} Asset reference(s)                                                                                                                          Printed: 12/07/2017 12:32 PM        V.13.30
                 04-12771-mkv                 Doc 733      Filed 12/19/17 Entered 12/19/17 17:57:32                                               Main Document
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                                                  Cash Receipts And Disbursements Record
Case Number:        04-12771 (MKV)                                                                Trustee:            JOHN S. PEREIRA (521200)
Case Name:          CASHPOINT NETWORK SERVICES INC.                                               Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                                  Account:            ***-*****47-71 - Entergy No Control Agrmt
Taxpayer ID #: **-***7072                                                                         Blanket Bond:       N/A
Period Ending: 12/07/17                                                                           Separate Bond: $1,415,080.00

   1            2                        3                                      4                                                 5                   6                   7

 Trans.     {Ref #} /                                                                                                         Receipts         Disbursements  Money Market
  Date      Check #         Paid To / Received From             Description of Transaction                   T-Code              $                   $       Account Balance
11/15/04                 From Account #********4765     Turnover of funds from Bank of Morton,               9999-000             10,460.43                         1,467,976.69
                                                        account #6013726
11/15/04                 From Account #********4765     Turnover of funds from Bank of Ringgold,             9999-000             34,673.72                         1,502,650.41
                                                        account #1008846
11/15/04                 From Account #********4765     Turnover of funds from Bank of Marinqouin,           9999-000             23,289.87                         1,525,940.28
                                                        account #828289
11/15/04                 From Account #********4765     Turnover of funds from Bank Plus, account            9999-000            127,635.47                         1,653,575.75
                                                        #1520004969
11/15/04                 From Account #********4765     Turnover of funds from Bank of Winnfield,            9999-000             23,769.05                         1,677,344.80
                                                        account #141852
11/15/04                 From Account #********4765     Turnover of funds from Caldwell Bank & Trust         9999-000             67,261.26                         1,744,606.06
                                                        Co., account #23930
11/15/04                 From Account #********4765     Turnover of funds from Citizen's State Bank,         9999-000             19,597.26                         1,764,203.32
                                                        account #255300
11/15/04                 From Account #********4765     Turnover of funds from Citizen's Progressive         9999-000             21,870.68                         1,786,074.00
                                                        Bank, account #1014234
11/15/04                 From Account #********4765     Turnover of funds from Citizens State Bank,          9999-000             13,886.94                         1,799,960.94
                                                        account #00-221-6
11/15/04                 From Account #********4765     Turnover of funds from Citizens Bank of              9999-000            132,813.52                         1,932,774.46
                                                        Batesville, account #05-690-89
11/15/04                 From Account #********4765     Turnover of funds from Citizens State Bank of        9999-000             13,565.20                         1,946,339.66
                                                        Woodville Texas, account #189747
11/15/04                 From Account #********4765     Turnover of funds from Cornerstone Bank,             9999-000             47,642.90                         1,993,982.56
                                                        account #103861
11/15/04                 From Account #********4765     Turnover of funds from Covenant Bank,                9999-000              3,596.39                         1,997,578.95
                                                        account #0-896-1
11/15/04                 From Account #********4765     Turnover of funds from First Security Bank,          9999-000             21,867.91                         2,019,446.86
                                                        account #224685
11/15/04                 From Account #********4765     Turnover of funds from First National Bank,          9999-000              6,096.54                         2,025,543.40
                                                        account #0119032
11/15/04                 From Account #********4765     Turnover of funds from First Arkansas Valley         9999-000            289,990.67                         2,315,534.07
                                                        Bank, account #50010999
11/15/04                 From Account #********4765     Turnover of funds from First Arkansas Bank &         9999-000             24,266.70                         2,339,800.77
                                                        Trust, account #0072444485
11/15/04                 From Account #********4765     Turnover of funds from First National Bank,          9999-000             39,846.66                         2,379,647.43
                                                        account #1026097
11/15/04                 From Account #********4765     Turnover of funds from First Bank, account           9999-000             47,795.41                         2,427,442.84
                                                        #002135
11/15/04                 From Account #********4765     Turnover of funds from First Bank & Trust East       9999-000             57,074.26                         2,484,517.10
                                                                                                  Subtotals :                $1,027,000.84                $0.00
{} Asset reference(s)                                                                                                                      Printed: 12/07/2017 12:32 PM        V.13.30
                 04-12771-mkv                  Doc 733      Filed 12/19/17 Entered 12/19/17 17:57:32                                              Main Document
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                                                   Cash Receipts And Disbursements Record
Case Number:         04-12771 (MKV)                                                              Trustee:             JOHN S. PEREIRA (521200)
Case Name:           CASHPOINT NETWORK SERVICES INC.                                             Bank Name:           JPMORGAN CHASE BANK, N.A.
                                                                                                 Account:             ***-*****47-71 - Entergy No Control Agrmt
Taxpayer ID #: **-***7072                                                                        Blanket Bond:        N/A
Period Ending: 12/07/17                                                                          Separate Bond: $1,415,080.00

   1            2                         3                                      4                                                5                   6                   7

 Trans.     {Ref #} /                                                                                                         Receipts         Disbursements  Money Market
  Date      Check #          Paid To / Received From             Description of Transaction                  T-Code              $                   $       Account Balance
                                                         Texas, account #6001166359
11/15/04                  From Account #********4765     Turnover of funds from First Security Bank,        9999-000              21,944.98                         2,506,462.08
                                                         account #10031316
11/15/04                  From Account #********4765     Turnover of funds from Franklin State Bank,        9999-000               6,662.15                         2,513,124.23
                                                         account #001032100
11/15/04                  From Account #********4765     Turnover of funds from Frost National Bank,        9999-000              23,519.69                         2,536,643.92
                                                         account #XX-XXXXXXX
11/15/04                  From Account #********4765     Turnover of funds from Guaranty Bank,              9999-000              22,156.13                         2,558,800.05
                                                         account #38030509900
11/15/04                  From Account #********4765     Turnover of funds from Gulf Coast Bank,            9999-000               6,264.18                         2,565,064.23
                                                         account #1700301
11/15/04                  From Account #********4765     Turnover of funds from Holmes County Bank          9999-000              20,323.70                         2,585,387.93
                                                         and Trust Company, account #6020747
11/15/04                  From Account #********4765     Turnover of funds from Merchants & Farmers         9999-000             137,741.07                         2,723,129.00
                                                         Bank, account #107134185
11/15/04                  From Account #********4765     Turnover of funds from Orange Savings Bank,        9999-000              31,616.82                         2,754,745.82
                                                         account #1153469
11/15/04                  From Account #********4765     Turnover of funds from Rayne State Bank and        9999-000              11,478.46                         2,766,224.28
                                                         Trust Company, account #1210422
11/15/04                  From Account #********4765     Turnover of funds from State Bank & Trust          9999-000             100,218.17                         2,866,442.45
                                                         Company, account #158558
11/15/04                  From Account #********4765     Turnover of funds from Tensas State Bank,          9999-000               4,316.23                         2,870,758.68
                                                         account #1123181
11/15/04                  From Account #********4765     Turnover of funds from Texas First Bank,           9999-000              18,492.17                         2,889,250.85
                                                         account #25109439
11/15/04                  From Account #********4765     Turnover of funds from The First National          9999-000             151,295.98                         3,040,546.83
                                                         Bank, account #0000145246
11/15/04                  From Account #********4765     Turnover of funds from The Bank of                 9999-000              48,387.29                         3,088,934.12
                                                         Commerce, account #1035282
11/15/04                  From Account #********4765     Turnover of funds from The Bank of Navasota,       9999-000             162,713.93                         3,251,648.05
                                                         account #0015297
11/15/04                  From Account #********4765     Turnover of funds from The Capital Bank,           9999-000              23,140.88                         3,274,788.93
                                                         account #107441
11/15/04                  From Account #********4765     Turnover of funds from The Highland Bank,          9999-000              32,451.34                         3,307,240.27
                                                         account #1030396
11/15/04                  From Account #********4765     Turnover of funds from Winnsboro State Bank        9999-000               5,261.39                         3,312,501.66
                                                         and Trust Company, account #1030337
11/22/04       {6}        Concordia Bank & Trust Co.     Turnover of funds from account #11-5025-1          1221-000             102,986.44                         3,415,488.10


                                                                                                    Subtotals :                $930,971.00                $0.00
{} Asset reference(s)                                                                                                                      Printed: 12/07/2017 12:32 PM        V.13.30
                 04-12771-mkv                   Doc 733      Filed 12/19/17 Entered 12/19/17 17:57:32                                             Main Document
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                                                     Cash Receipts And Disbursements Record
Case Number:         04-12771 (MKV)                                                               Trustee:            JOHN S. PEREIRA (521200)
Case Name:           CASHPOINT NETWORK SERVICES INC.                                              Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                                  Account:            ***-*****47-71 - Entergy No Control Agrmt
Taxpayer ID #: **-***7072                                                                         Blanket Bond:       N/A
Period Ending: 12/07/17                                                                           Separate Bond: $1,415,080.00

   1            2                           3                                     4                                               5                   6                   7

 Trans.     {Ref #} /                                                                                                         Receipts         Disbursements  Money Market
  Date      Check #          Paid To / Received From              Description of Transaction                 T-Code              $                   $       Account Balance
11/30/04       Int        JPMORGAN CHASE BANK             Interest posting at 0.2500%                        1270-000                 481.76                        3,415,969.86
12/01/04       {6}        First Tennessee                 Turnover of funds from account #102452761          1221-000            121,283.58                         3,537,253.44
12/07/04       {6}        Carter Federal Credit Union     Turnover of balance in account #39810003,          1221-000            140,808.03                         3,678,061.47
                                                          less attorney fees
12/31/04       Int        JPMORGAN CHASE BANK             Interest posting at 1.0500%                        1270-000              2,781.65                         3,680,843.12
01/11/05       {6}        American Gateway Bank           Turnover of funds from Bank of West Baton          1221-000             73,131.39                         3,753,974.51
                                                          Rouge from account #260653
01/31/05       Int        JPMORGAN CHASE BANK             Interest Earned                                    1270-000              3,323.88                         3,757,298.39
02/24/05       {6}        SouthTrust Bank                 Turnover of funds from account #72054735           1221-000            122,186.84                         3,879,485.23
02/28/05       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 0.3500%                        1270-000              3,031.11                         3,882,516.34
03/04/05       {6}        FIRST BANK OF SOUTH             TURNOVER OF FUNDS                                  1221-000                 480.00                        3,882,996.34
                          ARKANSAS
03/28/05       {6}        Merchants and Planters Bank     Turnover of funds in debtor's bank account,        1221-000             16,493.13                         3,899,489.47
                                                          acct #0639575
03/31/05       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 0.3500%                        1270-000              3,465.12                         3,902,954.59
04/29/05       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 0.3500%                        1270-000              3,369.71                         3,906,324.30
05/31/05       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 1.0500%                        1270-000              3,485.09                         3,909,809.39
06/01/05       {6}        The First National Bank         Turnover of funds in debtor's account              1221-000             39,069.09                         3,948,878.48
06/06/05      {13}        Park Avenue Funding, LLC        Balance of sale proceeds from sale of real         1210-000             82,845.38                         4,031,723.86
                                                          property at 143 West 72nd Street
06/09/05                  To Account #********4765        Balance of sale proceeds from Park Avenue          9999-000                                 82,845.38     3,948,878.48
                                                          Funding, LLC re sale of real property at 143
                                                          West 72nd Street
06/30/05       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 1.0500%                        1270-000              3,409.39                         3,952,287.87
07/29/05       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 1.0500%                        1270-000              3,526.09                         3,955,813.96
08/31/05       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 1.2000%                        1270-000              4,001.12                         3,959,815.08
09/30/05       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 1.2000%                        1270-000              3,907.43                         3,963,722.51
10/31/05       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 1.2000%                        1270-000              4,041.73                         3,967,764.24
11/30/05       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 1.2000%                        1270-000              3,915.28                         3,971,679.52
12/30/05       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 1.4500%                        1270-000              4,372.26                         3,976,051.78
01/31/06       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 1.4500%                        1270-000              4,899.45                         3,980,951.23
02/28/06       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 1.6000%                        1270-000              4,758.07                         3,985,709.30
03/31/06       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 1.6000%                        1270-000              5,419.76                         3,991,129.06
04/28/06       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 1.7000%                        1270-000              5,405.22                         3,996,534.28
05/31/06       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 1.7000%                        1270-000              5,774.37                         4,002,308.65
06/30/06       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 2.5000%                        1270-000              7,528.97                         4,009,837.62
07/31/06       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 2.5000%                        1270-000              8,522.79                         4,018,360.41


                                                                                                   Subtotals :                 $685,717.69           $82,845.38
{} Asset reference(s)                                                                                                                      Printed: 12/07/2017 12:32 PM        V.13.30
                 04-12771-mkv                   Doc 733      Filed 12/19/17 Entered 12/19/17 17:57:32                                             Main Document
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                                                     Cash Receipts And Disbursements Record
Case Number:         04-12771 (MKV)                                                               Trustee:            JOHN S. PEREIRA (521200)
Case Name:           CASHPOINT NETWORK SERVICES INC.                                              Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                                  Account:            ***-*****47-71 - Entergy No Control Agrmt
Taxpayer ID #: **-***7072                                                                         Blanket Bond:       N/A
Period Ending: 12/07/17                                                                           Separate Bond: $1,415,080.00

   1            2                          3                                     4                                                5                   6                   7

 Trans.     {Ref #} /                                                                                                         Receipts         Disbursements  Money Market
  Date      Check #          Paid To / Received From              Description of Transaction                 T-Code              $                   $       Account Balance
08/31/06       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 2.5000%                        1270-000              8,540.90                         4,026,901.31
09/29/06       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 3.0200%                        1270-000              9,090.00                         4,035,991.31
10/31/06       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 3.0200%                        1270-000             10,684.72                         4,046,676.03
11/30/06       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 3.0200%                        1270-000             10,043.44                         4,056,719.47
12/29/06       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 3.0200%                        1270-000              9,732.75                         4,066,452.22
01/31/07       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 2.9100%                        1270-000             10,856.98                         4,077,309.20
02/28/07       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 2.9100%                        1270-000              9,101.20                         4,086,410.40
03/30/07       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 2.9100%                        1270-000              9,773.05                         4,096,183.45
04/30/07       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 2.9100%                        1270-000             10,122.98                         4,106,306.43
05/31/07       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 2.9100%                        1270-000             10,147.99                         4,116,454.42
06/29/07       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 2.9100%                        1270-000              9,516.74                         4,125,971.16
07/31/07       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 2.7800%                        1270-000             10,099.55                         4,136,070.71
08/31/07       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 2.7800%                        1270-000              9,765.09                         4,145,835.80
09/28/07       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 2.7800%                        1270-000              8,840.91                         4,154,676.71
10/31/07       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 2.7800%                        1270-000             10,441.86                         4,165,118.57
11/01/07       Int        JPMORGAN CHASE BANK, N.A.       Current Interest Rate is 0.6500%                   1270-000                   0.00                        4,165,118.57
11/01/07                  To Account #********4765        TRANSFER OF FUNDS FROM MONEY                       9999-000                              4,165,118.57                  0.00
                                                          MARKET ACCOUNT CLOSEOUT

                                                                               ACCOUNT TOTALS                                  4,252,222.97        4,252,222.97                 $0.00
                                                                                        Less: Bank Transfers                   2,007,085.60        4,252,222.97
                                                                               Subtotal                                        2,245,137.37                 0.00
                                                                                        Less: Payments to Debtors                                           0.00
                                                                               NET Receipts / Disbursements                  $2,245,137.37                $0.00




{} Asset reference(s)                                                                                                                      Printed: 12/07/2017 12:32 PM        V.13.30
                 04-12771-mkv                 Doc 733      Filed 12/19/17 Entered 12/19/17 17:57:32                                           Main Document
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                                                 Cash Receipts And Disbursements Record
Case Number:         04-12771 (MKV)                                                          Trustee:            JOHN S. PEREIRA (521200)
Case Name:           CASHPOINT NETWORK SERVICES INC.                                         Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                             Account:            ***-*****47-72 - Hib. Surplus Ag't Entgy
Taxpayer ID #: **-***7072                                                                    Blanket Bond:       N/A
Period Ending: 12/07/17                                                                      Separate Bond: $1,415,080.00

   1            2                         3                                    4                                              5                   6                   7

 Trans.     {Ref #} /                                                                                                     Receipts         Disbursements  Money Market
  Date      Check #          Paid To / Received From            Description of Transaction              T-Code               $                   $       Account Balance
12/30/04       {6}        Hibernia                      Turnover of funds in bank account               1221-000            705,804.66                            705,804.66
12/30/04       {6}        Hibernia                      Turnover of funds in bank account               1221-000               2,927.30                           708,731.96
12/31/04       Int        JPMORGAN CHASE BANK           Interest posting at 0.2500%                     1270-000                    9.71                          708,741.67
01/31/05       Int        JPMORGAN CHASE BANK           Interest Earned                                 1270-000                  177.69                          708,919.36
02/28/05       Int        JPMORGAN CHASE BANK, N.A.     Interest posting at 0.3500%                     1270-000                  189.39                          709,108.75
03/31/05       Int        JPMORGAN CHASE BANK, N.A.     Interest posting at 0.3500%                     1270-000                  210.82                          709,319.57
04/29/05       Int        JPMORGAN CHASE BANK, N.A.     Interest posting at 0.3500%                     1270-000                  204.08                          709,523.65
05/31/05       Int        JPMORGAN CHASE BANK, N.A.     Interest posting at 1.0500%                     1270-000                  428.75                          709,952.40
06/30/05       Int        JPMORGAN CHASE BANK, N.A.     Interest posting at 1.0500%                     1270-000                  612.95                          710,565.35
07/29/05       Int        JPMORGAN CHASE BANK, N.A.     Interest posting at 1.0500%                     1270-000                  633.94                          711,199.29
08/31/05       Int        JPMORGAN CHASE BANK, N.A.     Interest posting at 1.2000%                     1270-000                  719.34                          711,918.63
09/30/05       Int        JPMORGAN CHASE BANK, N.A.     Interest posting at 1.2000%                     1270-000                  702.50                          712,621.13
10/31/05       Int        JPMORGAN CHASE BANK, N.A.     Interest posting at 1.2000%                     1270-000                  726.65                          713,347.78
11/30/05       Int        JPMORGAN CHASE BANK, N.A.     Interest posting at 1.2000%                     1270-000                  703.91                          714,051.69
12/30/05       Int        JPMORGAN CHASE BANK, N.A.     Interest posting at 1.4500%                     1270-000                  786.07                          714,837.76
01/31/06       Int        JPMORGAN CHASE BANK, N.A.     Interest posting at 1.4500%                     1270-000                  880.85                          715,718.61
02/28/06       Int        JPMORGAN CHASE BANK, N.A.     Interest posting at 1.6000%                     1270-000                  855.43                          716,574.04
03/31/06       Int        JPMORGAN CHASE BANK, N.A.     Interest posting at 1.6000%                     1270-000                  974.40                          717,548.44
04/28/06       Int        JPMORGAN CHASE BANK, N.A.     Interest posting at 1.7000%                     1270-000                  971.78                          718,520.22
05/31/06       Int        JPMORGAN CHASE BANK, N.A.     Interest posting at 1.7000%                     1270-000               1,038.15                           719,558.37
06/30/06       Int        JPMORGAN CHASE BANK, N.A.     Interest posting at 2.5000%                     1270-000               1,353.60                           720,911.97
07/31/06       Int        JPMORGAN CHASE BANK, N.A.     Interest posting at 2.5000%                     1270-000               1,532.28                           722,444.25
08/31/06       Int        JPMORGAN CHASE BANK, N.A.     Interest posting at 2.5000%                     1270-000               1,535.53                           723,979.78
09/29/06       Int        JPMORGAN CHASE BANK, N.A.     Interest posting at 2.6200%                     1270-000               1,483.57                           725,463.35
10/31/06       Int        JPMORGAN CHASE BANK, N.A.     Interest posting at 2.6200%                     1270-000               1,666.36                           727,129.71
11/30/06       Int        JPMORGAN CHASE BANK, N.A.     Interest posting at 2.6200%                     1270-000               1,565.80                           728,695.51
12/29/06       Int        JPMORGAN CHASE BANK, N.A.     Interest posting at 2.6200%                     1270-000               1,516.86                           730,212.37
01/31/07       Int        JPMORGAN CHASE BANK, N.A.     Interest posting at 2.5400%                     1270-000               1,697.55                           731,909.92
02/28/07       Int        JPMORGAN CHASE BANK, N.A.     Interest posting at 2.5400%                     1270-000               1,425.93                           733,335.85
03/30/07       Int        JPMORGAN CHASE BANK, N.A.     Interest posting at 2.5400%                     1270-000               1,530.76                           734,866.61
04/30/07       Int        JPMORGAN CHASE BANK, N.A.     Interest posting at 2.5400%                     1270-000               1,585.09                           736,451.70
05/31/07       Int        JPMORGAN CHASE BANK, N.A.     Interest posting at 2.5400%                     1270-000               1,588.51                           738,040.21
06/29/07       Int        JPMORGAN CHASE BANK, N.A.     Interest posting at 2.5400%                     1270-000               1,489.23                           739,529.44
07/31/07       Int        JPMORGAN CHASE BANK, N.A.     Interest posting at 2.4400%                     1270-000               1,587.84                           741,117.28
08/31/07       Int        JPMORGAN CHASE BANK, N.A.     Interest posting at 2.4400%                     1270-000               1,535.62                           742,652.90
09/28/07       Int        JPMORGAN CHASE BANK, N.A.     Interest posting at 2.4400%                     1270-000               1,389.88                           744,042.78
10/31/07       Int        JPMORGAN CHASE BANK, N.A.     Interest posting at 2.4400%                     1270-000               1,641.15                           745,683.93
                                                                                             Subtotals :                   $745,683.93                 $0.00
{} Asset reference(s)                                                                                                                  Printed: 12/07/2017 12:32 PM        V.13.30
                 04-12771-mkv                   Doc 733      Filed 12/19/17 Entered 12/19/17 17:57:32                                              Main Document
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                                                     Cash Receipts And Disbursements Record
Case Number:         04-12771 (MKV)                                                               Trustee:            JOHN S. PEREIRA (521200)
Case Name:           CASHPOINT NETWORK SERVICES INC.                                              Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                                  Account:            ***-*****47-72 - Hib. Surplus Ag't Entgy
Taxpayer ID #: **-***7072                                                                         Blanket Bond:       N/A
Period Ending: 12/07/17                                                                           Separate Bond: $1,415,080.00

   1            2                          3                                     4                                                 5                   6                   7

 Trans.     {Ref #} /                                                                                                          Receipts         Disbursements  Money Market
  Date      Check #          Paid To / Received From             Description of Transaction                  T-Code               $                   $       Account Balance
11/30/07       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 2.1000%                        1270-000               1,384.16                           747,068.09
12/31/07       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 2.1000%                        1270-000               1,332.34                           748,400.43
01/31/08       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 1.3700%                        1270-000               1,224.25                           749,624.68
02/29/08       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 1.1700%                        1270-000                  717.27                          750,341.95
03/31/08       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 0.8700%                        1270-000                  717.99                          751,059.94
04/30/08       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 0.9100%                        1270-000                  559.23                          751,619.17
05/07/08       Int        JPMORGAN CHASE BANK, N.A.       Current Interest Rate is 0.1700%                   1270-000                  105.21                          751,724.38
05/07/08                  To Account #********4765        TRANSFER OF FUNDS FROM ACCOUNT                     9999-000                                 751,724.38                  0.00
                                                          CLOSEOUT

                                                                               ACCOUNT TOTALS                                    751,724.38           751,724.38                 $0.00
                                                                                        Less: Bank Transfers                             0.00         751,724.38
                                                                               Subtotal                                          751,724.38                  0.00
                                                                                        Less: Payments to Debtors                                            0.00
                                                                               NET Receipts / Disbursements                     $751,724.38                 $0.00




{} Asset reference(s)                                                                                                                       Printed: 12/07/2017 12:32 PM        V.13.30
                 04-12771-mkv                   Doc 733      Filed 12/19/17 Entered 12/19/17 17:57:32                                            Main Document
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                                                     Cash Receipts And Disbursements Record
Case Number:         04-12771 (MKV)                                                               Trustee:            JOHN S. PEREIRA (521200)
Case Name:           CASHPOINT NETWORK SERVICES INC.                                              Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                                  Account:            ***-*****47-73 - Tr'ee Cashpt & Cox Comm
Taxpayer ID #: **-***7072                                                                         Blanket Bond:       N/A
Period Ending: 12/07/17                                                                           Separate Bond: $1,415,080.00

   1            2                          3                                     4                                                5                 6                     7

 Trans.     {Ref #} /                                                                                                         Receipts         Disbursements  Money Market
  Date      Check #          Paid To / Received From             Description of Transaction                  T-Code              $                   $       Account Balance
12/31/04       {6}        Hibernia                        Turnover of funds in bank account                  1221-000           404,985.92                            404,985.92
12/31/04       Int        JPMORGAN CHASE BANK             Interest posting at 0.2500%                        1270-000                   2.77                          404,988.69
01/31/05       Int        JPMORGAN CHASE BANK             Interest Earned                                    1270-000                 101.54                          405,090.23
02/28/05       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 0.3500%                        1270-000                 108.22                          405,198.45
03/31/05       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 0.3500%                        1270-000                 120.47                          405,318.92
04/29/05       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 0.3500%                        1270-000                 116.61                          405,435.53
05/31/05       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 1.0500%                        1270-000                 245.00                          405,680.53
06/30/05       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 1.0500%                        1270-000                 350.25                          406,030.78
07/01/05      1001        JOHN S. PEREIRA                 BOND PREMIUM PAYMENT ON LEDGER                     2300-000                               18,353.00         387,677.78
                                                          BALANCE AS OF 06/30/2005 FOR CASE
                                                          #04-12771-REG
07/29/05       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 1.0500%                        1270-000                 349.57                          388,027.35
08/31/05       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 1.2000%                        1270-000                 392.47                          388,419.82
09/30/05       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 1.2000%                        1270-000                 383.28                          388,803.10
10/31/05       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 1.2000%                        1270-000                 396.45                          389,199.55
11/30/05       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 1.2000%                        1270-000                 384.05                          389,583.60
12/08/05                  From Account #********4765      TRANSFER OF FUNDS TO MMA - TR'EE                   9999-000            18,353.00                            407,936.60
                                                          CASHPT & COX COMM
12/30/05       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 1.4500%                        1270-000                 444.85                          408,381.45
01/31/06       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 1.4500%                        1270-000                 503.22                          408,884.67
02/28/06       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 1.6000%                        1270-000                 488.70                          409,373.37
03/31/06       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 1.6000%                        1270-000                 556.66                          409,930.03
04/28/06       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 1.7000%                        1270-000                 555.17                          410,485.20
05/31/06       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 1.7000%                        1270-000                 593.09                          411,078.29
06/30/06       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 2.5000%                        1270-000                 773.30                          411,851.59
07/31/06       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 2.5000%                        1270-000                 875.38                          412,726.97
08/31/06       Int        JPMORGAN CHASE BANK, N.A.       Interest posting at 2.5000%                        1270-000                 877.24                          413,604.21
09/06/06       Int        JPMORGAN CHASE BANK, N.A.       Current Interest Rate is 0.8000%                   1270-000                 141.66                          413,745.87
09/06/06                  To Account #********4765        TRANSFER OF FUNDS FROM MMA                         9999-000                              413,745.87                    0.00
                                                          CLOSEOUT

                                                                               ACCOUNT TOTALS                                   432,098.87         432,098.87                   $0.00
                                                                                        Less: Bank Transfers                     18,353.00         413,745.87
                                                                               Subtotal                                         413,745.87          18,353.00
                                                                                        Less: Payments to Debtors                                         0.00
                                                                               NET Receipts / Disbursements                    $413,745.87         $18,353.00




{} Asset reference(s)                                                                                                                      Printed: 12/07/2017 12:32 PM        V.13.30
                 04-12771-mkv                      Doc 733       Filed 12/19/17 Entered 12/19/17 17:57:32                                            Main Document
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                                                      Cash Receipts And Disbursements Record
Case Number:         04-12771 (MKV)                                                                  Trustee:            JOHN S. PEREIRA (521200)
Case Name:           CASHPOINT NETWORK SERVICES INC.                                                 Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                                     Account:            ***-*****47-74 - Third Tier Turnover Agent
Taxpayer ID #: **-***7072                                                                            Blanket Bond:       N/A
Period Ending: 12/07/17                                                                              Separate Bond: $1,415,080.00

   1            2                            3                                       4                                               5                    6                   7

 Trans.     {Ref #} /                                                                                                             Receipts        Disbursements  Money Market
  Date      Check #          Paid To / Received From                  Description of Transaction                T-Code               $                  $       Account Balance
11/02/05       {1}        Rupert Rodrigues                    Turnover of funds by Agent                        1221-000                 440.80                                    440.80
11/02/05       {1}        Future Land Inc.                    Turnover of funds from Agent                      1221-000                 689.33                                   1,130.13
11/02/05       {1}        Red Lion Smokr Shop Inc.            Turnover of funds from Agent                      1221-000              1,836.27                                    2,966.40
11/02/05       {1}        Teletime Inc.                       Turnover of funds from Agent                      1221-000                 387.27                                   3,353.67
11/02/05       {1}        White Star Telecom Inc.             Turnover of funds from Agent                      1221-000              1,585.10                                    4,938.77
11/04/05       {1}        The Korner Store, Inc.              Turnover of funds by Agent                        1221-000                 371.57                                   5,310.34
11/04/05       {1}        All Health Pharmacy Corp.           Turnover of funds by Agent                        1221-000              3,421.55                                    8,731.89
11/04/05       {1}        Jim Deross                          Turnover of funds by Agent                        1221-000                 298.77                                   9,030.66
11/04/05       {1}        Calais Pharmacy, Inc.               Turnover of funds by Agent                        1221-000                 852.53                                   9,883.19
11/04/05       {1}        Elm Street Grocers, Inc.            Turnover of funds by Agent                        1221-000                 568.57                               10,451.76
11/04/05       {1}        Trigun Pharmacy, Inc.               Turnover of funds by Agent                        1221-000                 424.37                               10,876.13
11/04/05       {1}        Mayfair Foods Inc.                  Turnover of funds by Agent                        1221-000              1,264.08                                12,140.21
11/04/05       {1}        Shenandoah General Store            Turnover of funds by Agent                        1221-000              1,001.62                                13,141.83
11/04/05       {1}        Del Pueblo Market                   Turnover of funds by Agent                        1221-000                 709.37                               13,851.20
11/07/05       {1}        R. Keith Wassmuth                   Turnover of funds by Agent - final payment        1221-000                 200.00                               14,051.20
11/07/05       {1}        Woodhaven Blvd. Pharmacy, Inc.      Turnover of funds by Agent                        1221-000                 683.59                               14,734.79
11/07/05       {1}        Ditmas Pharmacy Corp.               Turnover of funds by Agent                        1221-000              1,126.50                                15,861.29
11/07/05       {1}        Citi Sub & Grocery Store            Turnover of funds by Agent                        1221-000                 388.00                               16,249.29
11/07/05       {1}        White Star Telecom Inc.             Deposited Item Returned: Check No. 1112 -         1221-000              -1,585.10                               14,664.19
                                                              Turnover of funds by Agent
11/09/05       {1}        George H. Badia, Jr.                Turnover of funds by agent                        1221-000              1,372.32                                16,036.51
11/09/05       {1}        Lloyd G. Comar                      Turnover of funds by agent                        1221-000              1,399.13                                17,435.64
11/09/05       {1}        Vinal's News Stand                  Turnover of funds by agent                        1221-000                 587.49                               18,023.13
11/09/05       {1}        Baseball Etc.                       Turnover of funds by agent                        1221-000                   0.35                               18,023.48
11/09/05       {1}        Buckley Foods Inc.                  Turnover of funds by agent                        1221-000                 624.73                               18,648.21
11/09/05       {1}        Bruck Financial Services            Turnover of funds by agent                        1221-000                 964.20                               19,612.41
11/09/05       {1}        Family Travel & Multiservice Inc.   Turnover of funds by agent                        1221-000              1,946.49                                21,558.90
11/09/05       {1}        J.G. World Travel & Financial       Turnover of funds by agent                        1221-000                 303.33                               21,862.23
                          Services
11/09/05       {1}        Mars Farmers Market, Inc.           Turnover of funds by agent                        1221-000              4,301.99                                26,164.22
11/09/05       {1}        Uncle Sam's Pawn Shop, Inc.         Turnover of funds by agent                        1221-000                 402.34                               26,566.56
11/09/05       {1}        Wilmar Check Cashing Corp.          Turnover of funds by agent                        1221-000              2,578.89                                29,145.45
11/09/05       {1}        Milo Water District                 Turnover of funds by agent                        1221-000                 823.26                               29,968.71
11/09/05       {1}        Nyasco Sports, Inc. #4              Turnover of funds by agent                        1221-000                 379.84                               30,348.55
11/09/05       {1}        Ipswich News                        Turnover of funds by agent                        1221-000              1,127.32                                31,475.87
11/14/05       {1}        Neema Pharmacy Inc.                 Turnover of funds by Agent                        1221-000                 318.60                               31,794.47
11/14/05       {1}        Li'l Peach                          Turnover of funds by Agent                        1221-000                 365.29                               32,159.76

                                                                                                      Subtotals :                   $32,159.76                $0.00
{} Asset reference(s)                                                                                                                          Printed: 12/07/2017 12:32 PM        V.13.30
                 04-12771-mkv                      Doc 733      Filed 12/19/17 Entered 12/19/17 17:57:32                                         Main Document
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                                                      Cash Receipts And Disbursements Record
Case Number:         04-12771 (MKV)                                                              Trustee:            JOHN S. PEREIRA (521200)
Case Name:           CASHPOINT NETWORK SERVICES INC.                                             Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                                 Account:            ***-*****47-74 - Third Tier Turnover Agent
Taxpayer ID #: **-***7072                                                                        Blanket Bond:       N/A
Period Ending: 12/07/17                                                                          Separate Bond: $1,415,080.00

   1            2                            3                                      4                                            5                    6                   7

 Trans.     {Ref #} /                                                                                                         Receipts        Disbursements  Money Market
  Date      Check #          Paid To / Received From                Description of Transaction              T-Code               $                  $       Account Balance
11/14/05       {1}        Andy's Foodliner                   Turnover of funds by Agent                     1221-000                 461.95                               32,621.71
11/14/05       {1}        Citizens Bank                      Turnover of funds by agent                     1221-000              1,247.86                                33,869.57
11/14/05       {1}        Ganesh Market LLC                  Turnover of funds by Agent                     1221-000              1,264.96                                35,134.53
11/14/05       {1}        South Main News & Lottery          Turnover of funds by Agent                     1221-000              6,490.75                                41,625.28
11/14/05       {1}        Chuck's NewsStand                  Turnover of funds by agent                     1221-000              9,499.52                                51,124.80
11/16/05       {1}        Petti's Market                     Turnover of funds by agent                     1221-000                 320.33                               51,445.13
11/16/05       {1}        The Pawn Shop Inc                  Turnover of funds by agent                     1221-000                 416.12                               51,861.25
11/16/05       {1}        Charles Scaturro & Sons, Inc.      Turnover of funds by agent                     1221-000                 497.12                               52,358.37
11/16/05       {1}        Phoenix Business Systems Inc.      Turnover of funds by agent                     1221-000                 749.41                               53,107.78
11/16/05       {1}        Dasan Service Center Inc           Turnover of funds by agent                     1221-000                 845.16                               53,952.94
11/16/05       {1}        Hillpharmacy                       Turnover of funds by agent                     1221-000              1,090.35                                55,043.29
11/16/05       {1}        Charles Scaturro & Sons, Inc.      Turnover of funds by agent                     1221-000              1,434.11                                56,477.40
11/16/05       {1}        Rochdale C/C Inc.                  Turnover of funds by agent                     1221-000              1,570.19                                58,047.59
11/16/05       {1}        Cortes Country Stores, Inc.        Turnover of funds by agent                     1221-000              1,708.80                                59,756.39
11/16/05       {1}        Zaibak & Silva Inc.                Turnover of funds by agent                     1221-000              5,538.94                                65,295.33
11/16/05       {1}        Manpolo Intl Trading Corp          Turnover of funds by agent                     1221-000              6,326.14                                71,621.47
11/18/05       {1}        Plymouth Konvenience               Turnover of funds by agent                     1221-000                 368.44                               71,989.91
11/18/05       {1}        STJ RX INC                         Turnover of funds by agent                     1221-000                 635.26                               72,625.17
11/18/05       {1}        Brazil For You Inc.                Turnover of funds by agent                     1221-000                 932.77                               73,557.94
11/18/05       {1}        Forest Hills Check Cashing, Inc    Turnover of funds by agent                     1221-000              1,484.78                                75,042.72
11/18/05       {1}        County Grill and Deli              Turnover of funds by agent                     1221-000              1,546.43                                76,589.15
11/18/05       {1}        Westchester Check Cashing, Inc.    Turnover of funds by agent                     1221-000              1,785.70                                78,374.85
11/18/05       {1}        Munce's Superior, Inc.             Turnover of funds by agent                     1221-000              2,141.52                                80,516.37
11/18/05       {1}        Kings Thriftway Drug Corp          Turnover of funds by agent                     1221-000              4,334.69                                84,851.06
11/21/05       {1}        White Star Telecom Inc.            Turnover of funds by Agent                     1221-000              1,585.10                                86,436.16
11/22/05       {1}        Case N' Keg Laconia                Turnover of funds by agent                     1221-000              1,410.50                                87,846.66
11/22/05       {1}        Madina Corporation                 Turnover of funds by agent                     1221-000              1,571.66                                89,418.32
11/22/05       {1}        Avenue Check Cashing Corp.         Turnover of funds by agent                     1221-000              2,618.00                                92,036.32
11/22/05       {1}        Haverstraw Check Cashing Corp.     Turnover of funds by agent                     1221-000              5,026.23                                97,062.55
11/30/05       {1}        NABS One Stop Shop                 Turnover of funds from agent                   1221-000                 610.00                               97,672.55
11/30/05       {1}        Hilton Check Cashing Corp.         Turnover of funds from agent                   1221-000              1,074.09                                98,746.64
11/30/05       {1}        Metrotech Check Cashing Service,   Turnover of funds from agent                   1221-000             12,076.09                            110,822.73
                          Inc.
11/30/05       {1}        WMS. Rich & Son New Loan Co.       Turnover of funds from agent                   1221-000              1,797.23                            112,619.96
11/30/05       {1}        Peabody Check Cashing, Inc. of     Turnover of funds from agent                   1221-000              1,907.13                            114,527.09
                          HaverHill
11/30/05       Int        JPMORGAN CHASE BANK, N.A.          Interest posting at 0.5500%                    1270-000                  21.16                           114,548.25

                                                                                                 Subtotals :                    $82,388.49                $0.00
{} Asset reference(s)                                                                                                                      Printed: 12/07/2017 12:32 PM        V.13.30
                 04-12771-mkv                     Doc 733       Filed 12/19/17 Entered 12/19/17 17:57:32                                          Main Document
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                                                      Cash Receipts And Disbursements Record
Case Number:         04-12771 (MKV)                                                               Trustee:            JOHN S. PEREIRA (521200)
Case Name:           CASHPOINT NETWORK SERVICES INC.                                              Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                                  Account:            ***-*****47-74 - Third Tier Turnover Agent
Taxpayer ID #: **-***7072                                                                         Blanket Bond:       N/A
Period Ending: 12/07/17                                                                           Separate Bond: $1,415,080.00

   1            2                           3                                       4                                             5                    6                   7

 Trans.     {Ref #} /                                                                                                          Receipts        Disbursements  Money Market
  Date      Check #          Paid To / Received From                 Description of Transaction              T-Code               $                  $       Account Balance
12/06/05       {1}        Subha Cards Corp.                  Turnover of funds by agent                      1221-000                 510.66                           115,058.91
12/13/05       {1}        Always 1/2 Off Cards Inc.          Turnover of funds by Agent                      1221-000              5,502.13                            120,561.04
12/13/05       {1}        Deep Distributor Inc.              Turnover of funds by Agent                      1221-000              1,221.88                            121,782.92
12/21/05       {1}        Case N' Keg                        Turnover of funds by Agent                      1221-000              1,410.49                            123,193.41
12/30/05       Int        JPMORGAN CHASE BANK, N.A.          Interest posting at 1.4500%                     1270-000                 122.92                           123,316.33
01/09/06       {1}        MetroTech Check Cashing Service,   Turnover of funds by agent                      1221-000              8,050.73                            131,367.06
                          Inc.
01/31/06       Int        JPMORGAN CHASE BANK, N.A.          Interest posting at 1.4500%                     1270-000                 158.67                           131,525.73
02/28/06       Int        JPMORGAN CHASE BANK, N.A.          Interest posting at 1.6000%                     1270-000                 157.20                           131,682.93
03/15/06       {1}        Graham's Check Cashing, Inc.       Turnover of funds by agent                      1221-000              5,473.86                            137,156.79
03/31/06       Int        JPMORGAN CHASE BANK, N.A.          Interest posting at 1.6000%                     1270-000                 182.66                           137,339.45
04/28/06       Int        JPMORGAN CHASE BANK, N.A.          Interest posting at 1.7000%                     1270-000                 186.00                           137,525.45
05/31/06       Int        JPMORGAN CHASE BANK, N.A.          Interest posting at 1.7000%                     1270-000                 198.70                           137,724.15
06/30/06       Int        JPMORGAN CHASE BANK, N.A.          Interest posting at 2.5000%                     1270-000                 259.08                           137,983.23
07/31/06       Int        JPMORGAN CHASE BANK, N.A.          Interest posting at 2.5000%                     1270-000                 293.28                           138,276.51
08/31/06       Int        JPMORGAN CHASE BANK, N.A.          Interest posting at 2.5000%                     1270-000                 293.90                           138,570.41
09/29/06       Int        JPMORGAN CHASE BANK, N.A.          Interest posting at 2.6200%                     1270-000                 283.95                           138,854.36
10/31/06       Int        JPMORGAN CHASE BANK, N.A.          Interest posting at 2.6200%                     1270-000                 318.94                           139,173.30
11/30/06       Int        JPMORGAN CHASE BANK, N.A.          Interest posting at 2.6200%                     1270-000                 299.69                           139,472.99
12/29/06       Int        JPMORGAN CHASE BANK, N.A.          Interest posting at 2.6200%                     1270-000                 290.32                           139,763.31
01/31/07       Int        JPMORGAN CHASE BANK, N.A.          Interest posting at 2.5400%                     1270-000                 324.91                           140,088.22
02/28/07       Int        JPMORGAN CHASE BANK, N.A.          Interest posting at 2.5400%                     1270-000                 272.92                           140,361.14
03/30/07       Int        JPMORGAN CHASE BANK, N.A.          Interest posting at 2.5400%                     1270-000                 292.98                           140,654.12
04/30/07       Int        JPMORGAN CHASE BANK, N.A.          Interest posting at 2.5400%                     1270-000                 303.38                           140,957.50
05/31/07       Int        JPMORGAN CHASE BANK, N.A.          Interest posting at 2.5400%                     1270-000                 304.04                           141,261.54
06/29/07       Int        JPMORGAN CHASE BANK, N.A.          Interest posting at 2.5400%                     1270-000                 285.04                           141,546.58
07/31/07       Int        JPMORGAN CHASE BANK, N.A.          Interest posting at 2.4400%                     1270-000                 303.91                           141,850.49
08/31/07       Int        JPMORGAN CHASE BANK, N.A.          Interest posting at 2.4400%                     1270-000                 293.91                           142,144.40
09/28/07       Int        JPMORGAN CHASE BANK, N.A.          Interest posting at 2.4400%                     1270-000                 266.02                           142,410.42
10/31/07       Int        JPMORGAN CHASE BANK, N.A.          Interest posting at 2.4400%                     1270-000                 314.11                           142,724.53
11/30/07       Int        JPMORGAN CHASE BANK, N.A.          Interest posting at 2.1000%                     1270-000                 264.93                           142,989.46
12/31/07       Int        JPMORGAN CHASE BANK, N.A.          Interest posting at 2.1000%                     1270-000                 255.01                           143,244.47
01/31/08       Int        JPMORGAN CHASE BANK, N.A.          Interest posting at 1.3700%                     1270-000                 234.32                           143,478.79
02/29/08       Int        JPMORGAN CHASE BANK, N.A.          Interest posting at 1.1700%                     1270-000                 137.28                           143,616.07
03/31/08       Int        JPMORGAN CHASE BANK, N.A.          Interest posting at 0.8700%                     1270-000                 137.42                           143,753.49
04/30/08       Int        JPMORGAN CHASE BANK, N.A.          Interest posting at 0.9100%                     1270-000                 107.03                           143,860.52
05/07/08       Int        JPMORGAN CHASE BANK, N.A.          Current Interest Rate is 0.1700%                1270-000                  20.13                           143,880.65
                                                                                                  Subtotals :                    $29,332.40                $0.00
{} Asset reference(s)                                                                                                                       Printed: 12/07/2017 12:32 PM        V.13.30
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                                                    Cash Receipts And Disbursements Record
Case Number:        04-12771 (MKV)                                                         Trustee:            JOHN S. PEREIRA (521200)
Case Name:          CASHPOINT NETWORK SERVICES INC.                                        Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                           Account:            ***-*****47-74 - Third Tier Turnover Agent
Taxpayer ID #: **-***7072                                                                  Blanket Bond:       N/A
Period Ending: 12/07/17                                                                    Separate Bond: $1,415,080.00

   1            2                         3                                 4                                              5                    6                   7

 Trans.     {Ref #} /                                                                                                   Receipts        Disbursements  Money Market
  Date      Check #         Paid To / Received From           Description of Transaction              T-Code               $                  $       Account Balance
05/07/08                 To Account #********4765        TRANSFER OF FUNDS FROM ACCOUNT               9999-000                                143,880.65                   0.00
                                                         CLOSEOUT

                                                                          ACCOUNT TOTALS                                  143,880.65          143,880.65                  $0.00
                                                                                 Less: Bank Transfers                            0.00         143,880.65
                                                                          Subtotal                                        143,880.65                 0.00
                                                                                 Less: Payments to Debtors                                           0.00
                                                                          NET Receipts / Disbursements                   $143,880.65                $0.00




{} Asset reference(s)                                                                                                                Printed: 12/07/2017 12:32 PM        V.13.30
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                                                      Cash Receipts And Disbursements Record
Case Number:         04-12771 (MKV)                                                                   Trustee:            JOHN S. PEREIRA (521200)
Case Name:           CASHPOINT NETWORK SERVICES INC.                                                  Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                                      Account:            ***-*****47-75 - Real Estate Account
Taxpayer ID #: **-***7072                                                                             Blanket Bond:       N/A
Period Ending: 12/07/17                                                                               Separate Bond: $1,415,080.00

   1            2                          3                                          4                                               5                   6                    7

 Trans.     {Ref #} /                                                                                                             Receipts         Disbursements  Money Market
  Date      Check #          Paid To / Received From              Description of Transaction                     T-Code              $                   $       Account Balance
06/19/06      {17}        Wasserman Realty Service         Down payment toward purchase of real                  1210-000            125,000.00                            125,000.00
                                                           property
06/30/06       Int        JPMORGAN CHASE BANK, N.A.        Interest posting at 0.8000%                           1270-000                  30.14                           125,030.14
07/31/06       Int        JPMORGAN CHASE BANK, N.A.        Interest posting at 0.8000%                           1270-000                  84.98                           125,115.12
08/21/06                  Francine Realty Kings LLC        Balance of sale proceeds from sale of 373                               1,125,000.00                          1,250,115.12
                                                           Henry Street, Brooklyn, New York
              {17}                                           gross sale                        1,250,000.00      1210-000                                                1,250,115.12
              {17}                                           frontage charge credit                1,598.26      1210-000                                                1,250,115.12
              {17}                                           initial June deposit               -125,000.00      1210-000                                                1,250,115.12
              {17}                                           sale proceeds                          -553.78      1210-000                                                1,250,115.12
              {17}                                           real estate tax                      -1,044.48      1210-000                                                1,250,115.12
                                                             adjustment
08/21/06      {17}        Brian Elgart                     Balance of sale proceeds from sale of 373             1210-000                 553.78                         1,250,668.90
                                                           Henry Street, Brooklyn, New York
08/21/06                  To Account #********4766         TRANSFER OF FUNDS TO CHECKING                         9999-000                                125,115.00      1,125,553.90
                                                           ACCOUNT
08/23/06       Int        JPMORGAN CHASE BANK, N.A.        Current Interest Rate is 0.8000%                      1270-000                  54.86                         1,125,608.76
08/23/06                  To Account #********4765         TRANSFER OF FUNDS FROM REAL                           9999-000                              1,125,608.76                   0.00
                                                           ESTATE ACCOUNT CLOSEOUT

                                                                                    ACCOUNT TOTALS                                 1,250,723.76        1,250,723.76                  $0.00
                                                                                          Less: Bank Transfers                              0.00       1,250,723.76
                                                                                    Subtotal                                       1,250,723.76                   0.00
                                                                                          Less: Payments to Debtors                                               0.00
                                                                                    NET Receipts / Disbursements                  $1,250,723.76                  $0.00




{} Asset reference(s)                                                                                                                           Printed: 12/07/2017 12:32 PM        V.13.30
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                                                    Cash Receipts And Disbursements Record
Case Number:        04-12771 (MKV)                                                               Trustee:             JOHN S. PEREIRA (521200)
Case Name:          CASHPOINT NETWORK SERVICES INC.                                              Bank Name:           JPMORGAN CHASE BANK, N.A.
                                                                                                 Account:             ***-*****73-66 - Unclaimed Dividends Acct
Taxpayer ID #: **-***7072                                                                        Blanket Bond:        N/A
Period Ending: 12/07/17                                                                          Separate Bond: $1,415,080.00

   1            2                         3                                      4                                                5                   6                   7

 Trans.     {Ref #} /                                                                                                         Receipts        Disbursements    Checking
  Date      Check #         Paid To / Received From               Description of Transaction                 T-Code              $                  $       Account Balance
10/15/08                 From Account #********4766        TRANSFER OF FUNDS TO CHECKING                     9999-000             50,604.77                               50,604.77
                                                           ACCOUNT
11/06/08                 From Account #********4765        TRANSFER OF FUNDS TO UNCLAIMED                    9999-000             12,879.00                               63,483.77
                                                           DIVIDENDS ACCT
09/24/09                 From Account #********4766        TRANSFER OF FUNDS - UNCLAIMED                     9999-000             89,554.53                           153,038.30
                                                           DIVIDENDS
04/06/10                 Wire out to BNYM account          Wire out to BNYM account **********7366           9999-000           -153,038.30                                      0.00
                         **********7366

                                                                               ACCOUNT TOTALS                                          0.00                 0.00                $0.00
                                                                                       Less: Bank Transfers                            0.00                 0.00
                                                                               Subtotal                                                0.00                 0.00
                                                                                       Less: Payments to Debtors                                            0.00
                                                                               NET Receipts / Disbursements                           $0.00                $0.00

                               Net Receipts :     45,674,215.34
                                                ————————                                                                            Net              Net                  Account
                                 Net Estate :    $45,674,215.34                TOTAL - ALL ACCOUNTS                               Receipts      Disbursements             Balances

                                                                               Checking # ******9167                                   0.00         929,257.26                   0.00
                                                                               Checking # ******9166                                   0.00         182,974.36                   0.00
                                                                               Checking # ****-******47-65                         2,188.26           91,038.02                  0.00
                                                                               Checking # ****-******47-66                             0.00         100,916.68                   0.00
                                                                               Checking # ****-******73-66                             0.00               806.15                 0.00
                                                                               MMA # ***-*****47-65                          14,461,778.56                -12.00                 0.00
                                                                               Checking # ***-*****47-66                               0.00      44,350,871.74                   0.00
                                                                               MMA # ***-*****47-67                            5,422,007.00                 0.00                 0.00
                                                                               MMA # ***-*****47-68                            1,900,323.83                 0.00                 0.00
                                                                               MMA # ***-*****47-69                          12,047,879.90                  0.00                 0.00
                                                                               MMA # ***-*****47-70                            7,034,825.76                10.13                 0.00
                                                                               MMA # ***-*****47-71                            2,245,137.37                 0.00                 0.00
                                                                               MMA # ***-*****47-72                             751,724.38                  0.00                 0.00
                                                                               MMA # ***-*****47-73                             413,745.87            18,353.00                  0.00
                                                                               MMA # ***-*****47-74                             143,880.65                  0.00                 0.00
                                                                               MMA # ***-*****47-75                            1,250,723.76                 0.00                 0.00
                                                                               Checking # ***-*****73-66                               0.00                 0.00                 0.00

                                                                                                                            $45,674,215.34      $45,674,215.34                  $0.00




{} Asset reference(s)                                                                                                                      Printed: 12/07/2017 12:32 PM        V.13.30
